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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                               UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 99                                 SAN FERNANDO VALLEY DIVISION

10
10    In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                          Jointly administered with:
11
11    ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
      corporation1,
12
12
                                                          Chapter 11 Cases
13
13             Debtor and Debtor in Possession.
      ____________________________________
14
14    In re:                                              FIRST INTERIM APPLICATION OF
                                                          LEVENE, NEALE, BENDER, YOO &
15
15    ICPW Liquidation Corporation, a Nevada              BRILL L.L.P. FOR APPROVAL OF FEES
      corporation2,                                       AND REIMBURSEMENT OF EXPENSES;
16
16                                                        DECLARATION OF RON BENDER, ESQ.

17
17             Debtor and Debtor in Possession.
      ____________________________________
18
18
           Affects both Debtors                           DATE:     December 12, 2017
19
19
                                                          TIME:     1:30 p.m.
20      Affects ICPW Liquidation Corporation, a           PLACE:    Courtroom “303”
20
      California corporation only                                   21041 Burbank Blvd.
21
21                                                                  Woodland Hills, CA
        Affects ICPW Liquidation Corporation, a
22
22    Nevada corporation only
23
23
24
24
25
25
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

                                                      1
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 1           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P. (“LNBYB”), bankruptcy counsel to
 2    ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad Performance
 3
      Wear Corporation, a California corporation (“ICPW California”), and ICPW Liquidation
 4
      Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a
 5
      Nevada corporation (“ICPW Nevada” and collectively with ICPW California, the “Debtors”),
 6

 7    hereby respectfully submits its First Interim Application for Approval of Fees and Reimbursement

 8    of Expenses (the “Application”) for services rendered and expenses incurred during the period of

 9    September 8, 2017 (the date of the Debtors’ chapter 11 bankruptcy filings) through November 20,
10
      2017 (the “Covered Period”). Any opposition or responsive paper must be filed and served at least
11
      fourteen (14) days prior to the hearing on this Application in the form required by Local Bankruptcy
12
      Rule 9013-1(f).
13
                                                      I.
14

15                                   INTRODUCTORY STATEMENT

16           In order to efficiently manage these chapter 11 cases, at the outset of these cases, the
17    Debtors filed and obtained orders of the Court jointly administering these chapter 11 cases.
18
      Consistent with the terms of LNBYB’s employment application which was approved by the
19
      Court, LNBYB has billed all of its time in its representation of the Debtors to one collective
20
      billing number. These bankruptcy cases have for all practical purposes been operated on a
21

22    consolidated basis. There is one management team and one board of directors for both Debtors.

23    There is one Creditors Committee and one Equity Committee. The recently consummated sale

24    of the Debtors’ assets does not allocate the purchase price among the two estates (recognizing
25    that all or the vast majority of the assets that were sold were owned by the California
26
      entity/operating business). Moreover, it is now clear that all unsecured creditors of both Debtors
27

28

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 1    will be paid in full out of the sale proceeds and that there will be a very sizeable distribution to
 2    shareholders.
 3
                                                        II.
 4
                                                     SUMMARY
 5

 6
          Name of applicant                                 LNBYB
 7
          Name of client(s)                                 ICPW Liquidation Corporation, a California
 8                                                          corporation3 and ICPW Liquidation
                                                            Corporation, a Nevada corporation4 (the
 9
                                                            “Debtors”)
10        Time period covered by this application           Start: September 8, 2017
                                                            End: November 20, 2017
11
          Total compensation sought this period             $531,944.50
12

13        Total expenses sought this period                 $39,376.99

14        Petition date                                     The Debtors commenced their chapter 11
                                                            bankruptcy cases with the filing of voluntary
15                                                          petitions under chapter 11 of the Bankruptcy
                                                            Code on September 8, 2017
16
          Retention date                                    September 8, 2017
17
          Date of entry of order approving employment  October 19, 2017 (as docket number 120) with
18                                                     employment effective as of September 8, 2017
          Total compensation approved by interim order N/A – First fee application
19        to date
20
          Total expenses approved by interim order to       N/A – First fee application
21        date

22        Total allowed compensation paid to date           N/A – First fee application
          Total allowed expenses paid to date               N/A – First fee application
23

24        Blended rate in this application for all          $572.65
          attorneys
25
          Blended rate in this application for all          $545.36
26

27
      3
          Formerly known as Ironclad Performance Wear Corporation, a California corporation.
28    4
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

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 1     timekeepers
 2     Compensation sought in this application            N/A
 3     already paid pursuant to a monthly
       compensation order but not yet allowed
 4
       Expenses sought in this application already        N/A
 5     paid pursuant to a monthly compensation
       order but not yet allowed
 6

 7     Number of professionals included in this           4 attorneys and 3 paralegals
       application
 8

 9

10                                                   III.

11                        FEES AND EXPENSES INCURRED AND NOTICE

12    A.     REQUEST        FOR      ALLOWANCE              AND     PAYMENT         OF   FEES     AND
13           REIMBURSEMENT OF EXPENSES
14
             LNBYB had no remaining pre-petition retainer balance on the date of the Debtors’
15
      bankruptcy filings from the $60,000 pre-petition retainer paid to LNBYB, and LNBYB waived
16
      the full amount of its pre-petition outstanding invoice (totaling approximately $11,499) to insure
17

18    that LNBYB was not a pre-petition creditor of the Debtors. LNBYB has not been paid any

19    money post-petition from the Debtors. During the Covered Period, LNBYB incurred fees in the

20    amount of $531,944.50 and expenses in the amount of $39,376.99 for total fees and expenses in
21
      the amount of $571,321.49.         No portion of this amount has been paid by the Debtors.
22
      Accordingly, by way of this Application, LNBYB is seeking the Court’s approval and payment of
23
      the foregoing fees and expenses.
24
      B.     PROPER NOTICE
25

26           LNBYB has served notice of this Application and the amount of fees and expenses sought

27

28

                                                      3
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 1    herein upon the Debtors, all creditors,5 the Official Committee of Unsecured Creditors and its
 2    counsel, the Official Committee of Equity Holders and its counsel, the Office of the United States
 3
      Trustee, and all parties who have requested special notice.
 4
                                                            IV.
 5
                       STATEMENT OF FACTS AND RELEVANT INFORMATION
 6

 7    A.      Brief Description Of The Debtors And Their Business.

 8            On September 8, 2017 (“Petition Date”), the Debtors each filed a Voluntary Petition for

 9    relief under chapter 11 of the Bankruptcy Code. Since the Petition Date, the Debtors have
10
      operated their businesses and managed their affairs as debtors in possession pursuant to Sections
11
      1107 and 1108 of the Bankruptcy Code. With the Court’s approval, the Debtors’ two chapter 11
12
      cases are being jointly administered. Other than owning all of the shares in the California entity,
13
      the Nevada entity has no business. All operations of the Debtors effectively function through the
14

15    California entity.

16            Until the recently consummated sale of substantially of all of their assets (discussed in
17    detail below), the Debtors were a leading, technology-focused developer and manufacturer of
18
      high-performance task-specific gloves and apparel for the “industrial athlete” in a variety of end
19
      markets, including construction, manufacturing, oil and gas (“O&G”), automotive, the sporting
20
      goods, military, police, fire, and first-responder. The Debtors’ business was headquartered in
21
      Farmers Branch, Texas. The Nevada entity is publicly-traded with its common stock quoted on
22

23    the OTC Markets under the symbol “ICPW”.                    As of April 7, 2017, Ironclad Nevada had

24    85,646,354 shares of common stock, par value $0.001 per share, issued and outstanding. As of
25

26

27    5
        All creditors means all creditors who are scheduled by the Debtors as being owed money and/or who have filed a
28    timely proof of claim.


                                                             4
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 1    August 30, 2017, the Debtors had approximately 41 full time employees, with 9 of these
 2    employees who worked overseas.
 3
             Ironclad was founded in 1998 by Ed Jaeger. Mr. Jaeger was inspired to build gloves that
 4
      offered protection and performance without sacrificing one for the other. From the beginning, the
 5
      Debtors built gloves using materials that offered excellent fit to make them an extension of the
 6

 7    hand and to make jobs easier for the “industrial athlete”. By 2006, the Debtors offered 35

 8    different task-specific glove types for people wearing gloves as part of their daily jobs.

 9           In 2008, the Debtors launched the KONG (King of Oil ‘N’ Gas) line to address the high
10
      number of hand injuries in the O&G field. By 2010, the KONG line was comprised of 46
11
      different gloves.   Additionally, the Debtors expanded their presence in the retail and non-
12
      professional markets with the launch of the EXO brand in June 2015. EXO offered lower cost
13
      gloves for automotive, DIY, and outdoor sporting applications. The Debtors offered 30 different
14

15    EXO glove types.

16           The Debtors’ task-specific technical glove products are specially designed for individual

17    user groups. The Debtors offered over 160 distinct types of gloves for a variety of markets,
18
      including industrial, construction, DIY, carpentry, machining, package handling, plumbing,
19
      welding, roofing, O&G, mechanics, hunting, and gardening. Products came in a multitude of
20
      colors and cater to the specific demands and requirements of the users based on ease of motion,
21
      grip, water and chemical resistance, visibility, and protection from abrasions, cuts, flames,
22

23    impacts, temperature, and vibration. Since inception, the Debtors employed an internal research

24    and development (“R&D”) department responsible for identifying and creating new products and
25    applications, and improving and enhancing existing products. The Debtors continually evaluated
26
      new base materials for gloves, and grip is another key area of focus for R&D. The Debtors often
27
      partnered with industry-leading organizations to develop new products. The Debtors had 13 U.S.
28

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 1    patents issued and 11 foreign patents, as well as five pending U.S. patent applications and several
 2    pending foreign patent applications. The Debtors also used trademarks to strengthen and protect
 3
      their recognizable brand names. The Debtors owned 52 registered U.S. trademarks, 39 registered
 4
      international trademarks, and 13 and 43 trademarks pending in the U.S. and internationally,
 5
      respectively.
 6

 7           The Debtors sold their product through approximately 10,000 outlets for professional

 8    tradesmen as well as “Big Box”, hardware, auto parts, and sporting goods retailers. The sales

 9    force was organized by 3 business segments: Industrial, Retail, and International. Glove products
10
      were manufactured by multiple suppliers operating in China, Bangladesh, Cambodia, Vietnam
11
      and Indonesia.
12
      B.     Events Leading To The Filing Of The Debtors’ Bankruptcies And The Debtors’
13
             Chapter 11 Goals.
14

15           Despite the development and success of the Debtors’ products over the years, the Debtors’

16    revenue and cash flow from operations became insufficient to support their business operations as

17    well as their continued growth. There were many reasons for this including heavy competition,
18
      loss of a major international distributor, incomplete and/or ineffective expansion and distribution
19
      of all of their product lines and development of new customers, and higher than anticipated
20
      production, manufacturing and warehousing costs. In addition, it was discovered in early 2017
21
      that under prior management, the Debtors had failed to provide materially complete and correct
22

23    financial statements as required under their loan documents to their primary secured lender for the

24    fiscal years ended December 31, 2015 and 2016, and for the fiscal quarters ended March 31, June
25    30, September 30, 2016 and March 31, 2017. As a result of this discovery, the Debtors’ then
26
      chief executive officer and other officers were terminated, and L. Geoffrey Greulich was
27
      employed as the Debtors’ new chief executive officer effective July 6, 2017. Prior to assuming
28

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 1    this position, Mr. Greulich had no prior connection or relationship with the Debtors as an insider,
 2    equity holder or otherwise. As a Senior Advisor, Operations at Corridor Capital, LLC where he
 3
      leads operations through portfolio engagement as well as conducting due diligence, Mr. Greulich
 4
      was highly qualified to serve as the Debtors’ new chief executive officer, and, as indicated below,
 5
      did an extraordinary job for the Debtors.
 6

 7           The Debtors filed their bankruptcy cases to consummate a sale of substantially all of their

 8    assets (excluding cash and causes of action) for the most money possible. Just prior to their

 9    bankruptcy filings, the Debtors entered into an asset purchase agreement (“Radians APA”) with
10
      the Debtors’ then pre-petition secured creditor, Radians Wareham Holdings, Inc. (“Radians”), for
11
      a cash purchase price of $20 million or $15 million, subject to an overbid process. Radians
12
      agreed to pay a cash purchase price of either $15 million or $20 million depending upon the
13
      occurrence of an event which was sensitive and the letter agreement describing such event was
14

15    the subject of a motion to file under seal.

16           The Debtors’ business was actively marketed for sale for an extended period prior to the

17    Debtors’ bankruptcy filings by the Debtors’ financial advisor/investment banker – Craig Hallum
18
      Capital Group LLC (“C-H”). Prospective buyers had the ability to purchase assets or equity.
19
      While a number of prospective buyers expressed pre-petition interest in possibly purchasing the
20
      Debtors’ assets or stock, the Debtors ran out of time to continue with their pre-bankruptcy
21
      marketing process because (i) the Debtors were out of funds, (ii) the Debtors could not continue
22

23    to operate without both access to their own cash receipts as well as receipt of additional financing,

24    and (iii) Radians (which was also the Debtors’ secured creditor having purchased the Debtors’
25    pre-bankruptcy secured bank debt) had exercised its secured creditor rights and was sweeping all
26
      of the Debtors’ cash and was no longer willing to continue to forbear or advance additional
27
      needed financing to the Debtors absent a global resolution with the Debtors which was
28

                                                       7
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 1    accomplished with the Radians APA and the DIP financing agreement the Debtors entered into
 2    with Radians which made the chapter 11 bankruptcy process possible (discussed more below).
 3
             The purchase offer provided to the Debtors by Radians was determined by the Board to be
 4
      the best offer the Debtors had received by the Petition Date, and Radians was ready to proceed
 5
      with its purchase and lend the Debtors sufficient funds to enable the Debtors to operate their
 6

 7    business through an Auction to take place in late October, 2017, with a sale closing to occur

 8    shortly thereafter. Radians was also willing to permit the Debtors to proceed with a robust post-

 9    bankruptcy marketing and overbid process to insure that the highest and best price was paid for
10
      the Debtors’ assets. Given the breadth of the Debtors’ pre-bankruptcy marketing process and the
11
      fact that C-H, the Debtors’ pre-bankruptcy investment banker/financial advisor (who was already
12
      very familiar with the various likely prospective overbidders) would be serving as the Debtors’
13
      post-bankruptcy investment banker/financial advisor and leading the overbid sale process, and the
14

15    fact that the likely overbidders were already deep into the due diligence process, the Debtors were

16    confident that providing prospective overbidders with approximately six weeks to decide whether

17    to participate in the Auction was a sufficient amount of time for the Debtors to achieve the highest
18
      and best price for their assets. Also, and very importantly, the Debtors’ financial needs expand
19
      significantly the last two months of the year so if the Debtors were required to continue to operate
20
      their business through the end of the year or significantly beyond October 31, 2017, the Debtors
21
      borrowing needs would likely have increased significantly, and, even if the Debtors were able to
22

23    obtain the necessary post-petition financing (which was not at all clear), any such additional

24    borrowing (and the costs of such additional borrowing) would have reduced the ultimate recovery
25    for the Debtors’ shareholders on a dollar-for-dollar basis. It was for these reasons that it was very
26
      important that the Debtors were able to implement their proposed sale timeline.
27

28

                                                       8
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 1    C.     The Asset Sale Process.
 2           At a continued hearing held on September 25, 2017, the Court granted the Debtors’ bid
 3
      procedures motion by order entered on September 28, 2017 as Docket Number 71 (the “Bidding
 4
      Procedures Order”). The Bidding Procedures Order was approved by the Debtors, Radians, and
 5
      the Official Committee of Unsecured Creditors (the “OCUC”) and Official Committee of Equity
 6

 7    Holders (the “OCEH”) that were appointed in these cases. Both the OCUC and the OCEH hired

 8    counsel and a financial advisor.     The Bidding Procedures Order explained to prospective

 9    overbidders how a prospective overbidder becomes qualified to participate in the Auction and
10
      how the Auction would proceed in the event that there was one or more qualified overbidders. In
11
      addition, C-H had established an extensive data room for prospective overbidders to obtain
12
      diligence information, and the Debtors’ senior management had made themselves available to
13
      meet with prospective overbidders and provide management presentations. To assist in the
14

15    overbid process, the Debtors’ counsel prepared an asset purchase agreement template for

16    prospective overbidders to use if they wanted, and delivered that template to C-H to distribute to
17    prospective overbidders.
18
      D.     The Radians APA.
19
             The Radians APA was the result of extensive pre-bankruptcy negotiations and
20
      documentation between the Debtors and Radians. Under the Radians APA, Radians had agreed
21

22    to purchase the vast majority of the Debtors’ assets for the cash purchase price of $20 million or

23    $15 million depending upon the occurrence of an event that is described in a letter agreement that

24    was the subject of a motion to file under seal. Radians provided the Debtors with a $1 million
25    deposit which was held in a trust account by LNBYB. At the time of the Debtors’ bankruptcy
26
      filings, Radians’ outstanding secured debt was in the amount of approximately $3.5 million. The
27
      Debtors borrowed a total of $1.1 million post-petition from Radians in accordance with the terms
28

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 1    of the Final DIP Order (defined below). Radians agreed to make a severance payment to each of
 2    the Debtors’ employees who were not offered employment by Radians, other than the Debtors’
 3
      officers and any employee subject to an employee retention agreement, at comparable terms to
 4
      their then employment with the Debtors, with each such severance payment to be consistent with
 5
      the most generous current severance policy of Radians for similarly situated employees. Radians
 6

 7    was provided with the right to designate which of the Debtors’ executory contracts and unexpired

 8    leases that it wished to assume with the payment of all related cure amounts to be the

 9    responsibility of Radians.
10
      E.     The Final DIP and Cash Collateral Order.
11
             On October 6, 2017, as docket number 87, the Court entered the Final Order: (I)
12
      Authorizing The Debtors To (A) Obtain Postpetition Financing Pursuant To 11 U.S.C. §§ 105,
13
      361, 362 And 364, And (B) Utilize Cash Collateral Pursuant To 11 U.S.C. §§ 361, 362, 363 And
14

15    364; (II) Granting Adequate Protection Pursuant To 11 U.S.C. §§ 361, 362, 363 And 364; And

16    (III) Granting Related Relief (the “Final DIP Order”). The Debtors had obtained interim use of
17    cash collateral and DIP financing on an emergency basis pending entry of the Final DIP Order
18
      pursuant to an order entered on September 13, 2017 as docket number 31, and then further interim
19
      use pursuant to a second order entered on September 27, 2017 as docket number 70.
20
      F.     The Auction and the Sale Closing.
21

22           Pursuant to the Bidding Procedures Order, the Auction was scheduled to be held before

23    the Court on October 30, 2017, at 10:00 a.m. Approximately 20 prospective overbidders signed

24    NDA’s and accessed the data room. Many of them spent extensive time in the data room and
25    with C-H and the Debtors’ management team. The Debtors’ management team provided multiple
26
      management presentations to prospective overbidders. Prior to the Auction, the Debtors filed a
27
      declaration of Steve Rickman of C-H, who is the Managing Director of Investment Banking
28

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 1    Mergers and Acquisitions at C-H and who served as the lead professional at C-H providing
 2    services on this engagement, in which Mr. Rickman declared that he believed that serious
 3
      prospective overbidders were well informed as to the overbid opportunity and the impending
 4
      Auction process, and that he was not aware of any serious prospective overbidder who did not
 5
      comply with the requirements to be eligible to participate in the Auction because they did not
 6

 7    have access to sufficient information or required additional time.

 8           In order to become qualified to participate in the Auction, prospective overbidders were

 9    required to do each of the following three things: (1) deliver a $1 million deposit to a segregated
10
      trust account maintained by LNBYB which would be non-refundable if the prospective
11
      overbidder was the winning bidder at the Auction; (2) deliver a redlined version of the Radians
12
      APA showing the prospective overbidder’s proposed changes to the Radians APA; and (3) be
13
      determined to be financially qualified by C-H to fund the transaction without any further
14

15    financing or due diligence contingency.        Two prospective overbidders satisfied all three

16    requirements consisting of Brighton-Best International, Inc. (“BBI”) and Protective Industrial
17    Products, Inc. (“PIP”). This sale process was an extremely fluid process as there were a number
18
      of constantly moving parts.
19
             As a result, between Radians (as the stalking horse bidder) and BBI and PIP (as
20
      prospective overbidders), there were three qualified bidders at the Auction. The Auction was an
21

22    extraordinary success. Through great efforts by Mr. Greulich and LNBYB, the Debtors were able

23    to satisfy the condition referenced in the side letter filed under seal which required Radians to

24    open the Auction with an opening bid of $20 million instead of $15 million. So before any
25    overbid was even submitted, the sale price had already increased by $5 million. After very robust
26
      bidding by BBI and PIP (Radians never submitted any overbid beyond its initial $20 million
27
      opening bid), BBI was determined to be the winning bidder at the Auction with a purchase price
28

                                                      11
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 1    of $25,250,000, and PIP consented to be a backup bidder with a backup purchase of $25,000,000.
 2    The final form of the sale order and the final form of the APA with BBI were heavily negotiated
 3
      and agree to by the Debtors, BBI, the OCUC and the OCEH, and the Court entered the final form
 4
      of the sale order on November 3, 2017 as docket number 177 (the “Sale Order”) after conducting
 5
      two follow-up hearings on the sale order on November 1, 2017 and then again on November 3,
 6

 7    2017.

 8            The sale to BBI closed on November 14, 2017. In connection with the sale closing, after

 9    taking into account various deposits and pro rations, BBI wire transferred a closing payment of
10
      $25,328,919, which is in addition to the $1,000,000 deposit that BBI had provided to the Debtors
11
      in advance of the Auction (the “BBI Deposit”) and is inclusive of the $820,000 “Supplemental
12
      Payment” which, pursuant to the Sale Order, is to be maintained by the Escrow Agent in
13
      segregated trust account separate from the balance of the sale proceeds pending further order of
14

15    the Court. In connection with the sale closing, a payment was made to Grainger to compensate

16    Grainger for what all of the parties agreed was the minimum amount owing to Grainger. The
17    $820,000 Supplemental Payment from BBI is to provide a source of funding of any further
18
      payment that will be owing to Grainger as a result of the Debtors’ rejection of their two supplier
19
      agreements with the Grainger entities (Grainger Global Sourcing a division of Grainger
20
      International, Inc. (“GGS”) and W.W. Grainger, Inc. (“Grainger”)). BBI had the opportunity to
21

22    take an assignment of the Debtors’ supplier agreements with GGS and Grainger, but BBI decided

23    that it did not want to do so, and the Sale Order provides for the Debtors’ supplier agreements

24    with GGS and Grainger to be rejected (with the Debtors and BBI to work together in an effort to
25    minimize any rejection damage claim in favor of GGS and Grainger. In the event that GGS and
26
      Grainger end up with allowed rejection damage claims in excess of the $180,000 that was paid to
27
      the Grainger entities in connection with the sale closing but not more than $1 million, the excess
28

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 1    will be paid to the Grainger entities out of the $820,000 Supplemental Payment with any
 2    remaining balance to be returned to BBI. In the event that GGS and Grainger end up with
 3
      allowed rejection damage claims in excess of $1 million (which the Debtors do not believe will be
 4
      the case), the entire $820,000 Supplemental Payment will be paid to the Grainger entities, and the
 5
      Debtors will be liable for any amount owing to the Grainger entities in excess of $1 million.
 6

 7            After adding in the BBI Deposit and deducting the Supplemental Payment, a total of

 8    $25,511,469 of sale proceeds was deposited into the segregated trust account (the “Trust Account”)

 9    maintained by LNBYB (“Escrow Agent”) at First Republic Bank.
10
              In accordance with the Sale Order, all of the following “Designated Cure Amounts” were paid
11
      by the Escrow Agent out of the Trust Account:
12
              Nantong Changbang Gloves Co. - $1,228,307.56
13
              Woneel Midas Leathers - $785,358.50
14

15            Mercindo Global Manufaktur - $444,674.64

16            Marusan – Mimasu Tshusho Co. Ltd. - $382,811.28
17            Grainger - $180,000.00
18
              Advantage Media Services - $178,522.75
19
              PT JJ Gloves Indo - $162,917.76
20
              PT Sport Glove Indonesia - $144,238.66
21

22            Windspeed Sports Shanghai Co., Ltd. - $152,830.456

23            Ka Hung Glove Industrial Co. Ltd. - $38,934.90

24            Synetra - $37,972.33
25            AML United Limited - $28,330.56
26

27    6
       This figure was $144,198.43 in the Sale Order but was increased to $152,830.45 pursuant to an order of the
28    Court entered on November 13, 2017 as Docket Number 207


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 1             1920 Hutton Court - $13,257.09
 2             PT Seok HWA Indonesia - $13,174.86
 3
               Design Gallery (Pvt.) Ltd. - $12,801.60
 4
               Desun Garments, Ltd. - $7,691.75
 5
               Konica Minolta - $1,152.31
 6

 7             Pitney Bowes - $452.99

 8             Also in accordance with the Sale Order, the Escrow Agent paid out of the Trust Account to

 9    secured creditor Radians the “Radians Payoff Amount” plus the Breakup Fee of $500,000.00, which
10
      amounted to a total payment of $5,343,988.19.
11
               After taking into account all of the foregoing (and excluding the Supplemental Payment),
12
      there is a current remaining balance in the Trust Account of $16,354,050.82 (the “Remaining
13
      Estate Funds”), which are continuing to be maintained in the Trust Account by LNBYB pending
14

15    further order of the Court. All of the Remaining Estate Funds are unencumbered and are available to

16    be used to pay the allowed fees and expenses of LNBYB and the other professionals employed in these
17    cases.
18
      G.       Retention and Date of the Entry of the Order Approving the Debtors’ Employment
19
               of LNBYB.
20
               The Debtors retained LNBYB to serve as their bankruptcy counsel with such employment
21

22    to be effective as of the Petition Date. The Court approved the Debtors’ employment of LNBYB

23    pursuant to an order entered on October 19, 2017 as docket number 120.

24    H.       Fees and Expenses Previously Requested.
25             LNBYB has not filed any previous applications seeking the approval and/or payment of
26
      fees and expenses, and LNBYB has not been paid any post-petition money by the Debtors.
27
      LNBYB also had no pre-petition retainer balance remaining by the Petition Dates, and LNBYB
28

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 1    waived any unpaid balance owing by the Debtors as of the Petition Date.
 2    I.     Brief Narrative Statement of Services Rendered, Time Expended, and Fee Charged.
 3
             When recording its time, LNBYB places all time entries for fees into one of fifteen billing
 4
      categories. These categories consist of (1) Asset Analysis and Recovery, (2) Asset Disposition,
 5
      (3) Business Operations, (4) Case Administration, (5) Claims Administration and Objections, (6)
 6

 7    Employee Benefits/Pensions, (7) Fee/Employment Applications, (8) Fee/Employment Objections,

 8    (9) Financing, (10) Relief from Stay, (11) Meetings of Creditors, (12) Plan and Disclosure

 9    Statement, (20) Other Litigation, (92) Preference Analysis, and (99) Miscellaneous. Inevitably,
10
      certain time entries do not fit neatly into any one category while other time entries cross over into
11
      more than one category. LNBYB does its best to place time entries into categories which
12
      accurately reflect the work performed. However, it is inevitable that there will be some time
13
      entries that have been placed into the incorrect category or where various time entries dealing
14

15    with the same subject matter have been placed into multiple categories. References below made

16    to the “Covered Period” shall mean the period of September 8, 2017 through November 20, 2017.
17           1.      Asset Analysis and Recovery (01).
18
             During the Covered Period, LNBYB billed 22.9 hours and incurred $13,577.50 of fees in
19
      this category. From the outset of these cases, LNBYB has been working with the Debtors (and
20
      subsequently once formed with the OCEH) in an effort to analyze, evaluate and maximize any
21

22    recovery from potential assets.          LNBYB participated in numerous phone calls with

23    representatives of the Debtors and counsel to the OCEH in this regard.

24           2.      Asset Disposition (02).
25           During the Covered Period, LNBYB billed 365.5 hours and incurred $210,473.50 of fees
26
      in this category.   The Debtors’ sale process was clearly the most important part of these
27
      bankruptcy cases since selling the Debtors’ business/assets for the most money possible was the
28

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 1    primary purpose of these bankruptcy cases.           The Radians APA and the Debtors’ cash
 2    collateral/dip financing agreement with Radians were finalized just prior to the bankruptcy filings.
 3
      Following the bankruptcy filings, LNBYB prepared the Debtors’ emergency motion and related
 4
      pleadings seeking the Court’s approval of the bidding procedures that the Debtors had negotiated
 5
      with Radians prior to the bankruptcy filings. This was done on an emergency basis in order to
 6

 7    provide the Debtors with the maximum amount of time to attempt to find overbidders to

 8    participate in the Auction. The Debtors’ extreme fast track was necessitated by the terms agreed

 9    to by Radians and the Debtors own financial needs. The Debtors were not provided with enough
10
      post-petition borrowing availability to enable the Debtors to fund their cash needs much beyond
11
      the scheduled Auction date, and, as the year-end would approach, the Debtors’ cash needs would
12
      have grown. Borrowing even more money would have ultimately diluted the recovery for the
13
      Debtors’ shareholders. Moreover, the Debtors did not have an identifiable additional borrowing
14

15    source available to provide the Debtors with the additional needed financing even if the Debtors

16    had wanted it, and particularly not without a major priming lien battle with Radians. LNBYB
17    also prepared the Debtors’ emergency motion for approval to file under seal the critical letter
18
      whose conditions would to determine whether the Radians’ opening bid at the Auction was $15
19
      million or $20 million, which may have still had an enormous outcome to the Auction given the
20
      final winning bid, but if not met would have had devastating consequences for the Debtors’
21

22    shareholders had there been no qualified overbids. LNBYB also prepared the initial version of

23    the Bidding Procedures Order and negotiated the same with Radians. LNBYB appeared at the

24    initial hearing on the emergency bid procedures motion held on September 13, 2017. In order to
25    provide the UST an opportunity to form the OCUC and the OCEH and to provide them some
26
      reasonable time to comment upon the Debtors’ proposed Bidding Procedures Order, the Court
27
      continued the bidding procedures hearing to September 25, 2017. In accordance with the Court’s
28

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 1    instructions, LNBYB prepared a comprehensive notice and served that notice upon all creditors
 2    and shareholders. While this was transpiring, LNBYB prepared a template form of asset purchase
 3
      agreement for prospective overbidders to use if they wished and for C-H to have to provide to
 4
      prospective overbidders which subsequently proved very useful as both BBI and PIP submitted
 5
      their proposed asset purchase agreements off of that template. In connection with the continued
 6

 7    bid procedures hearing, LNBYB prepared a comprehensive declaration of Steve Rickman of C-H

 8    to explain the Debtors’ logic in the proposed bidding procedures, and LNBYB had extensive

 9    dialogue with Mr. Rickman regarding the same.          LNBYB appeared at the continued bid
10
      procedures hearing held on September 25, 2017, which was a lengthy hearing with extensive
11
      arguments made by the Debtors, Radians, the OCUC, the OCEH, and one prospective overbidder
12
      (who ultimately decided not to participate in the Auction). LNBYB met with the Debtors’
13
      management and Mr. Rickman in advance of that hearing to review the objections and to plan for
14

15    the hearing. After extensive oral argument and rulings by the Court, all of the parties ultimately

16    agreed to changes to the originally submitted bidding procedures order and stipulated to the entry
17    of the Bidding Procedures Order. Through this entire sale process, LNBYB engaged in extensive
18
      discussions and was responsive to numerous questions made from prospective overbidders and
19
      their professionals, and from the OCUC and the OCEH. LNBYB prepared and negotiated an
20
      appropriate NDA for the OCUC and the OCEH so that information could be freely shared without
21

22    concern. Once the Bidding Procedures Order was entered, LNBYB prepared the actual sale

23    motion and the related pleadings and exhibits, including a proposed sale order, Declaration of Mr.

24    Greulich, follow up declaration of Mr. Rickman, and detailed schedule of all of the Debtors’
25    executory contracts and unexpired leases (and related cure amounts). LNBYB also prepared an
26
      expedited motion to reject those executory contracts and unexpired lease which clearly appeared
27
      to be undesirable and unwanted by Radians, but the Debtors elected not to file the rejection
28

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 1    motion to provide any winning bidder with a clean slate to determine which executory contracts
 2    and which unexpired leases the winning bidder wanted. LNBYB engaged in extensive dialogue
 3
      with counsel to both BBI and PIP leading up to the bidding qualification deadline and the
 4
      Auction. In anticipation of the Auction and the fact that BBI and PIP intimated that they intended
 5
      to attempt to use their willingness to assume various cure amounts owing to key vendors as part
 6

 7    of their bids, LNBYB prepared a comprehensive schedule of all contracts, leases and vendor

 8    contracts along with affiliated cure amounts.     LNBYB analyzed the overbid qualifying bid

 9    submission packages submitted by BBI and PIP (particularly their proposed forms of asset
10
      purchase agreements) and reviewed the same with the Debtors’ senior management and C-H. C-
11
      H deemed both BBI and PIP financially qualified to participate in the Auction. Leading up to the
12
      Auction, LNBYB engaged in extensive discussion with the OCUC and the OCEH, their financial
13
      advisors, C-H and the Debtors’ senior management to arrive at the optimal method by which to
14

15    conduct the Auction and the location of the Auction.          LNBYB prepared a supplemental

16    declaration of Mr. Rickman bringing the Court up to speed as to the final status of the Auction
17    and qualified overbidders, and LNBYB prepared replies to all objections filed to the sale motion.
18
      On October 30, 2017, LNBYB met with the OCEH and its professionals along with the C-H
19
      professionals and the Debtors’ senior management to plan and prepare for the Auction. LNBYB
20
      then appeared at the Auction and hearing on the Debtors’ sale motion which all took place on
21

22    October 30, 2017. The Auction was an extraordinary success. While Mr. Greulich certainly gets

23    all of the credit for his relentless efforts to meet with Radians and negotiate the business terms

24    necessary to satisfy the requirements imposed by Radians for its opening bid at the Auction to be
25    $20 million instead of $15 million, LNBYB also played a critical role in negotiating and
26
      documenting the two comprehensive stipulations with the two Grainger entities - both of which
27
      were necessary components to cause the Radians opening bid to be $20 million - and facilitating
28

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 1    their signing at the last possible moment in time for the Auction. It is impossible to predict what
 2    the outcome of the Auction would have been had the opening bid been $15 million instead of $20
 3
      million, but what is clear is that had Mr. Greulich and LNBYB not been able to achieve what they
 4
      achieved with the two Grainger stipulations and there had been no qualifying overbidders (which
 5
      easily could have occurred), then Radians would have been deemed the winning bidder with a
 6

 7    winning bid of $15 million. While a purchase price of $15 million still would have resulted in

 8    payment in full of all of the Debtors’ debt and returned a small dividend to shareholders, given

 9    the stock trading price prior to the bankruptcy filings, that would have been a devastating result
10
      for shareholders. Fortunately, the success with the two Grainger stipulations forced Radians to
11
      submit an opening bid at the Auction of $20 million, and, after very robust bidding by BBI and
12
      PIP (Radians never submitted any overbid beyond its initial $20 million opening bid), BBI was
13
      declared the winning bidder at the Auction with a purchase price of $25,250,000, and PIP
14

15    consented to be a backup bidder with a backup purchase of $25,000,000. This $10.25 million

16    increase over the initial low Radians stalking horse bid $15 million, and even this $5.25 million
17    over the high Radians stalking horse bid of $20 million, will all go to the Debtors’ shareholders
18
      and significantly increase their recoveries from these bankruptcy estates.         Following the
19
      conclusion of the Auction, LNBYB worked with all of the parties in interest to arrive at a form of
20
      sale order acceptable to each party, with LNBYB taking the lead in drafting what ultimately
21

22    proved to be a consensual sale order. LNBYB also took the lead role in drafting the final version

23    of the BBI Asset Purchase Agreement (the “BBI APA”) to conform to the sale order and the

24    agreements of the parties at the Auction. While the parties had made significant progress towards
25    reaching an agreement on the form of the sale order and the BBI APA, by November 1, 2017
26
      there still was no agreement among the parties. As a result, the Court proceeded with its
27
      scheduled post-sale hearing held on November 1, 2017, which was designed to facilitate an
28

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 1    efficient process for dispute resolution in regards to the form of sale order and the BBI APA.
 2    LNBYB appeared at the continued hearing held on November 1, 2017. Following that hearing,
 3
      LNBYB continued to work with all of the constituents in an effort to reach an agreement on the
 4
      form of sale order and BBI APA for submission to the Court. But because no such agreement had
 5
      been reached by the end of November 1, 2017, the Court set a second such follow up hearing to
 6

 7    be held on November 3, 2017. LNBYB appeared at that follow up hearing at which all final areas

 8    in dispute were resolved, and LNBYB proceeded to file the final version of the sale order and the

 9    BBI APA. The Court entered the agreed upon form of the sale order on November 3, 2017 as
10
      docket number 177 (the “Sale Order”). While BBI had until November 20, 2017 to close its
11
      purchase, to its credit, BBI decided early on that BBI wanted to target November 14, 2017 as the
12
      actual sale closing date. While such an expedited closing was great from the estates’ perspective,
13
      it placed an enormous amount of pressure upon the Debtors from a business transition
14

15    perspective, and it placed an enormous amount of pressure upon LNBYB and the Debtors’ special

16    corporate/securities counsel (Stubbs, Alderton & Markiles LLP – “SAM”), working together to
17    document and finalize a transaction of this size and complexity within such a short period of time.
18
      Through great and highly focused efforts by the Debtor’s senior management team led by Mr.
19
      Greulich, LNBYB and SAM (as well as equal efforts put forth by BBI and its counsel), all of the
20
      documentation got finalized in time and all of the logistical issues were worked out and the sale
21

22    actually closed on November 14, 2017 as BBI had targeted. A key component to this sale closing

23    transition from both the perspective of the Debtors and BBI was to finalize the performance bonus

24    payments to the Debtors’ key employees who played such a crucial role in the extraordinary
25    outcome of these cases. LNBYB worked closely with the Debtors’ senior management and Board
26
      in this regard to document and to seek the approval of the Court and of the OCEH to the amounts
27
      and payments (and timing) of these employee bonuses which were promised to the Debtors’
28

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 1    employees. Once the employee bonus situation was finalized to the satisfaction of the Debtors’
 2    senior management and Board, as well as the OCEH, LNBYB prepared an emergency motion
 3
      seeking Court authority to pay all such employee bonuses along with the other related employee
 4
      accrued debts so that by the time of the closing the Debtors’ employees were not owed any money
 5
      (recognizing that per the BBI APA, BBI paid all severance owing to those non-senior level
 6

 7    management employees whom BBI did not offer employment).                 LNBYB appeared at the

 8    emergency hearing held on November 15, 2017 at which the Court granted the Debtors’

 9    employees’ performance bonus pay motion pursuant to an order entered on November 17, 2017 as
10
      Docket Number 224. The final key issue that had to be resolved as a closing condition required
11
      by BBI in the BBI APA related to the inability of the Debtors to continue to use the name
12
      “Ironclad” in future pleadings (although BBI agreed to close on November 14, 2017 knowing that
13
      this issue was going to have to get resolved shortly after the sale closing). While this is not an
14

15    unusual requirement from a buyer of a highly visible company (especially one that is publicly

16    trading), because of the pace at which this sale process had proceeded and all of the critical things
17    that needed to occur in order for the sale to close on November 14, 2017 and the business
18
      smoothly transitioned to BBI, it was not possible for the Debtors and BBI to have worked out all
19
      of the specific details about exactly how this would work, particularly when dealing with two
20
      legal entities, in two different states (California and Nevada), when one of them is a publicly
21

22    trading entity (Nevada). The Debtors (through LNBYB and SAM) worked very closely with

23    counsel to BBI to arrive at a mutually agreeable solution to the name change issue (and the

24    Debtors obtained input from the OCEH as to the actual new name to be used) and to the
25    preparation of an amendment to the BBI APA.            Once this was all finalized to everyone’s
26
      satisfaction, LNBYB prepared the emergency motion seeking Court approval of the name change
27
      issue and of the amendment to the BBI APA. LNBYB appeared at the emergency hearing held
28

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 1    on November 15, 2017 on the Debtors’ emergency name change motion. The Court expressed
 2    certain concerns regarding what the parties had agreed to and scheduled a continued hearing to be
 3
      held on November 17, 2017. As noted above, BBI agreed to close on November 14, 2017 and
 4
      allow the name change issue to be resolved as a post-closing matter. Prior to the continued
 5
      hearing on November 17, 2017, all of the parties involved (meaning the Debtors, BBI, the UST,
 6

 7    the OCUC and the OCEH) agreed to the form of a second amendment to the BBI APA and to the

 8    technical manner in which future pleadings would read as far as the name change is concerned.

 9    Following submission of the proposed second amendment to the BBI APA and name change
10
      order, the Court vacated the continued hearing scheduled to be held on November 17, 2017, and
11
      the Court entered the agreed upon name change order on November 17, 2017 as Docket 223.
12
             3.     Business Operations (03).
13
             During the Covered Period, LNBYB billed 93.1 hours and incurred $54,148.50 of fees in
14

15    this category related to various business operational issues. LNBYB has worked closely with the

16    Debtors throughout these cases to assist the Debtors to deal with the multitude of business
17    operations issues that have arisen. At the commencement of these cases, LNBYB prepared the
18
      Debtors’ emergency motions and related pleadings for approval of cash management systems and
19
      bank accounts; for authority to pay the pre-petition priority wages and benefits of the Debtors’
20
      employees; for approval of adequate assurance for utility companies; and related matters.
21

22    LNBYB appeared at the initial emergency fist day hearings with respect to the foregoing held on

23    September 13, 2017. As with any newly filed chapter 11 bankruptcy case involving an operating

24    business, LNBYB worked with the Debtors’ senior management on a near daily basis to assist the
25    Debtors to resolve hurdles that arose as a result of the chapter 11 bankruptcy filings. A critical
26
      business matter arose when AMEX ceased permitting the Debtors and their employees from using
27
      their AMEX cards which prevented the Debtors from functioning in certain areas. LNBYB
28

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 1    prepared an emergency motion to seek an order of the Court as AMEX was requiring but the
 2    Debtors were ultimately able to reach a different result with AMEX that did not involve the need
 3
      for any Court order. The important of the Grainger contract situation cannot be overstated (since
 4
      there was no way to know if there was going to be any overbid submitted at the Auction), and that
 5
      situation ultimately proved to be far more complex than Radians and the Debtors had anticipated
 6

 7    when they signed the Radians APA just prior to the bankruptcy filings. The agreement of

 8    Radians and the Debtors in the confidential side letter to the Radians APA (which Radians only

 9    imposed for the first time just prior to the bankruptcy filings and after threatening to walk away
10
      from the transaction entirely) provided that the Radians’ staking horse bid price would be
11
      increased from $15 million to $20 million if the “Grainger Supplier Agreement” was renewed for
12
      an additional one year term at the expiration of its initial term as evidenced by the assumption and
13
      assignment of the Grainger Supplier Agreement approved by the Court and consented to by GGS
14

15    (and correspondingly Radians’ stalking horse bid price would $15 million if the Grainger Supplier

16    Agreement was not renewed prior to the Closing). This entire process ultimately proved to be
17    extremely complicated and time consuming because nobody (including Grainger’s own internal
18
      counsel) had fully understood that there were two Grainger Supplier Agreements with two
19
      different (but affiliated) Grainger entities and agreements to the satisfaction of all parties had to
20
      be reached with respect to both agreements as Grainger made clear (once it became clear that
21

22    there were two agreements with two Grainger entities which were being viewed by the two

23    Grainger entities as one package deal). In other words, Grainger was only willing to cooperate

24    with the Debtors’ requests if both Grainger contracts were concurrently assumed and assigned to
25    Radians (or to a successful overbidder) and if a very large cure amount that no one knew about
26
      until one of the Grainger entities filed a proof of claim was paid concurrently with the sale
27
      closing. After analyzing all of the Grainger contracts in detail and interfacing on multiple
28

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 1    occasions with Grainger’s in-house counsel (who were good to work with), LNBYB (through
 2    Ron Bender) prepared the initial draft of a Grainger stipulation. After that draft was approved by
 3
      Radians, LNBYB delivered that draft to Grainger’s in-house counsel. It was after that occurred
 4
      that all of the parties understood that there were two separate Grainger entities involving two
 5
      different sets of Grainger contracts and that separate stipulations involving different contracts,
 6

 7    different facts and different cure amounts and other requirements had to be reached concurrently

 8    or Grainger was not willing to proceed. To compound matters, this all had to get done, finalized

 9    and signed in only a matter of days in order for Radians’ opening bid at the Auction to be $20
10
      million instead of $15 million. LNBYB worked very closely with Radians’ in-house counsel over
11
      the next few days to fully understand the situation by both sides and to document the two separate
12
      stipulations to the satisfaction of all parties, including the required cure amount (which Mr.
13
      Gruelich played such a crucial role in). Grainger ultimately signed both stipulations one business
14

15    day before the Auction paving the way for the Auction to begin with an opening bid by Radians

16    of $20 million instead of $15 million. Radians told the Debtors when this had occurred that
17    Radians did NOT expect the Debtors to be able to achieve all of the necessary steps to obtain this
18
      result and this was before the parties had learned of the complexity of the situation involving
19
      many more contracts and two different Grainger entities.       This proved to be an extremely
20
      important step in this process and avoided the extraordinary risk of the opening bid being $15
21

22    million (particularly had there been no qualified overbidders which only became known days

23    before the Auction). LNBYB (through Ron Bender) played a critically important role in this

24    entire Grainger process. From the time of entry of the Sale Order through the actual sale closing
25    date, LNBYB worked extremely closely with the Debtors’ senior management to help facilitate a
26
      smooth transition of the Debtors’ business and employees to BBI, including coordinating the
27
      technical termination of the Debtors’ employees and facilitate payments of the employees’
28

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 1    performance bonuses and accrued expenses, including creation of schedules and interfacing with
 2    the OCEH. As indicated, the Court approved the Debtors’ emergency employee bonus motion at
 3
      a hearing held on November 15, 2017.
 4
             4.      Case Administration (04).
 5
             During the Covered Period, LNBYB billed 194.3 hours and incurred $93,615.00 of fees in
 6

 7    this category dealing with a number of case administration matters.        LNBYB worked closely

 8    with the Debtors to assist the Debtors to prepare the Debtors’ bankruptcy petitions and related

 9    documents and all of the Debtors’ initial filing requirements (i.e., 7-day package) with the UST,
10
      insider compensation notices, bankruptcy schedules (including multiple amendment as additional
11
      facts and information became known) and statements of financial affairs. LNBYB prepared all of
12
      the Debtors’ emergency “first day” motions which was an extremely stressful and intensive
13
      process as Radians only finally agreed to enter into the Radians APA and related dip
14

15    financing/cash collateral agreement at the last moment (on Friday, September 8, 2017) all while

16    continuing to sweep all of the Debtors’ cash on a daily basis. In fact, as recently as the day before
17    (Thursday, September 7, 2017), Radians had advised the Debtors that it had decided NOT to
18
      proceed with this sale transaction. So the period just prior to the Debtors’ bankruptcy filings and
19
      the days that followed were extremely chaotic as there was a massive amount of legal work for
20
      LNBYB to do to get these cases on proper footing from the outset and to obtain all of the
21

22    necessary bankruptcy court approvals in order for the Debtors to be able function in chapter 11

23    with minimal disruption to their business operations. The three primary lawyers at LNBYB who

24    worked on these cases (Ron Bender, Monica Kim and Krikor Meshefesian) worked around-the-
25    clock the first few days following the Petition Date to make all of this happen. It was an intense
26
      period. Even though the Debtors’ new senior management (led by Mr. Greulich and Matt Pliskin)
27
      had only been running the business for a matter of weeks, they were absolutely fabulous to work
28

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 1    with – extremely talented and responsive to all of the needs of these cases. LNBYB prepared an
 2    emergency motion for an order of the Court authorizing the joint administration of these chapter
 3
      11 bankruptcy cases, which was granted by the Court. LNBYB prepared the emergency motion
 4
      for authority to file the confidential Grainger side letter agreement under seal, which was
 5
      provisionally granted by the Court. LNBYB appeared at the emergency “first day” hearings held
 6

 7    on September 13, 2017 at which the Court granted or continued all matters. LNBYB prepared a

 8    motion to extend the deadline for the Debtors to file their bankruptcy schedules and statements of

 9    financial affairs. LNBYB prepared a motion to obtain a claims bar date in these cases. LNBYB
10
      worked and coordinated with the Debtors and the UST in the appointment of the OCUC and the
11
      OCEH explaining in detail to the UST all of the dynamics and details of these cases. Once the
12
      OCUC and the OCEH were formed and hired counsel, LNBYB worked closely with them
13
      throughout these cases in an effort to have these cases proceed in a fully consensual manner to the
14

15    extent possible. Any disagreements between the parties were relatively minor in the scheme of

16    the things and all counsel acted professionally with each other in a courteous manner in a good
17    faith effort to try to resolve any differences without the need for Court intervention. LNBYB
18
      prepared NDA’s for both the members of the UCUC and OCEH (and negotiated those documents
19
      with them), given the high sensitivities of the issues involved (particularly with respect to the side
20
      letter and in the event any of the members of either the UCUC or the OCEH intended to be
21

22    prospective bidders at the Auction). LNBYB actively interfaced and communicated with both the

23    Debtors’ senior management and with the professionals at C-H. While they were all extremely

24    talented and added great value to these bankruptcy cases, they were all quite unfamiliar with the
25    chapter 11 bankruptcy process – including the intensive administrative requirements of the Court
26
      and the UST but also to the nuances to conducting a chapter 11, section 363 sale process with an
27
      auction and overbid opportunity. LNBYB prepared the Court required case status report. As the
28

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 1    facts of these extremely rapidly moving cases evolved and new information became known,
 2    LNBYB worked with the Debtors to supplement or amend the Debtors’ various filings, including
 3
      the Debtors’ bankruptcy schedules. LNBYB has actively interfaced with the Debtors’ senior
 4
      management and board of directors throughout these cases keeping them informed about all
 5
      material developments and obtaining client instructions when appropriate. LNBYB assisted the
 6

 7    Debtors in the preparation of their required Monthly Operating Reports. LNBYB worked with

 8    the Debtors and with SAM in the preparation of Form 8-K filings with the SEC.

 9           5.      Claims Administration and Objections (05).
10
             During the Covered Period, LNBYB billed 47 hours and incurred $21,073.00 of fees in
11
      this category dealing with various claims issues and analyses. LNBYB worked closely with the
12
      Debtors throughout these cases to analyze the scheduled and filed claims and has begun the
13
      process of determining which filed claims are appropriate to file objections to because they differ
14

15    from what the Debtors believe they are owed. As it does in all of its cases, LNBYB has created

16    and maintains a master claims chart for these cases and updates the claims chart as facts
17    developments unfold. LNBYB coordinated obtaining a claims bar date in these cases, preparing
18
      the claims bar date notice and order, and serving the notice on all creditors. The Debtors intend to
19
      file a joint plan of reorganization and disclosure statement together with the OCEH in the very
20
      near future, with the expectation that they will confirm their joint plan and hopefully have their
21

22    confirmed joint plan go effective by the end of the first quarter of 2018. Since it is now crystal

23    clear that all creditors will be paid in full, the Debtors do not see any legitimate basis to forcing

24    creditors whose claims are not disputed by the Debtors or the OCEH to have to wait four months
25    to be paid, which only increases the financial burden on those creditors with absolutely no benefit
26
      to the Debtors’ estates. Forcing these creditors to wait so long to be paid seems like a particularly
27
      unjust result in light of the fact that the vast majority of the Debtors’ undisputed unsecured debt
28

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 1    was paid in full concurrently with the closing of the sale. As a result, with the full support of the
 2    OCEH, LNBYB prepared and filed a motion with the Court to be heard concurrently with this
 3
      Application for authority to pay any undisputed pre-petition claims that are agreed to by both the
 4
      Debtors and the OCEH and to establish a protocol for this to occur.
 5
             6.      Employee Benefits/Pensions (06).
 6

 7           During the Covered Period, LNBYB did not incur any fees in this category.

 8           7.      Fee/Employment Applications (07).

 9           During the Covered Period, LNBYB billed 84.7 hours and incurred $44,198.00 of fees in
10
      this category. LNBYB assisted the Debtors to negotiate a bankruptcy written retention agreement
11
      with C-H, whom, while very talented and very hard working, did not have chapter 11 bankruptcy
12
      experience. LNBYB worked with the Debtors and C-H to prepare the Debtors’ application to
13
      employ C-H which was approved by the Court. LNBYB also worked with the Debtors and SAM
14

15    to prepare the Debtors’ application to employ SAM which was approved by the Court. The

16    OCEH raised a limited objection to the SAM employment application, which was subsequently
17    resolved to the satisfaction of all parties. LNBYB prepared the Debtors’ application to employ
18
      LNBYB as bankruptcy counsel and the related pleadings. LNBYB has been working with the
19
      Debtors in an effort to try to help resolve a dispute the Debtors are having with the Skadden law
20
      firm over the scope and cost of services performed as special counsel. LNBYB has analyzed all
21

22    of the employment applications filed by the other professionals in these cases and advised the

23    Debtors of same. LNBYB prepared this Application and, for efficiency purposes, the notice of

24    the first interim fee application for all of the professionals employed in these cases, including the
25    professionals employed by the OCUC and the OCEH. LNBYB also worked with SAM and C-H
26
      to prepare their fee applications as neither of them has any meaningful experience preparing
27
      chapter 11 fee applications.
28

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 1           8.      Fee/Employment Objections (08).
 2           During the Covered Period, LNBYB billed 16.4 hours and incurred $9,471.50 of fees in
 3
      this category. The Debtors and the OCEH concluded that it was inappropriate for the OCUC to
 4
      hire a financial advisor under the circumstances of these cases, a point that counsel to the Debtors
 5
      made clear to the UST and to counsel for the OCUC before the OCUC hired a financial advisor.
 6

 7    The two primary reasons for this was that (i) even with a $15 million purchase by Radians, all

 8    information indicated that general unsecured creditors would be paid in full in these cases, and (ii)

 9    it was clear from the outset that the Debtors’ (represented by highly qualified and experienced
10
      professionals) would be selling their business/assets for the most money possible and there was
11
      no discernible evidence that a financial advisor to the OCUC would provide any additional value
12
      to these bankruptcy estates. Indeed, the Debtors submit that the current financial outcome of
13
      these cases would have been identical had the OCUC not hired a financial advisor and all
14

15    creditors are being paid in full. So it is very difficult to understand how it is appropriate for the

16    Debtors’ shareholders to receive a lower recovery in these cases because the OCUC decided that
17    it needed to hire a financial advisor in a straight forward sale case, where the Debtors submit that
18
      counsel for the OCUC was more than qualified to have provided the members of the OCUC the
19
      advice that was necessary under the circumstances of these cases.           The Debtors instructed
20
      LNBYB to file an objection to the UCUC’s application to employ a financial advisor, and the
21

22    OCEH came to the same conclusion. The OCEH requested the Debtors that for efficiency

23    purposes, the OCEH would take the lead in preparing the objection and the Debtors would join in

24    the objection, which is what occurred. The Court approved the UCUC’s application to employ a
25    financial advisor over the objection of the Debtors and the OCEH but issued a stern warning to
26
      the financial advisor regarding the extent of their billings. Also included in this category is the
27
      time spent by LNBYB working with SAM, C-H, the UST and the OCEH to resolve the issues and
28

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 1    objections they had to the SAM and C-H employment applications. LNBYB was able to work
 2    out resolutions to the satisfactions of all parties, and LNBYB drafted and submitted employment
 3
      orders to the Court that incorporated in those agreed upon changes. The Court subsequently
 4
      entered orders approving the SAM and C-H employment applications. Also included in this
 5
      category are LNBYB’s efforts to assist the Debtors to try to resolve their disputes with Skadden
 6

 7    over the post-petition scope and cost of services provided so that the Debtors can proceed with

 8    filing an employment application for Skadden retroactive to when the Debtors first requested

 9    Skadden to provide post-petition services to the Debtors.
10
             9.      Financing (09).
11
             During the Covered Period, LNBYB billed 81.7 hours and incurred $46,241.50 of fees in
12
      this category. At the commencement of these cases, LNBYB prepared the Debtors’ emergency
13
      motion for approval of its dip financing and cash collateral agreement with Radians and the
14

15    related pleadings. Without the ability to continue to use cash collateral and to borrow money

16    from Radians on a post-petition basis, the Debtors’ would not have been able to operate their
17    business and achieve the results they achieved from the Auction. The Debtors’ cash needs were
18
      made that much more severe as a result of the daily cash sweep that Radians was doing all the
19
      way through the filing of the Debtors’ bankruptcy cases (recognizing that Radians would advance
20
      back to the Debtors some of the swept funds but not as much as the Debtors needed and the daily
21

22    cash sweeping was very disruptive to the Debtors’ business). Indeed, Radians reduced the

23    amount of its pre-petition secured debt by approximately $500,000 as a result of the daily

24    sweeping of funds and only advancing a portion of the swept funds back to the Debtors. On
25    September 13, 2017, LNBYB appeared at the initial hearing on the Debtors’ emergency dip
26
      financing/cash collateral motion, and LNBYB prepared the initial interim order. Consistent with
27
      the Court’s instructions, LNBYB prepared a comprehensive notice of the Debtors’ intent to seek
28

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 1    final approval of its dip financing/cash collateral agreement with Radians, and LNBYB served
 2    that notice on all of the Debtors’ shareholders and creditors. Through these cases, LNBYB
 3
      worked closely with the Debtors’ senior management and with C-H to prepare budgets and cash
 4
      flow analyses both for the Court as well as for prospective overbidders. LNBYB appeared at the
 5
      second dip financing/cash collateral hearing held on September 25, 2017. LNBYB then prepared
 6

 7    the second dip financing/ cash collateral order taking into account the modifications agreed to by

 8    the parties or ordered by the Court. LNBYB engaged in extensive discussion with counsel for

 9    Radians, the OCUC and the OCEH in an effort to try to reach an agreement on the form of a fully
10
      consensual form of final dip financing/cash collateral order prior to the final hearing on October
11
      6, 2017, and LNBYB analyzed the objections filed by the OCUC and the OCEH. As a result of
12
      significant concessions agreed to by all parties, the parties were able to reach an agreement on the
13
      form of a fully consensual dip financing/cash collateral order prior to the final hearing on October
14

15    6, 2017, that was presented to the Court. That same day, the Court entered the Final DIP Order as

16    Docket Number 87. For the balance of these chapter 11 cases through the closing of the Debtors’
17    sale to BBI, the Debtors operated their business in accordance with the Final DIP Order. The
18
      Debtors ended up borrowing approximately $1.1 million from Radians post-petition even though
19
      the Debtors had the ability to borrow up to $1.5 million. Since there was no working capital
20
      adjustment in the BBI deal, the lower borrowing amount resulted in more net sale proceeds for the
21

22    estates and a higher distribution to shareholders, and the Debtors were able to retain all of their

23    cash.

24            10.    Relief from Stay (10).
25            During the Covered Period, LNBYB billed 18.3 hours and incurred $9,709.50 of fees in
26
      this category. LNBYB prepared letters and notices of the automatic stay and filed them as
27
      appropriate with respect to all litigation matters that were pending on the Petition Date. LNBYB
28

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 1    analyzed the relief from stay motion and related pleadings filed by former management
 2    (Cordes/Aisenberg) and reviewed the same with the Debtors and the OCEH. The Debtors and the
 3
      OCEH agreed that LNBYB would take the lead in preparing the opposition to that relief from stay
 4
      motion and the OCEH would join in that opposition. LNBYB appeared at the initial hearing on
 5
      that relief from stay motion held on November 15, 2017, at which the Court continued the hearing
 6

 7    pending further briefing.

 8           11.     Meetings of Creditors (11).

 9           During the Covered Period, LNBYB billed 21.4 hours and incurred $12,403.00 of fees in
10
      this category. LNBYB engaged in numerous conversations with counsel to the UST in terms of
11
      assisting in the formation of the OCUC and the OCEH and scheduling the 341(a) meeting of
12
      creditors. LNBYB appeared at the initial 341(a) meeting scheduled by the UST on October 11,
13
      2017, which was continued to October 25, 2017. The UST concluded the 341(a) meeting on
14

15    October 25, 2017. Also included in this billing category is various correspondence with both the

16    OCUC and the OCEH on a multitude of matters. LNBYB has been in constant contact with
17    counsel to the OCEH in order to efficiently administer these estates in a completely collaborative
18
      manner.
19
             12.     Plan and Disclosure Statement (12).
20
             During the period covered by this Application, LNBYB billed 8.2 hours and incurred
21

22    $4,879.00 of fees in this category. The Debtors and the OCEH have agreed that they will file a

23    joint plan and disclosure statement as soon as possible and seek to bring these chapter 11

24    bankruptcy cases to a swift conclusion to enable the remaining allowed claims to be paid in full
25    and for the remaining funds in these estates to be distributed to shareholders. LNBYB has already
26
      made significant progress in this regard and expects to deliver drafts of a joint plan and disclosure
27
      statement to the OCEH in the very near future with the expectation of confirming the joint plan
28

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 1    during the early part of 2018. LNBYB has advised the Debtors’ senior management and Board
 2    regarding this concept, and the Debtors’ senior management and Board are fully supportive.
 3
             13.     Other Litigation (20).
 4
             During the Covered Period, LNBYB billed 15.8 hours and incurred $8,663.00 of fees in
 5
      this category dealing with various litigation matters and assisting the Debtors to analyze their
 6

 7    outstanding litigation matters. Some of LNBYB’s fees incurred in negotiating and documenting

 8    mutually acceptable forms of NDA’s for the OCUC and OCEH are included in this category.

 9    Also included in this category is time spent by LNBYB participating in the drafting of a joint
10
      defense agreement (or common interest privilege agreement) between the Debtors and the OCEH
11
      to facilitate the delivery by the Skadden firm of a confidential investigative report addressing the
12
      allegedly bad acts by the Debtors’ former management which neither LNBYB nor the OCEH
13
      currently have. Following the termination of that former management, the Board established a
14

15    special sub-committee of the Board of independent Board members and that apparently was

16    Skadden’s technical client. But the parties are all working in good faith to arrive at an appropriate
17    joint defense agreement (or common interest privilege agreement) so that Skadden can feel
18
      comfortable delivering a copy of the investigative report to the OCEH without violating any
19
      privilege.
20
             14.     Miscellaneous (99).
21

22           During the Covered Period, LNBYB billed 6.1 hours and incurred $3,491.50 of fees in

23    this category dealing with various miscellaneous matters.

24    J.     Detailed Listing of All Time Spent By the Professional on the Matter for Which
25           Compensation is Sought.
26
             Attached as Exhibit “1” to the annexed Declaration of Ron Bender, Esq. is a detailed
27
      listing of all time that LNBYB spent during the Covered Period for which LNBYB seeks
28

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 1    compensation, including the date LNBYB rendered the service, a description of the service, the
 2    amount of time spent and a designation of the person who rendered the service for the period of
 3
      time for the Covered Period. Also included in Exhibit “1” is a summary of the hours and fees
 4
      charged by each of LNBYB’s attorneys that performed services for the Debtors. Also included in
 5
      Exhibit “1” is a breakdown of time entries into the activity codes maintained by LNBYB.
 6

 7    K.     Detailed Listing of Expenses By Category.

 8           Attached hereto as Exhibit “2” is a summary listing by category and an itemization of all

 9    expenses that LNBYB advanced on behalf of the Debtors during these cases. These include
10
      LNBYB’s expenses incurred in photocopying, making long distance telephone calls, telecopying,
11
      mailing, and hiring messenger services.          LNBYB generally handles regular and routine
12
      photocopying in-house for which LNBYB charges clients twenty cents per page. While LNBYB
13
      believes that this is less than LNBYB’s actual expenses incurred with regard to the photocopying
14

15    machines, supplies and labor associated with providing photocopying services, this charge reflects

16    the photocopying charge recommended by the UST in the Central District of California.
17    LNBYB’s photocopy machines automatically record the number of copies made when the person
18
      that is photocopying enters the client’s account number into a device attached to the photocopy
19
      machine. Whenever feasible, LNBYB sends large copying projects to outside copy services that
20
      charge bulk rates for photocopying. In such instances, LNBYB charges clients the same amount
21

22    that LNBYB pays the outside service.

23           LNBYB charges clients $1.00 per page for sending telecopies and $.20 per page for

24    receiving telecopies which LNBYB believes is less than LNBYB’s actual expenses incurred with
25    regard to telecopying but again is a decision by LNBYB to comply with the standards set forth by
26
      the UST in the Central District of California.
27

28

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 1           All expenses that LNBYB advanced on behalf of the Debtors were necessarily incurred
 2    and are properly charged as administrative expenses of the Debtors’ chapter 11 estates.
 3
             When LNBYB uses Lexis and Westlaw, the user inputs the client account number or case
 4
      name for the research to be performed. Each month, LNBYB receives a Lexis and Westlaw
 5
      invoice which reflects both an aggregate total of charges incurred by LNBYB for the month, as
 6

 7    well as a break out of the specific charges incurred on behalf of each client (identified by name or

 8    client account number). The amount(s) reflected on the monthly invoice is then entered by

 9    LNBYB staff to the appropriate client account number as identified on the invoice. There is no
10
      profit or other additional charge added to the amount reflected in the Lexis and Westlaw invoice.
11
      L.     Description of Professional Education and Experience.
12
             LNBYB is currently comprised of twenty-four lawyers.               LNBYB is comprised of
13
      attorneys who specialize in and limit their practice to matters of insolvency, reorganization and
14

15    bankruptcy law, and commercial litigation matters, and is well qualified to represent the Debtors.

16    All attorneys comprising or associated with LNBYB are admitted to practice law in the California
17    courts and in the United States District Court for the Central District of California. Attached
18
      hereto as Exhibit “3” is a copy of LNBYB’s firm resume and the resumes of its professionals and
19
      paraprofessionals. Attached hereto as Exhibit “4” is a listing of the current hourly billing rates for
20
      each of LNBYB’s professionals and paraprofessionals.
21

22    M.     Source and Amount of Cash Available to Pay LNBYB’s Allowed Fees and Expenses.

23           As indicated above, there is a current remaining balance in the Trust Account of

24    $16,354,050.82 (the “Remaining Estate Funds”) which are continuing to be maintained in the Trust
25    Account by LNBYB pending further order of the Court. All of the Remaining Estate Funds are
26
      unencumbered and are available to be used to pay the allowed fees and expenses of LNBYB and the
27
      other professionals employed in these cases. As set forth in a concurrently filed motion by the Debtors
28

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 1    for authority to pay all undisputed pre-petition debt that contains a very detailed claims chart (done
 2    with the full support of and in conjunction with the OCEH), the total outstanding pre-petition debt in
 3
      these cases if every filed proof of claim was deemed allowed in the amount asserted by the creditor
 4
      (recognizing of course that the Debtors dispute many of these remaining claims and are in the process
 5
      of preparing objections to them) is approximately $2,839,911.78 amounting to less than 18% of the
 6

 7    Remaining Estate Funds. In addition to the $16,354,050.82 of Remaining Estate Funds, there

 8    remains approximately $800,000 of funds in the Debtors’ debtor-in-possession account as of the

 9    date of the filing of this Application, but with the sale having closed only one week ago, a
10
      significant portion of those funds are going to be needed to pay outstanding post-bankruptcy debts
11
      (such as vendor debt) and ongoing costs of administering these estates. By the time of the filing
12
      of the November, 2017 Monthly Operating Report, the funds in that account should be far along
13
      in the reconciliation process.
14

15                                                     V.

16                                          STANDARD OF LAW
17           Prior to the enactment of the Bankruptcy Code, the rule with respect to compensation
18
      requests in the Ninth Circuit was that the Bankruptcy Court should award attorneys’ fees in
19
      accordance with a “strict rule of economy test.” In re THC Financial Corp., 659 F.2d 951, 955
20
      n.2 (9th Cir.1981), cert. denied, 456 U.S. 977 (1982). This is no longer the law. The legislative
21

22    history to section 330 of the Bankruptcy Code indicates that Congress was primarily concerned

23    with protecting the public interest in the smooth, efficient operation of the bankruptcy system by

24    encouraging competent bankruptcy specialists to remain in the field. First National Bank of
25    Chicago v. Committee of Creditors Holding Unsecured Claims (In re Powerline Oil Co.), 71 B.R.
26
      767, 770 (Bankr. 9th Cir. 1986); In re Baldwin-United Corp., 79 B.R. 321, 346 (Bankr.S.D.Ohio
27
      1987). Toward this end, Congress specifically disavowed notions of economy of administration,
28

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 1    and provided that compensation in bankruptcy case should be comparable to what is charged in
 2    nonbankruptcy matters. Id. at 346.
 3
             Under the lodestar approach, the Court is to determine the number of hours reasonably
 4
      expended in an attorney’s representation of a debtor and multiply such number by a reasonable
 5
      hourly rate for the services performed. See Delaware Valley Citizens’ Council for Clear Air, 478
 6

 7    U.S. at 565; In re Powerline Oil Co., 71 B.R. at 770. A reasonable hourly rate is presumptively

 8    the rate the marketplace pays for the services rendered. Missouri v. Jenkins by Agyei, 491 U.S.

 9    274, 109 S.Ct. 2463, 2469 (1989); Burgess v. Klenske (In re Manoa Finance Co., Inc.) 853 F.2d
10
      687, 691 (9th Cir.1988). Recognizing that the determination of an appropriate “market rate” for
11
      the services of a lawyer is inherently difficult, the Supreme Court stated:
12
                     Market prices of commodities and most services are determined
13                   by supply and demand. In this traditional sense there is no such
                     thing as a prevailing market rate for the service of lawyers in a
14
                     particular community. The type of services rendered by lawyers,
15                   as well as its experience, skill, and reputation, varies extensively --
                     even within a law firm. Accordingly, the hourly rates of lawyers
16                   in private practice also vary widely. The fees charged often are
                     based on the product of hours devoted to the representation
17                   multiplied by the lawyer’s customary rate.
18
      Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984). The Supreme Court has stated that a reasonable
19
      attorney’s fee “means a fee that would have been deemed reasonable if billed to affluent plaintiffs
20
      by its own attorneys.” Missouri v. Jenkins by Agyei, 109 S.Ct. at 2470 (quoting City of Riverside
21

22    v. Rivera, 477 U.S. 561, 591 (1986) (Rehnquist, J. dissenting)). Accordingly, a reasonable hourly

23    rate is the hourly amount to which attorneys in the area with comparable skill, experience and

24    reputation typically would be entitled as compensation. Blum v. Stenson, 465 U.S. at 895 n.11.
25           LNBYB respectfully submits that the hourly rates for its attorneys and paraprofessionals
26
      and the total amount of fees and expenses incurred are reasonable and appropriate in the relevant
27
      community and in view of the circumstances of, and extraordinarily successful results achieved
28

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 1    by LNBYB in, these complicated, difficult, large and intensive chapter 11 cases. While virtually
 2    all large law firms with bankruptcy/insolvency departments and many of the high level
 3
      bankruptcy/insolvency boutique law firms in both California and around the Country have
 4
      exploded their billing rates over these recent years, even to the point of where hourly billings rates
 5
      have literally doubled since just a relative short time ago, LNBYB has intentionally kept its high
 6

 7    end billing rates unchanged or virtually unchanged for many years. LNBYB’s average hourly

 8    lawyer billing rate is significantly lower than the hourly rates charged by other comparably large,

 9    Los Angeles based bankruptcy boutiques, and by the large law firms in Los Angeles with
10
      bankruptcy departments that have the size and experience of LNBYB. The seven senior partners
11
      at LNBYB, which includes Ron Bender who served as lead counsel in these cases for LNBYB
12
      (and has been a managing partner of LNBYB for 22 years and has represented hundreds of
13
      chapter 11 debtors), have an hourly billing rate of $595, which has been the same for many years.
14

15    This rate is significantly lower than the hourly rates charged by other comparably large, Los

16    Angeles based bankruptcy/insolvency boutiques, and by the large law firms in Los Angeles with
17    bankruptcy departments that have the size, skill and experience of LNBYB. Indeed, an hourly
18
      billing rate of $595 is in many instances less than half of what many colleagues in Los Angeles
19
      and around the Country with Mr. Bender’s resume and experience charge. LNBYB has done this
20
      intentionally both to be considered a top talent bankruptcy/insolvency boutique firm where clients
21

22    get the best legal representation possible at affordable prices and because LNBYB believes that

23    the rates charged by many of these other firms are simply abusive and inappropriate. In addition

24    to the fact that LNBYB’s hourly rates are imminently reasonable given the talent and experience
25    of its lawyers, LNBYB makes every effort to handle its bankruptcy cases in the most efficient
26
      manner possible because hourly billing rates do not mean anything if a law firm overstaffs a
27
      bankruptcy case. In these cases, despite the intensity and sheer volume of work needed and
28

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 1    needed in an extraordinarily tight time frame, LNBYB essentially staffed these cases with only
 2    three lawyers who with rare exception handled the entire cases, and LNBYB made every effort to
 3
      avoid duplication of efforts.
 4
             In addition to the foregoing, LNBYB respectfully submits that it played a crucial role in
 5
      the extraordinary success of these cases. Pre-petition, LNBYB played an instrumental role in
 6

 7    persuading Radians at times not to sweep the Debtors’ cash and at other times when Radians

 8    insisted on sweeping the Debtors’ cash persuading Radians to advance back to the Debtors a

 9    sufficient amount of money to enable the Debtors to operate their business and avoid irreparable
10
      harm while the Debtors and Radians negotiated the terms of a sale agreement and overbid process
11
      and the terms of a cash collateral and dip financing agreement with extremely reasonable terms
12
      (far less expensive money than any traditional dip lender would have charged). LNBYB served
13
      as the point in the negotiations and drafting of both the Radians APA and the cash collateral/dip
14

15    financing agreement. Of particular note was persuading Radians to agree that it would not be able

16    to use its $500,000 break-up fee as a permanent bidding benefit in an auction process which may
17    have caused prospective overbidders not to participate in the Auction given the huge bidding
18
      advantage that would have given Radians. Instead, Radians agreed to a “matching right” which
19
      was the subject of some debate in Court but both PIP and BBI advised LNBYB that they viewed
20
      Radians “matching right” as irrelevant to their willingness to participate in the Auction. For all of
21

22    the reasons explained above, LNBYB also played a pivotal role in the negotiation and drafting of

23    the two settlement stipulations with the two Grainger entities which caused Radians to be required

24    to start the Auction with an opening bid of $20 million instead of $15 million, and, of course, the
25    Auction ended with a purchase price of $25.25 million, which was far higher than anything
26
      offered to the Debtors pre-petition (and higher than the Debtors thought likely post-bankruptcy).
27
      So while Radians (and the Debtors’ own need for financing) ultimately caused the Debtors’
28

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 1    chapter 11 bankruptcy filings, the chapter 11 bankruptcy filings and the ultimate Auction proved
 2    to be a great success.
 3
             LNBYB was tasked with (i) setting up these chapter 11 bankruptcy cases with a locked in
 4
      stalking horse bid in hand with Radians and a cash collateral/dip financing agreement in hand; (ii)
 5
      assisting the Debtors to manage their chapter 11 bankruptcy estates; (iii) facilitating the sale and
 6

 7    Auction process designed to obtain the highest and best price possible for the Debtors’ assets; and

 8    (iv) to close the sale to the winning bidder at the Auction. LNBYB achieved all of this in

 9    virtually record time with an extraordinary result for creditors and shareholders. Because the
10
      Debtors had very limited access to funds at the time of their bankruptcy filings (in part because of
11
      the daily sweeping of funds by Radians), LNBYB agreed to file the Debtors’ chapter 11 cases
12
      with no remaining pre-petition retainer and to waive all of LNBYB’s outstanding fees and
13
      expenses incurred pre-petition in excess of the $60,000 retainer paid to LNBYB by the Debtors.
14

15    LNBYB did all of this because of its confidence in the Debtors and itself and in order to assist the

16    Debtors in their time of need and not to impose an additional financial burden on the Debtors
17    when the Debtors had limited funds. LNBYB therefore incurred all of the risk of not being paid,
18
      which was a real possibility given that (i) Radians had the right to walk away from the sale and
19
      forfeit only its $1 million deposit; (ii) the Debtors would have run out of money before the end of
20
      the year; and (iii) had all of this occurred, it is not at all clear that the Debtors would have been
21

22    able to consummate a sale for a high enough price to pay off its indebtedness to Radians, and

23    LNBYB never requested at the outset and is not requesting now any bonus to offset that risk –

24    despite the extraordinary results achieved in these cases.
25           The Debtors selected LNBYB as their bankruptcy counsel because of the Debtors’
26
      confidence in LNBYB’s ability to successfully deal with the many complex and difficult issues
27
      related to the Debtors’ financial and business affairs and to assist the Debtors to maximize the
28

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 1    value of their assets and bankruptcy estates and recovery for creditors in an efficient and effective
 2    manner. LNBYB made every effort to administer these highly intensive cases in as efficient
 3
      manner as possible and to avoid duplication of efforts by LNBYB’s lawyers.                  LNBYB
 4
      respectfully submits that the foregoing establishes that LNBYB’s requested fees and expenses are
 5
      reasonable and appropriate and should be approved by the Court.
 6

 7                                                    VI.

 8                BILLING ALLOCATION RECENTLY REQUESTED BY THE UST

 9           It has been and will always be the policy of LNBYB to accommodate the needs and
10
      desires of the UST whenever possible. In LNBYB’s employment application, which was not
11
      opposed by the UST or any other party and approved by the Court as submitted, LNBYB
12
      provided that it would bill all of its fees and expenses in its representation of the Debtors to one
13
      billing number. As indicated above, other than owning all of the shares in the California entity,
14

15    the Nevada entity had no operating business as all business operations effective functioned

16    through the California entity.
17           This would be the typical way in which LNBYB would handle multi-debtor cases like
18
      this, particularly when only one of the debtors is the operating entity.         The UST recently
19
      requested LNBYB to go back to the beginning of these cases and allocate its time separately
20
      among the two Debtors. LNBYB responded by stating that this was completely impractical and
21

22    not even possible because LNBYB did not bill its time in that manner. Rather, LNBYB billed its

23    time in the manner set forth in its employment application that was approved by the Court without

24    objection from the UST. So it was too late for that. The UST said it understood and requested
25    LNBYB to agree to “allocate” some percentage of its fees to the Nevada case.                LNBYB
26
      responded by stating that if this was important to the UST, acceptable to the Court, and, by doing
27
      so, the Court would permit that portion of LNBYB’s fees to be paid out of the Remaining Estate
28

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 1    Funds, then LNBYB would be fine doing that. The UST suggested that LNBYB allocate 10% of
 2    its fees to the Nevada case. As a practical matter, very little to no time was actually spent by
 3
      LNBYB on just the Nevada case (and far less than 10%). In light of the fact that there is a current
 4
      remaining balance of Remaining Estate Funds of $16,354,050.82 and all of the remaining pre-
 5
      petition debt in these cases is a small fraction of this amount even if every single disputed filed
 6

 7    claim was allowed in the amount asserted (as described above), there appears to be no question

 8    that many millions of dollars are going to be paid to the shareholders of the Nevada entity.

 9    Moreover, any administrative claim for fees of professionals allocated to the Nevada case are
10
      entitled to be paid in full before any distribution is made to shareholders. As a result, this
11
      exercise of allocating fees to the Nevada case and then having a portion of the Remaining Estate
12
      Funds “upstreamed” to the Nevada debtor when these cases have been jointly administered seems
13
      like a rather pointless exercise but is particularly important to the professionals who have been
14

15    employed by the OCEH because they apparently have been employed only in the Nevada case

16    (since the sole shareholder of the California case is the Nevada debtor).
17           As a result, at the request of the UST and the OCEH, concurrently with the filing of this
18
      Application, the Debtors will be filing a motion with the Court (and serving notice of it on all
19
      creditors and shareholders together with the notice package of multiple matters) seeking the
20
      Court’s authority to the extent necessary to enable the California entity to “upstream” funds to the
21

22    Nevada debtor to enable the fees and expenses that are allowed by the Court and attributable to

23    the Nevada debtor to be paid out of the Remaining Estate Funds. Since LNBYB is serving as the

24    Escrow Agent for the Remaining Estate Funds, if the Court decides that this is necessary and
25    appropriate, the details of exactly how this will be implemented can be discussed at the hearing
26
      and will occur in the manner as ordered by the Court.
27

28

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 1                                                     VII.
 2                                              CONCLUSION
 3
             WHEREFORE, LNBYB respectfully requests that this Court enter an order:
 4
             1.      approving on an interim basis fees in the amount of $531,944.50 and expenses of
 5
      $39,376.99 for total fees and expenses in the amount of $571,321.49 incurred during the Covered
 6

 7    Period of September 8, 2017 through November 20, 2017, and authorizing LNBYB to be paid this

 8    sum of $571,321.49 from the Remaining Estate Funds (inclusive of any allocation the Court deems

 9    appropriate, if any, in regards to the Nevada entity); and
10
             2.      granting such other and further relief as the Court deems just and proper.
11
      Dated: November 21, 2017                       LEVENE, NEALE, BENDER, YOO & BRILL
12                                                   L.L.P.

13
                                                     By:___/s/ Ron Bender                      ____
14
                                                           RON BENDER
15                                                         MONICA Y. KIM
                                                           KRIKOR J. MESHEFEJIAN
16                                                         LEVENE, NEALE, BENDER, YOO
                                                           & BRILL L.L.P.
17                                                         Attorneys for Chapter 11 Debtors and
                                                           Debtors in Possession
18

19

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 1                             DECLARATION OF RON BENDER, ESQ.
 2           I, Ron Bender, hereby declare as follows:
 3
             1.     I have personal knowledge of the facts set forth below, and, if called to testify,
 4
      would and could competently testify thereto.
 5
             2.     I am a managing partner of the law firm of Levene, Neale, Bender, Yoo & Brill
 6

 7    L.L.P. (“LNBYB”), bankruptcy counsel to ICPW Liquidation Corporation, a California

 8    corporation, formerly known as Ironclad Performance Wear Corporation, a California corporation

 9    (“ICPW California”), and ICPW Liquidation Corporation, a Nevada corporation, formerly known
10
      as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW Nevada” and
11
      collectively with ICPW California, the “Debtors”).
12
             3.     I make this Declaration in support of LNBYB’s First Interim Application for
13
      Approval of Fees and Reimbursement of Expenses (the “Application”) for services rendered and
14

15    expenses incurred for the period of September 8, 2017 (the date of the Debtors’ chapter 11

16    bankruptcy filings) through November 20, 2017 (the “Covered Period”).
17           4.     I am an attorney licensed to practice law in the State of California, and in the
18
      United States District Court and the Bankruptcy Court for the Central District of California,
19
      among other courts. I have represented hundreds of debtors in chapter 11. I am familiar with
20
      Local Bankruptcy Rule 2016-1. I prepared the Application.
21

22           5.     To the best of my knowledge, information and belief, all of the matters stated in

23    the Application are true and correct, and the Application complies with all applicable statutes,

24    rules, regulations and procedures, including Local Bankruptcy Rule 2016-1.
25           6.     The amounts requested in the Application for compensation of fees and
26
      reimbursement of expenses incurred are based on LNBYB’s business records, which are kept and
27
      maintained by LNBYB in the ordinary course of LNBYB’s business.
28

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 1           7.      All expenses for outside services such as photocopying services, messenger and
 2    express mail services, postage and research services (Lexis and Westlaw) for which LNBYB
 3
      requests reimbursement are the actual expenses incurred by LNBYB for such services, and
 4
      LNBYB does not seek any additional amounts or profits with respect thereto.
 5
             8.      Attached hereto as Exhibit “1” is a detailed listing of all time entries for services
 6

 7    performed, a summary of services performed, and specific descriptions of services performed,

 8    during the Covered Period.

 9           9.      Attached hereto as Exhibit “2” is a detailed listing of all expenses incurred by
10
      LNBYB during the Covered Period (recognizing that there are at times delays between the date
11
      that expenses are incurred by LNBYB and when they are entered into LNBYB’s billing system so
12
      that additional expenses incurred during the Covered Period may not be contained in Exhibit “2”
13
      and will appear in the next fee application filed by LNBYB).
14

15           10.     Attached hereto as Exhibit “3” is a copy of LNBYB’s firm resume and the

16    resumes of its professionals and paraprofessionals.
17           11.     Attached hereto as Exhibit “4” is a listing of the hourly billing rates of LNBYB’s
18
      professionals and paraprofessionals.
19
             12.     It has been and will always be the policy of LNBYB to accommodate the needs
20
      and desires of the UST whenever possible. In LNBYB’s employment application, which was not
21

22    opposed by the UST or any other party and approved by the Court as submitted, LNBYB included

23    the following language in bold immediately below:

24                   For efficiency purposes, and with their chapter 11 cases jointly
25                   administered, the Debtors will bill all of their fees and expenses
26
                     incurred in their representation of the Debtors to one billing
27
                     number. As indicated above, other than owning all of the
28

                                                      45
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 1                   shares in Ironclad California, Ironclad Nevada has no business
 2                   as all operations of the Debtors effectively function through
 3
                     Ironclad California.
 4
             13.     This would be the typical way in which LNBYB would handle multi-debtor cases
 5
      like this. The UST recently requested LNBYB (through me) to go back to the beginning of these
 6

 7    cases and allocate LNBYB’s time separately among the two Debtors. I responded on behalf of

 8    LNBYB by stating that this was completely impractical and not even possible because LNBYB

 9    did not bill its time in that manner. Rather, LNBYB billed its time in the manner set forth in its
10
      employment application that was approved by the Court without objection from the UST. So it
11
      was too late for that. The UST said it understood and requested LNBYB to agree to “allocate”
12
      some percentage of its fees to the Nevada case. LNBYB responded by stating that if this was
13
      important to the UST, acceptable to the Court, and, by doing so, the Court would permit that
14

15    portion of LNBYB’s fees to be paid out of the Remaining Estate Funds, then LNBYB would be

16    fine doing that. The UST suggested that LNBYB allocate 10% of its fees to the Nevada case. As
17    a practical matter, very little to no time was actually spent by LNBYB on just the Nevada case
18
      (and far less than 10%).
19
             14.     In light of the fact that there is a current remaining balance of Remaining Estate
20
      Funds of $16,351,500.82 and all of the remaining pre-petition debt in these cases is a small
21

22    fraction of this amount even if every single disputed filed claim was allowed in the amount

23    asserted, there appears to be no question that many millions of dollars are going to be paid to the

24    shareholders of the Nevada entity. Moreover, any administrative claim for fees of professionals
25    allocated to the Nevada case are entitled to be paid in full before any distribution is made to
26
      shareholders. As a result, this exercise of allocating fees to the Nevada case and then having a
27
      portion of the Remaining Estate Funds “upstreamed” to the Nevada debtor when these cases have
28

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 1    been jointly administered seems like a rather pointless exercise but is particularly important to the
 2    professionals who have been employed by the OCEH because they apparently have been
 3
      employed only in the Nevada case (since the sole shareholder of the California case is the Nevada
 4
      debtor).
 5
             15.     As a result, at the request of the UST and the OCEH, concurrently with the filing
 6

 7    of the Application, the Debtors will be filing a motion with the Court (and serving notice of it on

 8    all creditors and shareholders together with the notice package of multiple matters) seeking the

 9    Court’s authority to the extent necessary to enable the California entity to “upstream” funds to the
10
      Nevada debtor to enable the fees and expenses that are allowed by the Court and attributable to
11
      the Nevada debtor to be paid out of the Remaining Estate Funds. Since LNBYB is serving as the
12
      Escrow Agent for the Remaining Estate Funds, if the Court decides that this is necessary, the
13
      details of exactly how this will be implemented can be discussed at the hearing and will occur in
14

15    the manner as ordered by the Court.

16           I declare under penalty of perjury under the laws of the United States of America that the
17    foregoing is true and correct.
18
             Executed this 21st day of November, 2017, at Los Angeles, California.
19

20                                                                /s/ Ron Bender
                                                              RON BENDER, ESQ.
21

22

23

24

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                                                       47
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                    EXHIBIT "1"
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                          FEE APPLICATION

Ironclad Performance Wear
                                                                  11/21/2017
Geoff Greulich, President
15260 Ventura Blvd., 20th Floor
Sherman Oaks, CA 91403
Ironclad Performance Wear                             RB
OUR FILE #: 8300
PROFESSIONAL SERVICE RENDERED           9/8/2017       THROUGH       11/20/2017

  TOTAL PROFESSIONAL HOURS              975.4         FEES           $531,944.50
                COSTS

             CONFERENCE CALL CHARGES                       203.12
             REPRODUCTION COSTS                         12,838.40
             FEDERAL EXPRESS                            15,809.94
             FILING FEE                                  3,496.00
             MESSENGER SERVICE                             312.50
             Overnight Delivery                              17.78
             POSTAGE                                     2,168.77
             ATTORNEY SERVICE COSTS                      2,611.63
             TELEPHONIC COURT APPEARANCE                 1,185.00
             WESTLAW RESEARCH                              733.85
                                         TOTAL COSTS                  $39,376.99

CURRENT PERIOD TOTAL PROFESSIONAL FEES AND COSTS                     $571,321.49
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Ironclad Performance Wear
CASE #       8300                                            From Date             9/8/2017
                                                                To Date          11/20/2017
     01   -   ASSET ANALYSIS AND RECOVERY

   9/8/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE RE CASH SWEEPING ISSUES



    2088867      KJM                              535.00                $53.50                0.1

   9/9/2017 ANALYSIS OF ISSUES AND LAW RELATING TO FILING LETTER AGREEMENT UNDER SEAL



    2091374      RB                               595.00               $119.00                0.2

  9/11/2017 ANALYSIS OF INVENTORY ISSUES; CONF WITH GEOFF



    2091477      RB                               595.00               $178.50                0.3

  9/14/2017 CONFERENCE CALL WITH GEOFF AND MATT RE: OVERALL CASE REVIEW, ANALYSIS AND
            PLANNING

    2091601      RB                               595.00               $476.00                0.8

  9/15/2017 ANALYSIS OF REAL PROPERTY LEASE AGREEMENT AND TERMS THEREOF



    2090204      KJM                              535.00               $267.50                0.5

  9/15/2017 PREPARATION OF CORRESPONDENCE REGARDING RENEWAL REQUIREMENTS FOR REAL
            PROPERTY LEASE; ANALYSIS OF RELATED CORRESPONDENCE

    2090205      KJM                              535.00                $53.50                0.1

  9/20/2017 PREPARATION OF EMAIL EXCHANGE WITH FRANK RE: CASE STATUS AND REVIEW



    2092654      RB                               595.00                $59.50                0.1

  9/21/2017 ANALYSIS OF CORRESPONDENCE REGARDING INVENTORY COUNT



    2092136      KJM                              535.00                $53.50                0.1

  9/21/2017 PREPARATION OF EMAIL EXCHANGE WITH SAM AND CLIENT RE: TRADEMARK PROSECUTION
            FEES

    2092680      RB                               595.00                $59.50                0.1

  9/21/2017 ANALYSIS OF EMAILS RE: INVENTORY COUNT ISSUES AND REVIEW



    2092697      RB                               595.00                $59.50                0.1

  9/25/2017 ANALYSIS OF EMAILS RE: PATENT PROSECUTION ISSUES AND REVIEW



    2094669      RB                               595.00                $59.50                0.1
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Ironclad Performance Wear
CASE #       8300                                             From Date           9/8/2017
                                                                 To Date        11/20/2017
  9/30/2017 TELEPHONE CONFERENCE WITH TANIA RE: DISPUTES WITH OCC OVER DILIGENCE REQUESTS



    2095011   RB                                   595.00             $119.00                  0.2

  10/2/2017 PREPARATION OF EMAIL EXCHANGE RE: INFOR DISPUTE WITH CREDITORS COMMITTEE; CONF
            WITH CLIENT

    2101435   RB                                   595.00             $119.00                  0.2

  10/2/2017 ANALYSIS OF PROVINCE DILIGENCE REQUEST; PREP OF RELATED EMAIL EXCHANGE; CONF
            WITH STEVE RICKMAN AND CLIENT

    2101449   RB                                   595.00             $238.00                  0.4

  10/2/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: CONFIDENTIALITY ISSUES WITH
            COMMITTEES; CONF WITH TANIA AND STEVE

    2101462   RB                                   595.00             $238.00                  0.4

  10/3/2017 ANALYSIS OF INVENTORY COUNT ISSUES AND REVIEW OF RELATED DOCS AND EMAILS



    2101485   RB                                   595.00             $119.00                  0.2

  10/4/2017 ANALYSIS OF EMAILS RE: AMS SITUATION; CONF WITH GEOFF



    2101712   RB                                   595.00             $178.50                  0.3

 10/11/2017 ANALYSIS OF SEC EMAIL RE: SALE ISSUES AND DOCUMENT PRESERVATION



    2101877   RB                                   595.00              $59.50                  0.1

 10/12/2017 CONFERENCE CALL WITH SAM AND TANIA RE: OVERALL SALE AND CASE PLANNING AND
            REVIEW OF RECOVERY FOR SHAREHOLDERS

    2101921   RB                                   595.00             $297.50                  0.5

 10/14/2017 PREPARATION OF EMAIL EXCHANGE RE: INVESTIGATIVE REPORTS OF PRIOR MANAGEMENT



    2101955   RB                                   595.00              $59.50                  0.1

 10/16/2017 PREPARATION OF EMAIL EXCHANGE RE: INVESTIGATIVE REPORTS



    2101971   RB                                   595.00              $59.50                  0.1

 10/17/2017 TELEPHONE CONFERENCE WITH BOARD MEMBER MIKE DIGREGORIO RE: OVERALL CASE
            REVIEW AND ANALYSIS; PREP OF RELATED EMAIL EXCHANGE

    2102031   RB                                   595.00             $238.00                  0.4

 10/17/2017 ANALYSIS OF FURTHER EMAILS RE: POST SALE CLOSING CASE PLANNING; CONF WITH GEOFF
            AND MATT

    2102042   RB                                   595.00             $178.50                  0.3
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Ironclad Performance Wear
CASE #       8300                                            From Date            9/8/2017
                                                                To Date         11/20/2017
 10/18/2017 PREPARATION OF EMAIL EXCHANGE RE: INVESTIGATIVE REPORTS



    2102047   RB                                  595.00               $59.50                 0.1

 10/23/2017 ANALYSIS OF D&O INSURANCE COVERAGE ISSUES AND RELATED EMAIL; CONF WITH GEOFF



    2103051   RB                                  595.00              $178.50                 0.3

 10/23/2017 ANALYSIS OF MULTIPLE GRAINGER SUPPLIER AGREEMENTS; CONF WITH GEOFF, MATT AND
            RICKMAN; PREP OF RELATED EMAIL EXCHANGE

    2103054   RB                                  595.00              $892.50                 1.5

 10/23/2017 PREPARATION OF EMAIL EXCHANGE RE: INVESTIGATIVE REPORTS



    2103067   RB                                  595.00               $59.50                 0.1

 10/25/2017 PREPARATION OF EMAIL EXCHANGE RE: FURTHER ANALYSIS OF CONTRACT CURES AND
            REJECTION CLAIMS; CONF WITH RICKMAN

    2103114   RB                                  595.00              $238.00                 0.4

 10/25/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: CURE CLAIMS, REJECTION DAMAGES AND
            EMPLOYEE CLAIMS; CONF WITH CLIENT

    2103116   RB                                  595.00              $238.00                 0.4

 10/27/2017 ANALYSIS OF AUCTION PRICE ANALYSIS PREPARED BY C-H; CONF WITH RICKMAN



    2104028   RB                                  595.00              $238.00                 0.4

 10/27/2017 PREPARATION OF EMAIL EXCHANGE WITH SEC RE: DOCUMENT PRESERVATION ISSUES; CONF
            WITH CLIENT

    2104035   RB                                  595.00              $119.00                 0.2

 10/28/2017 ANALYSIS OF FURTHER UPDATED CONTRACT CURE AND REJECTION DAMAGES CHART; CONF
            WITH RICKMAN

    2104063   RB                                  595.00              $297.50                 0.5

 10/31/2017 PREPARATION OF EMAIL EXCHANGE WITH UST RE: DEPOSIT OF NET SALE PROCEEDS;
            ANALYSIS OF BANKRUPTCY CODE; CONF WITH FIRST REPUBLIC BANK

    2104645   RB                                  595.00              $297.50                 0.5

 10/31/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: DEPOSIT OF NET SALE PROCEEDS



    2104674   RB                                  595.00              $119.00                 0.2

  11/1/2017 TELEPHONE CONFERENCE WITH FRB RE: NEED FOR INFORMATION FOR CLIENT TRUST
            ACCOUNTS; MULTIPLE CALLS

    2105518   RB                                  595.00              $416.50                 0.7
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  11/1/2017 ANALYSIS OF ROSS EMAIL RE: FUNDS DEPOSIT ISSUES AND 345; CONF WITH ROSS



    2105554   RB                                   595.00              $178.50                  0.3

  11/2/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: PIP AND RADIANS INTEREST IN
            PURCHASING GRAINGER CONTRACTS; ANALYSIS OF AGREEMENTS FOR TRANSFER
            CONCEPTS
    2105577   RB                                   595.00              $476.00                  0.8

  11/2/2017 ANALYSIS OF SAM MEMO RE: PROSPECTIVE CLAIMS AGAINST BDO USA



    2105591   RB                                   595.00              $178.50                  0.3

  11/2/2017 ANALYSIS OF ROSS EMAIL RE: 345 COMPLIANCE ISSUES AND ACCOUNT; CONF WITH ROSS;
            PREP OF RESPONSE

    2105593   RB                                   595.00              $119.00                  0.2

  11/2/2017 PREPARATION OF EMAIL EXCHANGE RE: PIP INTEREST IN ACQUIRING GRAINGER CONTRACTS



    2105596   RB                                   595.00              $119.00                  0.2

  11/2/2017 ANALYSIS OF DRAFT OF FRB LETTER; PREP OF RESPONSE; CONF WITH FRB



    2105597   RB                                   595.00              $238.00                  0.4

  11/2/2017 ANALYSIS OF GOODS IN TRANSIT ISSUES; CONF WITH MATT



    2105600   RB                                   595.00              $178.50                  0.3

  11/2/2017 PREPARATION OF EMAIL EXCHANGE RE: DELIVERY OF SKADDEN REPORTS TO EQUITY
            COMMITTEE; CONF WITH VAN

    2105602   RB                                   595.00              $119.00                  0.2

  11/2/2017 ANALYSIS OF FINAL FRB LETTER RE: FUNDS DEPOSIT ISSUES AND REVIEW; PREP OF
            RELATED EMAIL EXCHANGE; CONF WITH FRB

    2105607   RB                                   595.00              $178.50                  0.3

  11/2/2017 PREPARATION OF EMAIL EXCHANGE WITH EQUITY COMMITTEE RE: CASH ON HAND



    2105612   RB                                   595.00               $59.50                  0.1

  11/3/2017 TELEPHONE CONFERENCE WITH ALAN FELD RE: PIP DESIRE TO ACQUIRE GRAINGER
            CONTRACTS

    2105620   RB                                   595.00              $178.50                  0.3

  11/3/2017 PREPARATION OF EMAIL EXCHANGE WITH UST RE: ACCOUNT FUNDS AND 345 COMPLIANCE
            ISSUES

    2105622   RB                                   595.00              $119.00                  0.2
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  11/3/2017 PREPARATION OF EMAIL EXCHANGE RE: INTEREST RATE OF TRUST ACCOUNT; CONF WITH
            TANIA

    2105630   RB                                  595.00             $119.00                  0.2

  11/3/2017 PREPARATION OF EMAIL EXCHANGE WITH FRB RE: ACCOUNTS AND COLLATERAL; CONF WITH
            FRB

    2105648   RB                                  595.00             $178.50                  0.3

  11/4/2017 ANALYSIS OF BEN PADNOS EMAIL RE: CASE FUTURE AND PLANNING; CONF WITH BEN



    2105655   RB                                  595.00             $357.00                  0.6

  11/4/2017 TELEPHONE CONFERENCE WITH DON LEE RE: POSSIBILITY OF SERVING AS SEC COUNSEL



    2105656   RB                                  595.00              $59.50                  0.1

  11/4/2017 TELEPHONE CONFERENCE WITH VAN RE: SEC COUNSEL ISSUES AND SKADDEN



    2105657   RB                                  595.00             $119.00                  0.2

  11/4/2017 PREPARATION OF EMAIL EXCHANGE WITH BEN RE: SEC COUNSEL ISSUES AND REVIEW



    2105658   RB                                  595.00             $119.00                  0.2

  11/6/2017 PREPARATION OF EMAIL EXCHANGE WITH FRB RE: ACCOUNT TRANSFERS AND
            COLLATERALIZATION ISSUES; CONF WITH FRB

    2108189   RB                                  595.00             $238.00                  0.4

  11/7/2017 TELEPHONE CONFERENCE WITH BEN RE: OVERALL CASE PLANNING AND REVIEW



    2108241   RB                                  595.00             $178.50                  0.3

  11/7/2017 PREPARATION OF EMAIL EXCHANGE RE: DILIGENCE REQUESTS FROM EQUITY COMMITTEE;
            CONF WITH CLIENT

    2108266   RB                                  595.00             $119.00                  0.2

  11/9/2017 PREPARATION OF EMAIL EXCHANGE WITH EQUITY COMMITTEE RE: TRUST ACCOUNT
            INTEREST RATE

    2108344   RB                                  595.00              $59.50                  0.1

  11/9/2017 TELEPHONE CONFERENCE W/ CLIENT BEN RE: OVERALL CASE PLANNING AND REVIEW



    2108370   RB                                  595.00             $238.00                  0.4

  11/9/2017 TELEPHONE CONFERENCE WITH TANIA RE: OVERALL CASE PLANNING AND REVIEW



    2108375   RB                                  595.00             $119.00                  0.2
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 11/11/2017 TELEPHONE CONFERENCE W/ CLIENT BEN RE: OVERALL CASE REVIEW, PLANNING AND
            ANALYSIS AND PLANNING FOR POST SALE CLOSING

    2108444   RB                                  595.00               $178.50                0.3

 11/15/2017 PREPARATION OF EMAIL EXCHANGE RE: REFUND OF PIP BIDDING DEPOSIT



    2108979   RB                                  595.00                $59.50                0.1

 11/16/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: ASSIGNMENT OF CORDES AND
            AISENBERG LITIGATION RIGHTS TO EC; CONF WITH TANIA

    2109269   RB                                  595.00               $178.50                0.3

 11/16/2017 PREPARATION OF COMPREHENSIVE STATEMENT OF SALE CLOSING AND DETAIL OF
            PAYMENTS FROM TRUST ACCOUNT AND REMAINING BALANCE; ANALYSIS OF FILE; PREP OF
            RELATED EMAIL EXCHANGE; CONF WITH MATT
    2109273   RB                                  595.00               $833.00                1.4

 11/16/2017 ANALYSIS OF FURTHER REVISED JOINT COMMON INTEREST AND CONFIDENTIALITY
            AGREEMENT FROM SKADDEN; CONF WITH TANIA AND BEN

    2109293   RB                                  595.00               $238.00                0.4

 11/17/2017 PREPARATION OF EMAIL EXCHANGE RE: D&O INSURANCE ISSUES; CONF WITH LISA
            CHANDLER OF IMPERIAL PFS AND MATT

    2109395   RB                                  595.00               $178.50                0.3

 11/19/2017 PREPARATION OF EMAIL EXCHANGE RE: D&O INSURANCE POLICIES



    2109427   RB                                  595.00                $59.50                0.1

 11/19/2017 PREPARATION OF EMAIL EXCHANGE WITH CLIENT RE: DIP ACCOUNT FUNDS



    2109430   RB                                  595.00                $59.50                0.1

 11/20/2017 PREPARATION OF STATEMENT OF SALE CLOSING; ANALYSIS OF FILE; PREP OF RELATED
            EMAIL EXCHANGE; CONF WITH MATT

    2109763   RB                                  595.00               $416.50                0.7

 11/20/2017 PREPARATION OF EMAIL EXCHANGE RE: COMMON INTEREST AND JOINT PRIVILEGE
            AGREEENT WITH EQUITY COMMITTEE; ANALYSIS OF FINAL VERSION

    2109775   RB                                  595.00               $119.00                0.2

 11/20/2017 ANALYSIS OF STIPULATION WITH EQUITY COMMITTEE ASSIGNING STANDING TO PURSUE
            CLAIMS VS CORDES AND AISENBERG AND MULTIPLE RELATED EMAILS AND FURTHER
            REVISED VERSION
    2109776   RB                                  595.00               $238.00                0.4

 11/20/2017 ANALYSIS OF SHIVA BECK MEMO RE: D&O INSURANCE ISSUES RE: CORDES AND AISENBERG



    2109779   RB                                  595.00                $59.50                0.1
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 11/20/2017 ANALYSIS OF TANIA EMALI RE: D&O INSURANCE ISSUES AND REVIEW



    2109782       RB                                595.00                $59.50               0.1

 11/20/2017 PREPARATION OF MOTION FOR APPROVAL OF STIP WITH OCEH TO ASSIGN LITIGATION
            RIGHTS AGAINST CORDES AND AISENBERG AND RELATED EMAIL EXCHANGE

    2109784       RB                                595.00             $178.50                 0.3

 11/20/2017 ANALYSIS OF D&O INSURANCE ISSUES AND RELATED DOCS AND EMAILS; CONF WITH MATT



    2109786       RB                                595.00             $178.50                 0.3

                                              Total               $13,577.50               22.9
     02   -   ASSET DISPOSITION

   9/8/2017 ANALYSIS OF SALE ISSUES; CONF WITH GEOFF, MATT AND FRANK



    2091271       RB                                595.00             $238.00                 0.4

   9/9/2017 ANALYSIS OF ASSET PURCHASE AGREEMENT



    2084802       KJM                               535.00             $214.00                 0.4

   9/9/2017 ANALYSIS OF CORRESPONDENCE RE GRAINGER MECHANISM AND FILING UNDER SEAL



    2088042       KJM                               535.00                $53.50               0.1

   9/9/2017 ANALYSIS OF CORRESPONDENCE REGARDING ASSET PURCHASE AGREEMENT AND RELATED
            ISSUES

    2088088       KJM                               535.00                $53.50               0.1

   9/9/2017 ANALYSIS OF CORRESPONDENCE RE SIDE LETTER AND GRAINGER ISSUES



    2088103       KJM                               535.00                $53.50               0.1

  9/10/2017 ANALYSIS OF REVISIONS TO APA



    2084804       KJM                               535.00             $214.00                 0.4

  9/10/2017 ANALYSIS OF PROPOSED REVISIONS TO APA



    2087571       KJM                               535.00                $53.50               0.1

  9/10/2017 ANALYSIS OF PROPOSED REVISIONS TO APA AND CORRESPONDENCE RE SAME



    2088847       KJM                               535.00             $107.00                 0.2
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  9/10/2017 PREPARATION OF CORRESPONDENCE RE BID PROCEDURES LOCAL RULES



    2088895     KJM                              535.00                $53.50                 0.1

  9/10/2017 PREPARATION OF EMERGENCY MOTION FOR APPROVAL OF BID PROCEDURES AND
            MEMORANDUM; ANALYSIS OF FILE AND LOCAL BANKRUPTCY RULES

    2091420     RB                               595.00             $2,677.50                 4.5

  9/11/2017 ANALYSIS OF CORRESPONDENCE REGARDING CASH SWEEP ISSUES



    2088896     KJM                              535.00                $53.50                 0.1

  9/11/2017   EMAIL EXCHANGE REGARDING BID PROCEDURES RULES



    2088906     KJM                              535.00                $53.50                 0.1

  9/11/2017 ANALYSIS OF REDACTED VERSION OF LETTER AGREEMENT AND CORRESPONDENCE RE
            SAME

    2088912     KJM                              535.00                $53.50                 0.1

  9/11/2017 ANALYSIS OF APA FILING REQUIREMENTS; PREPARATION OF CORRESPONDENCE RE SAME



    2088916     KJM                              535.00              $107.00                  0.2

  9/11/2017 ANALYSIS OF EMAIL EXCHANGE WITH RADIANS' COUNSEL REGARDING APA REQUIREMENTS



    2088917     KJM                              535.00                $53.50                 0.1

  9/11/2017 ANALYSIS OF BID PROCEDURES ORDER AND CORRESPONDENCE RE SAME



    2088918     KJM                              535.00                $53.50                 0.1

  9/11/2017 ANALYSIS OF NOTICE OF AUCTION AND CORRESPONDENCE RE SAME



    2088919     KJM                              535.00                $53.50                 0.1

  9/11/2017 TELEPHONE CONFERENCE WITH DISCUSSIONS AND EMAILS WITH CHILDRESS REGARDING
            TIMING OF SALE MOTION AND REVIEW OF SALE DOCUMENTS

    2088800     MYK                              575.00              $230.00                  0.4

  9/11/2017 PREPARATION OF EMAIL EXCHANGE WITH COUNSEL FOR PORTWEST RE: SALE ISSUES AND
            REVIEW; CONF WITH COUNSEL AND INVESTMENT BANKER TO REVIEW SALE PROCESS AND
            POSSIBLE OVERBID
    2091429     RB                               595.00              $714.00                  1.2

  9/11/2017 PREPARATION OF EMERGENCY MOTION FOR APPROVAL OF BID PROCEDURES MOTION AND
            MEMORANDUM; CONF WITH FRANK, GEOFF AND MATT; ANALYSIS OF FILE; ANALYSIS OF
            COMMENTS
    2091432     RB                               595.00             $1,190.00                 2.0
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  9/11/2017 CONFERENCE CALL WITH MULTIPLE INVESTMENT BANKERS FROM CRAIG - HALLUM RE:
            REVIEW OF SALE AND OVERBID PROCESS AND CASE PLANNING

    2091434   RB                                   595.00              $535.50                 0.9

  9/11/2017 PREPARATION OF EMERGENCY MOTION TO FILE SIDE LETTER UNDER SEAL AND RELATED
            EMAIL EXCHANGE; CONF WITH GEOFF AND FRANK

    2091437   RB                                   595.00              $773.50                 1.3

  9/11/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SALE MOTION AND TIMING; ANALYSIS OF
            APA; CONF WITH FRANK AND CLIENT

    2091440   RB                                   595.00              $297.50                 0.5

  9/11/2017 PREPARATION OF ORDER APPROVING BID PROCEDURES AND RELATED EMAIL EXCHANGE;
            CONF WITH FRANK

    2091443   RB                                   595.00              $476.00                 0.8

  9/11/2017 ANALYSIS OF KUCEY EMAIL RE: POSSIBLE INTEREST IN BUYING BY SB CAPITAL GROUP



    2091458   RB                                   595.00               $59.50                 0.1

  9/11/2017 PREPARATION OF NOTICE OF BID PROCEDURES AND RELATED EMAIL EXCHANGE; CONF WITH
            FRANK

    2091459   RB                                   595.00              $416.50                 0.7

  9/11/2017 PREPARATION OF EMAIL EXCHANGE WITH FRANK RE: SALE ISSUES AND REVIEW; CONF WITH
            FRANK

    2091464   RB                                   595.00              $178.50                 0.3

  9/11/2017 PREPARATION OF FURTHER REVISED VERSIONS OF BID PROCEDURES MOTION, NOTICE AND
            ORDER INCORPORATING IN ALL COMMENTS RECEIVED AND RELATED EMAIL EXCHANGE

    2091471   RB                                   595.00              $476.00                 0.8

  9/11/2017 CONFERENCE CALL WITH GEOFF AND MATT RE: SALE AND OVERBID ISSUES AND REVIEW



    2091479   RB                                   595.00              $238.00                 0.4

  9/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING REJECTION OF EXECUTORY CONTRACTS AND
            ISSUES RE SAME

    2089096   KJM                                  535.00               $53.50                 0.1

  9/12/2017 TELEPHONE CONFERENCE WITH POTENTIAL BUYER RE CASE STATUS AND ISSUES



    2089782   KJM                                  535.00              $374.50                 0.7

  9/12/2017 TELEPHONE CONFERENCE WITH D. LEVENE REGARDING POTENTIAL INTEREST



    2089276   MYK                                  575.00              $172.50                 0.3
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  9/12/2017 PREPARATION OF EMAIL EXCHANGE RE: OVERBIDDER AND AUCTION ISSUES AND REVIEW



    2091543    RB                                   595.00             $119.00              0.2

  9/12/2017 CONFERENCE CALL WITH KIM LEWIS AND MIKEL BISTROW - COUNSEL TO PROSPECTIVE
            OVERBIDDER RE: OVERALL CASE REVIEW AND ANALYSIS

    2091550    RB                                   595.00             $476.00              0.8

  9/13/2017 ANALYSIS OF CORRESPONDENCE FROM POTENTIAL BUYER RE CASE ISSUES/SIDE LETTER



    2090120    KJM                                  535.00              $53.50              0.1

  9/13/2017 TELEPHONE CONFERENCE WITH ROSS OF UST RE: SALE AND BID PROCEDURES ISSUES AND
            REVIEW - MULTIPLE CALLS

    2091574    RB                                   595.00             $297.50              0.5

  9/13/2017 CONFERENCE WITH FRANK RE: SALE AND BID PROCEDURES ISSUES AND REVIEW AND
            PLANNING

    2091576    RB                                   595.00             $297.50              0.5

  9/13/2017 APPEARANCE AT HEARING ON EMERGENCY BID PROCEDURES MOTION; ANALYSIS OF FILE IN
            PREP FOR HEARING

    2091577    RB                                   595.00            $1,785.00             3.0

  9/13/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: REVIEW OF OUTCOME OF BID PROCEDURES
            HEARING AND PLANNING FOR SALE PROCESS

    2091581    RB                                   595.00             $238.00              0.4

  9/13/2017 CONFERENCE WITH SHAREHOLDER JARUS AND ATTORNEY MOYRON AFTER HEARING TO
            REVIEW CASE AND SALE AND OVERBID PROCESS

    2091584    RB                                   595.00             $178.50              0.3

  9/13/2017 ANALYSIS OF KIM LEWIS EMAIL RE: SALE ISSUES AND REVIEW



    2091585    RB                                   595.00              $59.50              0.1

  9/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING REDACTED LETTER AGREEMENT



    2090167    KJM                                  535.00              $53.50              0.1

  9/14/2017 CONFERENCE CALL WITH GEOFF, MATT AND RICKMAN RE: SALE PROCESS AND REVIEW



    2091602    RB                                   595.00             $297.50              0.5

  9/14/2017 TELEPHONE CONFERENCE WITH ROSS OF UST RE: SALE ISSUES AND REVIEW



    2091608    RB                                   595.00             $119.00              0.2
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  9/14/2017 PREPARATION OF NOTICE OF ALL MATTERS FOR CREDITORS AND SHAREHOLDERS AND
            RELATED EMAIL EXCHANGE; ANALYSIS OF FILE; ANALYSIS OF COMMENTS

    2091611   RB                                 595.00            $1,071.00               1.8

  9/15/2017 TELEPHONE CONFERENCE WITH STEVE RICKMAN RE: DISSEMINATION OF THE APA



    2090025   JPF                                535.00                 $53.50             0.1

  9/15/2017 PREPARATION OF CORRESPONDENCE TO STEVE RICKMAN RE: DISSEMINATION OF THE APA



    2090031   JPF                                535.00                $107.00             0.2

  9/15/2017 TELEPHONE CONFERENCE WITH INVESTMENT BANKERS REGARDING CASE FILINGS AND
            INFORMATION

    2090210   KJM                                535.00                 $53.50             0.1

  9/15/2017 ANALYSIS OF APA AND BIDDING PROCEDURES TO SEND TO POTENTIAL BIDDERS



    2090325   MYK                                575.00                $287.50             0.5

  9/15/2017 TELEPHONE CONFERENCE WITH ROSS OF UST RE: SALE ISSUES AND SIDE LETTER



    2091641   RB                                 595.00                 $59.50             0.1

  9/15/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE ISSUES AND REVIEW



    2091654   RB                                 595.00                 $59.50             0.1

  9/16/2017 ANALYSIS OF CORRESPONDENCE TO RON GOLDMAN REGARDING BID PROCEDURES AND
            RELATED ISSUES

    2090491   KJM                                535.00                 $53.50             0.1

  9/16/2017 ANALYSIS OF CORRESPONDENCE TO POTENTIAL BIDDER REGARDING BID PROCEDURES AND
            SIDE LETTER

    2090493   KJM                                535.00                 $53.50             0.1

  9/16/2017 ANALYSIS OF COMMUNICATIONS AND DOCUMENTS TO BIDDERS REGARDING SALE PROCESS
            AND APA

    2090319   MYK                                575.00                $345.00             0.6

  9/16/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE TO PROSPECTIVE OVERBIDDERS RE: STATUS
            REVIEW OF SALE AND OVERBID PROCESS; ANALYSIS OF FILE

    2091660   RB                                 595.00                $297.50             0.5

  9/16/2017 PREPARATION OF APA TEMPLATE FOR PROSPECTIVE OVERBIDDERS TO USE AND RELATED
            EMAIL EXCHANGE

    2091661   RB                                 595.00            $1,606.50               2.7
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  9/16/2017 PREPARATION OF STEVE RICKMAN DECLARATION IN SUPPORT OF BID PROCEDURES MOTION;
            ANALYSIS OF FILE

    2091667   RB                                  595.00             $297.50               0.5

  9/17/2017 PREPARATION OF RICKMAN BID PROCEDURES DECLARATION; ANALYSIS OF FILE



    2091694   RB                                  595.00             $357.00               0.6

  9/18/2017 ANALYSIS OF PROPOSED RICKMAN DECLARATION



    2090518   KJM                                 535.00             $107.00               0.2

 09/18/2017 ANALYSIS OF DECLARATION FOR RICKMAN TO SUPPORT BIDDING PROCEDURES MOTIONS
            AND RELATED DISCUSSIONS, REVISIONS AND EMAILS

    2090769   MYK                                 575.00             $575.00               1.0

  9/18/2017 TELEPHONE CONFERENCE WITH RICKMAN AND OTHERS REGARDING SIDE LETTER,
            COMMUNICATIONS WITH BIDDERS AND RELATED MATTERS

    2090770   MYK                                 575.00             $230.00               0.4

  9/18/2017 PREPARATION OF RICKMAN DECLARATION IN SUPPORT OF BID PROCEDURES MOTION;
            ANALYSIS OF FILE

    2091705   RB                                  595.00            $1,428.00              2.4

  9/18/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE ISSUES AND REVIEW; CONF WITH RICKMAN RE:
            AUCTION AND OVERBID SALE PROCESS

    2091710   RB                                  595.00             $357.00               0.6

  9/18/2017 TELEPHONE CONFERENCE WITH RICKMAN RE: HIS BID PROCEDURES DECLARATION; PREP OF
            FURTHER REVISED VERSION AND RELATED EMAIL EXCHANGE

    2091721   RB                                  595.00             $476.00               0.8

  9/18/2017 ANALYSIS OF RICKMAN'S CHANGES TO HIS BID PROCEDURES DECLARATION; PREP OF
            FURTHER REVISED VERSION; CONF WITH RICKMAN

    2091723   RB                                  595.00             $416.50               0.7

  9/19/2017 ANALYSIS OF CORRESPONDENCE REGARDING POTENTIAL INTERESTED PARTY'S
            OBJECTIONS TO BID PROCEDURES MOTION

    2090800   KJM                                 535.00              $53.50               0.1

  9/19/2017 ANALYSIS OF COMMUNICATIONS REGARDING POTENTIAL OBJECTION TO BIDDING
            PROCEDURES

    2091093   MYK                                 575.00              $57.50               0.1

  9/19/2017 TELEPHONE CONFERENCE WITH JEFF DUTSON - COUNSEL TO PROSPECTIVE OVERBIDDER
            BIG TIME PRODUCTS - RE: REVIEW OF SALE PROCESS AND HIS OBJECTIONS TO BID
            PROCEDURES
    2092590   RB                                  595.00             $238.00               0.4
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  9/19/2017 PREPARATION OF EMAIL MEMO TO CLIENT RE: BIG TIM PRODUCTS DISPUTE WITH BID
            PROCEDURES; CONF WITH GEOFF

    2092592   RB                                   595.00             $119.00                0.2

  9/21/2017 ANALYSIS OF EMAIL EXCHANGE WITH GEOFF REGARDING SALE PROCESS AND ALTERNATIVE
            SALE

    2091832   KJM                                  535.00              $53.50                0.1

  9/21/2017 ANALYSIS OF COMMUNICATIONS REGARDING PREEMPTIVE OFFER, STATUS OF DISCUSSIONS
            AND OPTIONS

    2092170   MYK                                  575.00             $230.00                0.4

  9/21/2017 PREPARATION OF EMAIL EXCHANGE WITH CLIENT RE: MULTIPLE SALE ISSUES, REVIEW AND
            PLANNING

    2092679   RB                                   595.00             $119.00                0.2

  9/21/2017 TELEPHONE CONFERENCE WITH DUTSON - COUNSEL FOR PROSPECTIVE OVERBIDDER RE:
            SALE ISSUES AND REVIEW

    2092696   RB                                   595.00             $178.50                0.3

  9/22/2017 ANALYSIS OF OBJECTION TO BID PROCEDURES MOTION



    2092161   KJM                                  535.00              $53.50                0.1

  9/22/2017 PREPARATION OF NDA FOR OCC AND OCE



    2092933   KJM                                  535.00             $267.50                0.5

 09/22/2017 ANALYSIS OF OBJECTION TO BIDDING PROCEDURES, RELATED EMAILS AND DISCUSSIONS
            WITH VARIOUS PARTIES

    2092454   MYK                                  575.00             $345.00                0.6

  9/22/2017 TELEPHONE CONFERENCE WITH WEISS REGARDING OBJECTION TO BIDDING PROCEDURES



    2092467   MYK                                  575.00              $57.50                0.1

  9/22/2017 ANALYSIS OF BIG TIME PRODUCTS OBJECTION TO BID PROCEDURES; PREP OF RELATED
            EMAIL EXCHANGE

    2092709   RB                                   595.00             $119.00                0.2

  9/22/2017 PREPARATION OF EMAIL EXCHANGE RE: BID PROCEDURES ISSUES AND REVIEW



    2092726   RB                                   595.00              $59.50                0.1

  9/23/2017 TELEPHONE CONFERENCE WITH REJECTION OF CONTRACT, RELATED COMMUNICATIONS



    2092664   MYK                                  575.00             $172.50                0.3
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  9/24/2017 ANALYSIS OF CORRESPONDENCE WITH FINANCIAL ADVISOR REGARDING BID PROCEDURES
            TIMELINE

    2092959   KJM                                535.00               $53.50                0.1

  9/24/2017 TELEPHONE CONFERENCE WITH COMMUNICATIONS FROM RADIANS REGARDING
            OBJECTIONS BY EQUITY COMMITTEE

    2092750   MYK                                575.00              $172.50                0.3

 09/24/2017 TELEPHONE CONFERENCE WITH CLIENT AND CRAIG HALLUM REGARDING TIME LINE FOR
            SALE AND PRESENTATION THEREON

    2092756   MYK                                575.00              $287.50                0.5

  9/24/2017 PREPARATION OF EMAIL EXCHANGE WITH CRAIG HALLUM RE: SALE PROCESS AND TIMELINE
            ISSUES AND REVIEW; CONF WITH SCOTT AMES; ANALYSIS OF BID PROCEDURES

    2094628   RB                                 595.00              $238.00                0.4

  9/24/2017 PREPARATION OF EMAIL EXCHANGE RE: EQUITY COMMITTEE OBJECTIONS TO BID
            PROCEDURES MOTION; CONF WITH FRANK AND TANIA

    2094632   RB                                 595.00              $476.00                0.8

  9/25/2017 ANALYSIS OF OCC OBJECTIONS TO BID PROCEDURES MOTION



    2093328   KJM                                535.00              $160.50                0.3

  9/25/2017 ANALYSIS OF EQUITY COMMITTEE OBJECTIONS TO BID PROCEDURES MOTION



    2093329   KJM                                535.00              $214.00                0.4

 09/25/2017 CONFERENCE WITH CLIENT, STEVE RICKMAN AND OTHERS REGARDING HEARING ON BIDDING
            PROCEDURES AND CASH COLLATERAL/DIP FINANCING

    2093120   MYK                                575.00            $1,150.00                2.0

  9/25/2017 ANALYSIS OF OPPOSITIONS FILED BY COMMITTEES REGARDING BIDDING PROCEDURES AND
            RELATED DISCUSSIONS ON SAME

    2093128   MYK                                575.00              $575.00                1.0

  9/25/2017 PREPARATION OF EMAIL EXCHANGE WITH FERDINANDS RE: OVERBIDDERS OBJECTION TO
            BID PROCEDURES

    2094666   RB                                 595.00               $59.50                0.1

  9/25/2017 ANALYSIS OF OCC OBJECTION TO BID PROCEDURES



    2094674   RB                                 595.00              $119.00                0.2

  9/25/2017 ANALYSIS OF EQUITY COMMITTEE OBJECTION TO BID PROCEDURES MOTION; CONF WITH
            TANIA

    2094679   RB                                 595.00              $297.50                0.5
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  9/25/2017 CONFERENCE WITH STEVE AND MATT PRIOR TO HEARING TO REVIEW AND PLAN FOR SALE
            PROCESS AND BID PROCEDURES HEARING AND REVIEW OF COMMITTEE OBJECTIONS

    2094683   RB                                  595.00             $892.50                1.5

  9/25/2017 TELEPHONE CONFERENCE WITH FRANK PRIOR TO HEARING TO REVIEW OBJECTIONS AND
            PLAN FOR BID PROCEDURES HEARING

    2094684   RB                                  595.00             $238.00                0.4

  9/25/2017 TELEPHONE CONFERENCE WITH TANIA RE: BID PROCEDURES ISSUES AND CASE REVIEW



    2094685   RB                                  595.00             $178.50                0.3

  9/25/2017 APPEARANCE AT HEARING ON BID PROCEDURES MOTION; ANALYSIS OF FILE IN PREP FOR
            HEARING

    2094686   RB                                  595.00            $3,867.50               6.5

  9/25/2017 CONFERENCE WITH MATT AND THEN STEVE AFTER HEARING TO REVIEW BID PROCEDURES
            AND SALE AND AUCTION PROCESS

    2094688   RB                                  595.00             $476.00                0.8

  9/26/2017 PREPARATION OF BID PROCEDURES ORDER



    2093367   KJM                                 535.00             $374.50                0.7

  9/26/2017 ANALYSIS OF DRAFT BID PROCEDURES ORDER AND RELATED COMMUNICATIONS



    2093523   MYK                                 575.00             $345.00                0.6

  9/26/2017 PREPARATION OF BID PROCEDURES ORDER AND RELATED EMAIL EXCHANGE; CONF WITH
            FRANK AND RICKMAN

    2094711   RB                                  595.00            $1,071.00               1.8

  9/27/2017 ANALYSIS OF PROPOSED REVISIONS TO BID PROCEDURES ORDER AND MULTIPLE
            CORRESPONDENCE RE SAME

    2093684   KJM                                 535.00             $160.50                0.3

  9/27/2017 ANALYSIS OF CORRESPONDENCE TO COMMITTEES' COUNSEL REGARDING STATUS OF BID
            PROCEDURES ORDER

    2093700   KJM                                 535.00              $53.50                0.1

  9/27/2017 ANALYSIS OF ALL COMMUNICATIONS AND ISSUES REGARDING BID PROCEDURES ORDER



    2093926   MYK                                 575.00             $517.50                0.9

  9/27/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: AUCTION LOCATION; CONF WITH SAM,
            TANIA, FRANK AND RICKMAN

    2094728   RB                                  595.00             $357.00                0.6
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  9/27/2017 ANALYSIS OF EQUITY COMMITTEE CHANGES TO BID PROCEDURES ORDER; PREP OF
            MULTIPLE RELATED EMAIL EXCHANGE; CONF WITH SAM, TANIA AND FRANK

    2094730   RB                                  595.00             $416.50                0.7

  9/27/2017 TELEPHONE CONFERENCE WITH JEFF GOLDENHERSH RE: STATUS OF SALE AND CASE
            OVERVIEW

    2094731   RB                                  595.00             $119.00                0.2

  9/27/2017 ANALYSIS OF CREDITOR COMMITTEE CHANGES TO BID PROCEDURES ORDER



    2094732   RB                                  595.00              $59.50                0.1

  9/27/2017 ANALYSIS OF RADIANS CHANGES TO BID PROCEDURES ORDER; PREP OF RELATED EMAIL
            EXCHANGE; CONF WITH SAM, TANIA AND FRANK

    2094736   RB                                  595.00             $297.50                0.5

  9/27/2017 TELEPHONE CONFERENCE WITH SAM AND TANIA RE: BIDDING WITH NON-CASH ASSETS;
            CONF WITH FRANK AND RICKMAN; ANALYSIS OF APA; PREP OF RELATED EMAIL EXCHANGE

    2094738   RB                                  595.00             $476.00                0.8

  9/27/2017 PREPARATION OF FURTHER REVUSED VERSION OF BID PROCEDURES ORDER AND RELATED
            EMAIL EXCHANGE

    2094740   RB                                  595.00             $416.50                0.7

  9/27/2017 PREPARATION OF FURTHER REVISED VERSION OF BID PROCEDURES ORDER AND FURTHER
            RELATED EMAIL EXCHANGE

    2094744   RB                                  595.00             $178.50                0.3

  9/27/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: FURTHER EQUITY COMMITTEE CHANGES
            TO BID PROCEDURES ORDER; CONF WITH FRANK; ANALYSIS OF APA

    2094747   RB                                  595.00             $238.00                0.4

  9/28/2017 PREPARATION OF BID PROCEDURES ORDER; EMAIL EXCHANGES RE SAME



    2094131   KJM                                 535.00             $107.00                0.2

  9/28/2017 ANALYSIS OF EMAIL EXCHANGE WITH COUNSEL TO EQUITY COMMITTEE REGARDING
            MEETING WITH FINANCIAL ADVISOR

    2094137   KJM                                 535.00              $53.50                0.1

  9/28/2017 ANALYSIS OF CORRESPONDENCE FROM AND TO MATT PLISKIN REGARDING REJECTION OF
            CONTRACTS

    2094138   KJM                                 535.00              $53.50                0.1

  9/28/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE WITH PROSPECTIVE OVERBIDDERS REGARDING
            BID PROCEDURES

    2094153   KJM                                 535.00              $53.50                0.1
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  9/28/2017 TELEPHONE CONFERENCE WITH CLIENT REGARDING REJECTION OF CONTRACTS AND OTHER
            OPERATIONAL MATTERS

    2094261   MYK                                 575.00              $172.50               0.3

  9/28/2017 ANALYSIS OF BIDDING PROCEDURES ORDER AND RELATED COMMUNICATIONS



    2094265   MYK                                 575.00              $230.00               0.4

  9/28/2017 PREPARATION OF FURTHER REVISED VERSION OF BID PROCEDURES ORDER AND RELATED
            EMAIL EXCHANGE

    2094756   RB                                  595.00              $178.50               0.3

  9/28/2017 PREPARATION OF EMAIL EXCHANGE WITH GOLD AND RICKMAN RE: SALE ISSUES AND
            OVERBID REVIEW

    2094763   RB                                  595.00              $119.00               0.2

  9/28/2017 PREPARATION OF EMAIL EXCHANGE WITH PAUL FERDINANDS RE: AUCTION AND OVERBID
            PROCEDURES

    2094766   RB                                  595.00              $119.00               0.2

  9/29/2017 ANALYSIS OF EMAIL EXCHANGE WITH EQUITY COMMITTEE COUNSEL REGARDING MEETING
            WITH FINANCIAL ADVISOR

    2094504   KJM                                 535.00               $53.50               0.1

  9/29/2017 ANALYSIS OF OCC REQUEST FOR FINANCIAL INFORMAION AND EMAIL EXCHANGE RE SAME



    2094505   KJM                                 535.00               $53.50               0.1

  9/29/2017 ANALYSIS OF COMMUNICATIONS REGARDING MEETING WITH FA, DOCUMENT REQUEST FROM
             COMMITTEES, RELATED EMAILS AND DISCUSSIONS, REQUESTS OF NONDISCLOSURE
             AGREEMENTS
     2094617    MYK                                575.00             $460.00          0.8

  9/29/2017 PREPARATION OF EMAIL EXCHANGE RE: COMMITTEE'S REQUEST TO MEET WITH RICKMAN;
            CONF WITH RICKMAN AND TANIA

    2094992   RB                                  595.00              $238.00               0.4

  10/2/2017 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO OCC REGARDING DEADLINE TO FILE
            SALE MOTION AND APA

    2104077   KJM                                 535.00               $53.50               0.1

  10/2/2017 ANALYSIS OF NDA, DISCUSSION WITH RICKMAN, ALL RELATED EMAILS AND DISCUSSIONS
            CONCERNING SALE, SALE MOTION AND DEFAULT UNDER DIP LOAN

    2095432   MYK                                 575.00              $517.50               0.9

  10/2/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE MOTION ISSUES AND REVIEW



    2101456   RB                                  595.00              $119.00               0.2
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  10/3/2017 PREPARATION OF LIST OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES,
            DESCRIPTIONS, AND CURE AMOUNTS

    2095701   KJM                                 535.00              $267.50              0.5

  10/3/2017 ANALYSIS OF CORRESPONDENCE REGARDING INVENTORY STATUS AND SUMMARY OF
            PHYSICAL INVENTORY PROCEDURES

    2096481   KJM                                 535.00              $107.00              0.2

  10/3/2017 ANALYSIS OF CORRESPONDENCE REGARDING TIMING OF SALE CLOSING



    2096493   KJM                                 535.00               $53.50              0.1

  10/3/2017 ANALYSIS OF COMMUNICATIONS AND DOCUMENTS FOR CONTRACTS LIST FOR SALE
            TRANSACTION

    2096397   MYK                                 575.00              $287.50              0.5

  10/3/2017 TELEPHONE CONFERENCE WITH TANIA AND STEVE RICKMAN RE: SALE ISSUES AND REVIEW
            AND COMMITTEE ISSUES

    2101473   RB                                  595.00              $238.00              0.4

  10/3/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE CLOSING ISSUES AND REVIEW; CONF WITH
            MATT

    2101490   RB                                  595.00              $178.50              0.3

  10/4/2017 TELEPHONE CONFERENCE WITH GEOFF RE: SALE ISSUES AND REVIEW



    2101713   RB                                  595.00              $119.00              0.2

  10/5/2017 PREPARATION OF JURISDICTION/ APPLICABLE STATUTES ANALYSIS FOR SALE MOTION;
            PREPARATION OF CORRESPONDENCE RE SAME

    2096937   KJM                                 535.00              $160.50              0.3

  10/5/2017 ANALYSIS OF CORRESPONDENCE REGARDING LIST OF CONTRACTS AND LEASES;
            PREPARATION OF CORRESPONDENCE RE SAME

    2096999   KJM                                 535.00               $53.50              0.1

  10/5/2017 ANALYSIS OF CORRESPONDENCE REGARDING NOTICE OF SALE AND SERVICE THEREOF



    2097004   KJM                                 535.00               $53.50              0.1

  10/5/2017 ANALYSIS OF EQUITY COMMITTEE REQUEST FOR INFORMATION



    2097016   KJM                                 535.00               $53.50              0.1

  10/5/2017 PREPARATION OF SALE MOTION AND RELATED PLEADINGS



    2097128   KJM                                 535.00              $963.00              1.8
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  10/5/2017 PREPARATION OF CORRESPONDENCE TO FINANCIAL ADVISOR RE INFORMATION REQUESTS



    2097130   KJM                                535.00                $53.50              0.1

  10/5/2017 ANALYSIS OF PROPOSED EQUITY COMMITTEE NDA



    2097132   KJM                                535.00               $107.00              0.2

  10/5/2017 ANALYSIS OF CONFIDENTIAL SALE INFORMATION AND PREPARATION OF CORRESPONDENCE
            RE SAME

    2097159   KJM                                535.00                $53.50              0.1

  10/5/2017 PREPARATION OF CORRESPONDENCE AND DOCUMENTATION TO EQUITY COMMITTEE



    2097279   KJM                                535.00               $107.00              0.2

  10/5/2017 ANALYSIS OF NDA FOR EQUITY COMMITTEE TO OBTAIN ACCESS TO DATA ROOM AND OTHER
            SALE DOCUMENTS AND TRANSATIONAL MATTERS AND RELATED DISCUSSIONS

    2097353   MYK                                575.00               $632.50              1.1

  10/5/2017 PREPARATION OF MOTION TO APPROVE SALE OF SUBSTANTIALLY ALL ASSETS, AND RELATED
            DISCUSSIONS AND EMAILS THEREON

    2097354   MYK                                575.00               $517.50              0.9

  10/5/2017 CONFERENCE CALL WITH GEOFF AND MATT RE: SALE ISSUES, PLANNING AND REVIEW



    2101744   RB                                 595.00               $178.50              0.3

  10/5/2017 PREPARATION OF SALE MOTION AND RELATED MEMORANDUM; ANALYSIS OF FILE



    2101751   RB                                 595.00              $3,867.50             6.5

  10/5/2017 ANALYSIS OF SALES PROCESS UPDATE FROM RICKMAN; CONF WITH RICKMAN



    2101761   RB                                 595.00               $178.50              0.3

  10/6/2017 ANALYSIS OF SALE MARKETING DOCUMENTS AND PREPARATION OF CORRESPONDENCE RE
            SAME

    2097285   KJM                                535.00               $267.50              0.5

  10/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF POTENTIAL BIDDER



    2097298   KJM                                535.00                $53.50              0.1

  10/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING DECLARATION OF FINANCIAL ADVISOR ISO
            SALE MOTION

    2097321   KJM                                535.00                $53.50              0.1
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  10/6/2017 ANALYSIS OF PROPOSED REVISIONS TO SALE MOTION



    2097322   KJM                                 535.00             $107.00               0.2

  10/6/2017 ANALYSIS OF PROPOSED SALE ORDER AND CORRESPONDENCE RE SAME



    2097714   KJM                                 535.00             $107.00               0.2

  10/6/2017 PREPARATION OF SALE MOTION, NOTICE, DECLARATIONS, ORDER AND ALL RELATED EMAILS
            AND DISCUSSIONS THEREON

    2097493   MYK                                 575.00            $1,035.00              1.8

  10/6/2017 ANALYSIS OF ALL COMMUNICATIONS AND DOCUMENTS REGARDING NDA WITH COMMITTEES
            AND REQUEST FOR INFORMATION REGARDING SALE PROCESS TO COMMITTEES

    2097496   MYK                                 575.00             $977.50               1.7

  10/6/2017 PREPARATION OF INITIAL DRAFT OF PROPOSED SALE ORDER AND RELATED EMAIL
            EXCHANGE WITH FRANK

    2101764   RB                                  595.00            $1,785.00              3.0

  10/6/2017 ANALYSIS OF SALE TEASER AND MULTIPLE RELATED EMAILS AND DOCS FROM RICKMAN;
            CONF WITH RICKMAN AND TANIA RE: SALE PROCESS ISSUES AND REVIEW

    2101766   RB                                  595.00             $476.00               0.8

  10/6/2017 PREPARATION OF EMAIL EXCHANGE WITH PIP; CONF WITH RICKMAN AND GEOFF



    2101771   RB                                  595.00             $178.50               0.3

  10/6/2017 PREPARATION OF SALE MOTION AND ORDER AND RELATED EMAIL EXCHANGE



    2101773   RB                                  595.00             $476.00               0.8

  10/6/2017 PREPARATION OF GREULICH DECLARATION IN SUPPORT OF SALE MOTION; ANALYSIS OF FILE



    2101780   RB                                  595.00             $892.50               1.5

  10/7/2017 ANALYSIS OF SALE PLEADINGS AND DECLARATION IN SUPPORT; MULTIPLE
            CORRESPONDENCE RE SAME

    2104157   KJM                                 535.00             $160.50               0.3

 10/07/2017 ANALYSIS OF SALE MOTION, NOTICE, DECLARATIONS, AND ALL COMMUNICATIONS WITH
            CLIENT, CREDITORS, COMMITTEES AND RELATED EMAILS THEREON

    2097542   MYK                                 575.00             $862.50               1.5

  10/7/2017 PREPARATION OF SALE MOTION AND RELATED EMAIL EXCHANGE



    2101782   RB                                  595.00             $297.50               0.5
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  10/7/2017 PREPARATION OF NOTICE OF HEARING ON SALE MOTION AND RELATED EMAIL EXCHANGE;
            ANALYSIS OF FILE

    2101783   RB                                    595.00            $892.50               1.5

  10/7/2017 ANALYSIS OF CREDITOR COMMITTEE COMMENTS TO SALE MOTION AND ORDER; PREP OF
            RELATED EMAIL EXCHANGE WITH TANIA

    2101790   RB                                    595.00            $297.50               0.5

  10/8/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SALE PLEADINGS AND ISSUES RE
            SAME

    2104161   KJM                                   535.00             $53.50               0.1

  10/8/2017 ANALYSIS OF ALL COMMUNICATIONS REGARDING SALE MOTION AND RELATED PLEADINGS,
            COMMENTS, REVISIONS, AND RELATED EMAILS

    2097545   MYK                                   575.00            $575.00               1.0

  10/8/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SALE ISSUES AND REVIEW



    2101803   RB                                    595.00            $119.00               0.2

  10/9/2017 PREPARATION OF NOTICE OF SALE OF ESTATE PROPERTY



    2097693   KJM                                   535.00            $214.00               0.4

  10/9/2017 TELEPHONE CONFERENCE WITH TANYA MOYRON AND STEVE RICKMAN



    2097694   KJM                                   535.00            $267.50               0.5

  10/9/2017 PREPARATION OF SALE MOTION



    2098077   KJM                                   535.00            $160.50               0.3

  10/9/2017 PREPARATION OF DECLARATION IN SUPPORT OF SALE MOTION



    2098078   KJM                                   535.00            $107.00               0.2

  10/9/2017 PREPARATION OF NOTICE OF SALE HEARING



    2098079   KJM                                   535.00            $107.00               0.2

  10/9/2017 PREPARATION OF SERVICE LISTS FOR NOTICE OF SALE HEARING



    2098080   KJM                                   535.00            $963.00               1.8

  10/9/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING COMMITTEES' PROPOSED
            REVISIONS TO SALE PLEADINGS

    2098082   KJM                                   535.00             $53.50               0.1
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  10/9/2017 ANALYSIS OF PROPOSED SALE ORDER AND CORRESPONDENCE RE SAME



    2098084   KJM                                 535.00              $53.50               0.1

  10/9/2017 TELEPHONE CONFERENCE WITH COUNSEL TO RADIANS AND EQUITY COMMITTEE RE SALE
            ORDER ISSUES

    2098085   KJM                                 535.00             $107.00               0.2

  10/9/2017 ANALYSIS OF CORRESPONDENCE B/W GEOFF AND RADIANS REGARDING SALE ISSUES



    2098093   KJM                                 535.00              $53.50               0.1

  10/9/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE RE CONFIDENTIAL INFORMATION AND DUE
            DILIGENCE FILES

    2098114   KJM                                 535.00              $53.50               0.1

 10/09/2017 ANALYSIS OF SALE MOTION, SUPPORTING PAPERS, REVISIONS AND ALL RELATED
            COMMUNICATIONS AS TO FILING, SERVICE, COURT NOTICE OF SALE FORM

    2097845   MYK                                 575.00             $575.00               1.0

  10/9/2017 CONFERENCE CALL WITH RADIANS, OCE COUNSEL REGARDING LANGUAGE IN MOTION AS TO
            DIP ORDER

    2097846   MYK                                 575.00             $287.50               0.5

  10/9/2017 PREPARATION OF FURTHER REVISED SALE MOTION AND MULTIPLE RELATED EMAIL
            EXCHANGE; CONF WITH CLIENT AND TANIA

    2101806   RB                                  595.00             $476.00               0.8

  10/9/2017 ANALYSIS OF MULTIPLE COMMENTS AND CHANGES TO SALE ORDER; PREP OF REVISED SALE
            ORDER AND MULTIPLE RELATED EMAIL EXCHANGE; CONF WITH FRANK AND TANIA

    2101808   RB                                  595.00             $714.00               1.2

  10/9/2017 ANALYSIS OF COMMENTS AND CHANGES TO SALE NOTICE; PREP OF FURTHER REVISED SALE
            NOTICE AND RELATED EMAIL EXCHANGE; CONF WITH FRANK

    2101809   RB                                  595.00             $357.00               0.6

  10/9/2017 PREPARATION OF GREULICH DECLARATION IN SUPPORT OF SALE MOTION AND RELATED
            EMAIL EXCHANGE; CONF WITH GEOFF

    2101824   RB                                  595.00             $178.50               0.3

 10/10/2017 ANALYSIS OF CORRESPONDENCE AND DOCUMENTATION REGARDING CUSTOMER
            AGREEMENT EXTENSION AND ISSUES RE SAME

    2098068   KJM                                 535.00             $107.00               0.2

 10/10/2017 ANALYSIS OF CORRESPONDENCE FROM STEVE RICKMAN REGARDING POTENTIALLY
            INTERESTED BIDDER

    2098069   KJM                                 535.00              $53.50               0.1
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 10/10/2017 ANALYSIS OF CORRESPONDENCE FROM STEVE RICKMAN REGARDING LIEN SEARCH;
            PREPARATION OF RESPONSE THERETO

    2098071   KJM                                535.00               $53.50              0.1

 10/10/2017 TELEPHONE CONFERENCE WITH STEVE RICKMAN RE CONFIDENTIAL INFORMATION SHARING
            ISSUES

    2098073   KJM                                535.00               $53.50              0.1

 10/10/2017 ANALYSIS OF CONFIDENTIALITY AGREEMENTS, DATA ROOM, MARKETING RELATED
            COMMUNICATIONS, CONFIDENTIAL INFORMATION AND ALL RELATED EMAILS

    2098096   MYK                                575.00              $402.50              0.7

 10/10/2017 ANALYSIS OF REJECTION/ASSUMPTION OF CONTRACTS IN CONNECTION WITH SALE AND
            RELATED EMAILS

    2098147   MYK                                575.00              $230.00              0.4

 10/10/2017 TELEPHONE CONFERENCE WITH GEOFF AND RICKMAN RE: SALE ISSUES AND REVIEW



    2101852   RB                                 595.00              $119.00              0.2

 10/10/2017 PREPARATION OF FURTHER EMAIL EXCHANGE WITH RICKMAN RE: SALE ISSUES AND REVIEW;
            CONF WITH RICKMAN

    2101856   RB                                 595.00              $178.50              0.3

 10/11/2017 ANALYSIS OF PROPOSED STIPULATION REGARDING CONTRACT ASSIGNMENT; PREPARATION
            OF CORRESPONDENCE RE SAME

    2098677   KJM                                535.00              $107.00              0.2

 10/11/2017 ANALYSIS OF CORRESPONDENCE FROM SEC RE SALE ORDER



    2098682   KJM                                535.00               $53.50              0.1

 10/11/2017 ANALYSIS OF CORRESPONDENCE REGARDING EMPLOYEE TRANSITION ISSUES



    2098684   KJM                                535.00               $53.50              0.1

 10/11/2017 ANALYSIS OF COMMUNICATIONS REGARDING DATA ROOM, CONFIDENTIAL INFORMATION



    2098610   MYK                                575.00              $172.50              0.3

 10/11/2017 ANALYSIS OF SALE CONTINGENCIES AND RELATED COMMUNICATIONS AND DOCUMENTS



    2098614   MYK                                575.00              $402.50              0.7

 10/11/2017 ANALYSIS OF RESPONSE FROM SEC ON PROPOSED SALE ORDER



    2098618   MYK                                575.00              $172.50              0.3
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 10/12/2017 ANALYSIS OF CORRESPONDENCE TO RADIANS' COUNSEL REGARDING GRAINGER CONTRACT



    2098539      KJM                               535.00              $53.50               0.1

 10/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING POH CONTRACT



    2098543      KJM                               535.00              $53.50               0.1

 10/12/2017 ANALYSIS OF EMAIL EXCHANGE WITH L WHARTON REGARDING CONTRACT ASSUMPTION
            ISSUES

    2098544      KJM                               535.00              $53.50               0.1

 10/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING IP LICENSE AGREEMENT; PREPARATION OF
            CORRESPONDENCE RE SAME

    2098657      KJM                               535.00              $53.50               0.1

 10/12/2017 ANALYSIS OF EMAIL EXCHANGE WITH POTENTIAL BIDDER REGARDING DEPOSIT ISSUES



    2098663      KJM                               535.00              $53.50               0.1

 10/12/2017   PREPARE FOR AND PARTICIPATE IN CONFERENCE CALL WITH COMMITTEES REGARDING
              SALE ISSUES

    2098696      KJM                               535.00             $214.00               0.4

 10/12/2017 ANALYSIS OF COMMUNICATIONS REGARDING POTENTIAL OVERBIDS, DEPOSITS AND THE LIKE
            AND RELATED COMMUNICATIONS

    2098732      MYK                               575.00             $287.50               0.5

 10/12/2017 ANALYSIS OF CONTRACT REJECTION AND RELATED EMAILS



    2098737      MYK                               575.00             $172.50               0.3

 10/12/2017 ANALYSIS OF EMAIL RE: RADIANS PURCHASE ISSUES AND EMPLOYEES; CONF WITH GEOFF
            RE: SALE ISSUES

    2101909      RB                                595.00             $178.50               0.3

 10/12/2017 PREPARATION OF EMAIL EXCHANGE WITH GRAYSON WALTER - COUNSEL TO PROSPECTIVE
            OVERBIDDER PIP - RE: AUCTION AND SALE ISSUES AND REVIEW

    2101914      RB                                595.00             $119.00               0.2

 10/13/2017 ANALYSIS OF CORRESPONDENCE REGARDING CLAIM CALCULATIONS



    2104185      KJM                               535.00              $53.50               0.1

 10/13/2017 ANALYSIS OF SALE UPDATE FROM CRAIG-HALLUM; PREPARATION OF CORRESPONDENCE RE
            SAME

    2104187      KJM                               535.00             $107.00               0.2
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 10/13/2017 ANALYSIS OF CORRESPONDENCE AND DOCUMENTATION RE POTENTIAL BIDDERS' FINANCIAL
            QUALIFICATIONS

    2104191   KJM                                   535.00                 $53.50             0.1

 10/13/2017 ANALYSIS OF GRANIGER STIPULATION



    2104196   KJM                                   535.00                 $53.50             0.1

 10/13/2017 ANALYSIS OF SALE PROCESS UPDATE AND UPDATES ON CONFIDENTIAL INFORMATION TO
            BUYERS AND RELATED EMAILS

    2098993   MYK                                   575.00                $345.00             0.6

 10/13/2017 ANALYSIS OF STIPULATION INVOLVING CUSTOMER AND RELATED EMAILS AND
            COMMUNICATIONS THEREON

    2098996   MYK                                   575.00                $172.50             0.3

 10/13/2017 ANALYSIS OF PIP FINANCIAL QUALIFICATIONS AND RELATED EMAILS



    2101940   RB                                    595.00                $119.00             0.2

 10/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING SUPPLEMENT TO SALE MOTION



    2104199   KJM                                   535.00                 $53.50             0.1

 10/14/2017 ANALYSIS OF SUPPLEMENT TO SALE MOTION



    2104202   KJM                                   535.00                $107.00             0.2

 10/14/2017 ANALYSIS OF CLAIMS CHART, RELATED COMMUNICATIONS THEREON



    2099011   MYK                                   575.00                $230.00             0.4

 10/14/2017 PREPARATION OF SUPPLEMENTAL TO SALE MOTION AND GREULICH DECLARATION
            REGARDING CLAIMS

    2099014   MYK                                   575.00                $977.50             1.7

 10/15/2017 ANALYSIS OF SUPPLEMENT TO SALE MOTION/GREULICH DECLARATION AND RELATED
            COMMUNICATIONS

    2099322   MYK                                   575.00                $115.00             0.2

 10/16/2017 TELEPHONE CONFERENCE WITH BARBY RIBECK (2 CALLS) RE NOTICE OF HEARING RE SALE
            OF PROPERTY

    2099180   JK                                    250.00                 $50.00             0.2

 10/16/2017 ANALYSIS OF CORRESPONDENCE REGARDING SUPPLEMENT TO SALE MOTION



    2104210   KJM                                   535.00                 $53.50             0.1
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 10/16/2017 ANALYSIS OF SUPPLEMENT TO SALE MOTION AND DECLARATION AND FILING AND RELATED
            EMAILS

    2099342   MYK                                 575.00              $172.50               0.3

 10/16/2017 ANALYSIS OF REJECTION OF CONTRACTS, AND ESTIMATE OF REJECTION DAMAGES CLAIM
            AND RELATED EMAILS

    2099349   MYK                                 575.00              $230.00               0.4

 10/16/2017 PREPARATION OF SALE MOTION SUPPLEMENT AND RELATED EMAIL EXCHANGE; ANALYSIS OF
            FILE; CONF WITH GEOFF AND MATT

    2101976   RB                                  595.00              $476.00               0.8

 10/17/2017 ANALYSIS OF PROPOSED PURCHASE PRICE AGREEMENT AND CORRESPONDENCE RE SAME



    2104224   KJM                                 535.00               $53.50               0.1

 10/17/2017 ANALYSIS OF CORRESPONDENCE RE EXECUTORY CONTRACTS; PREPARATION OF
            CORRESPONDENCE RE SAME

    2104307   KJM                                 535.00               $53.50               0.1

 10/17/2017 ANALYSIS OF COMMUNICATIONS FROM OCE REGARDING INVESTIGATION REPORTS,
            EMPLOYMENT AGREEMENTS, EXECUTORY CONTRACTS, SALE MATTERS AND RELATED
            EMAILS
    2099559   MYK                                 575.00              $345.00               0.6

 10/17/2017 ANALYSIS OF PURCHASE AGREEMENT WITH RADIANS AND RELATED EMAILS



    2099561   MYK                                 575.00              $345.00               0.6

 10/17/2017 ANALYSIS OF SALE ORDER AND ISSUES RAISED BY SEC



    2099563   MYK                                 575.00              $115.00               0.2

 10/17/2017 PREPARATION OF PURCHASE PRICE AGREEMENT FOR RADIANS TO PAY HIGHER PRICE AND
            RELATED EMAIL EXCHANGE; ANALYSIS OF FILE

    2102024   RB                                  595.00              $416.50               0.7

 10/18/2017 ANALYSIS OF EXECUTORY CONTRACTS LISTED ON SCHEDULE G



    2100140   KJM                                 535.00              $695.50               1.3

 10/18/2017 ANALYSIS OF PATENT LICENSES/SETTLEMENTS WITH PATENT INFRINGERS



    2100162   KJM                                 535.00              $963.00               1.8

 10/18/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING UCC FILING BY CREDITOR AND
            ISSUES RE SAME

    2100164   KJM                                 535.00               $53.50               0.1
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 10/18/2017 ANALYSIS OF PURCHASE PRICE AGREEMENT WITH RADIANS AND CORRESPONDENCE RE
            SAME

    2100166   KJM                                  535.00               $53.50               0.1

 10/18/2017 ANALYSIS OF SALES REPRESENTATIVE AGREEMENTS



    2100173   KJM                                  535.00               $53.50               0.1

 10/18/2017 ANALYSIS OF CONTRACTS FOR ASSUMPTION/REJECTION IN SALE AND RELATED EMAILS AND
            DOCUMENTS

    2099761   MYK                                  575.00              $230.00               0.4

 10/18/2017 ANALYSIS OF UPDATES AS TO SALE BID PROCESS



    2099784   MYK                                  575.00              $287.50               0.5

 10/18/2017 ANALYSIS OF UPDATE AS TO PURCHASE AGREEMENT WITH RADIANS



    2099785   MYK                                  575.00              $115.00               0.2

 10/18/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE ISSUES AND REVIEW; CONF WITH GEOFF AND
            RICKMAN

    2102052   RB                                   595.00              $297.50               0.5

 10/18/2017 ANALYSIS OF MULTIPLE EMAILS AND DOCS RE: PROSPECTIVE OVERBIDDERS; CONF WITH
            RICKMAN AND GEOFF

    2102058   RB                                   595.00              $238.00               0.4

 10/18/2017 PREPARATION OF EMAIL EXCHANGE WITH FRANK RE: GRAINGER STIPULATION; CONF WITH
            FRANK

    2102059   RB                                   595.00              $178.50               0.3

 10/19/2017 ANALYSIS OF CORRESPONDENCE REGARDING EXECUTORY CONTRACTS



    2104401   KJM                                  535.00               $53.50               0.1

 10/19/2017 ANALYSIS OF SALE PROCESS UPDATE



    2104460   KJM                                  535.00               $53.50               0.1

 10/19/2017 ANALYSIS OF CORRESPONDENCE RE MARKETING OF ASSETS



    2104473   KJM                                  535.00               $53.50               0.1

 10/19/2017 ANALYSIS OF ADDITIONAL CONTRACTS



    2104510   KJM                                  535.00              $267.50               0.5
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 10/19/2017 ANALYSIS OF COMMUNICATIONS REGARDING POST-SALE MATTERS AND SALE UPDATE



    2100117   MYK                                 575.00              $287.50              0.5

 10/19/2017 ANALYSIS OF SALE PROCESS UPDATE; CONF WITH RICKMAN AND GEOFF



    2102093   RB                                  595.00              $238.00              0.4

 10/19/2017 PREPARATION OF EMAIL EXCHANGE WITH EQUITY COMMITTEE RE: SALE ISSUES AND
            REVIEW; CONF WITH RICKMAN AND TANIA

    2102103   RB                                  595.00              $238.00              0.4

 10/19/2017 TELEPHONE CONFERENCE WITH GEOFF RE: FURTHER SALE ISSUES AND CASE REVIEW



    2102114   RB                                  595.00              $178.50              0.3

 10/20/2017 TELEPHONE CONFERENCE WITH EQUITY COMMITTEE COUNSEL RE SALE PROCESS



    2100142   KJM                                 535.00              $481.50              0.9

 10/20/2017 PREPARATION OF MOTION TO ASSUME OR REJECT EXECUTORY CONTRACTS AND
            APPLICATION FOR OST RE SAME

    2100143   KJM                                 535.00            $1,658.50              3.1

 10/20/2017 PREPARATION OF PROPOSED ORDER SHORTENING NOTICE ON MOTION TO ASSUME



    2100144   KJM                                 535.00              $107.00              0.2

 10/20/2017 PREPARATION OF AMENDED SCHEDULE G



    2100145   KJM                                 535.00              $160.50              0.3

 10/20/2017 ANALYSIS OF CORRESPONDENCE REGARDING INTERESTED PARTIES' BID DEPOSIT



    2100150   KJM                                 535.00               $53.50              0.1

 10/20/2017 ANALYSIS OF LIMITED OBJECTION TO SALE MOTION FILED BY AISENBERG AND CORDES



    2100203   KJM                                 535.00              $107.00              0.2

 10/20/2017 ANALYSIS OF MOTION TO ASSUME AND RELATED EMAILS AND PAPERS



    2100243   MYK                                 575.00              $287.50              0.5

 10/20/2017 ANALYSIS OF COMMUNCATIONS REGARDING GRAINGER CLAIM



    2100250   MYK                                 575.00              $172.50              0.3
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 10/20/2017 ANALYSIS OF LIMITED OBJECTIONS TO SALE FILED BY FORMER CEO AND CFO



    2100256   MYK                                 575.00              $345.00              0.6

 10/20/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE ISSUES AND PLANNING; CONF WITH GEOFF



    2102115   RB                                  595.00              $416.50              0.7

 10/20/2017 CONFERENCE CALL WITH TANIA AND PETER RE: OVERALL SALE AND CASE REVIEW AND
            PLANNING FOR AUCTION

    2102128   RB                                  595.00              $297.50              0.5

 10/20/2017 PREPARATION OF EMAIL EXCHANGE WITH PROTECTIVE INDUSTRIAL PRODUCTS RE: BIDDING
            DEPOSIT

    2102134   RB                                  595.00               $59.50              0.1

 10/20/2017 TELEPHONE CONFERENCE WITH FRANK RE: AUCTION SALE ISSUES AND REVIEW



    2102137   RB                                  595.00              $178.50              0.3

 10/20/2017 TELEPHONE CONFERENCE WITH GEOFF RE: OVERBID ISSUES AND PLANNING FOR AUCTION
            SALE

    2102138   RB                                  595.00              $238.00              0.4

 10/20/2017 ANALYSIS OF AISENBERG AND CORDES OBJECTION TO SALE MOTION; CONF WITH CLIENT



    2102146   RB                                  595.00              $178.50              0.3

 10/20/2017 TELEPHONE CONFERENCE WITH RICKMAN RE: SALE ISSUES AND AUCTION REVIEW



    2102151   RB                                  595.00              $178.50              0.3

 10/21/2017 ANALYSIS OF CORRESPONDENCE REGARDING LIMITED OBJECTION TO SALE MOTION



    2104553   KJM                                 535.00               $53.50              0.1

 10/21/2017 ANALYSIS OF CORRESPONDENCE REGARDING SEC PROPOSED LANGUAGE TO SALE ORDER



    2104564   KJM                                 535.00               $53.50              0.1

 10/21/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING PURCHASE ORDERS AND ISSUES
            RE SAME

    2104569   KJM                                 535.00              $107.00              0.2

 10/21/2017 ANALYSIS OF PLACE OF AUCTION AND RELATED EMAILS AND COMMUNICATIONS



    2100237   MYK                                 575.00              $115.00              0.2
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 10/21/2017 ANALYSIS OF DEBTORS PLANS ON LIMITED OBJECTIONS TO SALE BY FORMER OFFICERS AND
            RELATED EMAILS

    2100238   MYK                                 575.00              $115.00               0.2

 10/21/2017 ANALYSIS OF COMMUNICATIONS REGARDING SALE ORDER AND ISSUES



    2100241   MYK                                 575.00              $115.00               0.2

 10/22/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE RE ASSUMPTION AND ASSIGNMENT OF
            CONTRACTS AND ISSUES RE SAME

    2104572   KJM                                 535.00              $107.00               0.2

 10/22/2017 ANALYSIS OF CORRESPONDENCE REGARDING GRAINGER ISSUES



    2104575   KJM                                 535.00               $53.50               0.1

 10/22/2017 ANALYSIS OF RECEIPT OF DEPOSIT FROM BIDDER



    2100279   MYK                                 575.00               $57.50               0.1

 10/22/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SALE ISSUES, PLANNING AND REVIEW;
            CONF WITH GEOFF AND STEVE RICKMAN

    2102160   RB                                  595.00              $714.00               1.2

 10/22/2017 ANALYSIS OF EMAIL EXCHANGE WITH BRIGHTON BEST RE: POSSIBLE OVERBID; CONF WITH
            GEOFF AND STEVE

    2102164   RB                                  595.00              $297.50               0.5

 10/22/2017 PREPARATION OF EMAIL EXCHANGE RE: PIP SALE ISSUES AND REVIEW



    2102168   RB                                  595.00               $59.50               0.1

 10/23/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING GRAINGER CLAIM AND ISSUES RE
            SAME

    2104582   KJM                                 535.00              $160.50               0.3

 10/23/2017 ANALYSIS OF COMMUNICATIONS REGARDING AUCTION AND RELATED EMAILS



    2100315   MYK                                 575.00              $172.50               0.3

 10/23/2017 TELEPHONE CONFERENCE WITH ZHANG REGARDING INQUIRIES REGARDING SALE OF
            ASSETS

    2100325   MYK                                 575.00              $115.00               0.2

 10/23/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SALE AND AUCTION ISSUES AND
            PLANNING; CONF WITH CLIENT

    2103046   RB                                  595.00              $178.50               0.3
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 10/23/2017 TELEPHONE CONFERENCE WITH RICKMAN RE: SALE ISSUES, PLANNING AND CASE REVIEW



    2103048   RB                                   595.00             $238.00               0.4

 10/23/2017 TELEPHONE CONFERENCE WITH ALAN FELD - COUNSEL TO PROSPECTIVE OVERBIDDER PIP
            RE: SALE AND AUCTION ISSUES AND CASE REVIEW

    2103049   RB                                   595.00             $476.00               0.8

 10/23/2017 TELEPHONE CONFERENCE WITH JEFF KRIEGER AND MATT - COUNSEL TO PROSPECTIVE
            OVERBIDDER BRIGHTON BEST RE: SALE AND AUCTION ISSUES AND CASE REVIEW

    2103050   RB                                   595.00             $416.50               0.7

 10/23/2017 ANALYSIS OF SALE PROCESS UPDATE FROM RICKMAN AND MULTIPLE RELATED EMAILS;
            CONF WITH STEVE

    2103068   RB                                   595.00             $297.50               0.5

 10/24/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING GRAINGER CLAIM AND CONTRACT
            STATUS

    2104620   KJM                                  535.00             $107.00               0.2

 10/24/2017 ANALYSIS OF TRADEMARK LIEN DOCUMENTS AND INFORMATION; PREPARATION OF
            CORRESPONDENCE RE SAME

    2104642   KJM                                  535.00             $214.00               0.4

 10/24/2017 TELEPHONE CONFERENCE WITH ALL COMMUNICATIONS REGARDING SUPPLIER/CUSTOMER
            ISSUES, CURE AMOUNTS AND RELATED SALE AND DOCUMENT ISSUES

    2100614   MYK                                  575.00             $460.00               0.8

 10/24/2017 ANALYSIS OF DRAFT SALE ORDER AND ALL RELATED EMAILS AND COMMUNICATIONS WITH
            VARIOUS INTERESTED PARTIES

    2100615   MYK                                  575.00             $345.00               0.6

 10/24/2017 ANALYSIS OF STATUS OF OVERBIDS, DEPOSITS, AND RELATED MATTERS AND DISCUSSIONS
            THEREON

    2100616   MYK                                  575.00             $287.50               0.5

 10/24/2017 ANALYSIS OF LIENS AS TO IP, ADDITIONAL SERVICE ISSUES AND RELATED DOCUMENTS



    2100623   MYK                                  575.00             $230.00               0.4

 10/24/2017 PREPARATION OF EMAIL EXCHANGE WITH COUNSEL TO BRIGHTON BEST RE: DEPOSIT ISSUES
            AND REVIEW

    2103070   RB                                   595.00              $59.50               0.1

 10/24/2017 ANALYSIS OF EMAIL FROM SEC RE: RECORDS PRESERVATION ISSUES AND SALE ORDER



    2103086   RB                                   595.00              $59.50               0.1
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 10/24/2017 PREPARATION OF EMAIL EXCHANGE RE: KRIEGER REQUESTED CHANGES TO APA; CONF WITH
            RICKMAN AND CLIENT

    2103097      RB                                595.00              $178.50              0.3

 10/25/2017 ANALYSIS OF PIP BID DOCUMENTS/PROPOSED APA



    2104657      KJM                               535.00              $267.50              0.5

 10/25/2017 ANALYSIS OF BBI BID DOCUMENTS/ PROPOSED APA



    2104660      KJM                               535.00              $267.50              0.5

 10/25/2017   EMAIL EXCHANGES REGARDING APA SCHEDULES; CONFER WITH RADIANS' COUNSEL RE
              SAME

    2104665      KJM                               535.00              $107.00              0.2

 10/25/2017 PREPARATION OF CONTRACT CURE AND REJECTION ANALYSIS



    2104667      KJM                               535.00             $1,872.50             3.5

 10/25/2017 ANALYSIS OF OVERBIDS FROM OVERBIDDERS, RELATED DISCUSSIONS, REVIEW BID
            PACKAGES AND REQUIREMENTS, DEPOSITS, PURCHASE PRICE AND BIDDING ISSUES AND
            RELATED EMAILS AND DISCUSSIONS THEREON
    2100864      MYK                               575.00              $805.00              1.4

 10/25/2017 ANALYSIS OF SCHEDULES TO APA FROM RADIANS



    2100871      MYK                               575.00              $230.00              0.4

 10/25/2017 ANALYSIS OF SALE AUCTION, ALL RELATED EMAILS AND DISCUSSIONS WITH INTERESTED
            PARTIES

    2100876      MYK                               575.00              $345.00              0.6

 10/25/2017 ANALYSIS OF PIP PROPOSED APA, SALE ORDER AND RELATED DOCS AND EMAL; CONF WITH
            CLIENT AND RICKMAN

    2103109      RB                                595.00             $1,666.00             2.8

 10/25/2017 PREPARATION OF EMAIL EXCHANGE RE: OVERBIDDER ISSUES AND REVIEW



    2103110      RB                                595.00              $119.00              0.2

 10/25/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH KRIEGER RE: SALE ISSUES AND REVIEW



    2103111      RB                                595.00              $119.00              0.2

 10/25/2017 ANALYSIS OF FRANK EMAIL RE: OVERBID AND AUCTION ISSUES; CONF WITH FRANK



    2103120      RB                                595.00              $178.50              0.3
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 10/25/2017 ANALYSIS OF BRIGHTON BEST APA AND RELATED EMAIL; PREP OF RELATED EMAIL
            EXCHANGE; CONF WITH CLIENT

    2103122   RB                                   595.00               $833.00                1.4

 10/25/2017 CONFERENCE WITH CLIENT GEOFF RE: SALE ISSUES AND REVIEW AND PLANNING



    2103125   RB                                   595.00               $297.50                0.5

 10/25/2017 ANALYSIS OF APA RE: EMPLOYEE CLAIMS AND CURE LIABILITIES; PREP OF RELATED EMAIL
            EXCHANGE; CONF WITH CLIENT

    2103129   RB                                   595.00               $297.50                0.5

 10/25/2017 TELEPHONE CONFERENCE WITH GEOFF AND STEVE RE: BIDDING PROCEDURE
            REQUIREMENTS FOR OVERBIDDERS; ANALYSIS OF APA AND BIDDING PROCEDURES ORDER

    2103133   RB                                   595.00               $357.00                0.6

 10/25/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: OVERBIDDERS AND AUCTION PROCESS



    2103136   RB                                   595.00               $119.00                0.2

 10/26/2017 TELEPHONE CONFERENCE WITH EQUITY COMMITTEE COUNSEL AND OTHER PROFESSIONALS
            REGARDING SALE PLANNING AND ISSUES

    2104696   KJM                                  535.00               $535.00                1.0

 10/26/2017 PREPARATION OF CONTRACT CURE AND REJECTION DAMAGES ANALYSIS



    2104697   KJM                                  535.00              $1,498.00               2.8

 10/26/2017 ANALYSIS OF MIKE EMSLIE CONTRACT AND CORRESPONDENCE RE SAME



    2104699   KJM                                  535.00               $107.00                0.2

 10/26/2017 ANALYSIS OF CORRESPONDENCE RE 2017 INCENTIVE PLAN; PREPARATION OF
            CORRESPONDENCE RE SAME

    2104700   KJM                                  535.00                $53.50                0.1

 10/26/2017 PREPARATION OF REPLY TO LIMITED OBJECTION TO SALE MOTION



    2104708   KJM                                  535.00               $642.00                1.2

 10/26/2017 ANALYSIS OF STIPULATION WITH CUSTOMER AND RELATED EMAILS AND DISCUSSIONS
            THEREON

    2101215   MYK                                  575.00               $230.00                0.4

 10/26/2017 ANALYSIS OF DEPOSIT FROM OVERBIDDER, AND EMAILS REGARDING BIDS



    2101217   MYK                                  575.00               $230.00                0.4
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 10/26/2017 ANALYSIS OF DEBTORS' RESPONSE TO LIMITED OBJECTION FILED TO SALE MOTION BY
            EQUITY MEMBERS

    2101218   MYK                                 575.00              $345.00              0.6

 10/26/2017 CONFERENCE CALL WITH EQUITY COMMITTEE PROFESSIONALS RE: OVERALL CASE REVIEW
            AND SALE PLANNING AND RELATED MATTERS

    2103724   RB                                  595.00              $595.00              1.0

 10/26/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE ISSUES AND REVIEW; CONF WITH FRANK



    2103725   RB                                  595.00              $178.50              0.3

 10/26/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: SALE ISSUES AND REVIEW



    2103727   RB                                  595.00              $238.00              0.4

 10/26/2017 PREPARATION OF EMAIL EXCHANGE WITH GRAINGER COUNSEL RE: STIPLULATIONS AND
            AUCTION SALE AND OVERBID ISSUES

    2103743   RB                                  595.00              $119.00              0.2

 10/26/2017 TELEPHONE CONFERENCE WITH PIP COUNSEL ALAN FELD RE: SALE AND AUCTION ISSUES
            AND REVIEW AND CASE BACKGROUND

    2103745   RB                                  595.00              $357.00              0.6

 10/26/2017 ANALYSIS OF AUCTION PRICE ANALYSIS FROM C-H; CONF WITH RICKMAN



    2103746   RB                                  595.00              $238.00              0.4

 10/26/2017 CONFERENCE CALL WITH EQUITY COMMITTEE MEMBER, GEOFF, RICKMAN AND
            PROFESSIONALS RE: SALE AND CASE REVIEW

    2103751   RB                                  595.00              $416.50              0.7

 10/26/2017 PREPARATION OF EMAIL EXCHANGE RE: BRIGHTON BEST SALE ISSUES AND REVIEW; CONF
            WITH GEOFF

    2103757   RB                                  595.00              $119.00              0.2

 10/26/2017 TELEPHONE CONFERENCE WITH COUNSEL TO PIP ATTORNEY ALAN FELD RE: SALE ISSUES
            AND CASE OVERVIEW

    2103758   RB                                  595.00              $476.00              0.8

 10/26/2017 ANALYSIS OF REPLY TO AISENBERG AND CORDES SALE OBJECTION AND RELATED EMAILS



    2103766   RB                                  595.00              $119.00              0.2

 10/27/2017 PREPARATION OF SUPPLEMENT TO SALE MOTION



    2104711   KJM                                 535.00              $214.00              0.4
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 10/27/2017 PREPARATION OF CONTRACT CURE AND REJECTION DAMAGES ANALYSIS



    2104716   KJM                                  535.00              $214.00               0.4

 10/27/2017 TELEPHONE CONFERENCE WITH SHIVA BECK RE LIMITED OBJECTION TO SALE MOTION



    2104717   KJM                                  535.00              $107.00               0.2

 10/27/2017 ANALYSIS OF RICKMAN DECLARATION



    2104718   KJM                                  535.00              $107.00               0.2

 10/27/2017 ANALYSIS OF PREPARATION FOR AUCTION, REVIEW PAPERS AND BIDS AND ALL RELATED
            EMAILS AND DISCUSSIONS WITH CLIENT, BIDDERS, COMMITTEES

    2101400   MYK                                  575.00             $1,035.00              1.8

 10/27/2017 ANALYSIS OF STIPULATIONS WITH GRAINGER AND ALL RELATED EMAILS, COMMUNICATIONS
            THEREON

    2101402   MYK                                  575.00              $345.00               0.6

 10/27/2017 ANALYSIS OF RICKMAN DECLARATION AND RELATED EMAILS



    2101403   MYK                                  575.00              $172.50               0.3

 10/27/2017 ANALYSIS OF SUPPLEMENTALS TO SALE MOTION, COMMUNICATIONS WITH OVERBIDDERS



    2101407   MYK                                  575.00              $460.00               0.8

 10/27/2017 TELEPHONE CONFERENCE WITH SCOTT ALDERTON RE: SALE ISSUES AND REVIEW



    2104007   RB                                   595.00              $119.00               0.2

 10/27/2017 TELEPHONE CONFERENCE WITH FRANK RE: SALE ISSUES AND REVIEW



    2104011   RB                                   595.00              $238.00               0.4

 10/27/2017 PREPARATION OF RICKMAN DECLARATION RE: SALE; CONF WITH RICKMAN; ANALYSIS OF FILE
            AND SALES SUMMARY REPORTS

    2104012   RB                                   595.00              $773.50               1.3

 10/27/2017 PREPARATION OF EMAIL EXCHANGE WITH FRANK RE: FURTHER SALE ISSUES AND REVIEW;
            CONF WITH FRANK

    2104022   RB                                   595.00              $178.50               0.3

 10/27/2017 ANALYSIS OF CATHERINE EMAIL RE: AUCTION SALE ISSUES AND REVIEW



    2104025   RB                                   595.00               $59.50               0.1
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 10/27/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: AUCTION SALE ISSUES, PLANNING AND
            REVIEW

    2104029     RB                                595.00              $238.00              0.4

 10/27/2017 TELEPHONE CONFERENCE WITH TANIA RE: SALE ISSUES AND REVIEW



    2104031     RB                                595.00              $119.00              0.2

 10/27/2017 TELEPHONE CONFERENCE WITH RICKMAN RE: REVIEW OF CONTRACT CURE AND REJECTION
            CLAIMS ANALYSIS AND IMPACT ON BUYERS AND AUCTION

    2104032     RB                                595.00              $416.50              0.7

 10/27/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: METHOD OF CONDUCTING AUCTION; CONF
            WITH CLIENT AND RICKMAN

    2104033     RB                                595.00              $297.50              0.5

 10/28/2017   PREPARATION FOR HEARING ON SALE MOTION AND RELATED MATTERS



    2104724     KJM                               535.00             $1,337.50             2.5

 10/28/2017 TELEPHONE CONFERENCE WITH EQUITY COMMITTEE PROFESSIONALS REGARDING SALE
            PLANNING

    2104726     KJM                               535.00              $321.00              0.6

 10/28/2017 ANALYSIS OF ALL CALLS, EMAILS, COMMUNICATIONS AS TO AUCTION, BIDDING PROCESS AND
            RELATED MATTERS

    2101417     MYK                               575.00              $517.50              0.9

 10/28/2017 ANALYSIS OF REVISIONS TO SALE ORDER/APA FROM BIDDERS, SCHEDULES TO APA.



    2101418     MYK                               575.00              $402.50              0.7

 10/28/2017 CONFERENCE CALL WITH MULTIPLE DEBTOR AND EQUITY COMMITTEE PROFESSIONALS TO
            PLAN FOR UPCOMING AUCTION SALE; CONF WITH RICKMAN AND CLIENT

    2104061     RB                                595.00              $773.50              1.3

 10/28/2017 ANALYSIS OF FURTHER REVISED APA AND SALE ORDER FROM OVERBIDDER BBI AND
            RELATED EMAILS

    2104065     RB                                595.00              $535.50              0.9

 10/28/2017 PREPARATION OF MEMO TO ALL PARTICIPANTS AT AUCTION EXPLAINING HOW AUCTION WILL
            PROCEED; ANALYSIS OF FILE

    2104066     RB                                595.00              $238.00              0.4

 10/28/2017 ANALYSIS OF SCHEDULE 7.1 TO APA FROM RADIANS



    2104069     RB                                595.00               $59.50              0.1
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 10/29/2017 ANALYSIS OF SALE MOTION, OBJECTIONS, REPLIES, SUPPLEMENTS, ALL NOTICES AND
            RELATED PAPERS FOR SALE HEARING

    2101500     MYK                                575.00               $862.50             1.5

 10/29/2017 ANALYSIS OF FILE AND MULTIPLE SALE PLEADINGS AND DOCS IN PREP FOR COMPETITIVE BID
            AUCTION

    2104474     RB                                 595.00             $2,677.50             4.5

 10/30/2017   PREPARATION FOR AND ATTENDANCE AT SALE HEARING



    2104735     KJM                                535.00             $5,350.00            10.0

 10/30/2017 TELEPHONE CONFERENCE WITH COUNSEL TO FORMER TRADEMARK LIEN HOLDER



    2104738     KJM                                535.00                $53.50             0.1

 10/30/2017 APPEARANCE AT HEARING AUCTION, SALE HEARINGS, PRE AND POST MEETINGS WITH
            CLIENT AND OTHERS AND RELATED DISCUSSIONS AND EMAILS

    2102575     MYK                                575.00             $5,635.00             9.8

 10/30/2017 ANALYSIS OF COMMUNICATIONS, EMAILS AND DOCUMENTS AS TO SUPPLIER AGREEMENTS



    2102586     MYK                                575.00               $287.50             0.5

 10/30/2017 ANALYSIS OF REPLY FILED BY OCE REGARDING OBJECTIONS BY SHAREHOLDERS



    2102589     MYK                                575.00               $172.50             0.3

 10/30/2017 TELEPHONE CONFERENCE WITH CH PERSONNEL REGARDING SALE HEARING, TELEPHONIC
            APPEARANCE ISSUES

    2102590     MYK                                575.00               $115.00             0.2

 10/30/2017 ANALYSIS OF PIP FINANCIAL AVAILABILITY LETTER; CONF WITH STEVE AND GEOFF



    2104486     RB                                 595.00               $178.50             0.3

 10/30/2017 ANALYSIS OF EQUITY COMMITTEE REPLY TO AISENBERG AND CORDES OBJECTION TO SALE
            MOTION

    2104513     RB                                 595.00                $59.50             0.1

 10/30/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: PLANNING FOR AUCTION SALE AND REVIEW
            OF BIDDERS

    2104577     RB                                 595.00               $238.00             0.4

 10/30/2017 TELEPHONE CONFERENCE WITH RICKMAN RE: PLANNING FOR AUCTION SALE AND REVIEW
            OF BIDDERS

    2104579     RB                                 595.00               $238.00             0.4
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 10/30/2017 TELEPHONE CONFERENCE WITH FRANK RE: AUCTION SALE ISSUES AND REVIEW



    2104580   RB                                  595.00             $178.50               0.3

 10/30/2017 CONFERENCE WITH MULTIPLE DEBTORS AND EQUITY COMMITTEE REPS TO PLAN FOR
            AUCTION SALE

    2104581   RB                                  595.00            $1,190.00              2.0

 10/30/2017 APPEARANCE AT SALE HEARING AND AUCTION SALE



    2104583   RB                                  595.00            $4,760.00              8.0

 10/30/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF AFTER SALE HEARING TO PLAN FOR SALE
            CLOSING AND TRANSITION OF BUSINESS TO BBI

    2104585   RB                                  595.00             $297.50               0.5

 10/30/2017 TELEPHONE CONFERENCE WITH BBI AFTER SALE HEARING TO REVIEW SALE OUTCOME



    2104588   RB                                  595.00             $238.00               0.4

 10/30/2017 TELEPHONE CONFERENCE WITH SCOTT ALDERTON TO REVIEW OUTCOME OF AUCTION SALE
            AND BEGIN TO PLAN TRANSITION OF BUSINESS

    2104590   RB                                  595.00             $238.00               0.4

 10/30/2017 PREPARATION OF SALE ORDER AND PREP OF RELATED EMAIL EXCHANGE



    2104591   RB                                  595.00            $1,190.00              2.0

 10/31/2017 ANALYSIS OF PROPOSED SALE ORDER



    2104749   KJM                                 535.00             $267.50               0.5

 10/31/2017 ANALYSIS OF SALE ORDER, ASSET PURCHASE AGREEMENT, ALL RELATED EMAILS,
            DISCUSSION AND DOCUMENTS

    2103142   MYK                                 575.00            $1,150.00              2.0

 10/31/2017 TELEPHONE CONFERENCE WITH HESS (SHAREHOLDER) REGARDING AUCTION



    2103143   MYK                                 575.00             $115.00               0.2

 10/31/2017 ANALYSIS OF UST ISSUES REGARDING BANK ACCOUNTS AND REVIEW RELATED ISSUES



    2103149   MYK                                 575.00             $172.50               0.3

 10/31/2017 ANALYSIS OF 8K, APA AND INFORMATION THEREFOR AND ALL RELATED EMAILS AND
            DISCUSSIONS

    2103157   MYK                                 575.00             $460.00               0.8
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 10/31/2017 PREPARATION OF EMAIL EXCHANGE RE: GRAINGER COUNSEL RE: SALE



    2104604   RB                                  595.00                 $59.50             0.1

 10/31/2017 PREPARATION OF SALE ORDER AND RELATED EMAIL EXCHANGE; CONF WITH KRIEGER -
            MULTIPLE CALLS; ANALYSIS OF FILE

    2104606   RB                                  595.00               $1,487.50            2.5

 10/31/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: SALE ISSUES AND TRANSITION OF
            BUSINESS TO BBI

    2104634   RB                                  595.00                $178.50             0.3

 10/31/2017 ANALYSIS OF BBI CHANGES TO SALE ORDER; CONF WITH KRIEGER



    2104668   RB                                  595.00                $535.50             0.9

 10/31/2017 PREPARATION OF FURTHER REVISED VERSION OF SALE ORDER AND MULTIPLE RELATED
            EMAIL EXCHANGE; FURTHER CONF WITH KRIEGER

    2104672   RB                                  595.00                $952.00             1.6

 10/31/2017 PREPARATION OF REVISED APA TO INCORPORATE OUTCOME OF AUCTION AND SALE
            HEARING AND TO CONFORM WITH REVISED SALE ORDER AND PREP OF RELATED EMAIL
            EXCHANGE
    2104676   RB                                  595.00               $2,261.00            3.8

  11/1/2017 ANALYSIS OF REVISED VERSIONS OF SALE ORDER AND UPDATED RADIANS PAYOFF AMOUNT;
            MULTIPLE CORRESPONDENCE RE SAME

    2105270   KJM                                 535.00                $160.50             0.3

  11/1/2017 ANALYSIS OF WOLFSON COMMENTS TO SALE ORDER



    2105288   KJM                                 535.00                 $53.50             0.1

  11/1/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SEC DISCLOSURES RE SALE



    2105289   KJM                                 535.00                 $53.50             0.1

  11/1/2017 ANALYSIS OF CORRESPONDENCE REGARDING DEPOSIT OF SALE PROCEEDS AND ISSUES
            WITH UST RE SAME

    2105294   KJM                                 535.00                 $53.50             0.1

  11/1/2017 ANALYSIS OF BBI COMMENTS TO SALE ORDER AND CORRESPONDENCE RE SAME



    2105298   KJM                                 535.00                $107.00             0.2

  11/1/2017 PREPARATION OF CORRESPONDENCE TO EQUITY COMMITTEE COUNSEL REGARDING
            RADIANS PROOF OF CLAIM

    2105299   KJM                                 535.00                 $53.50             0.1
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  11/1/2017 PREPARATION OF SALE ORDER



    2105309      KJM                               535.00              $160.50                0.3

  11/1/2017   EMAIL EXCHANGE REGARDING HEARING ON SALE ORDER; CONFER WITH CLERK AND R
              BENDER REGARDING SALE ORDER HEARING

    2105310      KJM                               535.00               $53.50                0.1

  11/1/2017   EQUITY COMMITTEE PROPOSED REVISIONS TO BBI APA



    2105314      KJM                               535.00               $53.50                0.1

  11/1/2017 ANALYSIS OF MULTIPLE REVISIONS TO BBI APA AND MULTIPLE CORRESPONDENCE RE SAME



    2105322      KJM                               535.00              $214.00                0.4

 11/01/2017 ANALYSIS OF OUTCOME OF NOVEMBER 1 HEARING ON SALE ORDER AND RELATED
            DISCUSSIONS AS TO STATUS OF SALE AGREEMENT AND ORDER

    2103971      MYK                               575.00              $230.00                0.4

 11/01/2017 PREPARATION OF SALE ORDER, NOTICE OF SALE ORDER, REVISIONS, ALL RELATED EMAILS,
            DISCUSSIONS

    2103973      MYK                               575.00             $1,552.50               2.7

  11/1/2017 PREPARATION OF APA, REVISIONS TO APA, ALL RELATED EMAILS AND DISCUSSIONS



    2103974      MYK                               575.00             $1,610.00               2.8

  11/1/2017 TELEPHONE CONFERENCE WITH CHILDRESS REGARDING LETTER FROM OCE AND SALE
            ORDER ISSUES

    2103976      MYK                               575.00              $230.00                0.4

  11/1/2017 CONFERENCE CALL WITH KRIEGER AND OTHERS REGARDING SALE ORDER, APA ISSUES



    2103977      MYK                               575.00              $287.50                0.5

  11/1/2017 ANALYSIS OF PETER'S COMMENTS TO SALE ORDER; PREP OF RELATED EMAIL EXCHANGE



    2105514      RB                                595.00              $119.00                0.2

  11/1/2017 PREPARATION OF EMAIL EXCHANGE WITH SEC RE: SALE ORDER



    2105516      RB                                595.00               $59.50                0.1

  11/1/2017 PREPARATION OF FURTHER REVISED VERSION OF SALE ORDER AND RELATED EMAIL
            EXCHANGE

    2105517      RB                                595.00              $297.50                0.5
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  11/1/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: APA ISSUES AND REVIEW



    2105521   RB                                  595.00                $178.50             0.3

  11/1/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SALE ORDER AND DISPOSITION OF FUNDS;
            CONF WITH TANIA

    2105522   RB                                  595.00                $178.50             0.3

  11/1/2017 ANALYSIS OF BBI COMMENTS TO SALE ORDER; CONF WITH KRIEGER



    2105525   RB                                  595.00                $238.00             0.4

  11/1/2017 ANALYSIS OF PIP COMMENTS TO SALE ORDER



    2105526   RB                                  595.00                $119.00             0.2

  11/1/2017 ANALYSIS OF RADIANS COMMENTS TO SALE ORDER; CONF WITH FRANK



    2105527   RB                                  595.00                $178.50             0.3

  11/1/2017 PREPARATION OF EMAIL EXCHANGE WITH UST RE: SALE ORDER ISSUES AND REVIEW; CONF
            WITH MARGAUX ROSS

    2105528   RB                                  595.00                $178.50             0.3

  11/1/2017 PREPARATION OF FURTHER REVISED VERSION OF SALE ORDER AND RELATED EMAIL
            EXCHANGE

    2105529   RB                                  595.00                $476.00             0.8

  11/1/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH KRIEGER RE: BBI CHANGES TO SALE
            ORDER AND APA; CONF WITH KRIEGER

    2105533   RB                                  595.00                $297.50             0.5

  11/1/2017 ANALYSIS OF EQUITY COMMITTEE COMMENTS TO APA; CONF WITH TANIA



    2105543   RB                                  595.00                $238.00             0.4

  11/1/2017 ANALYSIS OF MULTIPLE FURTHER EMAILS RE: APA ISSUES AND DISPUTES; PREP OF RELATED
            EMAIL EXCHANGE

    2105544   RB                                  595.00                $178.50             0.3

  11/1/2017 TELEPHONE CONFERENCE WITH ALAN FELD RE: PIP INTEREST IN PURCHASING GRAINGER
            CONTRACTS; PREP OF RELATED EMAIL EXCHANGE

    2105550   RB                                  595.00                $297.50             0.5

  11/1/2017 ANALYSIS OF FURTHER COMMENTS FROM EQUITY COMMITTEE AND BBI TO APA; CONF WITH
            TANIA AND KRIEGER

    2105553   RB                                  595.00                $357.00             0.6
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  11/1/2017 PREPARATION OF FURTHER REVISED APA AND MULTIPLE RELATED EMAIL EXCHANGE



    2105557   RB                                   595.00             $535.50              0.9

  11/1/2017 ANALYSIS OF FILE IN PREP FOR CONTINUED SALE HEARING



    2105563   RB                                   595.00             $297.50              0.5

  11/1/2017 APPEARANCE AT CONTINUED SALE HEARING; CONF WITH CLIENT AFTER HEARING



    2105564   RB                                   595.00            $1,785.00             3.0

  11/2/2017 ANALYSIS OF CORRESPONDENCE AND REVISIONS TO SALE ORDER



    2105323   KJM                                  535.00              $53.50              0.1

  11/2/2017 ANALYSIS OF CORRESPONDENCE FROM CA DEPT. OF TAX RE SALE



    2105325   KJM                                  535.00              $53.50              0.1

  11/2/2017 ANALYSIS OF RADIANS EDITS TO SALE ORDER



    2105352   KJM                                  535.00              $53.50              0.1

  11/2/2017 ANALYSIS OF CORRESPONDENCE REGARDING SECTION 345 OF BANKRUPTCY CODE AND
            DEPOSIT OF SALE PROCEEDS

    2105361   KJM                                  535.00              $53.50              0.1

  11/2/2017 ANALYSIS OF CORRESPONDENCE RE REIMBURSEMENTS FROM AMS RE GOODS IN TRANSIT



    2105363   KJM                                  535.00              $53.50              0.1

  11/2/2017 ANALYSIS OF CORRESPONDENCE FROM FIRST REPUBLIC BANK RE COMPLIANCE WITH UST
            REQUIREMENTS

    2105418   KJM                                  535.00              $53.50              0.1

 11/02/2017 ANALYSIS OF ALL REVISIONS, COMMUNICATIONS REGARDING SALE ORDER, APA AND
            RELATED MATTERS AND EMAILS

    2105346   MYK                                  575.00             $977.50              1.7

 11/02/2017 PREPARATION OF SUMMARY OF OPEN ISSUES AS TO APA AND SALE ORDER, RELATED
            DISCUSSIONS

    2105376   MYK                                  575.00             $862.50              1.5

  11/2/2017 PREPARATION OF FURTHER REVISED SALE ORDER AND RELATED EMAIL EXCHANGE



    2105567   RB                                   595.00             $416.50              0.7
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  11/2/2017 ANALYSIS OF SUMMARY OF UNRESOLVED ISSUES FOR APA; PREP OF RELATED EMAIL
            EXCHANGE; ANALYSIS OF APA

    2105568   RB                                 595.00              $297.50               0.5

  11/2/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE; APA ISSUES AND REVIEW; CONF WITH
            KRIEGER

    2105574   RB                                 595.00              $238.00               0.4

  11/2/2017 CONFERENCE CALL WITH COUNSEL FOR BBI AND FOR EQUITY COMMITTEE RE: REVIEW OF
            APA AND NEGOTIATE RESOLUTIONS

    2105588   RB                                 595.00              $357.00               0.6

  11/2/2017 ANALYSIS OF RADIANS CHANGES TO SALE ORDER; CONF WITH FRANK



    2105590   RB                                 595.00              $238.00               0.4

  11/2/2017 ANALYSIS OF KRIEGER FURTHER CHANGES TO SALE ORDER; CONF WITH KRIEGER



    2105594   RB                                 595.00              $119.00               0.2

  11/2/2017 TELEPHONE CONFERENCE WITH TANIA RE: REVIEW OF APA AND RESOLUTIONS OF DISPUTES
            WITH BBI; PREP OF FURTHER REVISED APA AND RELATED EMAIL EXCHANGE

    2105603   RB                                 595.00              $714.00               1.2

  11/2/2017 TELEPHONE CONFERENCE WITH TANIA RE: FURTHER REVIEW OF APA; PREP OF FURTHER
            REVISED APA

    2105606   RB                                 595.00              $297.50               0.5

  11/2/2017 TELEPHONE CONFERENCE WITH TANIA RE: REVIEW OF SALE ORDER; PREP OF FURTHER
            REVISED SALE ORDER AND RELATED EMAIL EXCHANGE; ANALYSIS OF FURTHER COMMENTS
            FROM TANIA
    2105608   RB                                 595.00              $535.50               0.9

  11/2/2017 PREPARATION OF EMAIL TO GROUP RE: FURTHER REVISED APA AND ORDER; PREP OF
            MULTIPLE RELATED EMAIL EXCHANGE; CONF WITH KRIEGER

    2105609   RB                                 595.00              $416.50               0.7

  11/2/2017 TELEPHONE CONFERENCE WITH KRIEGER RE: FURTHER SALE ISSUES AND GRAINGER
            CONTRACT DISPUTES; PREP PF FURTHER REVISED SALE ORDER

    2105610   RB                                 595.00              $476.00               0.8

  11/2/2017 ANALYSIS OF FURTHER CHANGES TO SALE ORDER FROM RADIANS; CONF WITH FRANK



    2105613   RB                                 595.00              $178.50               0.3

  11/2/2017 ANALYSIS OF FURTHER COMMENTS TO SALE ORDER FROM KRIEGER; PREP OF CHANGES



    2105615   RB                                 595.00              $119.00               0.2
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  11/3/2017 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO CREDITORS' COMMITTEE REGARDING
            SALE ORDER PROVISIONS REQUESTED BY CREDITORS' COMMITTEE

    2108128   KJM                                 535.00                $53.50             0.1

  11/3/2017 ANALYSIS OF FINAL VERSION OF SALE ORDER AND CORRESPONDENCE TO CONSTITUENTS
            RE SAME

    2108130   KJM                                 535.00               $107.00             0.2

  11/3/2017 PREPARATION OF APA COMPARISON DOCUMENTS FOR SUBMISSION TO THE COURT; EMAIL
            EXCHANGES RE SAME; PREPARATION OF NOTICES OF SUBMISSION

    2108131   KJM                                 535.00               $160.50             0.3

  11/3/2017 ANALYSIS OF CORRESPONDENCE FROM BACKUP BIDDERS COUNSEL REGARDING LANGUAGE
            OF SALE ORDER RE BACK UP BID, AND RELATED CORRESPONDENCE

    2108132   KJM                                 535.00                $53.50             0.1

  11/3/2017 PREPARATION OF FINAL VERSION OF SALE ORDER



    2108144   KJM                                 535.00               $107.00             0.2

  11/3/2017 ANALYSIS OF SALE ORDER, APA OPEN ISSUES, HEARING THEREON AND ALL RELATED EMAILS
            AND DISCUSSIONS

    2105672   MYK                                 575.00               $977.50             1.7

  11/3/2017 ANALYSIS OF CASTALDI CHANGES TO SALE ORDER



    2105616   RB                                  595.00                $59.50             0.1

  11/3/2017 ANALYSIS OF RADIANS CHANGES TO SALE ORDER



    2105617   RB                                  595.00                $59.50             0.1

  11/3/2017 PREPARATION OF FURTHER REVISED SALE ORDER AND MULTIPLE RELATED EMAIL
            EXCHANGE; CONF WITH TANIA, WEISS AND KRIEGER

    2105619   RB                                  595.00              $1,368.50            2.3

  11/3/2017 ANALYSIS OF FURTHER CHANGES FROM EQUITY COMMITTEE TO SALE ORDER; CONF WITH
            TANIA

    2105623   RB                                  595.00               $178.50             0.3

  11/3/2017 PREPARATION OF EMAIL EXCHANGE RE: RADIANS CHANGES TO SALE ORDER; CONF WITH
            SHARON

    2105624   RB                                  595.00               $119.00             0.2

  11/3/2017 ANALYSIS OF PIP CHANGES TO SALE ORDER; PREP OF RESPONSE AND RELATED EMAIL
            ECXHANGE

    2105626   RB                                  595.00               $119.00             0.2
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  11/3/2017 PREPARATION OF NOTICE OF REVISED APA FOR FILING WITH COURT AND REDLINED;
            ANALYSIS OF FILE

    2105627   RB                                   595.00              $178.50                 0.3

  11/3/2017 PREPARATION OF NOTICE OF REVISED SALE ORDER FOR FILING WITH COURT AND REDLINED



    2105628   RB                                   595.00              $178.50                 0.3

  11/3/2017 APPEARANCE AT THIRD AND FINAL SALE HEARING; ANALYSIS OF FILE IN PREP FOR HEARING



    2105635   RB                                   595.00            $2,380.00                 4.0

  11/3/2017 PREPARATION OF SUMMARY OF OUTLINE OF OUTSTANDING ISSUES FOR CONTINUED SALE
            HEARING

    2105637   RB                                   595.00              $297.50                 0.5

  11/3/2017 PREPARATION OF FINAL VERSION OF SALE ORDER AND APA FOR FILING



    2105642   RB                                   595.00              $178.50                 0.3

  11/3/2017 PREPARATION OF MEMO TO CLIENT RE: SALE ORDER AND SALE STATUS AND 8-K



    2105645   RB                                   595.00              $119.00                 0.2

  11/3/2017 PREPARATION OF TEXT EXCHANGE WITH MATT RE: SALE CLOSING DATE AND PLANNING



    2105650   RB                                   595.00               $59.50                 0.1

  11/4/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE ISSUES



    2105653   RB                                   595.00               $59.50                 0.1

  11/4/2017 PREPARATION OF EMAIL EXCHANGE WITH FRANK RE: REFUND OF BIDDING DEPOSIT



    2105665   RB                                   595.00               $59.50                 0.1

  11/5/2017 ANALYSIS OF CORRESPONDENCE TO BUYER'S COUNSEL REGARDING SALE CLOSING ISSUES



    2108607   KJM                                  535.00               $53.50                 0.1

  11/5/2017 ANALYSIS OF STATUS OF CLOSING, CHECKLIST FOR SALE CLOSING AND CONCLUDING CASE
            AND NEXT STEPS

    2105689   MYK                                  575.00              $287.50                 0.5

  11/5/2017 PREPARATION OF COMPREHENSIVE SALE CLOSING CHECK LIST AND RELATED EMIAL
            EXCHANGE WITH BBI COUNSEL; ANALYSIS OF APA FOR CREATION OF SAME

    2105719   RB                                   595.00            $1,190.00                 2.0
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  11/6/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SALE CLOSING ISSUES AND
            PAYMENT OF EMPLOYEE CLAIMS

    2105823   KJM                                 535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING SALE ORDER TERMS AND COMPLIANCE WITH
            DIP AGREEMENT

    2105832   KJM                                 535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF CORRESPONDENCE FROM B PADNOS REGARDING 8-K AND SHAREHOLDER
            DISTRIBUTION ISSUES

    2105975   KJM                                 535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING CLOSING ISSUES



    2105982   KJM                                 535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING 8-K FILING AND ISSUES RE SAME



    2106281   KJM                                 535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING TRANSFER OF NON-DIP ACCOUNTS TO BUYER



    2106283   KJM                                 535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF CLOSING CHECKLIST PREPARED BY BBI



    2106288   KJM                                 535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF CLOSING MATTERS, CHECKLISTS, AND ALL RELATED EMAILS AND
            COMMUNICATIONS WITH CLIENT, BUYER, AND PROFESSIONALS

    2106077   MYK                                 575.00              $575.00              1.0

  11/6/2017 ANALYSIS OF 8K AND COMMUNICATIONS AS TO NEEDED INFORMATION



    2106078   MYK                                 575.00              $172.50              0.3

  11/6/2017 ANALYSIS OF CURE AMOUNTS, CLAIM AMOUNTS OF OCC AND OTHER CREDITORS



    2106079   MYK                                 575.00              $172.50              0.3

  11/6/2017 ANALYSIS OF NAME OF DEBTOR POST-CLOSING



    2106080   MYK                                 575.00              $115.00              0.2

  11/6/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: BBI SALE CLOSING AND PLANNING



    2108190   RB                                  595.00              $178.50              0.3
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  11/6/2017 PREPARATION OF EMAIL EXCHANGE WITH MATT RE: SALE ORDER AND DIP AGREEMENT
            REQUIREMENTS; CONF WITH MATT

    2108194     RB                                 595.00             $178.50                0.3

  11/6/2017 PREPARATION OF EMAIL EXCHANGE WITH LOUIS RE: APA AND SIGNING



    2108205     RB                                 595.00              $59.50                0.1

  11/6/2017 ANALYSIS OF CLOSING DOCUMENTS LIST FROM BBI BUYER AND RELATED EMAILS; ANALYSIS
            OF APA AND SALE ORDER

    2108230     RB                                 595.00             $357.00                0.6

  11/7/2017 ANALYSIS OF CORRESPONDENCE TO BBI'S COUNSEL REGARDING SALE CLOSING ITEMS



    2106289     KJM                                535.00              $53.50                0.1

  11/7/2017 ANALYSIS OF CORRESPONDENCE RE BONUS ACCRUALS; PREPARATION OF
            CORRESPONDENCE RE SAME

    2106342     KJM                                535.00             $107.00                0.2

  11/7/2017 ANALYSIS OF DRAFT 8K AND MULTIPLE CORRESPONDENCE RE SAME



    2108613     KJM                                535.00             $107.00                0.2

  11/7/2017 ANALYSIS OF CLOSING CHECKLIST AND CORRESPONDENCE RE SAME



    2108614     KJM                                535.00              $53.50                0.1

  11/7/2017 ANALYSIS OF CORRESPONDENCE REGARDING REQUEST FOR CERTIFIED COPY OF SALE
            ORDER; PREPARATION OF CORRESPONDENCE RE SAME

    2108615     KJM                                535.00              $53.50                0.1

  11/7/2017   EMAIL EXCHANGE WITH FORMER CREDITOR RE SALE CLOSING ISSUES



    2108618     KJM                                535.00              $53.50                0.1

  11/7/2017 ANALYSIS OF PRE-CLOSING UPDATE TO EQUITY COMMITTEE RE SALE BONUSES AND
            RELATED ISSUES

    2108625     KJM                                535.00              $53.50                0.1

 11/07/2017 ANALYSIS OF ALL CLOSING MATTERS, DOCUMENTS TO BE PREPARED, CHECKLISTS, AND ALL
            RELATED CONFERENCE CALLS AND EMAILS THEREON

    2106446     MYK                                575.00             $690.00                1.2

  11/7/2017 ANALYSIS OF EMPLOYMENT AND PAYMENT OF BONUS ISSUES AND RELATED EMAILS



    2106451     MYK                                575.00             $345.00                0.6
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  11/7/2017 ANALYSIS OF CERTIFIED SALE ORDER



    2106452   MYK                                   575.00              $115.00               0.2

  11/7/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: BBI SALE CLOSING ISSUES AND REIVEW;
            CONF WITH MATT

    2108243   RB                                    595.00              $178.50               0.3

  11/7/2017 ANALYSIS OF CLOSING DOCS CHART; PREP OF RELATED EMAIL EXCHANGE



    2108248   RB                                    595.00              $119.00               0.2

  11/7/2017 ANALYSIS OF SALE PROCESS TIMELINE PROPOSED BY C-H AND RELATED EMAILS FOR
            EQUITY COMMITTEE DISCOVERY; CONF WITH RICKMAN

    2108255   RB                                    595.00              $238.00               0.4

  11/7/2017 CONFERENCE CALL WITH SCOTT AND LOUIS RE: REVIEW OF SALE CLOSING AND LOGISTICS
            AND PLAN FOR WORK ALLOCATION

    2108262   RB                                    595.00              $297.50               0.5

  11/7/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: BBI SALE CLOSING MATTERS AND REVIEW;
            CONF WITH CLIENT

    2108264   RB                                    595.00              $178.50               0.3

  11/7/2017 ANALYSIS OF UPDATED SALE PROCESS TIMELINE FROM RICMAN AND RELATED EMAILS



    2108268   RB                                    595.00               $59.50               0.1

  11/7/2017 ANALYSIS OF FURTHER EMAILS RE: BBI SALE CLOSING AND PLANNING



    2108274   RB                                    595.00               $59.50               0.1

  11/8/2017 ANALYSIS OF CORRESPONDENCE FROM BOARD MEMBER REGARDING SALE BONUSES;
            CORRESPONDENCE REGARDING PRE-CLOSING ISSUES

    2108626   KJM                                   535.00              $535.00               1.0

  11/8/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF GRAINGER CONTRACT



    2108637   KJM                                   535.00               $53.50               0.1

  11/8/2017 ANALYSIS OF CLOSING DOCUMENTS, ASSIGNMENTS, BILL OF SALE, AND RELATED
            DOCUMENTS

    2108646   KJM                                   535.00              $160.50               0.3

  11/8/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING NAME CHANGE REQUIREMENTS



    2108650   KJM                                   535.00              $107.00               0.2
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  11/8/2017 ANALYSIS OF CASELAW REGARDING AUTHORITY TO DIRECT NAME CHANGE OF DEBTORS



    2108651   KJM                                 535.00              $321.00                0.6

  11/8/2017 ANALYSIS OF DRAFTS OF CLOSING DELIVERABLES AND RELATED ISSUES, MOTIONS, AND
            EMAILS

    2106735   MYK                                 575.00             $1,035.00               1.8

  11/8/2017 ANALYSIS OF ISSUES RELATIVE TO GRAINGER, REJECTION/ASSUMPTION AND DAMAGE
            ISSUES

    2106740   MYK                                 575.00              $230.00                0.4

  11/8/2017 ANALYSIS OF COMMUNICATIONS AS TO BONUS AND EMPLOYEE ISSUES



    2106741   MYK                                 575.00              $230.00                0.4

  11/8/2017 PREPARATION OF CLOSING CHECK LIST AND EMAIL TO CLIENT; CONF WITH MATT TO PLAN
            FOR SALE CLOSING

    2108281   RB                                  595.00              $238.00                0.4

  11/8/2017 PREPARATION OF EMAIL EXCHANGE WITH BBI RE: SALE CLOSING ISSUES AND PLANNING;
            ANALYSIS OF BBI APA

    2108282   RB                                  595.00              $297.50                0.5

  11/8/2017 PREPARATION OF EMAIL EXCHANGE WITH FRANK RE: REFUND OF RADIANS AUCTION
            DEPOSIT

    2108308   RB                                  595.00               $59.50                0.1

  11/8/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: NAME CHANGE ISSUES AND REVIEW OF
            BBI APA; CONF WITH CLIENT

    2108316   RB                                  595.00              $416.50                0.7

  11/9/2017 ANALYSIS OF CORRESPONDENCE WITH BUYER'S COUNSEL REGARDING DEPOSIT OF SALE
            PROCEEDS

    2108660   KJM                                 535.00               $53.50                0.1

  11/9/2017 PREPARATION OF NOTICE OF INCREASED CURE AMOUNT; EMAIL EXCHANGE RE SAME



    2108665   KJM                                 535.00               $53.50                0.1

  11/9/2017 ANALYSIS OF PROPOSED REVISIONS TO CLOSING DOCUMENTS



    2108668   KJM                                 535.00               $53.50                0.1

  11/9/2017 ANALYSIS OF CORRESPONDENCE FROM CORPORATE COUNSEL REGARDING NAME CHANGE
            OPTIONS

    2108671   KJM                                 535.00               $53.50                0.1
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  11/9/2017   EMAIL EXCHANGE WITH SHIVA BECK REGARDING NAME CHANGE MOTION



    2108673     KJM                                535.00              $53.50                0.1

  11/9/2017 ANALYSIS OF CORRESPONDENCE REGARDING SALE STATUS AND RELATED ISSUES



    2108674     KJM                                535.00              $53.50                0.1

  11/9/2017 ANALYSIS OF CORRESPONDENCE REGARDING EMPLOYMENT OF COMMITTEE
            PROFESSIONALS

    2108675     KJM                                535.00              $53.50                0.1

  11/9/2017 ANALYSIS OF CALIFORNIA AND NEVADA STATUTES REGARDING NAME CHANGE AUTHORITY;
            PREPARATION OF CORRESPONDENCE RE SAME

    2108726     KJM                                535.00             $160.50                0.3

  11/9/2017 ANALYSIS OF CLOSING MATTERS, DOCUMENTS AND COMMUNICATIONS THEREON



    2107091     MYK                                575.00             $805.00                1.4

  11/9/2017 ANALYSIS OF NOTICE BY BUYER REGARDING ADDITIONAL CONTRACTS



    2107096     MYK                                575.00             $115.00                0.2

  11/9/2017 PREPARATION OF EMAIL ECHANGE WITH BBI CONSEL RE: SALE CLOSING ISSUES AND
            PLANNING

    2108318     RB                                 595.00             $119.00                0.2

  11/9/2017 ANALYSIS OF MULTIPLE BBI SALE CLOSING DOCS; PREP OF REVISED VERSIONS OF DOCS
            AND RELATED EMAIL EXCHANGE

    2108321     RB                                 595.00            $2,082.50               3.5

  11/9/2017 ANALYSIS OF FURTHER REVISED BBI SALE DOCS AND RELATED EMAILS



    2108332     RB                                 595.00             $297.50                0.5

  11/9/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: NAME CHANGE ISSUES AND LOGISTICS;
            CONF WITH CLIENT

    2108333     RB                                 595.00             $178.50                0.3

  11/9/2017 ANALYSIS OF NOTICE OF BBI'S ELECTION TO TREAT CERTAIN ADDITIONAL CONTRACTS AS
            SUBSEQUENTLY IDENTIFIED DESIGNATED CONTRACTS; COMPARE TO SCHEDULES; CONF
            WITH CLIENT
    2108361     RB                                 595.00             $238.00                0.4

  11/9/2017 ANALYSIS OF TANIA EMAIL RE: POTENTIAL NAME CHANGES REQUESTED BY EQUITY
            COMMITTEE

    2108362     RB                                 595.00              $59.50                0.1
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  11/9/2017 PREPARATION OF EMAIL EXCHANGE RE: NAME CHANGE EMERGENCY MOTION AND CASE
            PLANNING AND REVIEW

    2108368     RB                                595.00             $119.00               0.2

 11/10/2017 PREPARATION OF CORRESPONDENCE REGARDING NAME CHANGE STATUTES AND ISSUES RE
            SAME

    2108727     KJM                               535.00              $53.50               0.1

 11/10/2017 PREPARATION OF MOTION FOR AUTHORITY TO CHANGE DEBTORS' NAME



    2108728     KJM                               535.00             $909.50               1.7

 11/10/2017 PREPARATION OF NAME CHANGE DOCUMENTS



    2108729     KJM                               535.00              $53.50               0.1

 11/10/2017 TELEPHONE CONFERENCE WITH EMPLOYEE BONUSES AND ISSUES RE SAME



    2108730     KJM                               535.00             $107.00               0.2

 11/10/2017   EMAIL EXCHANGE REGARDING EMPLOYEE BONUSES AND RESOLUTION OF BONUS ISSUES



    2108731     KJM                               535.00              $53.50               0.1

 11/10/2017 ANALYSIS OF CORRESPONDENCE REGARDING EMPLOYEE TERMINATION ISSUES



    2108732     KJM                               535.00              $53.50               0.1

 11/10/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF SALE CLOSING



    2108733     KJM                               535.00              $53.50               0.1

 11/10/2017   EMAIL EXCHANGE WITH CORPORATE COUNSEL REGARDING COSTS OF NAME CHANGE



    2108735     KJM                               535.00              $53.50               0.1

 11/10/2017 ANALYSIS OF ALL CLOSING RELATED COMMUNICATIONS, DISCUSSIONS AND DOCUMENTS
            AND ISSUES

    2107103     MYK                               575.00             $517.50               0.9

 11/10/2017 ANALYSIS OF FURTHER BBI SALE DOCUMENTS AND IP SCHEDULES AND MULTIPLE RELATED
            EMAILS

    2108405     RB                                595.00             $297.50               0.5

 11/10/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: NAME CHANGE ISSUES AND PLANNING



    2108418     RB                                595.00             $178.50               0.3
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            EXCHANGE

    2108419      RB                                595.00             $178.50               0.3

 11/10/2017 ANALYSIS OF KUROSAKI EMAIL RE: SALE CLOSING ISSUES AND REVIEW



    2108423      RB                                595.00              $59.50               0.1

 11/10/2017 ANALYSIS OF PROPOSED NAME CHANGE AMENDMENTS AND RELATED EMAILS



    2108427      RB                                595.00             $119.00               0.2

 11/10/2017 ANALYSIS OF LOUIS WHARTON MEMO RE: NAME CHANGE ISSUES AND REVIEW



    2108429      RB                                595.00              $59.50               0.1

 11/10/2017 ANALYSIS OF FURTHER SALE DOCUMENTS FROM BBI COUNSEL AND RELATED EMAILS



    2108434      RB                                595.00             $238.00               0.4

 11/10/2017 PREPARATION OF EMAIL EXCHANGE RE: BBI SALE CLOSING PAYMENTS AND REVIEW



    2108435      RB                                595.00             $119.00               0.2

 11/11/2017 PREPARATION OF MOTION FOR AUTHORITY TO PAY BONUSES



    2107397      KJM                               535.00            $2,407.50              4.5

 11/11/2017 ANALYSIS OF CORRESPONDENCE REGARDING POST-CLOSING EMPLOYMENT OF OFFICERS



    2107398      KJM                               535.00              $53.50               0.1

 11/11/2017   CONFER WITH RB AND BEN PADNOS RE BOARD APPROVAL OF BONUSES



    2107399      KJM                               535.00              $53.50               0.1

 11/11/2017 PREPARATION OF PROPOSED STIPULATION REGARDING BONUS MOTION



    2107400      KJM                               535.00             $160.50               0.3

 11/11/2017 ANALYSIS OF COMMUNICATIONS REGARDING CLOSING DOCUMENTS, BONUS PAYMENTS AND
            OTHER TRANSITIONAL MATTERS AND RELATED EMAILS

    2107239      MYK                               575.00             $287.50               0.5

 11/12/2017   EMAIL EXCHANGE REGARDING MOTION FOR AUTHORITY TO PAY BONUSES AND ISSUES RE
              SAME

    2107408      KJM                               535.00              $53.50               0.1
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CASE #       8300                                           From Date            9/8/2017
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 11/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUTORY SUPPORT FOR NAME CHANGE



    2107411   KJM                                535.00              $53.50               0.1

 11/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING NOTICE OF ADDITIONAL CONTRACTS TO BE
            ASSUMED

    2107413   KJM                                535.00              $53.50               0.1

 11/12/2017 ANALYSIS OF STATUS OF CLOSING, MOTION REGARDING NAME CHANGE



    2107244   MYK                                575.00             $172.50               0.3

 11/13/2017 PREPARATION OF MOTION TO AUTHORIZE NAME CHANGE



    2107375   KJM                                535.00             $428.00               0.8

 11/13/2017 TELEPHONE CONFERENCE WITH BUYER RE CLOSING AND APA ISSUES



    2107415   KJM                                535.00             $481.50               0.9

 11/13/2017 PREPARATION OF MOTION TO AUTHORIZE PAYMENT OF BONUSES AND DECLARATIONS IN
            SUPPORT

    2107416   KJM                                535.00            $1,498.00              2.8

 11/13/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING NAME CHANGE DOCUMENTS



    2107480   KJM                                535.00              $53.50               0.1

 11/13/2017 ANALYSIS OF CORRESPONDENCE WITH BUYER'S COUNSEL REGARDING WIRE TRANSFERS



    2107489   KJM                                535.00              $53.50               0.1

 11/13/2017 ANALYSIS OF FIRST AMENDMENT TO APA AND MULTIPLE CORRESPONDENCE RE SAME;
            PREPARATION OF CORRESPONDENCE RE SAME

    2107501   KJM                                535.00             $107.00               0.2

 11/13/2017 ANALYSIS OF CORRESPONDENCE RE CLOSING PAYMENT ITEMS AND ISSUES RE SAME



    2107734   KJM                                535.00              $53.50               0.1

 11/13/2017 ANALYSIS OF AMENDMENT TO APA, CLOSING DOCUMENTS, AND RELATED REVIEW OF
            DOCUMENTS, COMMUNICATIONS

    2107639   MYK                                575.00             $632.50               1.1

 11/13/2017 ANALYSIS OF NAME CHANGE DOCUMENTS, EMERGENCY MOTION REGARDING SAME



    2107640   MYK                                575.00             $402.50               0.7
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Ironclad Performance Wear
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 11/13/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: NAME CHANGES ISSUES AND REVIEW



    2108511     RB                                595.00               $238.00              0.4

 11/13/2017 ANALYSIS OF FURTHER UPDATED SALE DOCUMENTS AND MULTIPLE RELATED EMAIL
            EXCHANGE

    2108519     RB                                595.00               $476.00              0.8

 11/13/2017 PREPARATION OF EMERGENCY NAME CHANGE MOTION AND MULTIPLE RELATED EMAIL
            EXCHANGE

    2108527     RB                                595.00               $238.00              0.4

 11/13/2017 ANALYSIS OF MULTIPLE UPDATED SALE CLOSING DOCS AND RELATED EMAILS; CONF WITH
            KELLY AND BBI COUNSEL

    2108529     RB                                595.00               $833.00              1.4

 11/13/2017 ANALYSIS OF PROPOSED FIRST AMENDMENT TO APA AND RELATED EMAIL; COMPARE TO
            APA; PREP OF CHANGES TO SAME AND RELATED EMAIL EXCHANGE; CONF WITH BUYER'S
            COUNSEL AND KELLY
    2108530     RB                                595.00               $416.50              0.7

 11/13/2017 PREPARATION OF MULTIPLE FURTHER EMAIL EXCHANGE RE: SALE CLOSING ISSUES,
            DELIVERABLES AND LOGISTICS; CONF WITH KELLY AND BBI COUNSEL; REVIEW SCHEDULES
            AND APA
    2108533     RB                                595.00               $476.00              0.8

 11/13/2017 ANALYSIS OF FURTHER UPDATED SALE DOCS AND RELATED EMAILS



    2108544     RB                                595.00               $297.50              0.5

 11/13/2017 ANALYSIS OF UPDATED SCHEDULE OF AMOUNTS TO BE PAID AT CLOSING AND BACK UP
            DOCS; CONF WITH CLIENT AND BUYER COUNSEL; PREP OF RELATED EMAIL EXCHANGE

    2108546     RB                                595.00               $714.00              1.2

 11/13/2017 CONFERENCE CALL WITH KELLY AND CLIENT TO REVIEW AND PLAN FOR SALE CLOSING



    2108547     RB                                595.00               $416.50              0.7

 11/13/2017 ANALYSIS OF FURTHER REVISIONS TO VARIOUS SALE CLOSING DOCS AND MULTIPLE
            RELATED EMAILS

    2108558     RB                                595.00               $238.00              0.4

 11/14/2017   PREPARATION OF FIRST AMENDMENT TO APA



    2107740     KJM                               535.00               $214.00              0.4

 11/14/2017   CONFERENCE CALLS WITH BUYER'S COUNSEL REGARDING FIRST AMENDMENT TO APA



    2107741     KJM                               535.00               $107.00              0.2
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 11/14/2017   EMAIL EXCHANGES AND PHONE CONFERENCES WITH COMMITTEE COUNSEL REGARDING
              FIRST AMENDMENT TO APA

    2107742     KJM                               535.00             $107.00               0.2

 11/14/2017 ANALYSIS OF CORRESPONDENCE FROM CORPORATE COUNSEL RE CLOSING ITEMS AND
            PREPARATION OF CORRESPONDENCE RE SAME

    2107744     KJM                               535.00              $53.50               0.1

 11/14/2017 PREPARATION OF CORRESPONDENCE TO BUYER'S COUNSEL REGARDING RE CERTIFIED
            COPY OF SALE ORDER

    2107745     KJM                               535.00              $53.50               0.1

 11/14/2017 TELEPHONE CONFERENCE WITH GEOFF GREULICH REGARDING FIRST AMENDMENT TO APA



    2107747     KJM                               535.00              $53.50               0.1

 11/14/2017 ANALYSIS OF EXECUTED CLOSING DOCUMENTS AND CORRESPONDENCE RE SAME



    2107748     KJM                               535.00              $53.50               0.1

 11/14/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING FUNDING OF PURCHASE PRICE AND
            STATUS OF SAME

    2107749     KJM                               535.00              $53.50               0.1

 11/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING ESCROW PAYMENTS



    2107750     KJM                               535.00              $53.50               0.1

 11/14/2017 PREPARATION OF SUPPLEMENT TO NAME CHANGE MOTION



    2107751     KJM                               535.00             $107.00               0.2

 11/14/2017   PREPARATION FOR HEARING ON MOTION TO AUTHORIZE EFFECTUATION OF NAME CHANGE



    2107752     KJM                               535.00             $160.50               0.3

 11/14/2017   PREPARATION FOR HEARING ON MOTION TO PAY EMPLOYEE BONUSES



    2107753     KJM                               535.00             $802.50               1.5

 11/14/2017 ANALYSIS OF NOTICES OF NON-OPPOSITION TO NAME CHANGE AND BONUS MOTIONS



    2107770     KJM                               535.00              $53.50               0.1

 11/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING CONFIRMATION OF SALE CLOSING



    2107771     KJM                               535.00              $53.50               0.1
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 11/14/2017 ANALYSIS OF BANKRUPTCY RULES REQUIRING REPORTING OF CLOSING OF SALE; EMAIL
            EXCHANGE RE SAME

    2107778   KJM                                 535.00               $53.50               0.1

 11/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING CALCULATION OF RADIANS PAYOFF; VERIFY
            PAYOFF AMOUNT; PREPARATION OF CORRESPONDENCE RE SAME

    2108096   KJM                                 535.00               $53.50               0.1

 11/14/2017 ANALYSIS OF AMENDMENT TO APA, 8K, AND NOTICE OF CLOSING AND RELATED
            EMAILS/COMMUNICATIONS

    2107912   MYK                                 575.00              $632.50               1.1

 11/14/2017 ANALYSIS OF FUNDING BY BBI, PAYOFF TO CURES, RADIANS, AMOUNTS, RETURN OF
            DEPOSITS AND RELATED ISSUES

    2107915   MYK                                 575.00              $517.50               0.9

 11/14/2017 ANALYSIS OF COMMUNICATIONS AND DOCUMENTS FOR CLOSING AND RELATED
            DISCUSSIONS

    2107916   MYK                                 575.00              $287.50               0.5

 11/14/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE AND PARTICIPATE IN MULTIPLE CALLS TO
            HELP FACILIATE SALE CLOSING

    2108825   RB                                  595.00              $833.00               1.4

 11/14/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE AND PARTICIPATED IN MULTIPLE CALLS TO
            HELP FACILITATE SALE CLOSING

    2108863   RB                                  595.00              $833.00               1.4

 11/14/2017 ANALYSIS OF FURTHER UPDATE CLOSING PAYMENT CHART WITH PRO RATIONS AND
            ADJUSTMENTS; MULTIPLE CALLS WITH GEOFF, MATT AND BBI COUNSEL

    2108869   RB                                  595.00              $476.00               0.8

 11/14/2017 ANALYSIS OF FURTHER UPDATE FUNDS FLOW AND CALCULATION OF TOTAL PRICE; CONF
            WITH MATT AND BBI COUNSEL

    2108871   RB                                  595.00              $238.00               0.4

 11/14/2017 PREPARATION OF MULTIPLE FURTHER EMAIL EXCHANGE RE: SALE CLOSING MATTERS AND
            LOGISTICS; CONF WITH MATT AND BBI COUNSEL

    2108872   RB                                  595.00              $476.00               0.8

 11/14/2017 ANALYSIS OF FINAL EXECUTON AND SALE DOCS AND RELATED EMAILS



    2108877   RB                                  595.00              $297.50               0.5

 11/14/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: AMENDMENT TO APA TO DEAL WITH NEW
            CHANGE ISSUES; CONF WITH CLIENT AND TANIA; ANALYSIS OF FURTHER REVISED
            AMENDMENT AND RESPONSES
    2108879   RB                                  595.00              $297.50               0.5
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 11/14/2017 PREPARATION OF EMAIL EXCHANGE WITH GRAYSON WALTER RE: BB SALE CLOSING AND
            REFUND OF PIP DEPOSIT

    2108887      RB                               595.00               $59.50               0.1

 11/14/2017 ANALYSIS OF NAME CHANGE ORDER AND RELATED EMAILS



    2108888      RB                               595.00               $59.50               0.1

 11/14/2017 TELEPHONE CONFERENCE WITH TANIA RE: SALE CLOSING



    2108894      RB                               595.00               $59.50               0.1

 11/14/2017 TELEPHONE CONFERENCE WITH MATT RE: CASE PLANNING AND REVIEW FOR POST-SALE
            CLOSING PERIOD

    2108895      RB                               595.00              $238.00               0.4

 11/14/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SALE CLOSING PAYMENT AND CONFIRM
            WITH FRB; CONF WITH CLIENT

    2108896      RB                               595.00              $178.50               0.3

 11/14/2017 ANALYSIS OF NON OPPOSITION TO NAME CHANGE MOTION BY CREDITORS COMMITTEE



    2108898      RB                               595.00               $59.50               0.1

 11/14/2017 ANALYSIS OF EQUITY COMMITTEE NON OPPOSITION TO NAME CHANGE



    2108905      RB                               595.00               $59.50               0.1

 11/15/2017   PREPARATION FOR AND APPEARANCE AT HEARINGS ON MOTION TO EFFECTUATE NAME
              CHANGE AND MOTION TO PAY BONUSES

    2108102      KJM                              535.00             $1,498.00              2.8

 11/15/2017 ANALYSIS OF CORRESPONDENCE WITH COUNSEL TO RADIANS RE RADIANS PAYOFF
            CALCULATIONS AND DIP AGREEMENT LANGAUGE

    2108103      KJM                              535.00               $53.50               0.1

 11/15/2017 PREPARATION OF NAME CHANGE ORDER AND EMAIL EXCHANGES TO RESOLVE ISSUES RE
            SAME

    2108113      KJM                              535.00              $107.00               0.2

 11/15/2017 PREPARATION OF ORDER ON MOTION TO PAY BONUSES



    2108114      KJM                              535.00              $107.00               0.2

 11/15/2017 ANALYSIS OF PROPOSED SECOND AMENDMENT TO APA; PREPARATION OF
            CORRESPONDENCE TO CO-COUNSEL RE SAME

    2108118      KJM                              535.00               $53.50               0.1
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 11/15/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SECOND AMENDMENT TO APA;
            COMPARISON OF APA LANGUAGE REGARDING NAME CHANGE VS. AMENDMENTS TO APA

    2108120    KJM                                 535.00                  $53.50             0.1

 11/15/2017 ANALYSIS OF TRANSCRIPT OF HEARING ON OCTOBER 30



    2108350    MYK                                 575.00                 $115.00             0.2

 11/15/2017 ANALYSIS OF 8K, REVISIONS, AND RELATED EMAILS



    2108351    MYK                                 575.00                 $172.50             0.3

 11/15/2017 ANALYSIS OF RETURN OF DEPOSIT FOR BACKUP BIDDER AND WIRES TO OTHER PAYEES



    2108354    MYK                                 575.00                 $115.00             0.2

 11/15/2017 ANALYSIS OF SECOND AMENDMENT TO APA AND OPEN ITEMS



    2108356    MYK                                 575.00                 $230.00             0.4

 11/15/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SALE CLOSING AND POST CLOSING
            TRANSITION ISSUES; ANALYSIS OF APA; CONF WITH MATT

    2108986    RB                                  595.00                 $357.00             0.6

 11/15/2017 APPEARANCE AT HEARING ON EMERGENCY NAME CHANGE MOTION; ANALYSIS OF FILE IN
            PREP FOR HEARING

    2108995    RB                                  595.00                $1,190.00            2.0

 11/15/2017 ANALYSIS OF SECOND AMENDMENT TO APA AND MULTIPLE RELATED EMAILS



    2109021    RB                                  595.00                 $238.00             0.4

 11/16/2017 ANALYSIS OF CORRESPONDENCE REGARDING CURE PAYMENTS



    2108765    KJM                                 535.00                  $53.50             0.1

 11/16/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF GRAINGER CONTRACT



    2108771    KJM                                 535.00                  $53.50             0.1

 11/16/2017 ANALYSIS OF NOTICE OF SALE CLOSING



    2108775    KJM                                 535.00                  $53.50             0.1

 11/16/2017 PREPARATION OF PROPOSED ORDER ON NAME CHANGE REQUEST; CONFER WITH RB AND
            OTHER COUNSEL RE SAME

    2108781    KJM                                 535.00                 $107.00             0.2
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 11/16/2017 PREPARATION OF SECOND SUPPLEMENT TO NAME CHANGE MOTION



    2108782      KJM                                535.00             $160.50                0.3

 11/16/2017 PREPARATION OF SECOND AMENDMENT TO APA; MULTIPLE EMAIL EXCHANGES RE SAME



    2108783      KJM                                535.00             $107.00                0.2

 11/16/2017 ANALYSIS OF CORRESPONDENCE REGARDING CURE PAYMENTS TO CONTRACTING PARTIES
            AND ISSUES RE SAME

    2108789      KJM                                535.00              $53.50                0.1

 11/16/2017 PREPARATION OF EMPLOYEE BONUS ORDER AND ANALYSIS OF CORRESPONDENCE RE
            SERVICE OF SAME

    2108793      KJM                                535.00              $53.50                0.1

 11/16/2017 ANALYSIS OF COMMITTEE COMMENTS TO SECOND AMENDMENT TO APA



    2108806      KJM                                535.00              $53.50                0.1

 11/16/2017 ANALYSIS OF PROPOSED 8K FILING



    2108813      KJM                                535.00              $53.50                0.1

 11/16/2017    ATTEND TO OBTAINING CERTIFIED COPY OF NAME CHANGE ORDER; EMAIL EXCHANGE WITH
              L WHARTON RE SAME; TELEPHONE DIALOGUE WITH L WHARTON RE SAME

    2108817      KJM                                535.00              $53.50                0.1

 11/16/2017 TELEPHONE CONFERENCE WITH LAW CLERK RE NAME CHANGE MOTION AND ORDER;
            PREPARATION OF CORRESPONDENCE RE SAME; PREPARATION OF PROPOSED ORDER RE
            SAME
    2108874      KJM                                535.00              $53.50                0.1

 11/16/2017 RESEARCH REGARDING PAYMENT OF CLAIMS OUTSIDE OF PLAN OF REORGANIZATION



    2109071      MYK                                575.00             $115.00                0.2

 11/16/2017 ANALYSIS OF SUPPLEMENTAL REGARDING NAME CHANGE



    2109072      MYK                                575.00             $172.50                0.3

 11/16/2017 ANALYSIS OF ADDITIONAL PAYMENTS MADE FROM PURCHASE PRICE AND RELATED EMAILS



    2109075      MYK                                575.00             $172.50                0.3

 11/16/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SECOND AMENDMENT TO APA AND NEED
            FOR APPROVAL FROM ALL CONSTITUENTS; CONF WITH CLIENT

    2109285      RB                                 595.00             $178.50                0.3
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 11/17/2017 PREPARATION OF CORRESPONDENCE REGARDING FINAL EXECUTED SALE DOCUMENTS



    2109613      KJM                               535.00                $53.50              0.1

 11/17/2017 ANALYSIS OF FULLY EXECUTED APA AND RELATED SALE DOCUMENTS AND EMAILS



    2109354      MYK                               575.00               $172.50              0.3

 11/17/2017 ANALYSIS OF ORDERS ON NAME CAPTION, ORDERS ON BONUS AND RELATED MATTERS



    2109358      MYK                               575.00               $115.00              0.2

 11/18/2017 ANALYSIS OF COMMUNICATION FROM POTENTIAL BUYER OF NAME



    2109345      MYK                               575.00                $57.50              0.1

 11/20/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE OF DOMAIN NAME



    2109759      RB                                595.00                $59.50              0.1

                                                Total              $210,473.50           365.5
     03   -   BUSINESS OPERATIONS

   9/8/2017 PREPARATION OF PAYROLL MOTION



    2088876      KJM                               535.00               $214.00              0.4

   9/8/2017 ANALYSIS OF POH ISSUES AND REVIEW OF RELATED EMAILS



    2091252      RB                                595.00                $59.50              0.1

   9/8/2017 ANALYSIS OF EMAILS RE: INVENTORY ISSUES; CONF WITH GEOFF, MATT AND FRANK



    2091255      RB                                595.00               $238.00              0.4

   9/8/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE ISSUES; CONF WITH MATT, GEOFF AND
            FRANK

    2091257      RB                                595.00               $178.50              0.3

   9/8/2017 ANALYSIS OF INSIDER COMP FORMS



    2091275      RB                                595.00                $59.50              0.1

   9/9/2017 PREPARATION OF MOTION AUTHORIZING PAYMENT OF WAGES



    2084182      KJM                               535.00               $267.50              0.5
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   9/9/2017 PREPARATION OF UTILITIES MOTION



    2084579   KJM                                  535.00              $107.00                0.2

   9/9/2017 PREPARATION OF PAYROLL MOTION



    2084580   KJM                                  535.00              $107.00                0.2

   9/9/2017 PREPARATION OF EMERGENCY MOTION CHECKLIST



    2084948   KJM                                  535.00              $214.00                0.4

   9/9/2017 PREPARATION OF UTILITIES MOTION, DECLARATION IN SUPPORT, AND EXHIBIT TO MOTION



    2086739   KJM                                  535.00              $214.00                0.4

   9/9/2017 PREPARATION OF PAYROLL MOTION



    2087772   KJM                                  535.00              $267.50                0.5

   9/9/2017 PREPARATION OF PAYROLL MOTION



    2088020   KJM                                  535.00              $428.00                0.8

   9/9/2017 ANALYSIS OF UTILITIES DEPOSIT SPREADSHEET



    2088840   KJM                                  535.00               $53.50                0.1

   9/9/2017 PREPARATION OF EMERGENCY MOTIONS FOR WAGES; UTILITIES; AND CASH MANAGEMENT



    2088888   KJM                                  535.00              $267.50                0.5

   9/9/2017 ANALYSIS OF EMAILS RE: DISTRIBUTION AGREEMENT DISPUTES



    2091372   RB                                   595.00               $59.50                0.1

   9/9/2017 PREPARATION OF EMERGENCY EMPLOYEE WAGE MOTION AND REVIEW OF FILE



    2091388   RB                                   595.00              $297.50                0.5

   9/9/2017 PREPARATION OF GREULICH DECLARATION IN SUPPORT OF FIRST DAY MOTIONS; ANALYSIS
            OF FILE; CONF WITH GEOFF

    2091389   RB                                   595.00             $1,249.50               2.1

   9/9/2017 PREPARATION OF EMERGENCY CASH MANAGEMENT MOTION; ANALYSIS OF FILE



    2091391   RB                                   595.00              $357.00                0.6
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  9/10/2017 PREPARATION OF MOTION REGARDING ADEQUATE ASSURANCE OF PAYMENT TO UTILITY
            COMPANIES

    2084181     KJM                                535.00              $267.50               0.5

  9/10/2017 ANALYSIS OF DEPOSIT ACCOUNT CONTROL AGREEMENT



    2084577     KJM                                535.00              $160.50               0.3

  9/10/2017 PREPARATION OF CASH MANAGEMENT MOTION



    2084578     KJM                                535.00              $588.50               1.1

  9/10/2017 PREPARATION OF CASH MANAGEMENT MOTION AND DECLARATION IN SUPPORT



    2084806     KJM                                535.00              $321.00               0.6

  9/10/2017 PREPARATION OF PAYROLL MOTION



    2084946     KJM                                535.00              $428.00               0.8

  9/10/2017 PREPARATION OF UTILITIES MOTION



    2084947     KJM                                535.00              $321.00               0.6

  9/10/2017 PREPARATION OF UTILITIES MOTION



    2088841     KJM                                535.00              $107.00               0.2

  9/10/2017   EMAIL EXCHANGE WITH MATT REGARDING PAYROLL ISSUES



    2088893     KJM                                535.00               $53.50               0.1

  9/11/2017 PREPARATION OF PAYROLL MOTION AND DECLARATION IN SUPPORT



    2088899     KJM                                535.00              $428.00               0.8

  9/11/2017 PREPARATION OF CASH MANAGEMENT MOTION AND DECLARATION IN SUPPORT



    2088900     KJM                                535.00              $160.50               0.3

  9/11/2017 PREPARATION OF EMAIL EXCHANGE RE: CASH SWEEP DISPUTE WITH RADIANS; CONF WITH
            FRANK AND MATT

    2091428     RB                                 595.00              $178.50               0.3

  9/11/2017 PREPARATION OF EMAIL EXCHANGE RE: BUSINESS OPERATIONAL ISSUES AND REVIEW; CONF
            WITH MATT

    2091433     RB                                 595.00              $178.50               0.3
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  9/11/2017 PREPARATION OF COMPREHENSIVE OMNIBUS DECLARATION OF GEOFF GREULICH AND
            RELATED EMAIL EXCHANGE; CONF WITH GEOFF; ANALYSIS OF COMMENTS

    2091436   RB                                  595.00                $892.50              1.5

  9/11/2017 ANALYSIS OF FURTHER REVISED CASH MANAGEMENT MOTION, PAYROLL MOTION AND
            UTILITIES MOTION AND RELATED EMAILS; CONF WITH CLIENT

    2091442   RB                                  595.00                $238.00              0.4

  9/11/2017 ANALYSIS OF EMAILS RE: DISPUTE WITH AMS FULFILLMENT; CONF WITH FRANK AND MATT



    2091468   RB                                  595.00                $178.50              0.3

  9/11/2017 ANALYSIS OF WAREHOUSE AGREEMENT AND RELATED EMAIL; CONF WITH GEOFF AND MATT



    2091484   RB                                  595.00                $238.00              0.4

  9/11/2017 PREPARATION OF EMAIL EXCHANGE RE: DISTRIBUTION AGREEMENT; CONF WITH GEOFF AND
            MATT

    2091487   RB                                  595.00                $238.00              0.4

  9/12/2017 ANALYSIS OF CASH MANAGEMENT SYSTEM; PREPARATION OF CORRESPONDENCE TO MATT
            RE SAME

    2089237   KJM                                 535.00                 $53.50              0.1

  9/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING EXPEDITORS' REQUEST AND ISSUES; CONFER
            WITH GEOFF GREULICH RE SAME

    2089785   KJM                                 535.00                 $53.50              0.1

  9/12/2017 ANALYSIS OF COMMUNICATIONS REGARDING PERFORM HAND AND CONTRACTS



    2089272   MYK                                 575.00                 $57.50              0.1

  9/12/2017 PREPARATION OF EMAIL EXCHANGE RE: CONTRACT REJECTION ISSUES AND REVIEW; CONF
            WITH GEOFF AND MATT

    2091542   RB                                  595.00                $238.00              0.4

  9/12/2017 ANALYSIS OF EMAILS RE: ACCOUNTING ISSUES; CONF WITH SCOTT



    2091545   RB                                  595.00                $178.50              0.3

  9/12/2017 ANALYSIS OF AMS CONTRACT ISSUES; CONF WITH GEOFF



    2091553   RB                                  595.00                $119.00              0.2

  9/12/2017 ANALYSIS OF EMAILS RE: EXPEDITORS ISSUES; CONF WITH MATT AND COUNSEL FOR
            EXPEDITORS

    2091555   RB                                  595.00                $238.00              0.4
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  9/12/2017 ANALYSIS OF PROPOSED ORDERS ON WAGE MOTION, UTILITIES MOTION AND CASH
            MANAGEMENT MOTION AND RELATED EMAILS

    2091557   RB                                  595.00              $119.00               0.2

  9/13/2017 ANALYSIS OF CORRESPONDENCE RE AMEX USAGE AND ISSUES RE SAME



    2090147   KJM                                 535.00               $53.50               0.1

  9/13/2017 ANALYSIS OF ORDERS ON FIRST DAY ON CASH MANAGEMENT, PAYROLL, UTILITIES, CASH
            COLLATERA AND RELATED EMAILS AND DISCUSSIONS

    2089512   MYK                                 575.00              $460.00               0.8

  9/13/2017 TELEPHONE CONFERENCE WITH ROSS OF UST RE: CASH MANAGEMENT ISSUES AND REVIEW
            - MULTIPLE CALLS

    2091573   RB                                  595.00              $297.50               0.5

  9/13/2017 APPEARANCE AT HEARING ON MULTIPLE FIRST DAY MOTIONS; CONF WITH ROSS BEFORE
            HEARINGS TO REVIEW

    2091579   RB                                  595.00              $892.50               1.5

  9/13/2017 ANALYSIS OF CREDIT CARD ISSUES AND RELATED EMAILS; CONF WITH MATT



    2091590   RB                                  595.00              $119.00               0.2

  9/14/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE FROM DEBTOR REPRESENTATIVES RE
            EXPEDITOR ISSUES

    2090187   KJM                                 535.00               $53.50               0.1

  9/14/2017 PREPARATION OF CASH MANAGEMENT ORDER AND CORRESPONDENCE RE SAME; ANALYSIS
            OF ENTERED ORDER AND PREPARATION OF CORRESPONDENCE RE SAME

    2090189   KJM                                 535.00               $53.50               0.1

  9/14/2017 ANALYSIS OF FUNDING OF MONEY FROM RADIANS, BORROWING NOTICE, VARIOUS
            TRANSITIONAL MATTERS AND INQUIRIES AND ISSUES WITH VENDORS AND CREDITORS

    2090044   MYK                                 575.00              $517.50               0.9

  9/14/2017 ANALYSIS OF POH DISTRIBUTION AGREEMENT EMAILS; CONF WITH GEOFF AND MATT



    2091604   RB                                  595.00              $119.00               0.2

  9/14/2017 ANALYSIS OF POH DISTRIBUTION AGREEMENT; CONF WITH MATT



    2091614   RB                                  595.00              $297.50               0.5

  9/14/2017 TELEPHONE CONFERENCE WITH EXPEDITORS ATTORNEY; PREP OF RELATED EMAIML
            EXCHANGE; CONF WITH MATT

    2091617   RB                                  595.00              $178.50               0.3
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  9/14/2017 ANALYSIS OF INSURANCE ISSUES; CONF WITH MATT



    2091625      RB                                595.00              $119.00              0.2

  9/15/2017 ANALYSIS OF CHAPTER 11 TRANSITIONAL ISSUES, LEASE ISSUES, OPERATIONAL ISSUES



    2090324      MYK                               575.00              $460.00              0.8

  9/15/2017 PREPARATION OF EMAIL EXCHANGE RE: EXPEDITORS DISPUTE AND RESOLUTION; CONF
            WITH EXPEDITORS COUNSEL AND MATT

    2091635      RB                                595.00              $178.50              0.3

  9/15/2017 ANALYSIS OF OFFICE LEASE EXTENSION ISSUES AND RELATED EMAILS; CONF WITH MATT



    2091643      RB                                595.00              $178.50              0.3

  9/15/2017 TELEPHONE CONFERENCE WITH MATT RE: BUSINESS ISSUES AND CASE REVIEW



    2091655      RB                                595.00              $119.00              0.2

  9/18/2017 TELEPHONE CONFERENCE WITH MATT RE: MULTIPLE BUSINESS ISSUES AND CASE REVIEW



    2091718      RB                                595.00              $238.00              0.4

  9/18/2017 ANALYSIS OF EMAILS RE: CONTRACT REJECTION ISSUES AND REVIEW



    2091734      RB                                595.00               $59.50              0.1

  9/19/2017   EMAIL EXCHANGE WITH MATTHEW PLISKIN REGARDING UTILITY COMPANY CLAIMS AND
              REQUIRED DEPOSITS

    2090799      KJM                               535.00               $53.50              0.1

  9/19/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: CONTRACT AND GRAINGER ISSUES AND
            CASE REVEW

    2092593      RB                                595.00              $119.00              0.2

  9/20/2017 ANALYSIS OF CORRESPONDENCE REGARDING TRADEMARK PROSECUTION FEES



    2091822      KJM                               535.00               $53.50              0.1

  9/20/2017 ANALYSIS OF EMAILS RE: POH CONTRACT DISPUTE



    2092653      RB                                595.00               $59.50              0.1

  9/21/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING TRADEMARK PROSECUTION FEES



    2091833      KJM                               535.00               $53.50              0.1
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  9/23/2017 ANALYSIS OF CORRESPONDENCE REGARDING CONTRACT REJECTION MOTION



    2092953     KJM                               535.00              $53.50               0.1

  9/23/2017 TELEPHONE CONFERENCE WITH CLIENT REGARDING VARIOUS BUSINESS ISSUES
            REGARDING FUNDING, AMEX, LC AND RELATED MATTERS

    2092667     MYK                               575.00             $345.00               0.6

  9/23/2017 PREPARATION OF EMAIL EXCHANGE RE: REJECTION OF POH CONTRACT



    2092731     RB                                595.00              $59.50               0.1

  9/23/2017 PREPARATION OF EMAIL EXCHANGE RE: AMEX DISPUTE



    2092735     RB                                595.00              $59.50               0.1

  9/24/2017 PREPARATION OF MOTION FOR AUTHORITY TO CONTINUE TO USE AMEX CARDS IN ORDINARY
            COURSE

    2092956     KJM                               535.00            $2,140.00              4.0

  9/24/2017 ANALYSIS OF CORRESPONDENCE REGARDING USE OF AMEX CARDS; PREPARATION OF
            CORRESPONDENCE RE SAME

    2092957     KJM                               535.00             $107.00               0.2

  9/24/2017 ANALYSIS OF DRAFT EMERGENCY MOTION TO AUTHORIZE PAYMENT TO AMEX



    2092753     MYK                               575.00             $287.50               0.5

  9/24/2017 PREPARATION OF EMAIL EXCHANGE WITH MATT RE: AMEX ISSUES AND POSSIBLE
            RESOLUTION

    2094625     RB                                595.00             $119.00               0.2

  9/24/2017 PREPARATION OF AMEX MOTION AND RELATED EMAIL EXCHANGE



    2094631     RB                                595.00             $178.50               0.3

  9/24/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: INVENTORY PURCHASE ISSUES AND
            RADIANS

    2094634     RB                                595.00             $119.00               0.2

  9/25/2017 TELEPHONE CONFERENCE WITH MATT AND GEOFF REGARDING OUTSTANDING AMEX AND
            LETTER OF CREDIT ISSUES

    2093300     KJM                               535.00             $267.50               0.5

  9/25/2017   EMAIL EXCHANGE REGARDING AMEX AND RELATED ISSUES



    2093305     KJM                               535.00              $53.50               0.1
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  9/25/2017 PREPARATION OF MOTION FOR AUTHORITY TO USE AMEX CARDS



    2093837      KJM                                535.00             $214.00              0.4

  9/25/2017 TELEPHONE CONFERENCE W/ CLIENT MATT RE: AMEX ISSUES AND REVIEW OF POSSIBLE
            SOLUTIONS

    2094665      RB                                 595.00             $119.00              0.2

  9/26/2017 PREPARATION OF MOTION FOR AUTHORITY TO USE AMEX CARDS



    2093350      KJM                                535.00             $107.00              0.2

  9/26/2017 ANALYSIS OF CORRESPONDENCE REGARDING USE OF AMEX CARDS AND ISSUES RE SAME



    2093368      KJM                                535.00              $53.50              0.1

  9/26/2017 TELEPHONE CONFERENCE WITH PLISKIN REGARDING FUNDING AND CASH REQUIREMENTS;
            INVENTORY

    2093527      MYK                                575.00             $172.50              0.3

  9/26/2017 ANALYSIS OF HEARING FOR AMEX MATTER AND RELATED MATTERS



    2093531      MYK                                575.00             $115.00              0.2

  9/26/2017 PREPARATION OF EMAIL EXCHANGE RE: AMEX ISSUES AND REVIEW



    2094713      RB                                 595.00              $59.50              0.1

  9/27/2017   EMAIL EXCHANGE WITH MATT PLISKIN REGARDING AMEX ISSUES AND MOTION FOR
              APPROVAL OF USE OF AMEX CARDS

    2093695      KJM                                535.00              $53.50              0.1

  9/27/2017   EMAIL EXCHANGE WITH MATT PLISKIN REGARDING LETTER OF CREDIT AND RELATED
              REQUIREMENTS

    2093713      KJM                                535.00              $53.50              0.1

  9/27/2017 ANALYSIS OF STATUS OF AMEX ISSUES AND NEED FOR HEARING THEREON



    2093937      MYK                                575.00             $172.50              0.3

  9/28/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF AMEX ISSUES; PREPARATION OF
            MULTIPLE CORRESPONDENCE RE SAME

    2094128      KJM                                535.00             $107.00              0.2

  9/28/2017 ANALYSIS OF CORRESPONDENCE FROM MATT PLISKIN REGARDING TEMPORARY EMPLOYEE
            WAGES; PREPARATION OF CORRESPONDENCE IN RESPONSE

    2094181      KJM                                535.00              $53.50              0.1
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  9/28/2017 ANALYSIS OF COMMUNICATIONS REGARDING STATUS OF AMEX CONTRACT AND BUSINESS



    2094262   MYK                                 575.00               $115.00             0.2

  9/28/2017 PREPARATION OF EMAIL EXCHANGE RE: AMEX ISSUES AND REVIEW



    2094754   RB                                  595.00                $59.50             0.1

  9/28/2017 PREPARATION OF EMAIL EXCHANGE WITH CLIENT RE: ASSUMPTION AND REJECTION OF
            EXECUTORY CONTRACTS

    2094764   RB                                  595.00               $119.00             0.2

  10/3/2017 ANALYSIS OF CHART OF CONTRACTS AND LEASES FOR SALE MOTION; CONF WITH CLIENT



    2101478   RB                                  595.00               $178.50             0.3

  10/3/2017 PREPARATION OF EMAIL EXCHANGE RE: BOARD OF DIRECTORS FEES ISSUES; CONF WITH
            GEOFF AND MATT

    2101484   RB                                  595.00               $178.50             0.3

  10/4/2017 TELEPHONE CONFERENCE WITH PLISKIN REGARDING BUDGET AND SPENDING NEEDS OF THE
            COMPANIES

    2096843   MYK                                 575.00               $230.00             0.4

  10/5/2017 PREPARATION OF EMAIL EXCHANGE RE: CONTRACTS AND LEASES; CONF WITH FRANK



    2101737   RB                                  595.00               $119.00             0.2

  10/5/2017 ANALYSIS OF INSURANCE ISSUES; CONF WITH MATT



    2101742   RB                                  595.00                $59.50             0.1

  10/5/2017 CONFERENCE CALL WITH GEOFF AND MATT RE: BUSINESS ISSUES AND CASE REVIEW



    2101745   RB                                  595.00               $119.00             0.2

  10/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING AMEX ISSUES



    2097752   KJM                                 535.00                $53.50             0.1

  10/6/2017 PREPARATION OF EMAIL EXCHANGE RE: AMEX SITUATION; CONF WITH MATT



    2101778   RB                                  595.00               $119.00             0.2

  10/9/2017 ANALYSIS OF CORRESPONDENCE FROM AMEX; COMMUNICATE WITH AMEX REPRESENTATIVE
            REGARDING CASE ISSUES; PREPARATION OF CORRESPONDENCE TO M PLISKIN AND G
            GREULICH RE SAME
    2098089    KJM                                535.00           $160.50           0.3
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  10/9/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE ISSUES WITH RADIANS; CONF WITH
            GEOFF

    2101833      RB                                595.00              $119.00               0.2

 10/10/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING AMEX CREDIT CARD ACCOUNTS AND ISSUES
              RE SAME

    2098046      KJM                               535.00               $53.50               0.1

 10/10/2017 PREPARATION OF CORRESPONDENCE TO COUNSEL TO AMEX RE CREDIT CARD USAGE
            ISSUES; EMAIL EXCHANGE WITH COUNSEL RE SAME

    2098047      KJM                               535.00              $267.50               0.5

 10/10/2017 PREPARATION OF MOTION REGARDING USE OF AMEX CREDIT CARDS



    2098048      KJM                               535.00              $214.00               0.4

 10/10/2017 ANALYSIS OF CORRESPONDENCE FROM M PLISKIN REGARDING PAYMENT OF COMMISSIONS
            TO SALE EMPLOYEES; PREPARATION OF RESPONSE THERETO

    2098053      KJM                               535.00               $53.50               0.1

 10/10/2017 TELEPHONE CONFERENCE WITH MATT RE: BUSINESS ISSUES AND CASE REVIEW



    2101853      RB                                595.00              $119.00               0.2

 10/10/2017 ANALYSIS OF MULTIPLE GRAINGER DOCS; PREP OF RELATED EMAIL EXCHANGE RE:
            OBTAINING HIGHER PURCHASE PRICE; CONF WITH GEOFF

    2101855      RB                                595.00             $2,261.00              3.8

 10/10/2017 ANALYSIS OF WRIGHT EMAIL RE: POH AGREEMENT



    2101862      RB                                595.00               $59.50               0.1

 10/11/2017   EMAIL EXCHANGES REGARDING AMEX CREDIT CARD ISSUES



    2098670      KJM                               535.00               $53.50               0.1

 10/11/2017 ANALYSIS OF CORRESPONDENCE REGARDING PTO ACCRUAL; PREPARATION OF
            CORRESPONDENCE RE SAME

    2098675      KJM                               535.00               $53.50               0.1

 10/11/2017 PREPARATION OF STIPULATION PROVIDING FOR ASSUMPTION AND ASSIGNMENT OF
            GRAINGER CONTRACT AND MULTIPLE RELATED EMAIL EXCHANGE; CONF WITH GEOFF AND
            MATT
    2101872      RB                                595.00             $1,190.00              2.0

 10/11/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE RELATED MATTER; CONF WITH MATT



    2101880      RB                                595.00               $59.50               0.1
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 10/12/2017 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO AMEX REGARDING RELEASE OF HOLD
            ON ACCOUNTS; PREPARATION OF CORRESPONDENCE RE SAME

    2098538   KJM                                  535.00               $53.50              0.1

 10/12/2017 ANALYSIS OF RELEASE BY AMEX



    2098738   MYK                                  575.00               $57.50              0.1

 10/12/2017 PREPARATION OF EMAIL TO FRANK RE: GRAINGER STIPULATION



    2101896   RB                                   595.00               $59.50              0.1

 10/12/2017 ANALYSIS OF MULTIPLE EMAILS RE: AMEX ISSUES



    2101899   RB                                   595.00               $59.50              0.1

 10/12/2017 PREPARATION OF EMAIL EXCHANGE RE: GRAINGER CONTRACT ISSUES AND REVIEW; CONF
            WITH MATT

    2101906   RB                                   595.00              $178.50              0.3

 10/13/2017 ANALYSIS OF RADIANS CHANGES TO GRAINGER STIPULATION; PREP OF REVISED
            STIPULATION AND MULTIPLE RELATED EMAIL EXCHANGE; CONF WITH FRANK

    2101943   RB                                   595.00              $357.00              0.6

 10/16/2017 TELEPHONE CONFERENCE WITH MATT RE: REJECTION OF EXECUTORY CONTRACTS AND
            RELATED DAMAGE CLAIMS

    2101986   RB                                   595.00              $178.50              0.3

 10/17/2017 ANALYSIS OF BOARD FEES SCHEDULES AND RELATED EMAILS; CONF WITH MATT



    2102026   RB                                   595.00              $119.00              0.2

 10/17/2017 PREPARATION OF EMAIL EXCHANGE RE: EXECUTORY CONTRACTS; CONF WITH RICKMAN AND
            MATT

    2102029   RB                                   595.00              $178.50              0.3

 10/18/2017 ANALYSIS OF CORRESPONDENCE REGARDING STOCK OPTION ISSUES



    2100167   KJM                                  535.00               $53.50              0.1

 10/18/2017 ANALYSIS OF PROPERTY TAX ASSESSMENTS



    2100168   KJM                                  535.00               $53.50              0.1

 10/18/2017 ANALYSIS OF EMPLOYEE AGREEMENTS AND CORRESPONDENCE RE SAME



    2100169   KJM                                  535.00              $107.00              0.2
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    2102051   RB                                  595.00              $119.00               0.2

 10/18/2017 ANALYSIS OF LICENSE ISSUES AND RELATED EMAILS; CONF WITH MATT



    2102053   RB                                  595.00              $119.00               0.2

 10/18/2017 ANALYSIS OF MULTIPLE EMAILS RE: EMPLOYEE STOCK OPTIONS, ISSUES AND CONF WITH
            GEOFF

    2102060   RB                                  595.00              $178.50               0.3

 10/18/2017 ANALYSIS OF EMPLOYEE AGREEMENTS AND RELATED EMAILS; CONF WITH MATT AND GEOFF



    2102062   RB                                  595.00              $297.50               0.5

 10/19/2017 PREPARATION OF EMAIL EXCHANGE RE: CONTRACTS ISSUES; CONF WITH MATT



    2102086   RB                                  595.00              $178.50               0.3

 10/19/2017 PREPARATION OF EMAIL EXCHANGE RE: DIRECTOR FEES ISSUES; CONF WITH MATT



    2102105   RB                                  595.00              $119.00               0.2

 10/20/2017 TELEPHONE CONFERENCE WITH GEOFF RE: GRAINGER SITUATION AND PLANNING; PREP OF
            RELATED EMAIL EXCHANGE

    2102127   RB                                  595.00              $178.50               0.3

 10/20/2017 ANALYSIS OF FORM OF EMPLOYEE OFFER FROM RADIANS; CONF WITH FRANK



    2102136   RB                                  595.00              $119.00               0.2

 10/21/2017 ANALYSIS OF EXECUTORY CONTRACT ISSUES AND PREO OF MULTIPLE RELATED EMAIL
            EXCHANGE

    2102158   RB                                  595.00              $178.50               0.3

 10/22/2017 ANALYSIS OF STANDARD FORM OF VENDOR AGREEMENT; PREP OF MULTIPLE EMAIL
            EXCHANGE RE: ASSUMPTION AND REJECTION; CONF WITH GEOFF AND STEVE RICKMAN

    2102161   RB                                  595.00              $833.00               1.4

 10/22/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: OUTSTANDING PURCHASE ORDERS AND
            POSSIBLE ASSUMPTION BY BUYER

    2102170   RB                                  595.00              $178.50               0.3

 10/23/2017 ANALYSIS OF COMMUNICATIONS AS TO SUPPLIER AGREEMENTS AND STATUS THEREOF



    2100316   MYK                                 575.00              $230.00               0.4
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 10/23/2017 CONFERENCE CALL WITH GRAINGER COUNSEL RE: GRAINGER STIPULATION, CONTRACT AND
            CURE ISSUES AND OVERALL CASE REVIEW; PREP OF EMAIL TO CLIENT

    2103043   RB                                  595.00                $714.00             1.2

 10/23/2017 ANALYSIS OF FRANK EMAIL RE: EMPLOYEE AND NDA ISSUES; CONF WITH FRANK



    2103060   RB                                  595.00                $119.00             0.2

 10/23/2017 ANALYSIS OF ORDER SHORTENING TIME ON CONTRACTS MOTION



    2103063   RB                                  595.00                 $59.50             0.1

 10/24/2017 PREPARATION OF MULTLPLE EMAIL EXCHANGE RE: GRAINGER SITUATION AND RELATED
            SETTLEMENT ISSUES AND REVIEW; CONF WITH GEOFF

    2103076   RB                                  595.00                $238.00             0.4

 10/24/2017 ANALYSIS OF GEOFF EMAIL RE: NDA AND EMPLOYEE ISSUES WITH RADIANS



    2103078   RB                                  595.00                 $59.50             0.1

 10/24/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: CURE COSTS AND REJECTION DAMAGE
            ISSUES; ANALYSIS OF FILE; CONF WITH CLIENT

    2103087   RB                                  595.00                $416.50             0.7

 10/24/2017 ANALYSIS OF EMPLOYEE RETENTION ISSUES AND RADIANS; CONF WITH CLIENT



    2103089   RB                                  595.00                $119.00             0.2

 10/25/2017 ANALYSIS OF EMAIL RE: EMPLOYEE BONUSES; CONF WITH CLIENT



    2103105   RB                                  595.00                $119.00             0.2

 10/25/2017 ANALYSIS OF GEOFF MEMO RE: BUSINESS ISSUES AND PLANNING; CONF WITH GEOFF



    2103108   RB                                  595.00                $297.50             0.5

 10/25/2017 CONFERENCE CALL WITH GRAINGER COUNSEL RE: FURTHER NEGOTIATIONS OVER
            ASSUMPTION AND ASSIGNMENT OF SUPPLIER AGREEMENTS AND NEGOTIATIONS OVER
            REQUIRED CURE AMOUNTS; ANALYSIS OF FURTHER SUPPLIER AGREEMENTS PROVIDED BY
    2103112   RB                                  595.00               $1,725.50            2.9

 10/25/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: GRAINGER CURE SETTLEMENT
            DISCUSSIONS AND STRATEGIES; ANALYSIS OF GRAINGER SUPPLIER AGREEMENTS

    2103113   RB                                  595.00               $1,071.00            1.8

 10/25/2017 CONFERENCE WITH CLIENT GEOFF RE: INSIDER COMPENSATION AND EMPLOYEE BONUS
            ISSUES AND SEVERANCE ISSUES AND REVIEW

    2103126   RB                                  595.00                $297.50             0.5
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CASE #       8300                                           From Date               9/8/2017
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 10/26/2017 PREPARATION OF STIPULATIONS PROVIDING FOR ASSUMPTION AND ASSIGNMENT OF
            GRAINGER STIPULATIONS AND MULTIPLE RELATED EMAIL EXCHANGE; ANALYSIS OF BOTH
            GRAINGER SUPPLIER AGREEMENTS; CONF WITH CLIENT
    2103748   RB                                  595.00            $2,915.50               4.9

 10/26/2017 ANALYSIS OF INITIAL CONTRACT CURE AND REJECTION ANALYSIS AND FACTOR PAYABLES
            SCHEDULES AND RELATED EMAILS; CONF WITH RICKMAN

    2103754   RB                                  595.00                $416.50             0.7

 10/27/2017 ANALYSIS OF GRAINGER CHANGES TO TWO STIPULATIONS; PREP OF REVISED VERSIONS AND
            RELATED EMAIL EXCHANGE; CONF WITH GRAINGER COUNSEL AND CLIENT; ANALYSIS OF
            CONTRACTS
    2104005    RB                                 595.00            $1,904.00            3.2

 10/27/2017 ANALYSIS OF DEBTOR'S SUPPLEMENT RE: CONTRACT CURE AMOUNTS



    2104015   RB                                  595.00                 $59.50             0.1

 10/27/2017 ANALYSIS OF EMPLOYEE PRE-PETITION SALE BONUS ISSUES; CONF WITH GEOFF



    2104019   RB                                  595.00                $178.50             0.3

 10/27/2017 ANALYSIS OF 3Q INCOME STATEMENT; CONF WITH MATT AND GEOFF



    2104021   RB                                  595.00                $238.00             0.4

 10/27/2017 PREPARATION OF EMAIL EXCHANGE WITH GRAINGER RE: SHARING WW GRAINGER SUPPLIER
            AGREEMENT WITH BIDDERS; CONF WITH GRAINGER COUNSEL; ANALYSIS OF NDA'S

    2104024   RB                                  595.00                $416.50             0.7

 10/27/2017 ANALYSIS OF JAEGER SEVERANCE ISSUES; CONF WITH GEOFF



    2104027   RB                                  595.00                $119.00             0.2

 10/27/2017 TELEPHONE CONFERENCE W/ CLIENT MATT RE: CONTRACT CURE AND REJECTION CLAIMS
            ANALYSIS

    2104030   RB                                  595.00                $178.50             0.3

 10/27/2017 ANALYSIS OF CONTRACT CURE AND REJECTION ANALYSIS CHART; CONF WITH CLIENT AND
            RICKMAN

    2104038   RB                                  595.00                $357.00             0.6

 10/28/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE COMPENSATION ISSUES AND REVIEW



    2104055   RB                                  595.00                $119.00             0.2

 10/28/2017 ANALYSIS OF MICHAEL EMAIL RE: EXECUTORY CONTRACTS



    2104068   RB                                  595.00                 $59.50             0.1
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Ironclad Performance Wear
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                                                                To Date        11/20/2017
 10/29/2017 ANALYSIS OF MULTIPLE EMAILS RE: ERIC JAEGER EMPLOYMENT ISSUES AND REVIEW; CONF
            WITH GEOFF

    2104426   RB                                  595.00             $178.50                 0.3

 10/30/2017 PREPARATION OF EMAIL EXCHANGE RE: ERIC JAEGER EMPLOYMENT AND BONUS ISSUES
            AND REVIEW; CONF WITH GEOFF AND THEN WITH ENTIRE EQUITY COMMITTEE

    2104509   RB                                  595.00             $238.00                 0.4

 10/31/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: GRAINGER ISSUES AND REVIEW



    2104635   RB                                  595.00              $59.50                 0.1

 10/31/2017 ANALYSIS OF BOARD MEMBERS INSIDER COMPENSATION FORMS AND MULTIPLE RELATED
            EMAIL EXCHANGE; CONF WITH GEOFF AND MATT

    2104650   RB                                  595.00             $238.00                 0.4

  11/2/2017 ANALYSIS OF FRB LETTER AS TO TRUST ACCOUNT, AND RELATED EMAILS WITH UST



    2105349   MYK                                 575.00             $172.50                 0.3

  11/6/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING MANAGEMENT AND OVERSIGHT OF
            DEBTORS; BOARD ISSUES

    2105836   KJM                                 535.00              $53.50                 0.1

  11/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING BOARD COMPOSITION AND EQUITY
            COMMITTEE ISSUES

    2105845   KJM                                 535.00              $53.50                 0.1

  11/6/2017 ANALYSIS OF CORRESPONDENCE RE BOARD OF DIRECTOR COMPENSATION



    2106284   KJM                                 535.00              $53.50                 0.1

  11/6/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE BONUS CLAIMS; ANALYSIS OF FILE



    2108188   RB                                  595.00             $119.00                 0.2

  11/6/2017 TELEPHONE CONFERENCE WITH GRAINGER COUNSEL RE: SALE PROCESS OF ULTIMATE
            DISPOSITION OF GRAINGER CONTRACTS AND POSSIBLE REJECTION DAMAGE CLAIMS AND
            METHOD OF PAYMENT
    2108195   RB                                  595.00             $297.50                 0.5

  11/6/2017 PREPARATION OF EMAIL EXCHANGE WITH MATT RE: BOARD COMPENSATION ISSUES



    2108223   RB                                  595.00              $59.50                 0.1

  11/7/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE BONUS ISSUES AND REVIEW; CONF WITH
            CLIENT; ANALYSIS OF EMPLOYMENT AGREEMENTS

    2108265   RB                                  595.00             $297.50                 0.5
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  11/7/2017 ANALYSIS OF GREULICH MEMO RE: EMPLOYEE BONUS ACCRUALS AND PROPOSED
            PAYMENTS

    2108273   RB                                  595.00                $59.50             0.1

  11/8/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE BONUS PAYMENTS; CONF WITH GEOFF
            AND MATT

    2108276   RB                                  595.00             $238.00               0.4

  11/8/2017 PREPARATION OF EMAIL EXCHANGE RE: POST SALE CLOSING WIND DOWN MATTERS AND
            PLANNING

    2108290   RB                                  595.00             $178.50               0.3

  11/8/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: POST SALE CLOSING PLANNING AND
            REVIEW; CONF WITH GEOFF AND THEN MATT

    2108291   RB                                  595.00             $297.50               0.5

  11/8/2017 PREPARATION OF EMAIL TO CLENT RE: GRAINGER CONTRACTS AND REJECTION ISSUES



    2108294   RB                                  595.00                $59.50             0.1

  11/8/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: BOARD FEES AND INSIDER COMP ISSUES;
            CONF WITH MATT

    2108301   RB                                  595.00             $178.50               0.3

  11/8/2017 ANALYSIS OF INSIDER COMP FORMS UPDATED AND RELATED EMAILS



    2108311   RB                                  595.00             $119.00               0.2

  11/9/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: TERMINATION OF EMPLOYEES AND
            PAYMENT OF FINAL AMOUNTS OWING; CONF WITH GEOFF AND MATT

    2108325   RB                                  595.00             $535.50               0.9

  11/9/2017 TELEPHONE CONFERENCE W/ CLIENT MATT RE: POST SALE CLOSING PLANNING AND REVIEW



    2108369   RB                                  595.00             $297.50               0.5

 11/10/2017 PREPARATION OF MULTILE EMAIL EXCHANGE RE: TERMINATING EMPLOYEES AT CLOSING
            AND POST SALE TRANSITION; CONF WITH MATT AND GEOFF

    2108393   RB                                  595.00             $476.00               0.8

 11/10/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: EMPLOYEE BONUS ISSUES AND REVIEW;
            CONF WITH GEOFF, MATT AND TANIA; ANALYSIS OF FILE

    2108394   RB                                  595.00             $416.50               0.7

 11/10/2017 PREPARATION OF EMAIL EXCHANGE WITH GRAINGER COUNSEL RE: GRAINGER CONTRACTS;
            CONF WITH GRAINGER COUNSEL

    2108399   RB                                  595.00             $178.50               0.3
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 11/10/2017 ANALYSIS OF SCHEDULE OF ALL EMPLOYEES PAYMENTS TO BE MADE AT CLOSING; PREP OF
            MULTIPLE RELATED EMAIL EXCHANGE; CONF WITH MATT AND TANIA

    2108421   RB                                  595.00             $476.00                0.8

 11/11/2017 ANALYSIS OF UPDATED EMPLOYEE BONUS CHART; PREP OF RELATED EMAIL EXCHANGE;
            CONF WITH MATT

    2108443   RB                                  595.00             $297.50                0.5

 11/11/2017 PREPARATION OF EMAIL EXCHANGE WITH CLIENT RE: POST CLOSING PLANNING



    2108450   RB                                  595.00             $119.00                0.2

 11/11/2017 ANALYSIS OF FURTHER UPDATED SCHEDULE OF EMPLOYEE PAYMENTS AND EXPLANATIONS
            AND RELATED EMAILS; CONF WITH MATT

    2108452   RB                                  595.00             $238.00                0.4

 11/11/2017 PREPARATION OF EMERGENCY MOTION TO PAY EMPLOYEE CLAIMS AND BONUSES; ANALYSIS
            OF FILE; PREP OF RELATED EMAIL EXCHANGE

    2108453   RB                                  595.00             $238.00                0.4

 11/11/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: EMPLOYEE CLAIM BONUS PAYMENTS;
            CONF WITH TANIA

    2108454   RB                                  595.00             $119.00                0.2

 11/12/2017 TELEPHONE CONFERENCE W/ CLIENT MATT RE: PLANNING FOR POST-SALE CLOSING



    2108462   RB                                  595.00             $238.00                0.4

 11/12/2017 ANALYSIS OF ADDITIONAL CONTRACTS BBI ASSUMES AND RELATED CURE AMOUNTS;
            ANALYSIS OF FILE; CONF WITH CLIENT

    2108463   RB                                  595.00             $178.50                0.3

 11/13/2017 PREPARATION OF EMERGENCY EMPLOYEE BONUS MOTION AND RELATED EMAIL EXCHANGE;
            CONF WITH MATT

    2108505   RB                                  595.00             $238.00                0.4

 11/13/2017 ANALYSIS OF BEN EMAIL RE: POST CLOSING EMPLOYMENT ISSUES; PREP OF RESPONSE;
            CONF WITH MATT

    2108557   RB                                  595.00             $119.00                0.2

 11/14/2017 PREPARATION OF EMAIL EXCHANGE RE: CHANGE IN COMPENSATION FOR SENIOR OFFICER
            AND INSIDER COMPENSATION AMENDMENT; CONF WITH MATT

    2108868   RB                                  595.00             $119.00                0.2

 11/14/2017 ANALYSIS OF CREDITOR COMMITTEE NON-OPPOSITION TO EMPLOYEE BONUSES



    2108900   RB                                  595.00              $59.50                0.1
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 11/14/2017 PREPARATION OF EMAIL EXCHANGE RE: REJECTION OF GRAINGER CONTRACTS; CONF WITH
            MATT

    2108902   RB                                   595.00              $119.00               0.2

 11/14/2017 ANALYSIS OF EQUITY COMMITTEE NON OPPOSITION TO EMPLOYEE BONUS MOTION



    2108906   RB                                   595.00               $59.50               0.1

 11/15/2017 PREPARATION OF EMALI EXCHANGE RE: GRAINGER SITUATION; CONF WITH MATT



    2108981   RB                                   595.00              $178.50               0.3

 11/15/2017 APPEARANCE AT HEARING ON EMERGENCY EMPLOYEE BONUS MOTION; ANALYSIS OF FILE IN
            PREP FOR HEARING

    2108996   RB                                   595.00             $1,190.00              2.0

 11/15/2017 TELEPHONE CONFERENCE WITH MATT RE: PLANNING FOR POST SALE CLOSING
            MANAGEMENT AND ADMINISTRATION OF BANKRUPTCY ESTATE; PREP OF RELATED EMAIL
            EXCHANGE
    2109000   RB                                   595.00              $416.50               0.7

 11/15/2017 ANALYSIS OF EMPLOYEE BONUS MOTION ORDER AND MULTIPLE RELATED EMALS; CONF
            WITH CLIENT

    2109010   RB                                   595.00              $119.00               0.2

 11/16/2017 PREPARATION OF EMAIL EXCHANGE RE: GRAINGER CONTRACTS ISSUES; CONF WITH GEOFF
            AND MATT

    2109272   RB                                   595.00              $178.50               0.3

 11/16/2017 ANALYSIS OF FINAL ORDER ON EMPLOYEE BONUS MOTION AND RELATED EMAILS



    2109282   RB                                   595.00               $59.50               0.1

 11/17/2017 ANALYSIS OF D&O POLICY, EFFECTIVENESS, AND EMAILS



    2109355   MYK                                  575.00              $172.50               0.3

 11/17/2017 ANALYSIS OF ORDER APPROVING EMPLOYEE BONUS PAYMENTS; PREP OF RELATED EMAIL
            EXCHANGE; CONF WITH GEOFF AND MATT

    2109403   RB                                   595.00              $178.50               0.3

 11/17/2017 TELEPHONE CONFERENCE WITH GEOFF RE: GRAINGER CONTRACT REJECTION ISSUES AND
            STATUS OF SETTLEMENT NEGOTIATIONS

    2109419   RB                                   595.00              $119.00               0.2

 11/18/2017 PREPARATION OF TWO PROPOSED STIPULATIONS PROVIDING FOR CONSENSUAL REJECTION
            OF TWO GRAINGER SUPPLIER AGREEMENTS AND PAYMENT OF STIPULATED REJECTION
            DAMAGE CLAIM AND PREP OF EMAIL TO BBI COUNSEL RE: SAME; ANALYSIS OF FILE
    2109423    RB                                  595.00            $1,190.00         2.0
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                                                Total               $54,148.50              93.1
     04   -   CASE ADMINISTRATION

   9/8/2017 PREPARATION OF INSIDER COMPENSATION FORMS



    2084798      KJM                               535.00              $267.50               0.5

   9/8/2017 PREPARATION OF BANKRUPTCY PETITIONS



    2088861      KJM                               535.00              $802.50               1.5

   9/8/2017 ANALYSIS OF EMAIL EXCHANGES REGARDING STATUS OF APA AND DIP LOAN



    2088864      KJM                               535.00              $107.00               0.2

   9/8/2017 ANALYSIS OF PRESS RELEASE AND MULTIPLE CORRESPONDENCE RE PRESS RELEASE



    2088869      KJM                               535.00              $107.00               0.2

   9/8/2017 ANALYSIS OF MULTIPLE POST-BANKRUPTCY FILING CORRESPONDENCE REGARDING CASE
            STATUS AND ISSUES

    2088873      KJM                               535.00              $107.00               0.2

   9/8/2017 PREPARATION OF CASE COMPLIANCE CORRESPONDENCE TO DEBTOR REPS



    2088874      KJM                               535.00               $53.50               0.1

   9/8/2017 PREPARATION OF JOINT ADMINISTRATION MOTIONS AND PROPOSED ORDERS



    2088875      KJM                               535.00              $428.00               0.8

   9/8/2017 PREPARATION OF CASH MANAGEMENT MOTION



    2088877      KJM                               535.00               $53.50               0.1

   9/8/2017 PREPARATION OF UTILITIES MOTION



    2088878      KJM                               535.00               $53.50               0.1

   9/8/2017 TELEPHONE CONFERENCE WITH LAW CLERKS RE EMERGENCY HEARINGS



    2088881      KJM                               535.00               $53.50               0.1

   9/8/2017 PREPARATION OF CORRESPONDENCE REGARDING EMERGENCY HEARING SCHEDULE AND
            ISSUES RE SAME

    2088882      KJM                               535.00               $53.50               0.1
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   9/8/2017 TELEPHONE CONFERENCE WITH LOCAL COUNSEL TO SECURED CREDITOR REGARDING CASH
            FILING AND EMERGENCY HEARINGS

    2088883     KJM                                 535.00                $53.50               0.1

   9/8/2017 PREPARATION OF MULTIPLE CORRESPONDENCE RE BANKRUPTCY FILINGS, PETITIONS, AND
            RELATED INFORMAION

    2088884     KJM                                 535.00               $107.00               0.2

   9/8/2017 PREPARATION OF INSIDER COMPENSATION FORMS AND ATTEND TO SEVICE OF SAME



    2088885     KJM                                 535.00               $107.00               0.2

   9/8/2017 TELEPHONE CONFERENCE WITH CLIENT, CHILDRESS AND OTHERS REGARDING CASH
            SWEEPS, OPERATIONAL MATTERS AND RELATED EMAILS AND DISCUSSIONS

    2088463     MYK                                 575.00               $977.50               1.7

   9/8/2017 PREPARATION OF FIRST DAY MOTIONS INCLUDING MOTION TO SEAL (RESEARCH LOCAL AND
            COURT REQUIREMENTS), DIP FINANCING AND CASH COLLATERAL MOTION AND OTHER FIRST
            DAY MOTIONS AND THEIR RELATED DECLARATIONS, EXHIBITS
    2088477     MYK                                 575.00            $2,185.00                3.8

   9/8/2017 ANALYSIS OF FILING OF PETITIONS, FIRST DAY HEARINGS, 8K AND PRESS RELEASES, AND
            ALL RELATED PLEADINGS, COMMUNICATIONS AND EMAILS THEREON

    2088479     MYK                                 575.00            $1,610.00                2.8

   9/8/2017 PREPARATION OF INTERIM FINANCING ORDER, RELATED DISCUSSIONS WITH WEISS AND
            CHILDRESS

    2088481     MYK                                 575.00            $2,472.50                4.3

   9/8/2017 ANALYSIS OF FURTHER REVISED 8-K AND RELATED EMAILS



    2091276     RB                                  595.00               $119.00               0.2

   9/8/2017   FILE PETITIONS



    2088954     SR                                  250.00               $150.00               0.6

   9/8/2017   SERVE NOTICES OF INSIDER COMPENSATION AND FILE WITH OUST



    2088955     SR                                  250.00               $125.00               0.5

   9/9/2017 ANALYSIS OF SEC FILINGS



    2084155     KJM                                 535.00               $802.50               1.5

   9/9/2017 PREPARATION OF CASE BACKGROUND INFORMATION



    2084156     KJM                                 535.00            $1,444.50                2.7
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   9/9/2017 ANALYSIS OF DUE DILIGENCE/MARKETING MATERIALS



    2084221   KJM                                  535.00              $267.50               0.5

   9/9/2017 PREPARATION OF PLEADING TEMPLATE



    2084550   KJM                                  535.00              $267.50               0.5

   9/9/2017 PREPARATION OF CASE BACKGROUND FACTS



    2084941   KJM                                  535.00              $321.00               0.6

   9/9/2017 ANALYSIS OF FORBEARANCE AGREEMENT



    2084945   KJM                                  535.00                  $53.50            0.1

   9/9/2017 PREPARATION OF CASE COMPLIANCE CHART



    2088889   KJM                                  535.00              $321.00               0.6

   9/9/2017 ANALYSIS OF FIRST DAY MOTIONS, FILING MATTERS, RELATED COMMUNICATIONS AND
            EMAILS AS TO UPDATES

    2085112   MYK                                  575.00              $862.50               1.5

   9/9/2017 PREPARATION OF FIRST DAY MOTIONS, DECLARATIONS, EXHIBITS, AND RELATED EMAILS,
            COMMUNICATIONS

    2088486   MYK                                  575.00             $1,380.00              2.4

   9/9/2017 ANALYSIS OF CHAPTER 11 ADMINISTRATIVE REQUIREMENTS; CONF WITH CLIENT



    2091375   RB                                   595.00              $238.00               0.4

   9/9/2017 PREPARATION OF CASE COMPLIANCE AND DEADLINES CHART AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF FILE

    2091381   RB                                   595.00              $178.50               0.3

   9/9/2017 PREPARATION OF JOINT ADMINISTRATION MOTION; ANALYSIS OF FILE



    2091390   RB                                   595.00              $178.50               0.3

  9/10/2017 PREPARATION OF JOINT ADMINISTRATION MOTION



    2084157   KJM                                  535.00              $535.00               1.0

  9/10/2017 PREPARATION OF CHAPTER 11 ADMINISTRATIVE REQUIREMENTS CORRESPONDENCE



    2084178   KJM                                  535.00              $535.00               1.0
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  9/10/2017 PREPARATION OF JOINT ADMINISTRATION MOTIONS AND PROPOSED ORDERS



    2084965      KJM                                535.00              $321.00                0.6

  9/10/2017 ANALYSIS OF CORRESPONDENCE REGARDING CASE TRUST ACCOUNT INFORMATION



    2084993      KJM                                535.00               $53.50                0.1

  9/10/2017 ANALYSIS OF ACCOUNTS PAYABLE; PREPARATION OF CORRESPONDENCE RE SAME



    2088837      KJM                                535.00              $107.00                0.2

  9/10/2017 ANALYSIS OF LIST OF SHAREHOLDERS AND CORRESPONDENCE RE SAME



    2088857      KJM                                535.00              $107.00                0.2

  9/10/2017   EMAIL EXCHANGE WITH MATT RE EMERGENCY MOTION STATUS



    2088890      KJM                                535.00               $53.50                0.1

  9/10/2017   CONFER WITH RB AND MYK REGARDING CASE ISSUES AND STATUS OF EMERGENCY
              MOTIONS

    2088891      KJM                                535.00              $107.00                0.2

  9/10/2017   EMAIL EXCHANGE REGARDING INVENTORY



    2088892      KJM                                535.00               $53.50                0.1

  9/10/2017 PREPARATION OF OMNIBUS DECLARATION



    2088894      KJM                                535.00              $107.00                0.2

  9/10/2017 ANALYSIS OF FIRST DAY MOTIONS, PETITION MATERIALS, UCC, INSIDER FORMS, READINESS
            AND FILING MATTERS AND RELATED EMAILS

    2084712      MYK                                575.00              $920.00                1.6

  9/10/2017 ANALYSIS OF APA, SIDE LETTER, 8K, PRESS RELEASE, PETITION READINESS AND ALL
            RELATED EMAILS, DISCUSSIONS, DOCUMENTS AND ISSUES THEREON

    2088282      MYK                                575.00             $1,897.50               3.3

  9/10/2017 PREPARATION OF FIRST DAY MOTIONS, NOTICES, DECLARATIONS, ALL RELATED EMAILS AND
            DISCUSSIONS

    2088489      MYK                                575.00             $2,185.00               3.8

  9/10/2017 PREPARATION OF EMAIL EXCHANGE RE: CHAPTER 11 ADMINISTRATIVE COMPLIANCE ISSUES
            AND REVIEW

    2091415      RB                                 595.00              $119.00                0.2
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  9/11/2017 ANALYSIS OF UCC SEARCH RESULTS



    2083796   JK                                  250.00               $50.00               0.2

  9/11/2017 ANALYSIS OF NUMEROUS CAPITAL ONE & RADIANS DOCUMENTS



    2083797   JK                                  250.00               $75.00               0.3

  9/11/2017 PREPARATION OF EXCEL SPREADSHEET: IRONCLAD CASH FLOW VER (BK PREP - 2 MONTHS)
            -2017-09-06 2 W - 1 WEEK; PRINT TO PDF

    2088420   JK                                  250.00               $75.00               0.3

  9/11/2017 PREPARATION OF JOINT ADMINISTRATION MOTIONS AND PROPOSED ORDERS;
            DECLARATIONS IN SUPPORT

    2088897   KJM                                 535.00              $802.50               1.5

  9/11/2017 PREPARATION OF OMNIBUS DECLARATION IN SUPPORT OF EMERGENCY MOTIONS



    2088898   KJM                                 535.00              $588.50               1.1

  9/11/2017 PREPARATION OF EMERGENCY MOTION TO FILE LETTER AGREEMENT UNDER SEAL AND
            DECLARATION IN SUPPORT

    2088902   KJM                                 535.00              $321.00               0.6

  9/11/2017 PREPARATION OF NOTICE OF EMERGENCY HEARINGS ON FIRST DAT MOTIONS



    2088903   KJM                                 535.00              $214.00               0.4

  9/11/2017 TELEPHONE CONFERENCE WITH DEBTOR REPS REGARDING EMERGENCY MOTIONS



    2088904   KJM                                 535.00              $107.00               0.2

  9/11/2017 ANALYSIS OF CORRESPONDENCE REGARDING INVOICES RECEIVED POST-PETITION FOR PRE-
            PETITION DEBTS

    2088908   KJM                                 535.00               $53.50               0.1

  9/11/2017 ANALYSIS OF CORRESPONDENCE REGARDING APPEARANCE OF INVESTMENT BANKERS AT
            HEARINGS

    2088909   KJM                                 535.00               $53.50               0.1

  9/11/2017 PREPARATION OF EXHIBITS TO EMERGENCY FIRST DAY MOTIONS



    2088913   KJM                                 535.00              $428.00               0.8

  9/11/2017 PREPARATION OF SERVICE LISTS FOR EMERGENCY MOTIONS



    2088915   KJM                                 535.00               $53.50               0.1
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  9/11/2017 ANALYSIS OF UPDATED SHAREHOLDER LIST; EMAIL EXCHANGE WITH CORPORATE COUNSEL
            RE SAME

    2088920     KJM                                 535.00              $107.00             0.2

  9/11/2017   EMAIL EXCHANGE WITH GEOFF RE INVENTORY LISTING ISSUES



    2088925     KJM                                 535.00               $53.50             0.1

  9/11/2017 PREPARATION OF BID PROCEDURES EMERGENCY MOTION; PPO TABLE OF CONTENTS AND
            TABLE OF AUTHORITIES

    2088427     LC                                  250.00              $250.00             1.0

  9/11/2017 SET COURT TELEPHONIC APPEARANCE FOR STEVE RICKMAN, CONNOR OAK, SCOTT AMES
            AND ALLEN MAZOROL VIA COURTCALL RE SEPTEMBER 13 FIRST DAY HEARINGS (MULTI CALLS
            AND EMAILS)
    2088428    LC                                 250.00             $200.00              0.8

  9/11/2017 CONFERENCE CALL WITH CLIENT AND LAWYERS REGARDING FIRST DAYS, TRANSITION
            MATTERS

    2088799     MYK                                 575.00              $345.00             0.6

  9/11/2017 ANALYSIS OF LIST OF SHAREHOLDERS AND RELATED EMAILS



    2088801     MYK                                 575.00              $172.50             0.3

  9/11/2017 PREPARATION OF VARIOUS FIRST DAY MOTIONS, DECLARATIONS, NOTICES, GATHER AND
            PREPARE EXHIBITS, AND SERVICE AND FILING MATTERS

    2088802     MYK                                 575.00             $2,300.00            4.0

  9/11/2017 PREPARATION OF CASE COMPLIANCE AND DEADLINES CHART AND CASE REVIEW



    2091435     RB                                  595.00              $119.00             0.2

  9/11/2017 PREPARATION OF NOTICE OF EMERGENCY HEARINGS



    2091446     RB                                  595.00               $59.50             0.1

  9/11/2017 ANALYSIS OF JOINT ADMINISTRATION MTNS



    2091457     RB                                  595.00               $59.50             0.1

  9/11/2017 ANALYSIS OF SHAREHOLDER LIST AND MULTIPLE RELATED EMAILS



    2091467     RB                                  595.00              $119.00             0.2

  9/11/2017 CONFERENCE CALL WITH GEOFF AND MATT RE: BANKRUPTCY COMPLIANCE AND CASE
            PLANNING ISSUES AND REVIEW

    2091478     RB                                  595.00              $238.00             0.4
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  9/11/2017 PREPARATION OF PLEADING AND FILE AND SERVE JOINT ADMINISTRATION MOTIONS IN BOTH
            CASES AND LODGE ORDERS RE SAME

    2088959   SR                                    250.00            $125.00               0.5

  9/11/2017 PREPARATION OF PLEADING AND FILE AND SERVE GREULICH DECLARATION IN SUPPORT OF
            FIRST DAY MOTIONS AND PREPARATION OF EXHIBITS RE SAME

    2088961   SR                                    250.00            $450.00               1.8

  9/11/2017 PREPARATION OF PLEADING AND FILE AND SERVE WAGE MOTION, UTILITIES MOTION,
            EMERGENCY MOTION RE BID PROCEDURES, EMERGENCY MOTION TO FILE LETTER
            AGREEMENT UNDER SEAL, CASH MANAGEMENT MOTION, AND NOTICE OF HEARINGS ON
    2088972   SR                                    250.00            $400.00               1.6

  9/12/2017 PREPARATION OF MOTION TO LIMIT NOTICE



    2084183   KJM                                   535.00            $267.50               0.5

  9/12/2017 PREPARATION OF PROPOSED ORDER ON WAGE MOTION



    2089088   KJM                                   535.00            $107.00               0.2

  9/12/2017 PREPARATION OF PROPOSED ORDER ON CASH MANAGEMENT MOTION



    2089089   KJM                                   535.00            $107.00               0.2

  9/12/2017 PREPARATION OF PROPOSED ORDER ON UTILITIES MOTION



    2089090   KJM                                   535.00            $107.00               0.2

  9/12/2017 TELEPHONE CONFERENCE WITH COURT CLERK REGARDING MOTION TO FILE LETTER
            AGREEMENT UNDER SEAL

    2089091   KJM                                   535.00             $53.50               0.1

  9/12/2017 PREPARATION OF CORRESPONDENCE RE SUBMISSION OF CONFIDENTIAL DOCUMENT



    2089092   KJM                                   535.00             $53.50               0.1

  9/12/2017 PREPARATION OF DECLARATION REGARDING COMPLIANCE WITH UST REQUIREMENTS



    2089093   KJM                                   535.00            $214.00               0.4

  9/12/2017 PREPARATION OF 7-DAY COMPLIANCE DOCUMENTS AND PACKAGE



    2089094   KJM                                   535.00            $267.50               0.5

  9/12/2017 ANALYSIS OF CORRESPONDENCE FROM UST REGARDING INITIAL DEBTOR INTERVIEW;
            PREPARATION OF CORRESPONDENCE RE SAME

    2089095   KJM                                   535.00             $53.50               0.1
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  9/12/2017   EMAIL EXCHANGE REGARDING NOTICES OF STAY IN PRE-PETITION LITIGATION/ARBITRATION



    2089097      KJM                                535.00               $53.50              0.1

  9/12/2017   PREPARATION FOR FIRST DAY HEARINGS ON WAGE, UTILITIES AND CASH MANAGEMENT
              MOTIONS

    2089098      KJM                                535.00              $535.00              1.0

  9/12/2017 PREPARATION OF CORRESPONDENCE TO INVESTMENT BANKERS REGARDING CASE FILINGS
            AND EMERGENCY MOTIONS

    2089104      KJM                                535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF SUPPLEMENTAL PROOF OF SERVICE OF EMERGENCY UTILITY MOTION



    2089106      KJM                                535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF MOTION OF FRANK CHILDRESS TO APPEAR PRO HAC VICE AND PROPOSED
            ORDER RE SAME

    2089109      KJM                                535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF CORRESPONDENCE FROM UST RE CHAPTER 11 GUIDELINES AND
            REQUIREMENTS; PREPARATION OF CORRESPONDENCE RE SAME

    2089112      KJM                                535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE WITH PARTY IN INTEREST REGARDING CASE
            INFORMATION REQUEST

    2089141      KJM                                535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF ENTERED JOINT ADMINISTRATION ORDERS



    2089205      KJM                                535.00               $53.50              0.1

  9/12/2017   EMAIL EXCHANGE AND OTHER COMMUNICATIONS WITH UST COUNSEL RE CASE ISSUES



    2089783      KJM                                535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF DECLARATION REGARDING TELEPHONIC SERVICE



    2089784      KJM                                535.00               $53.50              0.1

 09/12/2017   REQUEST COURT TELEPHONIC APPEARANCE FOR GEOFF GREULICH AND MATT PLISKIN RE
              SEPTEMBER 13 FIRST DAY HEARINGS (MULTI EMAILS AND CALLS)

    2089524      LC                                 250.00              $100.00              0.4

  9/12/2017 PREPARATION OF EMERGENCY MOTION PLEADINGS, ORGANIZE AND PREPARE BINDERS



    2089533      LC                                 250.00               $75.00              0.3
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  9/12/2017 ANALYSIS OF PRO HAC VICE BY COUNSEL FOR LENDER



    2089279      MYK                                 575.00              $57.50               0.1

  9/12/2017 ANALYSIS OF IDI NOTICES, 7 DAY PACKAGE AND RELATED MATTERS AND COMMUNICATIONS
            THEREON

    2089285      MYK                                 575.00             $230.00               0.4

  9/12/2017 ANALYSIS OF REVIEW AND PREPARE PROPOSED ORDERS ON FIRST DAY MOTIONS,
            PREPARATION THEREFOR

    2089286      MYK                                 575.00             $747.50               1.3

  9/12/2017 ANALYSIS OF CONFIDENTIAL LETTER AGREEMENT FOR MOTION TO SEAL; CHAMBERS
            REQUEST THEREON AND RELATED EMAILS

    2089287      MYK                                 575.00             $230.00               0.4

  9/12/2017 ANALYSIS OF EMAILS RE: SEC REPORTING ISSUES AND REVIEW; CONF WITH SCOTT



    2091552      RB                                  595.00             $119.00               0.2

  9/12/2017 ANALYSIS OF UST EMAILS RE: FILING OBLIGATIONS AND IDI



    2091558      RB                                  595.00              $59.50               0.1

  9/12/2017 ANALYSIS OF ORDER GRANTING JOINT ADMINISTRATION OF CHAPTER 11 CASES ENTERED BY
            COURT

    2091564      RB                                  595.00              $59.50               0.1

  9/12/2017 PREPARATION OF PLEADING AND FILE SUPPLEMENTAL PROOF OF SERVICE OF UTILITIES
            MOTION

    2093599      SR                                  250.00              $75.00               0.3

  9/12/2017 PREPARATION OF PLEADING AND FILE DECLARATION REGARDING SERVICE OF FIRST DAY
            MOTIONS

    2093600      SR                                  250.00             $125.00               0.5

  9/12/2017 PREPARATION OF PLEADING AND FILE UNREDACTED LETTER AGREEMENT UNDER SEAL



    2093619      SR                                  250.00             $125.00               0.5

  9/13/2017   PREPARATION FOR AND APPEARANCE AT FIRST DAY HEARINGS ON WAGE, UTILITIES, AND
              CASH MANAGEMENT MOTIONS; MEET WITH INTERESTED PARTIES PRE AND POST HEARING

    2089789      KJM                                 535.00            $3,370.50              6.3

  9/13/2017 ANALYSIS OF NOTICES OF MEETINGS OF CREDITORS



    2090118      KJM                                 535.00              $53.50               0.1
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  9/13/2017 ANALYSIS OF CORRESPONDENCE REGARDING VENDOR INTEREST IN CREDITORS'
            COMMITTEE

    2090149      KJM                               535.00              $53.50               0.1

  9/13/2017 TELEPHONE CONFERENCE WITH MATT PLISKIN RE CHAPTER 11 COMPLIANCE ISSUES



    2090153      KJM                               535.00             $107.00               0.2

  9/13/2017   CREATE FULLY EXECUTED COPIES OF RADIAN SALE DOCUMENTS; ORGANIZE AND COMBINE
              DOCUMENTS

    2089537      LC                                250.00              $75.00               0.3

  9/13/2017 ANALYSIS OF MEETING OF CREDITORS NOTICES AND RELATED EMAILS



    2089511      MYK                               575.00             $115.00               0.2

  9/13/2017 PREPARATION OF PLEADING AND LODGE ORDER ON WAGE MOTION



    2093601      SR                                250.00              $25.00               0.1

  9/13/2017 PREPARATION OF PLEADING AND LODGE ORDER ON UTILITIES MOTION



    2093602      SR                                250.00              $25.00               0.1

  9/13/2017 PREPARATION OF PLEADING AND LODGE INTERIM ORDER ON CASH COLLATERAL AND DIP
            FINANCING MOTION

    2093603      SR                                250.00              $50.00               0.2

  9/14/2017 TELEPHONE CONFERENCE WITH GEOFF, MATT, AND INVESTMENT BANKERS RE
            OUTSTANDING CASE ISSUES

    2089576      KJM                               535.00             $802.50               1.5

  9/14/2017 PREPARATION OF NOTICE OF BAR DATE FOR INTEREST HOLDERS



    2090158      KJM                               535.00             $321.00               0.6

  9/14/2017 PREPARATION OF NOTICE OF JOINT ADMINISTRATION



    2090159      KJM                               535.00             $107.00               0.2

  9/14/2017 PREPARATION OF MOTION TO EXTEND DEADLINE TO FILE SCHEDULES AND OTHER REQUIRED
            DOCUMENTS

    2090161      KJM                               535.00             $267.50               0.5

  9/14/2017 PREPARATION OF MASTER NOTICE TO CREDITORS AND SHAREHOLDERS



    2090162      KJM                               535.00             $214.00               0.4
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  9/14/2017 PREPARATION OF UST ADMINISTRATIVE COMPLIANCE PACKAGE



    2090165      KJM                               535.00             $535.00               1.0

  9/14/2017 ANALYSIS OF PROOF OF INSURANCE AND DECLARATION PAGES



    2090166      KJM                               535.00             $107.00               0.2

  9/14/2017 ANALYSIS OF SHAREHOLDER LISTS AND MULTIPLE CORRESPONDENCE WITH CORPORATE
            COUNSEL RE SAME

    2090169      KJM                               535.00             $107.00               0.2

  9/14/2017   MEIAL EXCHANGES WITH UST AND DEBTOR REP REGARDING INITIAL DEBTOR INTERVIEW



    2090190      KJM                               535.00              $53.50               0.1

  9/14/2017   RESEARCH AND ANALYSIS OF UTILITY COMPANY CONTACT INFORMATION; PREPARATION OF
              CORRESPONDENCE RE SAME

    2090191      KJM                               535.00             $214.00               0.4

  9/14/2017 PREPARATION OF MULTIPLE CORRESPONDENCE TO COUNSEL TO UST RE INTEREST HOLDER
            AND CREDITOR LISTS

    2090194      KJM                               535.00              $53.50               0.1

  9/14/2017   EMAIL EXCHANGES AND RELATED DISCUSSIONS REGARDING NOTICES OF CASE DEADLINES
              TO INTEREST HOLDERS

    2090198      KJM                               535.00             $107.00               0.2

  9/14/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING RETENTION OF ACCOUNTANTS AND
            ISSUES RE SAME

    2090199      KJM                               535.00              $53.50               0.1

 09/14/2017 PREPARATION OF MASTER NOTICE REGARDING DATES, DEADLINES, ALL RELATED EMAILS AS
            TO REVISIONS, SERVICE

    2090041      MYK                               575.00             $977.50               1.7

  9/14/2017 ANALYSIS OF VARIOUS ENTERED ORDERS AND RELATED EMAILS



    2090043      MYK                               575.00             $172.50               0.3

  9/14/2017 ANALYSIS OF COMMUNICATIONS AND MATTERS DEALING WITH COMPLIANCE AND RELATED
            EMAILS AND DOCUMENTS INCLUDING SHAREHOLDER INFORMATION

    2090046      MYK                               575.00             $402.50               0.7

  9/14/2017 PREPARATION OF PLEADING AND LODGE ORDER ON CASH MANAGEMENT MOTION



    2093605      SR                                250.00              $50.00               0.2
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  9/14/2017 PREPARATION OF PLEADING AND LODGE ORDER ON BAR DATE MOTION



    2093606     SR                                  250.00              $50.00                0.2

  9/14/2017 PREPARATION OF PLEADING AND SERVE ENTERED ORDER ON UTILITIES MOTION ON
            UTILITIES SERVICE LIST AND FILE PROOF OF SERVICE RE SAME

    2093607     SR                                  250.00             $100.00                0.4

  9/14/2017 PREPARATION OF EQUITY SECURITY HOLDERS SERVICE LIST AND INPUT INTO BESTCASE



    2093624     SR                                  250.00             $350.00                1.4

  9/15/2017 PREPARATION OF 7-DAY ADMINISTRATIVE COMPLIANCE PACKAGE



    2090201     KJM                                 535.00             $749.00                1.4

  9/15/2017 TELEPHONE CONFERENCE WITH MATT PLISKIN RE ADMINISTRATIVE COMPLIANCE STATUS



    2090202     KJM                                 535.00              $53.50                0.1

  9/15/2017 PREPARATION OF MOTION TO EXTEND DEADLINES TO FILE SCHEDULES, DECLARATION IN
            SUPPORT, PROPOSED ORDER IN CONNECTION THEREWITH

    2090203     KJM                                 535.00             $535.00                1.0

  9/15/2017 PREPARATION OF MASTER NOTICE OF CASE DEADLINES



    2090206     KJM                                 535.00              $53.50                0.1

  9/15/2017   EMAIL EXCHANGE RE EQUITY SECURITY LIST TO BE FILED WITH SCHEDULES



    2090212     KJM                                 535.00              $53.50                0.1

  9/15/2017 ANALYSIS OF BUSINESS CERTIFICATES



    2090213     KJM                                 535.00              $53.50                0.1

  9/15/2017 ANALYSIS OF COURT DOCKET ENTRIES REGARDING CONTINUED HEARINGS; CONFER WITH
            COURTROOM DEPUTY REGARDING FINAL HEARING SCHEDULE ON CASH COLLATERAL/DIP
            FINANCING MOTION
    2090214     KJM                                 535.00              $53.50                0.1

  9/15/2017   EMAIL EXCHANGES REGARDING INITIAL DEBTOR INTERVIEW SCHEDULE



    2090225     KJM                                 535.00              $53.50                0.1

  9/15/2017 ANALYSIS OF COMPLIANCE MATTERS (IDI, 7 DAY, SCHEDULES, EX PARTE APPLICATION FOR
            EXTENSION OF TIME TO FILE SCHEDULES, LIST OF SHAREHOLDERS) AND ALL RELATED
            EMAILS AND DISCUSSIONS AND DOCUMENTS
    2090323     MYK                                 575.00             $632.50                1.1
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  9/15/2017 ANALYSIS OF FINAL CHANGES TO MASTER NOTICE, REVIEW AND REVISE, AND ALL RELATED
            EMAILS AND DISCUSSIONS

    2090327     MYK                                575.00             $460.00                0.8

  9/15/2017 TELEPHONE CONFERENCE WITH MATT RE: BANKRUPTCY SCHEDULES AND SOFA ISSUES AND
            REVIEW

    2091642     RB                                 595.00             $119.00                0.2

  9/15/2017 ANALYSIS OF UST ADMINISTRATIVE COMPLIANCE PACKAGE



    2091648     RB                                 595.00             $238.00                0.4

  9/15/2017 PREPARATION OF PLEADING AND FILE NOTICE OF JOINT ADMINISTRATION IN BOTH CASES



    2093609     SR                                 250.00             $125.00                0.5

  9/15/2017 PREPARATION OF PLEADING AND FILE AND SERVE NOTICE OF HEARING ON ALL MATTERS



    2093610     SR                                 250.00             $100.00                0.4

  9/16/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF ADMINISTRATIVE COMPLIANCE;
            PREPARATION OF RESPONSE THERETO

    2090492     KJM                                535.00              $53.50                0.1

  9/16/2017 ANALYSIS OF CORRESPONDENCE REGARDING SERVICE ADDRESS FOR RESOURCE GLOBAL
            PROFESSIONALS

    2090495     KJM                                535.00              $53.50                0.1

  9/16/2017 ANALYSIS OF SERVICE OF CASE FILINGS ON BENEFICIAL HOLDERS OF INTERESTS



    2090496     KJM                                535.00              $53.50                0.1

  9/16/2017 ANALYSIS OF STATUS AND COMPLETED 7 DAY PACKAGE



    2090320     MYK                                575.00             $230.00                0.4

  9/18/2017   EMAIL EXCHANGES REGARDING INITIAL DEBTOR INTERVIEW



    2090528     KJM                                535.00              $53.50                0.1

  9/18/2017 PREPARATION OF CORRESPONDENCE TO MEDIANS REGARDING CASE NOTICES



    2090529     KJM                                535.00              $53.50                0.1

  9/18/2017 ANALYSIS OF ENTERED ORDER APPROVING MOTION TO EXTEND DEADLINE TO FILE
            SCHEDULES

    2090533     KJM                                535.00              $53.50                0.1
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  9/18/2017 PREPARATION OF CORRESPONDENCE REGARDING SCHEDULES, STATEMENT OF FINANCIAL
            AFFAIRS, AND OTHER REQUIRED DOCUMENTS

    2090550      KJM                               535.00              $53.50               0.1

  9/18/2017 ANALYSIS OF CORRESPONDENCE REGARDING FORMATION OF COMMITTEES



    2090558      KJM                               535.00              $53.50               0.1

 09/18/2017 PREPARATION OF DECLARATION OF S. RICKMAN IN SUPPORT OF BID PROCEDURES; SERVE
            AND E-FILE

    2090782      LC                                250.00             $100.00               0.4

  9/18/2017 ANALYSIS OF ORDER ON MOTION TO EXTEND TIME TO FILE SCHEDULES, COMMUNICATIONS
            AS TO COMMITTEE FORMATIONS, COMPLIANCE MATTERS, 341 MEETING, AND RELATED
            MATTERS
    2090777      MYK                               575.00             $460.00               0.8

  9/18/2017 ANALYSIS OF ORDER EXTENDING BANKRUPTCY SCHEDULES FILING DATE; CONF WITH MATT



    2091717      RB                                595.00              $59.50               0.1

  9/18/2017 ANALYSIS OF BANKRUPTCY COMPLIANCE ISSUES AND REVIEW OF RELATED EMAILS AND
            DOCS; CONF WITH MATT

    2091725      RB                                595.00             $178.50               0.3

  9/19/2017   EMAIL EXCHANGE WITH M ROSS REGARDING LIST OF EQUITY SECURITY HOLDERS



    2090796      KJM                               535.00              $53.50               0.1

  9/19/2017   EMAIL EXCHANGE WITH UST ANALYST REGARDING ADMINISTRATIVE COMPLIANCE/7-DAY
              PACKAGE

    2090834      KJM                               535.00              $53.50               0.1

  9/19/2017 PREPARATION OF ADMINISTRATIVE COMPLIANCE CHECKLISTS FOR 7-DAY PACKAGES



    2090890      KJM                               535.00             $107.00               0.2

  9/19/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF DIP ACCOUNTS



    2090949      KJM                               535.00              $53.50               0.1

  9/19/2017 TELEPHONE CONFERENCE WITH MATT PLISKIN RE SCHEDULES, STATEMENT OF FINANCIAL
            AFFAIRS, AND RELATED ISSUES

    2090968      KJM                               535.00             $321.00               0.6

  9/19/2017 ANALYSIS OF CORRESPONDENCE REGARDING FORMATION OF COMMITTEES



    2091037      KJM                               535.00              $53.50               0.1
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  9/19/2017 ANALYSIS OF CORRESPONDENCE FROM SHAREHOLDER REGARDING SERVICE ADDRESS;
            PREPARATION OF CORRESPONDENCE RE SAME

    2091038   KJM                                 535.00                $53.50             0.1

  9/19/2017 ANALYSIS OF STATUS REGARDING COMMITTEES, SERVICES, MEETINGS OF CREDITORS AND
            OTHER COMPLIANCE MATTERS

    2091092   MYK                                 575.00               $287.50             0.5

  9/20/2017 ANALYSIS OF NOTICE OF APPOINTMENT OF EQUITY COMMITTEE AND PREPARATION OF
            CORRESPONDENCE RE SAME

    2091826   KJM                                 535.00                $53.50             0.1

  9/20/2017 PREPARATION OF CORRESPONDENCE TO EQUITY HOLDER REGARDING BANKRUPTCY
            NOTICING

    2091830   KJM                                 535.00                $53.50             0.1

  9/20/2017 ANALYSIS OF NOTICE OF FORMATION OF EQUITY COMMITTEE AND RELATED DISCUSSIONS



    2091751   MYK                                 575.00               $115.00             0.2

  9/21/2017 ANALYSIS OF CORRESPONDENCE FROM UST RE NOTICE OF EQUITY COMMITTEE; ANALYSIS
            OF AMENDED NOTICE

    2091839   KJM                                 535.00                $53.50             0.1

  9/21/2017 ANALYSIS OF AMENDED MML AND CONFER WITH S REICHERT RE SAME; PREPARATION OF
            CORRESPONDENCE TO G GREULICH RE SAME

    2091840   KJM                                 535.00                $53.50             0.1

  9/21/2017 ANALYSIS OF CORRESPONDENCE REGARDING PROOF OF INSURANCE



    2092129   KJM                                 535.00                $53.50             0.1

  9/21/2017 ANALYSIS OF CORRESPONDENCE REGARDING INITIAL DEBTOR INTERVIEW; PREPARATION OF
            CORRESPONDENCE RE SAME

    2092139   KJM                                 535.00                $53.50             0.1

  9/21/2017 ANALYSIS OF AMENDED MAILING LISTS



    2092164   MYK                                 575.00                $57.50             0.1

  9/21/2017 ANALYSIS OF COMMUNICATION FROM UST REGARDING EQUITY COMMITTEE



    2092168   MYK                                 575.00                $57.50             0.1

  9/21/2017 ANALYSIS OF IDI AND HANDLING THEREOF AND RELATED MATTERS



    2092180   MYK                                 575.00               $115.00             0.2
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  9/21/2017 PREPARATION OF EMAIL EXCHANGE WITH BOARD MEMBER MIKE DIGREGORIO RE: CASE
            STATUS

    2092693      RB                                595.00              $59.50               0.1

  9/22/2017 PREPARATION OF CORRESPONDENCE REGARDING BID PROCEDURES HEARING



    2092159      KJM                               535.00              $53.50               0.1

  9/22/2017 PREPARATION OF CORRESPONDENCE TO GEOFF RE AMENDED MAILING MATRIX



    2092160      KJM                               535.00              $53.50               0.1

  9/22/2017 ANALYSIS OF NOTICE OF APPOINTMENT OF OCC; PREPARATION OF CORRESPONDENCE RE
            SAME

    2092944      KJM                               535.00              $53.50               0.1

  9/22/2017   SET COUR TELEPHONIC APPEARANCE FOR GEOFF GREULICH VIA COURTCALL RE 09/25
              HEARINGS (MULTI CALLS AND EMAILS)

    2092102      LC                                250.00              $50.00               0.2

  9/22/2017 ANALYSIS OF IDI AND VARIOUS CLAIMS BY CREDITORS



    2092464      MYK                               575.00             $172.50               0.3

  9/22/2017 PREPARATION OF APPOINTMENT OF COMMITTEE, PREPARE NDA FOR COMMITTEES FOR SIDE
            LETTER

    2092468      MYK                               575.00             $690.00               1.2

  9/22/2017 ANALYSIS OF MATTERS FOR APPROVAL AT CONTINUED HEARINGS ON CASH
            COLLATERAL/FINANCING AND BIDDING PROCEDURES

    2092470      MYK                               575.00             $287.50               0.5

  9/22/2017 CONFERENCE CALL WITH SAM AND TANIA OF DENTON RE: EQUITY COMMITTEE AND OVERALL
            CASE REVIEW

    2092724      RB                                595.00             $297.50               0.5

  9/22/2017 PREPARATION OF EMAIL EXCHANGE WITH FRANK RE: EQUITY COMMITTEE ISSUES AND
            REVIEW

    2092725      RB                                595.00              $59.50               0.1

  9/22/2017 TELEPHONE CONFERENCE WITH ROSS OF UST RE COMMITTEE ISSUES AND REVIEW



    2092729      RB                                595.00             $178.50               0.3

  9/23/2017 ANALYSIS OF CORRESPONDENCE TO OCC REGARDING CASE ISSUES AND STATUS



    2092954      KJM                               535.00              $53.50               0.1
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 09/23/2017 PREPARATION OF NDA FOR SIDE LETTER TO COMMITTEES AND RELATED EMAILS



    2092663      MYK                                575.00              $977.50              1.7

  9/23/2017 PREPARATION FOR HEARING CONTINUED CC/DIP, BIDDING PROCEDURES HEARINGS AND
            RELATED MATTERS

    2092670      MYK                                575.00              $287.50              0.5

  9/24/2017   EMAIL EXCHANGE REGARDING SCHEDULES AND SOFA



    2092955      KJM                                535.00               $53.50              0.1

  9/24/2017 ANALYSIS OF EMAIL EXCHANGE WITH EQUITY COMMITTEE REGARDING NDA ISSUES



    2092958      KJM                                535.00               $53.50              0.1

  9/24/2017 TELEPHONE CONFERENCE WITH OCC AND OTHERS REGARDING NDA, SIDE LETTER AND
            HEARINGS AND RELATED EMAILS

    2092749      MYK                                575.00              $345.00              0.6

  9/24/2017 ANALYSIS OF SCHEDULES AND STATUS THEREOF



    2092752      MYK                                575.00              $115.00              0.2

  9/24/2017 ANALYSIS OF CONTINUED HEARINGS FOR SEPTEMBER 25 AND RELATED EMAILS AND
            DISCUSSIONS

    2092754      MYK                                575.00              $287.50              0.5

  9/25/2017 PREPARATION OF MULTIPLE CORRESPONDENCE TO COUNSEL TO EQUITY COMMITTEE
            REGARDING SERVICE OF PLEADINGS

    2093327      KJM                                535.00               $53.50              0.1

  9/25/2017   MEET AND CONFER WITH MATT PLISKIN AND OTHERS REGARDING CASE ISSUES



    2093836      KJM                                535.00              $802.50              1.5

  9/25/2017   ANALYSIS OF COURT DOCKET AND FILES RE SALE PLEADINGS, ORGANIZE SAME AND
              PREPARE BINDER

    2093151      LC                                 250.00              $100.00              0.4

  9/26/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING INITIAL DEBTOR INTERVIEW



    2093353      KJM                                535.00               $53.50              0.1

  9/26/2017   EMAIL EXCHANGE WITH OUST REGARDING INITIAL DEBTOR INTERVIEW



    2093354      KJM                                535.00               $53.50              0.1
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  9/26/2017 ANALYSIS OF CORRESPONDENCE REGARDING RETENTION OF ACCOUNTANT AND ISSUES RE
            SAME

    2093365     KJM                                  535.00               $53.50               0.1

  9/26/2017 PREPARATION OF DOCUMENTS REQUIRED TO BE FILED WITH SCHEDULES AND SOFA



    2093366     KJM                                  535.00              $428.00               0.8

  9/27/2017   ATTEND INITIAL DEBTOR INTERVIEW



    2093591     KJM                                  535.00              $321.00               0.6

  9/27/2017 PREPARATION OF SCHEDULES OF ASSETS AND LIABILITIES, AND LIST OF EQUITY HOLDERS,
            FOR IRONCLAD NV

    2093688     KJM                                  535.00              $428.00               0.8

  9/27/2017 ANALYSIS OF CORRESPONDENCE REGARDING SOFA DISCLOSURES; CONFER WITH MATT
            PLISKIN RE SAME

    2093689     KJM                                  535.00               $53.50               0.1

  9/27/2017 PREPARATION OF MULTIPLE CORRESPONDENCE REGARDING INITIAL DEBTOR INTERVIEW;
            ANALYSIS OF CORRESPONDENCE RE SAME

    2093691     KJM                                  535.00               $53.50               0.1

  9/27/2017 TELEPHONE CONFERENCE WITH MATT PLISKIN REGARDING EXECUTORY CONTRACT
            DISCLOSURES; ANALYSIS OF CASE FILE RE EXISTING CONTRACTS

    2093833     KJM                                  535.00               $53.50               0.1

  9/27/2017 ANALYSIS OF ADMINISTRATIVE COMPLIANCE PACKAGES IN PREPARATION FOR INITIAL
            DEBTOR INTERVIEW

    2093842     KJM                                  535.00              $160.50               0.3

  9/27/2017 ANALYSIS OF UPDATED PROOF OF INSURANCE POLICIES WITH OUST INFORMATION
            INCLUDED

    2093844     KJM                                  535.00               $53.50               0.1

  9/27/2017 PREPARATION OF SCHEDULES OF ASSETS AND LIABILITIES AND SOFA FOR IRONCLAD CA



    2094115     KJM                                  535.00              $321.00               0.6

  9/27/2017 PREPARATION OF BID PROCEDURES ORDER; REVISE AND FORMAT (MULTI)



    2093960     LC                                   250.00               $50.00               0.2

  9/27/2017 ANALYSIS OF EMAILS RE: BANKRUPTCY SCHEDULES AND SOFA; CONF WITH CLIENT



    2094734     RB                                   595.00              $178.50               0.3
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  9/27/2017 PREPARATION OF PLEADING AND LODGE SECOND INTERIM ORDER ON CASH COLLATERAL
            AND DIP FINANCING MOTION

    2093604     SR                                 250.00              $50.00               0.2

  9/27/2017   IMPORT EQUITY SECURITY HOLDERS SHARE AMOUNTS INTO BESTCASE



    2093709     SR                                 250.00             $150.00               0.6

  9/28/2017 TELEPHONE CONFERENCE WITH MATT PLISKIN REGARDING SCHEDULES, SOFA AND OTHER
            REQUIRED DOCUMENTS

    2094117     KJM                                535.00             $374.50               0.7

  9/28/2017 PREPARATION OF SCHEDULES, SOFA AND OTHER REQUIRED DOCUMENTS FOR IRONCLAD
            CALIFORNIA

    2094120     KJM                                535.00            $2,621.50              4.9

  9/28/2017 PREPARATION OF SCHEDULES, SOFA AND OTHER REQUIRED DOCUMENTS FOR IRONCLAD
            NEVADA

    2094123     KJM                                535.00             $909.50               1.7

  9/28/2017 PREPARATION OF BID PROCEDURES ORDER AND UPLOAD (MULTI EMAIL EXCHANGE)



    2094333     LC                                 250.00              $50.00               0.2

  9/28/2017 ANALYSIS OF SCHEDULES AND SOFA FOR CA AND NV



    2094259     MYK                                575.00             $287.50               0.5

  9/28/2017 ANALYSIS OF BANKRUPTCY SCHEDULES AND STATEMENTS OF FINANCIAL AFFAIRS



    2094775     RB                                 595.00             $476.00               0.8

  9/28/2017 PREPARATION OF PLEADING FILE STIPULATION EXTENDING DEADLINE FOR COMMITTEES TO
            OBJECTION TO CASH COLLATERAL MOTION AND LODGE ORDER APPROVING STIPULATION

    2096387     SR                                 250.00             $125.00               0.5

  9/29/2017 PREPARATION OF DISCLOSURE OF COMPENSATION TO BE FILED WITH SCHEDULES



    2094344     KJM                                535.00             $107.00               0.2

  9/29/2017   EMAIL EXCHANGE WITH MATT PLISKIN REGARDING SOFA DISCLOSURES



    2094345     KJM                                535.00              $53.50               0.1

  9/29/2017 PREPARATION OF SCHEDULES OF ASSETS AND LIABILITIES



    2094347     KJM                                535.00            $2,033.00              3.8
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  9/29/2017 PREPARATION OF CORRESPONDENCE REGARDING UPDATED LIST OF SHAREHOLDERS



    2094348   KJM                                  535.00             $53.50               0.1

  9/29/2017 ANALYSIS OF STATUS CONFERENCE ORDER



    2094351   KJM                                  535.00             $53.50               0.1

  9/29/2017 PREPARATION OF STATEMENTS OF FINANCIAL AFFAIRS



    2094388   KJM                                  535.00            $963.00               1.8

  9/29/2017 TELEPHONE CONFERENCE WITH MATT PLISKIN REGARDING SCHEDULES AND RELATED
            ISSUES; ANALYSIS OF CORRESPONDENCE REGARDING SHAREHOLDER INFORMATION

    2094397   KJM                                  535.00             $53.50               0.1

  9/29/2017 ANALYSIS OF COURT ORDER SETTING SCHEDULING AND CASE MANAGEMENT CONFERENCE



    2094994   RB                                   595.00             $59.50               0.1

  10/1/2017 ANALYSIS OF CORRESPONDENCE REGARDING VENDOR QUESTIONS AND ISSUES



    2095776   KJM                                  535.00             $53.50               0.1

  10/1/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS CONFERENCE ORDER AND REPORT;
            PREPARATION OF RESPONSE THERETO

    2095777   KJM                                  535.00             $53.50               0.1

  10/1/2017 ANALYSIS OF SCHEDULING/STATUS ORDER FROM COURT AND SERVICE THEREOF



    2095049   MYK                                  575.00            $115.00               0.2

  10/1/2017 ANALYSIS OF COMMUNICATIONS FROM AND TO NANTONG



    2095050   MYK                                  575.00             $57.50               0.1

  10/2/2017 ANALYSIS OF SHAREHOLDER LISTS AND CORRESPONDENCE FROM M PLISKIN AND L
            WHARTON RE SAME

    2104067   KJM                                  535.00             $53.50               0.1

  10/2/2017 ANALYSIS OF PROOF OF CLAIM FILED BY FEDERAL INSURANCE COMPANY



    2104070   KJM                                  535.00             $53.50               0.1

  10/2/2017 PREPARATION OF AMENDED CREDITOR LIST



    2104079   KJM                                  535.00            $107.00               0.2
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  10/2/2017 ANALYSIS OF MASTER MAILING LIST ISSUES



    2095434      MYK                                 575.00             $57.50              0.1

  10/3/2017    EMAIL EXCHANGES WITH MATT PLISKIN AND LOUIS WHARTON REGARDING SHAREHOLDER
              INFORMATION AND ISSUES RE SAME

    2095702      KJM                                 535.00             $53.50              0.1

  10/3/2017 ANALYSIS OF CORRESPONDENCE FROM MATT REGARDING MONTHLY OPERATING REPORTS;
            PREPARATION OF RESPONSE THERETO

    2095705      KJM                                 535.00             $53.50              0.1

  10/3/2017 ANALYSIS OF CORRESPONDENCE REGARDING FEE ESTIMATES



    2095724      KJM                                 535.00             $53.50              0.1

  10/3/2017 TELEPHONE CONFERENCE WITH MATT RE BANKRUPTCY SCHEDULES; PREPARATION OF
            CORRESPONDENCE TO STEVE RICKMAN RE SAME

    2095771      KJM                                 535.00             $53.50              0.1

  10/3/2017 ANALYSIS OF CORRESPONDENCE REGARDING PREPARATION OF TAX RETURNS



    2095772      KJM                                 535.00             $53.50              0.1

  10/3/2017 ANALYSIS OF CORRESPONDENCE REGARDING INSIDER COMPENSATION



    2096496      KJM                                 535.00             $53.50              0.1

  10/3/2017 ANALYSIS OF CORRESPONDENCE REGARDING PREPARATION OF TAX RETURNS AND
            RETENTION OF ACCOUNTANT

    2096497      KJM                                 535.00             $53.50              0.1

  10/3/2017 ANALYSIS OF COMMUNICATION AS TO BOARD FEES



    2096414      MYK                                 575.00             $57.50              0.1

  10/3/2017 PREPARATION OF EMAIL EXCHANGE WITH MATT RE: TAX RETURN ISSUES AND REVIEW; CONF
            WITH MATT

    2101480      RB                                  595.00            $178.50              0.3

  10/3/2017 PREPARATION OF CONTRACTS LIST



    2098222      SR                                  250.00            $200.00              0.8

  10/4/2017 ANALYSIS OF COURT DOCKET RE ITEMS 85 AND 85 - OBJECTION AND OPPOSITION



    2096098      JK                                  250.00             $50.00              0.2
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  10/4/2017 ANALYSIS OF LIST OF SHAREHOLDERS WHO HAVE AGREED TO RELEASE CONTACT
            INFORMATION; PREPARATION OF CORRESPONDENCE RE SAME

    2104108   KJM                                535.00                $53.50               0.1

  10/4/2017 ANALYSIS OF OCE REQUEST FOR PRE-PETITION REPORTS



    2096837   MYK                                575.00                $57.50               0.1

  10/4/2017 ANALYSIS OF UPDATED SHAREHOLDERS LIST AND RELATED EMAIL



    2101705   RB                                 595.00                $59.50               0.1

  10/4/2017 PREPARATION OF BROKERS LIST



    2098226   SR                                 250.00               $250.00               1.0

  10/5/2017 ANALYSIS OF UPDATED SHAREHOLDER SERVICE LISTS



    2097023   KJM                                535.00                $53.50               0.1

  10/5/2017 TELEPHONE CONFERENCE WITH COUNSEL TO EQUITY COMMITTEE REGARDING
            SHAREHOLDERS AND RELATED ISSUES

    2097158   KJM                                535.00                $53.50               0.1

  10/5/2017 PREPARATION OF SALE MOTION; PPO TABLE OF CONTENTS AND TABLE OF AUTHORITIES



    2097277   LC                                 250.00               $250.00               1.0

  10/5/2017 PREPARATION OF PLEADING LODGE FINAL ORDER ON CASH COLLATERAL AND DIP
            FINANCING MOTION AND FILE NOTICE OF LODGMENT OF FINAL ORDER

    2098189   SR                                 250.00               $100.00               0.4

  10/5/2017 PREPARATION OF SUPPLEMENTAL EQUITY HOLDER LIST



    2098225   SR                                 250.00               $550.00               2.2

  10/6/2017 ANALYSIS OF CORRESPONDENCE FROM CREDITOR REGARDING SERVICE ADDRESS



    2097290   KJM                                535.00                $53.50               0.1

  10/6/2017 ANALYSIS OF CHANGE OF ADDRESS FOR SKADDEN AND RELATED EMAILS



    2097506   MYK                                575.00                $57.50               0.1

  10/8/2017 ANALYSIS OF COMMUNICATIONS REGARDING NDA WITH COMMITTEES, TRANSFER OF
            CONFIDENTIAL INFORMATION, AND RELATED EMAILS

    2097546   MYK                                575.00               $460.00               0.8
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  10/9/2017 ANALYSIS OF CORRESPONDENCE FROM GEOFF REGARDING RETENTION OF SPECIAL
            COUNSEL; ANALYSIS OF RELATED CORRESPONDENCE

    2098081      KJM                                535.00               $53.50              0.1

  10/9/2017 ANALYSIS OF CORRESPONDENCE REGARDING NONDISCLOSURE AGREEMENT WITH
            CREDITORS' COMMITTEE; PREPARATION OF CORRESPONDENCE RE SAME

    2098086      KJM                                535.00               $53.50              0.1

  10/9/2017 PREPARATION OF SALE AND EXECUTORY CONTRACTS MOTION AND RELATED DECLARATION;
            E-FILE; PPO EXHIBITS AND SERVICE LISTS, ANALYSIS OF EXCEL WORKBOOK AND SCHEDULE
            G
    2098154     LC                                    250.00             $425.00            1.7

  10/9/2017 ANALYSIS OF COMMUNICATIONS AS TO ADDITIONAL NDA FROM OCC AND TRANSFER OF
            INFORMATION

    2097847      MYK                                575.00              $230.00              0.4

  10/9/2017 PREPARATION OF PLEADING FILE AND SERVE NOTICE OF HEARING ON SALE MOTION AND
            PREPARATION OF SERVICE LIST RE SAME; FILE NOTICE OF SALE OF ESTATE PROPERTY; FILE
            SUPPLEMENTAL PROOF OF SERVICE OF SALE MOTION AND RELATED PLEADINGS
    2098190    SR                                   250.00              $825.00              3.3

 10/10/2017 ANALYSIS OF CORRESPONDENCE FROM M PLISKIN REGARDING MONTHLY OPERATING
            REPORT FOR SEPTEMBER 2017; PREPARATION OF RESPONSE THERETO

    2098043      KJM                                535.00               $53.50              0.1

 10/10/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING DEBTOR IN POSSESSION ACCOUNTS



    2098044      KJM                                535.00               $53.50              0.1

 10/10/2017 PREPARATION OF NDA FOR EQUITY COMMITTEE MEMBERS; EMAIL EXCHANGE WITH EQUITY
            COMMITTEE COUNSEL RE SAME

    2098057      KJM                                535.00              $107.00              0.2

 10/10/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE FROM FINANCIAL ADVISORS TO CREDITORS'
            COMMITTEE REGARDING CONFIDENTIAL INFORMATION

    2098058      KJM                                535.00               $53.50              0.1

 10/10/2017 ANALYSIS OF CORRESPONDENCE FROM UST RE ADMINISTRATIVE COMPLIANCE ISSUES;
            PREPARATION OF CORRESPONDENCE TO M PLISKIN RE SAME; CONFER WITH M PLISKIN RE
            SAME
    2098061      KJM                                535.00              $107.00              0.2

 10/10/2017    EMAIL EXCHANGE WITH COUNSEL TO CREDITORS' COMMITTEE RE CONFIDENTIAL
              INFORMATION AND SIDE AGREEMENT

    2098064      KJM                                535.00               $53.50              0.1

 10/10/2017 PREPARATION OF STATUS REPORT DATED OCTOBER 12, 2017 AND DECLARATION IN
            SUPPORT

    2098072      KJM                                535.00              $856.00              1.6
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            UPDATES

    2098074     KJM                                535.00                 $53.50            0.1

 10/11/2017 TELEPHONE CONFERENCE WITH MAT PLISKIN RE SEPTEMBER 2017 MONTHLY OPERATING
            REPORTS

    2098671     KJM                                535.00                 $53.50            0.1

 10/11/2017 ANALYSIS OF CORRESPONDENCE FROM UST REGARDING ADMINISTRATIVE COMPLIANCE



    2098674     KJM                                535.00                 $53.50            0.1

 10/11/2017 ANALYSIS OF CORRESPONDENCE REGARDING SAM CLAIMS AND RELATED MATTERS;
            PREPARATION OF CORRESPONDENCE RE SAME

    2098676     KJM                                535.00             $107.00               0.2

 10/11/2017 ANALYSIS OF CORRESPONDENCE AND DOCUMENTATION REGARDING DIP ACCOUNTS;
            PREPARATION OF CORRESPONDENCE RE SAME

    2098679     KJM                                535.00                 $53.50            0.1

 10/11/2017   STATUS REPORT



    2098687     KJM                                535.00             $107.00               0.2

 10/11/2017 ANALYSIS OF STATUS REPORT AND RELATED COMMUNICATIONS



    2098613     MYK                                575.00             $287.50               0.5

 10/12/2017 ANALYSIS OF MULTIPLE EMAIL EXCHANGES BETWEEN COMMITTEE COUNSEL REGARDING
            RETENTION OF FINANCIAL ADVISOR

    2098535     KJM                                535.00                 $53.50            0.1

 10/12/2017 ANALYSIS OF CORRESPONDENCE AND DOCUMENTATION REGARDING DIP ACCOUNTS;
            PREPARATION OF RESPONSE THERETO

    2098542     KJM                                535.00                 $53.50            0.1

 10/12/2017 PREPARATION OF STATUS REPORT AND EMAIL EXCHANGES RE SAME



    2098656     KJM                                535.00             $160.50               0.3

 10/12/2017 ANALYSIS OF STATUS REPORT AND RELATED EMAILS



    2098735     MYK                                575.00             $172.50               0.3

 10/13/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING BUSINESS LICENSES



    2104180     KJM                                535.00                 $53.50            0.1
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 10/13/2017 PREPARATION OF AMENDED ADMINISTRATIVE COMPLIANCE DOCUMENTS



    2104182   KJM                                 535.00               $321.00               0.6

 10/14/2017 ANALYSIS OF REQUEST FOR INVESTIGATION REPORTS



    2099012   MYK                                 575.00                $57.50               0.1

 10/14/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: MONTHLY OPERATING REPORTS



    2101957   RB                                  595.00                $59.50               0.1

 10/15/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING OUTSTANDING CASE ISSUES



    2104206   KJM                                 535.00                $53.50               0.1

 10/16/2017 ANALYSIS OF EMPLOYEE BONUS ISSUES AND CORRESPONDENCE RE SAME



    2104218   KJM                                 535.00                $53.50               0.1

 10/16/2017 ANALYSIS OF REVISED 341 MEETING OF CREDITORS DATE



    2099344   MYK                                 575.00               $115.00               0.2

 10/16/2017 ANALYSIS OF STATUS REPORT AND RELATED EMAILS



    2099348   MYK                                 575.00               $172.50               0.3

 10/16/2017 ANALYSIS OF DEBTOR'S CASE STATUS REPORT



    2101979   RB                                  595.00                $59.50               0.1

 10/16/2017 PREPARATION OF EMAIL EXCHANGE WITH BOARD RE: EQUITY COMMITTEE ROLE



    2101993   RB                                  595.00                $59.50               0.1

 10/16/2017 PREPARATION OF PLEADING FILE AND SERVE STATUS REPORT



    2100969   SR                                  250.00               $125.00               0.5

 10/16/2017 PREPARATION OF PLEADING SERVE ORDER SETTING SCHEDULING AND CASE MANAGEMENT
            CONFERENCE AND FILE PROOF OF SERVICE RE SAME

    2100973   SR                                  250.00               $125.00               0.5

 10/17/2017 ANALYSIS OF DIRECTORS' COMPENSATION FORMS AND CORRESPONDENCE RE SAME



    2104293   KJM                                 535.00                $53.50               0.1
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 10/17/2017 PREPARATION OF AMENDED ADMINISTRATIVE COMPLIANCE DOCUMENTS AND SUBMISSION
            OF SAME

    2104361      KJM                               535.00             $267.50                0.5

 10/18/2017 TELEPHONE CONFERENCE WITH MATT PLISKIN REGARDING OUTSTANDING CASE ISSUES



    2099606      KJM                               535.00             $481.50                0.9

 10/18/2017 ANALYSIS OF CORRESPONDENCE REGARDING UPDATED SCHEDULE F PAYABLES



    2100161      KJM                               535.00              $53.50                0.1

 10/18/2017 ANALYSIS OF INFORMATION TO OCE, JOINT PRIVILEGE ISSUES AND RELATED EMAILS AND
            DOCUMENTS

    2099762      MYK                               575.00             $230.00                0.4

 10/18/2017 ANALYSIS OF COMMUNICATIONS REGARDING RESCHEDULED 341 AND INQUIRIES FROM
            CREDITORS

    2099786      MYK                               575.00             $115.00                0.2

 10/19/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING PREPARATION OF MONTHLY OPERATING
              REPORTS

    2104422      KJM                               535.00              $53.50                0.1

 10/19/2017 PREPARATION OF AMENDED SCHEDULE F



    2104455      KJM                               535.00             $160.50                0.3

 10/19/2017 ANALYSIS OF CORRESPONDENCE REGARDING SHAREHOLDER LISTS; PREPARATION OF
            CORRESPONDENCE RE SAME

    2104478      KJM                               535.00              $53.50                0.1

 10/19/2017 PREPARATION OF AMENDED SCHEDULE G



    2104488      KJM                               535.00             $107.00                0.2

 10/19/2017 ANALYSIS OF DOCUMENTATION REGARDING DIRECTORS' RESPONSIBILITIES



    2104501      KJM                               535.00             $107.00                0.2

 10/19/2017   EMAIL EXCHANGE WITH UST RE BANK ACCOUNT INFORMATION



    2104515      KJM                               535.00              $53.50                0.1

 10/19/2017 ANALYSIS OF 341 AND CONTINUED DATE



    2100118      MYK                               575.00              $57.50                0.1
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 10/19/2017 ANALYSIS OF AMENDED SCHEDULES F AND RELATED EMAILS; CONF WITH MATT



    2102100     RB                                 595.00             $238.00               0.4

 10/20/2017 PREPARATION OF AMENDED SCHEDULE F



    2100141     KJM                                535.00             $267.50               0.5

 10/20/2017 TELEPHONE CONFERENCE WITH MATT PLISKIN REGARDING MONTHLY OPERATING REPORTS;
            EMAIL EXCHANGE WITH L. WHARTON RE SAME

    2100149     KJM                                535.00              $53.50               0.1

 10/20/2017 ANALYSIS OF LETTER FROM SKADDEN REGARDING CASE



    2100244     MYK                                575.00              $57.50               0.1

 10/20/2017 ANALYSIS OF AMENDED SCHEDULES AND RELATED COMMUNICATIONS



    2100252     MYK                                575.00             $230.00               0.4

 10/20/2017 ANALYSIS OF BANKRUPTCY SCHEDULES



    2102144     RB                                 595.00              $59.50               0.1

 10/20/2017 PREPARATION OF PLEADING FILE AND SERVE SUPPLEMENTAL CONTRACT AND LEASE
            ASSUMPTION MOTION; FILE APPLICATION FOR ORDER SHORTENING TIME ON MOTION; LODGE
            ORDER GRANTING APPLICATION FOR ORDER SHORTENING TIME
    2100978    SR                                  250.00            $200.00             0.8

 10/23/2017 ANALYSIS OF COMMUNICATIONS AND REVISIONS AS TO JOINT PRIVILEGE AGREEMENT



    2100319     MYK                                575.00             $172.50               0.3

 10/23/2017 PREPARATION OF PLEADING FILE AND SERVE NOTICE OF SUPPLEMENTAL CONTRACT AND
            LEASE ASSUMPTION MOTION; SERVE APPLICATION FOR ORDER SHORTENING TIME ON
            MOTION AND FILE PROOF OF SERVICE RE SAME
    2100984     SR                                 250.00             $275.00               1.1

 10/24/2017   EMAIL EXCHANGE RE AMS DEBT AND ISSUES RE SAME



    2104646     KJM                                535.00              $53.50               0.1

 10/24/2017 ANALYSIS OF COMMUNICATIONS REGARDING COMMON INTEREST, JOINT PRIVILEGE
            AGREEMENT

    2100618     MYK                                575.00             $115.00               0.2

 10/24/2017 ANALYSIS OF MULTIPLE EMAILS RE: POST SALE CLOSING MATTERS AND PLANNING



    2103082     RB                                 595.00              $59.50               0.1
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 10/24/2017 PREPARATION OF PLEADING SERVE SALE MOTION AND NOTICE AND FILE SUPPLEMENTAL
            PROOF OF SERVICE RE SAME

    2100986     SR                                 250.00              $125.00               0.5

 10/25/2017   PROOF OF CLAIM FILED BY FEDEX



    2104662     KJM                                535.00               $53.50               0.1

 10/25/2017 PREPARATION OF AMENDED SCHEDULE F



    2104694     KJM                                535.00              $428.00               0.8

 10/25/2017 ANALYSIS OF REQUEST FROM OCE REGARDING 8K REPORT



    2100866     MYK                                575.00               $57.50               0.1

 10/25/2017 ANALYSIS OF 341 MEETING OF CREDITORS



    2100867     MYK                                575.00               $57.50               0.1

 10/25/2017 TELEPHONE CONFERENCE WITH TANIA RE: EQUITY COMMITTEE REQUEST FOR 8-K TO BE
            FILED AND RELATED SALE ISSUES; ANALYSIS OF EMAIL

    2103132     RB                                 595.00              $178.50               0.3

 10/26/2017 PREPARATION OF AMENDED SCHEDULE F



    2104704     KJM                                535.00              $160.50               0.3

 10/26/2017 PREPARATION OF INSIDER COMPENSATION FORMS FOR DIRECTORS



    2104705     KJM                                535.00              $267.50               0.5

 10/26/2017 TELEPHONE CONFERENCE WITH MOYRON REGARDING 8K



    2101225     MYK                                575.00               $57.50               0.1

 10/26/2017 ANALYSIS OF AMENDED BANKRUPTCY SCHEDULES AND RELATED EMAILS; CONF WITH MATT



    2103721     RB                                 595.00              $238.00               0.4

 10/26/2017 PREPARATION OF EMAIL EXCHANGE RE: 8-K ISSUES FOR SALE; CONF WITH GEOFF AND
            RICKMAN

    2103731     RB                                 595.00              $178.50               0.3

 10/26/2017 ANALYSIS OF MULTIPLE INSIDER COMP FORMS FOR BOARD FEES



    2103733     RB                                 595.00              $119.00               0.2
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 10/26/2017 ANALYSIS OF BANKRUPTCY SCHEDULES AMENDMENTS AND RELATED EMAILS



    2103764      RB                                595.00              $119.00               0.2

 10/26/2017 PREPARATION FOR HEARING REVIEW, ORGANIZE, AND PREPARE SALE PLEADINGS IN
            PREPARATION FOR SALE HEARING

    2105005      SR                                250.00              $150.00               0.6

 10/27/2017   ORGANIZE AND PREPARE MULTIPLE PLEADINGS AND DOCUMENTS RE SALE HEARING, PPO
              BINDER

    2102180      LC                                250.00              $250.00               1.0

 10/27/2017 EMAIL EXCHANGE WITH VERITEXT REGARDING OUR REQUEST FOR A COURT REPORTER FOR
            10/30 SALE AUCTION

    2102182      LC                                250.00               $75.00               0.3

 10/27/2017 ANALYSIS OF BECK REGARDING CASE



    2101408      MYK                               575.00               $57.50               0.1

 10/27/2017 ANALYSIS OF MULTIPLE EMAILS RE: BANKRUPTCY SCHEDULES AMENDMENTS; CONF WITH
            CLIENT

    2104010      RB                                595.00              $119.00               0.2

 10/27/2017 PREPARATION OF PLEADING FILE AND SERVE SUPPLEMENT RE CURES



    2105009      SR                                250.00              $100.00               0.4

 10/27/2017 PREPARATION OF PLEADING FILE AND SERVE REPLY TO AISENBERG AND CORDES
            OBJECTION TO SALE MOTION

    2105010      SR                                250.00              $100.00               0.4

 10/27/2017 PREPARATION OF PLEADING AND FILE RICKMAN DECLARATION IN SUPPORT OF SALE MOTION



    2105029      SR                                250.00              $125.00               0.5

 10/29/2017 PREPARATION OF SEPTEMBER 2017 MONTHLY OPERATING REPORTS



    2104729      KJM                               535.00              $267.50               0.5

 10/29/2017 ANALYSIS OF MOR'S NO. 1 FOR SEPTEMBER AND RELATED EMAILS



    2104076      RB                                595.00              $178.50               0.3

 10/30/2017 TELEPHONE CONFERENCE WITH COURT CALL AND JUDGE'S CHAMBERS RE TELEPHONIC
            APPEARANCE FOR CONNOR OAK

    2102177      JK                                250.00              $100.00               0.4
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 10/30/2017 PREPARATION OF TWO STIPULATIONS PROVIDING FOR ASSUMPTION AND ASSIGNMENT OF
            EXECUTORY CONTRACT BETWEEN DEBTORS AND W.W. GRAINGER, INC. -AND- GRAINGER
            INTERNATIONAL, INC.; E-FILE; PPO SERVICE LISTS
    2102512   LC                                   250.00               $150.00               0.6

 10/30/2017 ANALYSIS OF 8-K ISSUES AND REVIEW; CONF WITH GEOFF



    2104540   RB                                   595.00               $119.00               0.2

 10/30/2017 PREPARATION OF PLEADING SERVE SALE MOTION AND NOTICE AND FILE SUPPLEMENTAL
            PROOF OF SERVICE RE SAME

    2105015   SR                                   250.00                $75.00               0.3

 10/30/2017 PREPARATION OF PLEADING FILE AND SERVE SEPTEMBER MONTHLY OPERATING REPORTS
            IN BOTH CASES

    2105016   SR                                   250.00               $150.00               0.6

 10/31/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: 8-K FILINGS; ANALYSIS OF APA; CONF
            WITH CLIENT

    2104609   RB                                   595.00               $238.00               0.4

 10/31/2017 CONFERENCE CALL WITH ENTIRE BOARD OF DIRECTORS RE: OUTCOME OF SALE HEARING
            AND BUSINESS TRANSITION AND PLANNING FOR BALANCE OF BANKRUPTCY CASE; PREP OF
            RELATED EMAIL EXCHANGE
    2104640   RB                                   595.00               $773.50               1.3

 10/31/2017 PREPARATION OF MUILTIPLE EMAIL EXCHANGE RE: SEC ACCESS TO BOOKS AND RECORDS;
            CONF WITH GEOFF

    2104653   RB                                   595.00               $119.00               0.2

 10/31/2017 PREPARATION OF EMAL EXCHANGE WITH LOUIS RE: SEC FILINGS ISSUES AND REVIEW



    2104655   RB                                   595.00               $119.00               0.2

 10/31/2017 ANALYSIS OF PROPOSED 8-K FOR SEC AND MULTIPLE RELATED EMAILS; PREP OF RELATED
            EMAIL EXCHANGE

    2104661   RB                                   595.00               $178.50               0.3

 10/31/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: 8-K ISSUES AND REVIEW



    2104670   RB                                   595.00               $119.00               0.2

  11/1/2017 TELEPHONE CONFERENCE WITH LAW CLERK REGARDING HEARING ON SALE ORDER



    2103975   MYK                                  575.00                $57.50               0.1

  11/1/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: 8-K FILINGS; CONF WITH CLIENT



    2105515   RB                                   595.00               $238.00               0.4
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  11/2/2017 PREPARATION OF APA, FORMAT AND PREPARE TABLE OF CONTENTS



    2105193      LC                               250.00              $225.00              0.9

  11/3/2017 PREPARATION OF NOTICE OF CONTINUANCE OF CASH MANAGEMENT MOTION



    2108151      KJM                              535.00               $53.50              0.1

  11/3/2017 PREPARATION OF NOTICE OF CONTINUED STATUS CONFERENCE



    2108153      KJM                              535.00               $53.50              0.1

  11/3/2017 PREPARATION OF PLEADING AND LODGE SALE ORDER AND FILE EXHIBIT TO SALE ORDER



    2106788      SR                               250.00              $125.00              0.5

  11/3/2017 PREPARATION OF PLEADING AND FILE NOTICE OF CONTINUANCE OF CASH MANAGEMENT
            MOTION

    2106791      SR                               250.00              $100.00              0.4

  11/4/2017 ANALYSIS OF ALL COMMUNICATIONS REGARDING SALE ORDER, APA, NEXT STEPS AND
            RELATED MATTERS

    2105683      MYK                              575.00              $287.50              0.5

  11/4/2017 ANALYSIS OF COMMUNICATIONS AS TO FRB/TRUST ACCOUNT



    2105685      MYK                              575.00              $115.00              0.2

  11/4/2017 PREPARATION OF EMAIL EXCHANGE WITH UST RE: ACCOUNT AND 345 ANALYSIS



    2105662      RB                               595.00               $59.50              0.1

  11/5/2017 TELEPHONE CONFERENCE WITH REGARDING OUTSTANDING CASE ISSUES AND PLANNING



    2108603      KJM                              535.00               $53.50              0.1

  11/6/2017   CONFER WITH COURTROOM DEPUTY REGARDING CONTINUED HEARING DATES; ANALYSIS
              OF COURT NOTICES RE SAME

    2105973      KJM                              535.00               $53.50              0.1

  11/6/2017   EMAIL EXCHANGE WITH SHIVA BECK REGARDING CONTINUED CASH MANAGEMENT MOTION



    2105999      KJM                              535.00               $53.50              0.1

 11/06/2017 PREPARATION OF CHARTS IN EXCEL -AND- WORD RE BBI APA CLOSING CHECK LIST



    2106138      LC                               250.00              $500.00              2.0
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  11/6/2017 PREPARATION OF EMAIL EXCHANGE RE: BOARD COMPOSITION ISSUES; CONF WITH TANIA



    2108207     RB                                  595.00            $119.00               0.2

  11/6/2017 PREPARATION OF MULTIPLE EMAIL EXCHANG RE: COMPANY NAME CHANGE; CONF WITH
            MATT

    2108208     RB                                  595.00             $59.50               0.1

  11/6/2017 PREPARATION OF MULTILPLE EMAIL EXCHANGE RE: 8-K FILING AND REVIEW; CONF WITH
            TANIA

    2108215     RB                                  595.00            $178.50               0.3

  11/6/2017 PREPARATION OF EMAIL EXCHANGE WITH MATT RE: DIP ACCOUNTS ISSUES



    2108222     RB                                  595.00             $59.50               0.1

  11/6/2017 ANALYSIS OF BEN EMAIL RE: BOARD COMPOSITION ISSUES AND REVIEW



    2108225     RB                                  595.00             $59.50               0.1

  11/6/2017 PREPARATION OF PLEADING AND FILE NOTICE OF CONTINUED STATUS CONFERENCE



    2106792     SR                                  250.00            $100.00               0.4

  11/7/2017 ANALYSIS OF CORRESPONDENCE FROM M PLISKIN REGARDING AMENDED SCHEDULE F;
            ANALYSIS OF AMENDMENTS; PREPARATION OF CORRESPONDENCE RE SAME

    2108612     KJM                                 535.00             $53.50               0.1

  11/7/2017   EMAIL EXCHANGE WITH MATT PLISKIN REGARDING INSIDER COMPENSATION/BOARD FEES



    2108622     KJM                                 535.00             $53.50               0.1

  11/7/2017 PREPARATION OF CHARTS IN EXCEL -AND- WORD OF CLOSING DOCUMENTS LIST



    2106139     LC                                  250.00            $125.00               0.5

  11/7/2017 PREPARATION OF CHARTS IN EXCEL -AND- WORD OF SCHEDULE OF CURE AMOUNTS



    2106181     LC                                  250.00            $125.00               0.5

  11/7/2017 ANALYSIS OF 8K DISCLOSURES, FILING ISSUES



    2106449     MYK                                 575.00            $172.50               0.3

  11/7/2017 ANALYSIS OF OCE AND RADIANS STIPULATION REGARDING 2004



    2106460     MYK                                 575.00             $57.50               0.1
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  11/7/2017 PREPARATION OF EMAIL EXCHANGE RE: BOARD COMPOSITION AND EQUITY COMMITTEE;
            CONF WITH BEN

    2108240      RB                                595.00             $119.00               0.2

  11/7/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH FRB RE: TRUST ACCOUNT SET UP AND
            PLANNING AND COLLATERALIZATION; CONF WITH FRB REPS

    2108244      RB                                595.00             $178.50               0.3

  11/7/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: 8-K FILING FOR SALE UPDATE; CONF WITH
            BEN; ANALYSIS OF PROPOSED 8-K FROM SAM

    2108269      RB                                595.00             $357.00               0.6

  11/7/2017 ANALYSIS OF FURTHER REVISED 8-K FROM SAM; PREP OF FURTHER RELATED EMAIL
            EXCHANGE

    2108270      RB                                595.00             $119.00               0.2

  11/8/2017 PREPARATION OF INSIDER COMPENSATION FORMS FOR DIRECTORS; EMAIL EXCHANGES RE
            SAME

    2108633      KJM                               535.00             $160.50               0.3

  11/8/2017 ANALYSIS OF UST EMAILS RE: UST FEES AND REVIEW



    2108292      RB                                595.00              $59.50               0.1

  11/9/2017 ANALYSIS OF CA STATUTE RE: COURT ORDER OVERRIDING SHAREHOLDER VOTE



    2108334      RB                                595.00              $59.50               0.1

  11/9/2017 ANALYSIS OF NV STATUTE RE: COURT ORDER OVERRIDING SHAREHOLDER VOTE



    2108335      RB                                595.00              $59.50               0.1

  11/9/2017 PREPARATION OF PLEADING AND FILE NOTICE OF INCREASED CURE AMOUNT PAYMENT TO
            WINDSPEED; LODGE ORDER APPROVING STIPULATION

    2109656      SR                                250.00             $150.00               0.6

 11/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING PAYMENT OF QUARTERLY FEES



    2107410      KJM                               535.00              $53.50               0.1

 11/12/2017 PREPARATION OF EMAIL EXCHANGE RE: UST FEES



    2108461      RB                                595.00              $59.50               0.1

 11/13/2017   SET COURT TELEPHONIC APPEARANCE VIA COURTCALL FOR LOUIS WHARTON RE
              NOVEMBER 15 HEARING (MULTI CALLS AND EMAILS)

    2107620      LC                                250.00              $50.00               0.2
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 11/13/2017   SET COURT TELEPHONIC APPEARANCES VIA COURTCALL FOR GEOFF GREULICH AND BEN
              PADNOS RE NOVEMBER 15 HEARING (MULTI CALLS AND EMAILS)

    2107621      LC                               250.00              $100.00               0.4

 11/13/2017 PREPARATION OF PLEADING AND FILE EMERGENCY BONUS MOTION



    2109661      SR                               250.00              $150.00               0.6

 11/13/2017 PREPARATION OF PLEADING AND FILE EMERGENCY MOTION TO EFFECTUATE NAME CHANGE



    2109665      SR                               250.00              $150.00               0.6

 11/14/2017 PREPARATION OF NUMEROUS WIRE TRANSFER LETTERS



    2107860      JK                               250.00              $500.00               2.0

 11/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING CEO AND CFO COMPENSATION AND ISSUES
            RE SAME

    2107737      KJM                              535.00               $53.50               0.1

 11/14/2017 ANALYSIS OF FILE AND COURT DOCKET; ORGANIZE AND PREPARE BINDERS FOR MULTIPLE
            11/14 HEARINGS

    2107883      LC                               250.00              $125.00               0.5

 11/14/2017   MULTIPLE CALLS AND EMAIL EXCHANGES WITH COURTROOM DEPUTY AND BRIGGS
              TRANSCRIPTION COMPANY RE 10/30 AUCTION AND RESOLVE ISSUES

    2107884      LC                               250.00              $100.00               0.4

 11/14/2017 ANALYSIS OF PROPOSED FORM OF 8-K FOR FILING WITH SEC; PREP OF CHANGES AND
            RELATED EMAIL EXCHANGE

    2108904      RB                               595.00              $238.00               0.4

 11/14/2017 PREPARATION OF PLEADING AND FILE SUPPLEMENT TO EMERGENCY MOTION TO
            EFFECTUATE NAME CHANGE

    2109666      SR                               250.00              $100.00               0.4

 11/15/2017 ANALYSIS OF ORDER AUTHORIZING NAME CHANGE AND MULTIPLE RELATED EMAILS; CONF
            WITH CLIENT

    2109007      RB                               595.00              $119.00               0.2

 11/15/2017 ANALYSIS OF EMAILS RE: FURTHER NAME CHANGE ISSUES AND 8-K WITH SEC



    2109008      RB                               595.00              $119.00               0.2

 11/15/2017 ANALYSIS OF FURTHER REVISED NAME CHANGE ORDER AND MULTIPLE RELATED EMAILS



    2109009      RB                               595.00              $119.00               0.2
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 11/15/2017 ANALYSIS OF NAME CHANGE LANGUAGE FROM RADIANS APA; PREP OF RELATED EMAIL
            EXCHANGE

    2109013      RB                                595.00             $178.50               0.3

 11/15/2017 ANALYSIS OF ENTERED ORDER AUTHORIZING DEBTORS TO EFFECTUATE NAME CHANGE;
            CONF WITH CLIENT

    2109024      RB                                595.00                $59.50             0.1

 11/15/2017 PREPARATION OF PLEADING AND LODGE ORDER ON EMERGENCY MOTION TO EFFECTUATE
            NAME CHANGE

    2109669      SR                                250.00                $50.00             0.2

 11/16/2017 ANALYSIS OF CORRESPONDENCE RE PAYMENT OF PRE-PETITION CLAIMS VIA MOTION PRIOR
            TO PLAN; PREPARATION OF CORRESPONDENCE RE SAME

    2108769      KJM                               535.00                $53.50             0.1

 11/16/2017 RESEARCH REGARDING CASELAW AUTHORIZING PAYMENT OF PRE-PETITION CLAIMS



    2108770      KJM                               535.00             $107.00               0.2

 11/16/2017   SET COURT TELEPHONIC APPEARANCES VIA COURTCALL FOR RB AND KJM RE NOVEMBER 17
              HEARINGS (MULTI CALLS AND EMAILS)

    2108711      LC                                250.00             $100.00               0.4

 11/16/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SHAREHOLDER SERVICE ISSUES, REVIEW
            AND PLANNING; CONF WITH CLIENT

    2109283      RB                                595.00             $119.00               0.2

 11/16/2017 ANALYSIS OF FURTHER UPDATED 8-K FOR SEC AND RELATED EMAILS



    2109286      RB                                595.00             $119.00               0.2

 11/16/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: NAME CHANGE ISSUES AND REVIEW



    2109291      RB                                595.00             $119.00               0.2

 11/16/2017 PREPARATION OF PLEADING AND LODGE ORDER ON EMERGENCY BONUS MOTION



    2109670      SR                                250.00                $50.00             0.2

 11/16/2017 PREPARATION OF PLEADING AND FILE SECOND SUPPLEMENT TO EMERGENCY MOTION TO
            EFFECTUATE NAME CHANGE

    2109672      SR                                250.00             $100.00               0.4

 11/17/2017 ANALYSIS OF PROPOSED CAPTION PAGE AND PREPARATION OF CORRESPONDENCE RE
            SAME

    2109597      KJM                               535.00                $53.50             0.1
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 11/17/2017 ANALYSIS OF CORRESPONDENCE RE CONFIRMATION OF NAME CHANGE



    2109600     KJM                                535.00                $53.50               0.1

 11/17/2017 PREPARATION OF ORDER ON NAME CHANGE MOTION AND PREPARATION OF
            CORRESPONDENCE RE SAME

    2109602     KJM                                535.00                $53.50               0.1

 11/17/2017 ANALYSIS OF CORRESPONDENCE REGARDING US TRUSTEE'S FEES



    2109603     KJM                                535.00                $53.50               0.1

 11/17/2017 ANALYSIS OF REQUEST FOR NOTICE FROM PENNSYLVANIA OFFICE OF UNEMPLOYMENT



    2109659     KJM                                535.00                $53.50               0.1

 11/17/2017 ANALYSIS OF EMAILS RE: NAME CHANGE ISSUES AND FINRA



    2109397     RB                                 595.00                $59.50               0.1

 11/17/2017 ANALYSIS OF ORDER APPROVING NAME CHANGE AND FORM OF CAPTION; PREP OF RELATED
            EMAIL EXCHANGE

    2109402     RB                                 595.00                $59.50               0.1

 11/17/2017 ANALYSIS OF NAME CHANGE FILING CERTIFIED IN NEVADA



    2109405     RB                                 595.00                $59.50               0.1

 11/17/2017 PREPARATION OF PLEADING AND LODGE ORDER ON FORM OF CAPTION



    2109673     SR                                 250.00                $50.00               0.2

 11/19/2017   CONFER WITH RB REGARDING OUTSTANDING CASE ISSUES AND RESOLUTION OF SAME



    2109623     KJM                                535.00                $53.50               0.1

 11/19/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING MOTION TO CEASE STOCK TRADING
            AND ISSUES RE SAME

    2109625     KJM                                535.00                $53.50               0.1

 11/19/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: ESTABLISHING A RECORD DATE FOR
            MAKING DISTRIBUTIONS TO SHAREHOLDERS

    2109429     RB                                 595.00               $119.00               0.2

 11/20/2017 TELEPHONE CONFERENCE WITH M PLISKIN RE SHAREHOLDERS OF RECORD AND ISSUES RE
            SAME

    2109633     KJM                                535.00                $53.50               0.1
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 11/20/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SHAREHOLDER LISTS;
            PREPARATION OF CORRESPONDENCE RE SAME

    2109634       KJM                             535.00                $53.50              0.1

 11/20/2017 PREPARATION OF UPDATED INSIDER COMPENSATION REQUEST FOR CEO



    2109646       KJM                             535.00               $107.00              0.2

 11/20/2017 ANALYSIS OF CORRESPONDENCE REGARDING CUBB INUSRANCE POLICY; PREPARATION OF
            CORRESPONDENCE RE SAME

    2109721       KJM                             535.00                $53.50              0.1

 11/20/2017 PREPARATION OF MOTION FOR AUTHORITY TO UPSTREAM MONEY FROM CA ENTITY TO NV
            ENTITY TO ENABLE NV ENTITY TO PAY ITS PROFESSIONAL FEES TO ACCOMMODATE
            REQUEST OF UST; ANALYSIS OF FILE
    2109788       RB                              595.00               $714.00              1.2

                                               Total                $93,615.00          194.3
     05   -   CLAIMS ADMIN. AND OBJECTIONS

   9/9/2017 PREPARATION OF EMAIL EXCHANGE WITH VAN RE: SKADDEN DEBT AND CASE FILING ISSUES



    2091385       RB                              595.00                $59.50              0.1

  9/10/2017 PREPARATION OF EMAIL EXCHANGE WITH VAN RE: SKADDEN CLAIM AND CASE STATUS AND
            REVIEW

    2091413       RB                              595.00                $59.50              0.1

  9/11/2017 TELEPHONE CONFERENCE WITH ORI KATZ RE: CASE REVIEW



    2091462       RB                              595.00               $238.00              0.4

  9/11/2017 ANALYSIS OF SHANKMAN EMAIL RE: CASE STATUS AND REVIEW



    2091482       RB                              595.00                $59.50              0.1

  9/14/2017 PREPARATION OF PROPOSED ORDER ON CLAIMS BAR DATE AND NOTICE OF CLAIMS BAR
            DATE

    2090157       KJM                             535.00               $535.00              1.0

  9/15/2017 PREPARATION OF NOTICE OF CLAIMS BAR DATE



    2090207       KJM                             535.00                $53.50              0.1

  9/15/2017 ANALYSIS OF BRENT WATERS EMAIL RE: RESOURCES GLOBAL



    2091645       RB                              595.00                $59.50              0.1
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  9/15/2017 PREPARATION OF PLEADING AND FILE AND SERVE NOTICE OF BAR DATE FOR FILING PROOFS
            OF CLAIM

    2093611   SR                                   250.00              $100.00               0.4

  9/15/2017 PREPARATION OF PLEADING AND FILE MOTION TO EXTEND DEADLINE TO FILE SCHEDULES;
            LODGE ORDER GRANTING MOTION TO EXTEND DEADLINE TO FILE SCHEDULES; SERVE
            MOTION AND FILE PROOF OF SERVICE OF MOTION
    2093613   SR                                   250.00              $200.00               0.8

  9/18/2017 PREPARATION OF CREDITOR MATRIX IN EXCEL FORMAT FOR INVESTMENT BANKER'S
            CONFLICT CHECK

    2090498   JK                                   250.00               $75.00               0.3

  9/19/2017 PREPARATION OF PLEADING SERVE NOTICE OF 341(A) MEETING OF CREDITORS AND FILE
            SUPPLEMENTAL PROOF OF SERVICE OF NOTICE IN BOTH CASES

    2093615   SR                                   250.00              $225.00               0.9

  9/20/2017 TELEPHONE CONFERENCE WITH ORI KATZ RE: OVERALL CASE REVIEW



    2092637   RB                                   595.00              $238.00               0.4

  9/21/2017 ANALYSIS OF PROOF OF CLAIM FILED BY THREE PART ADVISORS



    2091838   KJM                                  535.00               $53.50               0.1

  9/21/2017 ANALYSIS OF PROOFS OF CLAIM FILED BY CREDITORS



    2092172   MYK                                  575.00              $115.00               0.2

  9/22/2017 ANALYSIS OF IPFS PROOF OF CLAIM



    2092175   KJM                                  535.00               $53.50               0.1

  9/22/2017 ANALYSIS OF PROOF OF CLAIM FILED BY ADVANTAGE MEDIA SERVICES



    2092952   KJM                                  535.00               $53.50               0.1

  9/26/2017 ANALYSIS OF EMAILS FROM ELIZA YANG RE: CLAIM ISSUES AND CASE STATUS



    2094722   RB                                   595.00               $59.50               0.1

  9/26/2017 PREPARATION OF PLEADING AND FILE AMENDED MASTER MAILING LIST



    2093618   SR                                   250.00              $125.00               0.5

  9/27/2017 ANALYSIS OF PROOF OF CLAIM FILED BY THREE PART ADVISORS; COMPARE TO PRIOR CLAIM
            FILED BY SAME CREDITOR

    2093828   KJM                                  535.00               $53.50               0.1
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  9/27/2017 ANALYSIS OF PROOF OF CLAIM FILED BY RESOURCES GLOBAL PROFESSIONALS AND
            SERVICE AGREEMENTS ATTACHED THERETO

    2093831     KJM                                 535.00               $53.50               0.1

  9/28/2017 ANALYSIS OF PROOFS OF CLAIM FILED BY INTERNAL REVENUE SERVICE



    2094189     KJM                                 535.00               $53.50               0.1

  9/29/2017 ANALYSIS OF CORRESPONDENCE FROM CREDITOR REGARDING COLLECTION OF DEBT AND
            ISSUES RE SAME

    2094350     KJM                                 535.00               $53.50               0.1

  9/29/2017 ANALYSIS OF LETTER FROM CREDITORS ADJUSTMENT BUREAU RE: ASSIGNMENT OF
            WINDSPEED SPORTS CLAIM

    2094996     RB                                  595.00               $59.50               0.1

  9/29/2017 PREPARATION OF PLEADING AND FILE SCHEDULES, SOFA, AND REQUIRED DOCUMENTS FOR
            BOTH DEBTORS

    2096388     SR                                  250.00              $400.00               1.6

  10/1/2017 PREPARATION OF EMAIL EXCHANGE WITH NANTONG RE: STATUS OF BANKRUPTCY CASE AND
            ITS CLAIM

    2101424     RB                                  595.00               $59.50               0.1

  10/1/2017 ANALYSIS OF WINDSPEED COLLECTION LETTER AND PREP OF MULTIPLE RELATED EMAIL
            EXCHANGE

    2101425     RB                                  595.00              $119.00               0.2

  10/2/2017 ANALYSIS OF CORRESPONDENCE REGARDING CLAIM ANALYSIS AND ISSUES RE SAME



    2104071     KJM                                 535.00               $53.50               0.1

  10/2/2017 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS ISSUES AND REVIEW; CONF WITH CLIENT



    2101452     RB                                  595.00              $119.00               0.2

  10/2/2017   SERVE SUPPLEMENTAL SERVICE LIST WITH NOTICE OF CLAIMS BAR DATE AND ORDER



    2098188     SR                                  250.00              $125.00               0.5

  10/3/2017 ANALYSIS OF CLAIM ANALYSIS CHART



    2095708     KJM                                 535.00               $53.50               0.1

  10/3/2017 ANALYSIS OF PROOFS OF CLAIM FILED BY JEFFREY CORDES AND WILLIAN AISENBERG



    2095726     KJM                                 535.00               $53.50               0.1
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  10/3/2017 ANALYSIS OF POCS FILED BY CREDITORS



    2096398   MYK                                  575.00              $115.00              0.2

  10/3/2017 PREPARATION OF CLAIMS CHART



    2098218   SR                                   250.00              $300.00              1.2

  10/9/2017 ANALYSIS OF PROOF OF CLAIM FILED BY TXU ENERGY RETAIL



    2097581   KJM                                  535.00                 $53.50            0.1

 10/10/2017 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS ISSUES AND REVIEW; CONF WITH MATT



    2101844   RB                                   595.00              $119.00              0.2

 10/11/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE CLAIMS ISSUES AND REVIEW; CONF WITH
            MATT

    2101868   RB                                   595.00              $119.00              0.2

 10/11/2017 PREPARATION OF EMAIL EXCHANGE RE: SAM CLAIM AND EMPLOYMENT SCOPE; CONF WITH
            SCOTT

    2101870   RB                                   595.00                 $59.50            0.1

 10/12/2017 ANALYSIS OF EMAILS RE: TOTAL DEBT; CONF WITH GEOFF AND MATT



    2101913   RB                                   595.00              $178.50              0.3

 10/13/2017 PREPARATION OF CLAIM ANALYSIS CHART; PREPARATION OF CORRESPONDENCE RE SAME



    2104179   KJM                                  535.00              $107.00              0.2

 10/13/2017 ANALYSIS OF CORRESPONDENCE REGARDING CLAIM BAR DATE AND ISSUES RE SAME



    2104181   KJM                                  535.00                 $53.50            0.1

 10/13/2017 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS ISSUES AND REVIEW; CONF WITH MATT



    2101937   RB                                   595.00              $119.00              0.2

 10/13/2017 PREPARATION OF EMAIL EXCHANGE WITH CATHERINE RE: WINDSPEED CLAIM



    2101938   RB                                   595.00                 $59.50            0.1

 10/13/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: TOTAL CLAIMS; ANALYSIS OF FILE



    2101939   RB                                   595.00              $178.50              0.3
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 10/13/2017 ANALYSIS OF MULTIPLE CLAIMS ISSUES AND RELATED DOCS AND EMAILS



    2101946   RB                                   595.00                $59.50             0.1

 10/13/2017 PREPARATION OF CLAIMS CHART RE RECENTLY FILED CLAIMS



    2100965   SR                                   250.00                $75.00             0.3

 10/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF FILED CLAIMS AND CLAIM
            ADMINISTRATION ISSUES

    2104197   KJM                                  535.00                $53.50             0.1

 10/14/2017 ANALYSIS OF CLAIMS CHART AND FILE; PREP OF MEMO TO CLIENT



    2101950   RB                                   595.00               $238.00             0.4

 10/14/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: CLAIMS ISSUES AND REVIEW; ANALYSIS
            OF FILE

    2101952   RB                                   595.00               $119.00             0.2

 10/15/2017 ANALYSIS OF COMMUNICATIONS REGARDING CLAIMS



    2099329   MYK                                  575.00               $115.00             0.2

 10/16/2017 ANALYSIS OF PROOFS OF CLAIM FILED BY GT GRAPHICS



    2104207   KJM                                  535.00                $53.50             0.1

 10/16/2017 ANALYSIS OF PROOF OF CLAIM FILED BY AMSTER ROTHSTEIN



    2104211   KJM                                  535.00                $53.50             0.1

 10/16/2017 ANALYSIS OF PROOF OF CLAIM FILED BY WINDSPEED



    2104219   KJM                                  535.00                $53.50             0.1

 10/16/2017 ANALYSIS OF MULTIPLE EMAILS RE: CLAIM OF AMS FULFILLMENT; CONF WITH MATT



    2101981   RB                                   595.00                $59.50             0.1

 10/16/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE CLAIMS ISSUES AND REVIEW; CONF WITH
            MATT

    2101989   RB                                   595.00               $178.50             0.3

 10/16/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: CLAIMS ISSUES AND REVIEW; CONF WITH
            CLIENT

    2101990   RB                                   595.00               $178.50             0.3
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 10/16/2017 ANALYSIS OF PROPERTY TAX INVOICE AND RELATED EMAILS



    2101996     RB                                   595.00              $59.50              0.1

 10/17/2017 ANALYSIS OF TRANSFER OF NET PACK CLAIM



    2104318     KJM                                  535.00              $53.50              0.1

 10/17/2017 ANALYSIS OF PROOF OF CLAIM FILED BY CHERYL WASHINGTON



    2104365     KJM                                  535.00              $53.50              0.1

 10/17/2017 ANALYSIS OF CHART, EMAIL TO COUNSEL ALL UNSCHEDULED PROOF OF CLAIMS FILED IN CA
            AND NV CASES

    2099317     LC                                   250.00             $200.00              0.8

 10/17/2017 ANALYSIS OF MULTIPLE CLAIMS ISSUES AND REVIEW; PREP OF RELATED EMAIL EXCHANGE;
            CONF WITH MATT

    2102030     RB                                   595.00             $178.50              0.3

 10/18/2017 ANALYSIS OF PROOF OF CLAIM FILED BY CIS AND CIS AGREEMENT



    2100170     KJM                                  535.00              $53.50              0.1

 10/18/2017 ANALYSIS OF PROOFS OF CLAIM FILED BY WINDSTREAM AND BNSF



    2100171     KJM                                  535.00              $53.50              0.1

 10/18/2017 ANALYSIS OF PROOF OF CLAIM FILED BY WONNELL



    2100172     KJM                                  535.00              $53.50              0.1

 10/18/2017 ANALYSIS OF PROOFS OF CLAIM AND CLAIMS REGISTER



    2099782     MYK                                  575.00             $172.50              0.3

 10/18/2017 PREPARATION OF EMAL EXCHANGE RE: CLAIMS ISSUES AND REVIEW; CONF WTIH MATT



    2102055     RB                                   595.00             $178.50              0.3

 10/18/2017 TELEPHONE CONFERENCE WITH JEFF RE: SKADDEN CLAIM



    2102073     RB                                   595.00              $59.50              0.1

 10/19/2017   INPUT NEW CREDITORS INTO SCHEDULE F IN BESTCASE



    2101032     SR                                   250.00             $375.00              1.5
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 10/20/2017 ANALYSIS OF CORRESPONDENCE FROM POTENTIAL CREDITOR; ANALYSIS OF SCHEDULE F;
            PREPARATION OF RESPONSE THERETO

    2100146   KJM                                  535.00                 $53.50             0.1

 10/20/2017 ANALYSIS OF SELECT AISENBERG AND CORDES EMPLOYMENT AGREEMENTS AND
            CORRESPONDENCE RE SAME

    2100148   KJM                                  535.00                $107.00             0.2

 10/20/2017 ANALYSIS OF PROOFS OF CLAIM FILED BY CHANG BANG GLOVES



    2100151   KJM                                  535.00                 $53.50             0.1

 10/20/2017 ANALYSIS OF PROOF OF CLAIM FILED BY CRG FINANCIAL



    2100153   KJM                                  535.00                 $53.50             0.1

 10/20/2017 ANALYSIS OF CORRESPONDENCE FROM SKADDEN REGARDING PROOF OF CLAIM



    2100156   KJM                                  535.00                 $53.50             0.1

 10/20/2017 ANALYSIS OF GRAINGER PROOF OF CLAIM; PREPARATION OF CORRESPONDENCE RE SAME



    2100202   KJM                                  535.00                $107.00             0.2

 10/20/2017 ANALYSIS OF CREDITOR INQUIRIES AS TO CLAIMS, AND FILED POC



    2100248   MYK                                  575.00                $172.50             0.3

 10/20/2017 TELEPHONE CONFERENCE W/ CLIENT MATT RE: OVERALL CLAIMS ANALYSIS AND REVIEW



    2102129   RB                                   595.00                $178.50             0.3

 10/20/2017 ANALYSIS OF SKADDEN LETTER AND CLAIM; CONF WITH GEOFF



    2102143   RB                                   595.00                 $59.50             0.1

 10/20/2017 PREPARATION OF PLEADING REVISE IN BESTCASE SCHEDULE F; FILE AND SERVE AMENDED
            SCHEDULE F

    2100981   SR                                   250.00                $200.00             0.8

 10/20/2017 PREPARATION OF PLEADING REVISE IN BESTCASE SCHEDULE G; FILE AND SERVE AMENDED
            SCHEDULE G

    2101044   SR                                   250.00                $300.00             1.2

 10/20/2017 REVIEW AND REVISE CLAIMS ANALYSIS CHART WITH AMENDED SCHEDULE F AND RECENTLY
            FILED PROOFS OF CLAIM

    2101046   SR                                   250.00                $100.00             0.4
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 10/22/2017 ANALYSIS OF GRAINGER CLAIM; CONF WITH GEOFF; PREP OF RELATED EMAIL EXCHANGE



    2102171   RB                                   595.00               $238.00               0.4

 10/23/2017 ANALYSIS OF UPDATED CLAIMS AND RELATED COMMUNICATIONS AS TO DISCREPANCIES



    2100320   MYK                                  575.00               $172.50               0.3

 10/23/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: GRAINGER CLAIM DISPUTE; CONF WITH
            CLIENT

    2103040   RB                                   595.00               $297.50               0.5

 10/23/2017 ANALYSIS OF TANIA EMAIL RE: GRAINGER CLAIM ISSUES



    2103062   RB                                   595.00                $59.50               0.1

 10/23/2017 ANALYSIS OF SKADDEN CLAIM; CONF WITH VAN



    2103064   RB                                   595.00                $59.50               0.1

 10/23/2017 ANALYSIS OF MULTIPLE CLAIMS ISSUES; PREP OF RELATED EMAIL EXCHANGE; CONF WITH
            MATT

    2103066   RB                                   595.00               $178.50               0.3

 10/23/2017 REVIEW AND REVISE CLAIMS ANALYSIS CHART WITH AMENDED SCHEDULE F AND RECENTLY
            FILED PROOFS OF CLAIM

    2101047   SR                                   250.00               $100.00               0.4

 10/24/2017 ANALYSIS OF ADDITIONAL POCS FILED BY CREDITORS AND ALL COMMUNICATIONS
            REGARDING CLAIMS AND ISSUES THEREWITH

    2100621   MYK                                  575.00               $287.50               0.5

 10/24/2017 ANALYSIS OF GEOFF MEMO TO GRAINGER RE: DAMAGE CLAIM DISPUTE AND RELATED DOCS
            AND FINANCIAL ANALYSIS; CONF WITH GEOFF

    2103077   RB                                   595.00               $238.00               0.4

 10/24/2017 ANALYSIS OF MULTIPLE EMAILS RE: AMS CLAIM DISPUTE ISSUES AND POSSIBLE RESOLUTION



    2103098   RB                                   595.00                $59.50               0.1

 10/25/2017 PREPARATION OF MULTIPLE EMAILS RE: FURTHER INSIDER COMP AND BONUS ISSUES; CONF
            WITH GEOFF

    2103127   RB                                   595.00               $178.50               0.3

 10/25/2017 ANALYSIS OF INITIAL REJECTION DAMAGES ANALYSIS AND RELATED EMAILS AND FILE



    2103131   RB                                   595.00               $178.50               0.3
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 10/26/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYEE CLAIMS ISSUES AND REVIEW; CONF WITH
            CLIENT

    2103728   RB                                   595.00              $178.50               0.3

 10/26/2017 ANALYSIS OF MULTIPLE EMAILS RE: CONTRACT CURE AMOUNTS; CONF WITH GEOFF



    2103734   RB                                   595.00              $178.50               0.3

 10/26/2017 PREPARATION OF AMENDED SCHEDULE F



    2105006   SR                                   250.00                  $50.00            0.2

 10/27/2017 PREPARATION OF CLAIM ANALYSIS CHART



    2104709   KJM                                  535.00              $535.00               1.0

 10/27/2017 ANALYSIS OF UPDATED CLAIMS CHART AND FILE; CONF WITH CLIENT



    2104037   RB                                   595.00              $238.00               0.4

 10/27/2017 PREPARATION OF PLEADING FILE AND SERVE FURTHER AMENDED SCHEDULE F



    2105012   SR                                   250.00              $175.00               0.7

 10/28/2017 ANALYSIS OF FURTHER UPDATED CLAIMS CHART; PREP OF RELATED EMAIL EXCHANGE



    2104064   RB                                   595.00              $178.50               0.3

 10/31/2017 REVISE CLAIMS ANALYSIS CHART



    2105054   SR                                   250.00                  $75.00            0.3

  11/1/2017 ANALYSIS OF CORRESPONDENCE FROM CREDITOR REGARDING CLAIM AMOUNT
            DISCREPANCY; ANALYSIS OF PROOF OF CLAIM

    2105302   KJM                                  535.00                  $53.50            0.1

  11/1/2017 ANALYSIS OF RADIANS FILED CLAIMS; CONF WITH MATT



    2105536   RB                                   595.00              $119.00               0.2

  11/1/2017 PREPARATION OF PLEADING AND FILE NOTICE OF SALE ORDER RE BBI



    2106783   SR                                   250.00              $125.00               0.5

  11/2/2017 ANALYSIS OF CA DEPT OF TAX AND FEE ADM LETTER RE: TAX ISSUES



    2105570   RB                                   595.00                  $59.50            0.1
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  11/6/2017 ANALYSIS OF CLAIMS OF COMMITTEE MEMBERS; PREPARATION OF CORRESPONDENCE RE
            STATUS OF SUCH CLAIMS; ANALYSIS OF CORRESPONDENCE RE SAME

    2105820   KJM                                 535.00              $107.00                0.2

  11/6/2017 ANALYSIS OF CORRESPONDENCE TO M PLISKIN REGARDING CLAIM ANALYSIS ISSUES AND
            OBJECTION PREPARATION

    2105822   KJM                                 535.00               $53.50                0.1

  11/6/2017 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS DISPUTES AND OBJECTIONS



    2108186   RB                                  595.00              $119.00                0.2

  11/6/2017 PREPARATION OF EMAIL EXCHANGE RE: CURE CLAIM PAMENTS AT CLOSING; ANALYSIS OF
            FILE

    2108187   RB                                  595.00              $119.00                0.2

  11/6/2017 ANALYSIS OF WINDSPEED CLAIM AND AMOUNT DISCREPANCY



    2108204   RB                                  595.00               $59.50                0.1

  11/7/2017 ANALYSIS OF CORRESPONDENCE REGARDING WINDSPEED PROOF OF CLAIM AND CLAIM
            RECONCILIATION

    2108620   KJM                                 535.00               $53.50                0.1

  11/7/2017 ANALYSIS OF WINSPEED PROOF OF CLAIM



    2106453   MYK                                 575.00               $57.50                0.1

  11/7/2017 PREPARATION OF SCHEDULE OF CURE AMOUNTS AND RELATED EMAIL EXCHANGE; CONF
            WITH MATT

    2108252   RB                                  595.00              $238.00                0.4

  11/7/2017 ANALYSIS OF MULTIPLE EMAILS RE: WINDSPEED CLAIM ISSUES AND INCREASE IN AMOUNT



    2108271   RB                                  595.00               $59.50                0.1

  11/8/2017 ANALYSIS OF NEGARA EMAIL RE: MEERCINDO CLAIM ISSUES AND REVIEW



    2108293   RB                                  595.00               $59.50                0.1

  11/9/2017 PREPARATION OF NOTICE OF INCREASED DESIGNATED CURE AMOUNT PAYMENT TO
            WINDSPEED SPORTS AND ORDER AND RELATED EMAL EXCHANGE; CONF WITH MATT;
            ANALYSIS OF PROOF OF CLAIM AND BANKRUPTCY SCHEDULES
    2108319   RB                                  595.00              $416.50                0.7

  11/9/2017 ANALYSIS OF DESIGNATED CURE AMOUNT SCHEDULE FROM CLIENT AND PAYMENT
            INSTRUCTIONS; CONF WITH MATT TO REVIEW

    2108326   RB                                  595.00              $178.50                0.3
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 11/12/2017 PREPARATION OF EMAIL EXCHANGE WITH GRAINGER COUNSEL RE: CURE PAYMENT



    2108466   RB                                  595.00                $59.50              0.1

 11/13/2017 ANALYSIS OF CLAIM ASSERTED BY FORMER DIRECTOR OF DEBTORS AND
            CORRESPONDENCE RE SAME

    2107733   KJM                                 535.00                $53.50              0.1

 11/13/2017 ANALYSIS OF ORDER REGARDING WINDSPEED AND DISCUSSIONS ON OTHER CLAIMS/CURES



    2107641   MYK                                 575.00               $115.00              0.2

 11/13/2017 ANALYSIS OF WINDSPPED INCREASED CLAIM ORDER



    2108534   RB                                  595.00                $59.50              0.1

 11/13/2017 ANALYSIS OF FURTHER UPDATED CLAIMS CHART; CONF WITH MATT



    2108535   RB                                  595.00               $238.00              0.4

 11/13/2017 ANALYSIS OF PETE BLOOMER INVOICE AND MATT EMAIL; CONF WITH MATT



    2108539   RB                                  595.00                $59.50              0.1

 11/14/2017 PREPARATION OF CHECKS FROM TRUST ACCOUNT AND VARIOUS ISSUES THERETO



    2107876   JK                                  250.00               $500.00              2.0

 11/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING CLAIMS ASSERTED AFTER BAR DATE AND
            ISSUES RE SAME

    2107735   KJM                                 535.00                $53.50              0.1

 11/14/2017 ANALYSIS OF BLOOMER CONSULTING AGREEMENT AND ISSUES RE CLAIM RELATED THERETO



    2107739   KJM                                 535.00                $53.50              0.1

 11/14/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: PETE BLOOMER CLAIM; CONF WITH MATT



    2108818   RB                                  595.00               $119.00              0.2

 11/14/2017 TELEPHONE CONFERENCE WITH TANIA RE: PLANNING FOR HEARING AND SUBSEQENT
            PAYMENT OF REMAINING CLAIMS

    2108893   RB                                  595.00               $178.50              0.3

 11/14/2017 ANALYSIS OF UPDATED SCHEDULE OF CURE AMOUNTS; CONF WITH MATT



    2108897   RB                                  595.00               $119.00              0.2
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 11/14/2017 PREPARATION OF FOR PAYMENTS OF CLOSING AMOUNTS; PRPE OF MULTIPLE RELATED
            EMAIL EXCHANGE AND CORRESPONDENCE; CONF WITH MATT AND REVIEW ALL FILE

    2108909   RB                                   595.00             $476.00               0.8

 11/15/2017 PREPARATION OF WIRE TRANSFERS AND CHECKS



    2107925   JK                                   250.00             $575.00               2.3

 11/15/2017 TELEPHONE CONFERENCE WITH MATT RE: PLANNING AND COORDINATING SALE CLOSING
            CREDITOR DISTRIBUTIONS; PREP OF MULTIPLE RELATED CORRESPONDENCE AND EMAILS;
            ANALYSIS OF CHARTS
    2109001   RB                                   595.00             $535.50               0.9

 11/16/2017 PREPARATION OF NEW WIRE TRANSFER LETTERS RE DESUN GARMETS AND CALLS TO BANK
            RE CHANG BANG GLOVES

    2108488   JK                                   250.00             $200.00               0.8

 11/16/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SKADDEN PRE-PETITION BILLS



    2108764   KJM                                  535.00              $53.50               0.1

 11/16/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SALE CLOSING PAYMENTS AND REVIEW



    2109270   RB                                   595.00             $119.00               0.2

 11/16/2017 PREPARATION OF EMAIL EXCHANGE RE: CREDITOR PAYMENT ISSUES AND REVIEW; CONF
            WITH MATT

    2109279   RB                                   595.00             $119.00               0.2

 11/17/2017 ANALYSIS OF CORRESPONDENCE REGARDING SKADDEN PROOF OF CLAIM; PREPARATION OF
            CORRESPONDENCE RE SAME

    2109611   KJM                                  535.00              $53.50               0.1

 11/17/2017 ANALYSIS OF CORRESPONDENCE FROM DIRECTOR REGARDING PETE BLOOMER CLAIMS



    2109616   KJM                                  535.00              $53.50               0.1

 11/17/2017 ANALYSIS OF BEN EMAIL RE: BLOOMER CLAIM DISPUTE



    2109418   RB                                   595.00              $59.50               0.1

 11/18/2017 ANALYSIS OF CORRESPONDENCE REGARDING PAYMENT OF CURE CLAIMS



    2109618   KJM                                  535.00              $53.50               0.1

 11/18/2017 ANALYSIS OF PROPOSED STIPULATIONS REGARDING RESOLUTION OF GRAINGER REJECTION
            CLAIMS AND CORRESPONDENCE RE SAME

    2109619   KJM                                  535.00             $160.50               0.3
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 11/18/2017 ANALYSIS OF CORRESPONDENCE TO DIRECTORS REGARDING CLAIM DISPUTE AND
            RESOLUTION PROCESS

    2109621      KJM                               535.00               $53.50               0.1

 11/20/2017 PREPARATION OF CLAIM ANALYSIS AND PAYMENT CHART AND CORRESPONDENCE RE SAME



    2109627      KJM                               535.00              $642.00               1.2

 11/20/2017 ANALYSIS OF PROOFS OF CLAIM THAT DO NOT RECONICLE WITH SCHEDULED CLAIMS



    2109645      KJM                               535.00              $160.50               0.3

 11/20/2017 ANALYSIS OF CLAIMS CHART AND FILE; PREP OF MULTIPLE RELATED EMAIL EXCHANGE



    2109787      RB                                595.00              $297.50               0.5

 11/20/2017 PREPARATION OF MOTION FOR AUTHORITY TO PAY UNDISPUTED PRE-PETITION CLAIMS AND
            TO ESTABLISH PROTOCOL FOR DOING SO; ANALSYSI OF FILE AND CLAIMS CHART

    2109789      RB                                595.00             $1,071.00              1.8

                                                Total               $21,073.00              47.0
     07   -   FEE / EMPLOYMENT APPLICATIONS

   9/8/2017 ANALYSIS OF ENGAGEMENT LETTER FOR INVESTMENT BANKER



    2088325      JPF                               535.00              $749.00               1.4

   9/8/2017 PREPARATION OF CORRESPONDENCE TO INVESTMENT BANKER STEVE RICKMAN RE:
            EMPLOYMENT APPLICATION

    2088374      JPF                               535.00              $160.50               0.3

   9/8/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING APPLICATION TO EMPLOY
            INVESTMENT BANKER

    2088879      KJM                               535.00               $53.50               0.1

   9/8/2017    EMAIL EXCHANGE REGARDING APPLICATION TO EMPLOY SPECIAL COUNSEL



    2088880      KJM                               535.00               $53.50               0.1

   9/8/2017 ANALYSIS OF SAM RETENTION AGREEMENT AND CORRESPONDENCE RE SAME



    2088887      KJM                               535.00              $107.00               0.2

   9/8/2017 PREPARATION OF EMAIL EXCHANGE RE: INVESTMENT BANKER EMPLOYMENT ISSUES; CONF
            WITH GEOFF

    2091280      RB                                595.00              $119.00               0.2
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   9/8/2017 PREPARATION OF EMAIL EXCHANGE RE: EMPLOYMENT OF SAM AS SPECIAL COUNSEL



    2091281   RB                                  595.00               $59.50              0.1

   9/9/2017 PREPARATION OF EMPLOYMENT APPLICATION FOR CRAIG-HALLUM



    2088405   JPF                                 535.00             $1,230.50             2.3

   9/9/2017 ANALYSIS OF CRAIG HALLUM CAPITAL INVESTMENT BANKER ENGAGEMENT AGREEMENT



    2091373   RB                                  595.00              $119.00              0.2

  9/10/2017 PREPARATION OF EMAIL EXCHANGE WITH SAM RE: BILLINGS ISSUES AND REVIEW



    2091417   RB                                  595.00               $59.50              0.1

  9/11/2017 PREPARATION OF EMPLOYMENT APPLICATION FOR CRAIG-HALLUM



    2088404   JPF                                 535.00             $1,070.00             2.0

  9/11/2017 PREPARATION OF EMPLOYMENT APPLICATION FOR CRAIG-HALLUM



    2088406   JPF                                 535.00              $909.50              1.7

  9/11/2017 PREPARATION OF CORRESPONDENCE TO STEVE RICKMAN RE: EMPLOYMENT APPLICATION
            FOR CRAIG-HALLUM

    2088742   JPF                                 535.00              $214.00              0.4

  9/11/2017 ANALYSIS OF PROPOSED REVISIONS TO INVESTMENT BANKER RETENTION AGREEMENT



    2088921   KJM                                 535.00               $53.50              0.1

  9/11/2017 ANALYSIS OF APPLICATION TO EMPLOY INVESTMENT BANKER; PREPARATION OF
            CORRESPONDENCE RE SAME

    2088922   KJM                                 535.00              $107.00              0.2

  9/11/2017 ANALYSIS OF EMPLOYMENT APPLICATION AND RELATED EMAILS ON INVESTMENT BANKER



    2088798   MYK                                 575.00              $287.50              0.5

  9/11/2017 ANALYSIS OF CRAIG HALLUM ENGAGEMENT AGREEMENT; PREP OF RELATED EMAIL
            EXCHANGE; CONF WITH CLIENT

    2091444   RB                                  595.00              $357.00              0.6

  9/11/2017 PREPARATION OF CRAIG HALLUM EMPLOYMENT APPLICATION AND RELATED EMAIL
            EXCHANGE

    2091483   RB                                  595.00              $178.50              0.3
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  9/12/2017 ANALYSIS OF CORRESPONDENCE FROM STEVE RICKMAN RE: EMPLOYMENT APPLICATION



    2088936   JPF                                535.00                $53.50               0.1

  9/12/2017 PREPARATION OF CORRESPONDENCE TO STEVE RICKMAN RE: EMPLOYMENT APPLICATION



    2088937   JPF                                535.00                $53.50               0.1

  9/12/2017 PREPARATION OF SAM EMPLOYMENT APPLICATION



    2089003   KJM                                535.00               $856.00               1.6

  9/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING INVESTMENT BANKER EMPLOYMENT
            APPLICATION AND STATUS OF SAME

    2089103   KJM                                535.00                $53.50               0.1

  9/12/2017 ANALYSIS OF SAM PRE-PETITION RETENTION AGREEMENT



    2089157   KJM                                535.00               $107.00               0.2

  9/12/2017 ANALYSIS OF SAM CONNECTIONS WITH DEBTORS



    2089158   KJM                                535.00               $107.00               0.2

  9/12/2017 ANALYSIS OF EMPLOYMENT APPLICATION FOR CRAIG HALLUM AND RELATED EMAILS,
            COMMUNICATIONS

    2089275   MYK                                575.00               $230.00               0.4

  9/13/2017 ANALYSIS OF CORRESPONDENCE REGARDING SAM EMPLOYMENT APPLICATION



    2090148   KJM                                535.00                $53.50               0.1

  9/14/2017 ANALYSIS OF CASELAW REGARDING EMPLOYMENT PURSUANT TO 327(E)



    2090196   KJM                                535.00               $267.50               0.5

  9/14/2017 PREPARATION OF APPLICATION TO EMPLOY SAM AS CORPORATE AND LITIGATION COUNSEL



    2090197   KJM                                535.00               $374.50               0.7

  9/14/2017 ANALYSIS OF EMPLOYMENT APPS FOR SAM, CRAIG HALLUM, RELATED EMAILS



    2090045   MYK                                575.00               $345.00               0.6

  9/14/2017 PREPARATION OF SAM EMPLOYMENT APPLICATION



    2091624   RB                                 595.00               $178.50               0.3
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  9/14/2017 PREPARATION OF EMAIL ECHANGE RE: BDO AND TAX RETURNS; CONF WITH MATT



    2091632      RB                               595.00             $119.00               0.2

  9/15/2017 ANALYSIS OF CONFLICT CHECK FOR HIRING CRAIG-HALLUM FOR EMPLOYMENT APPLICATION



    2090032     JPF                               535.00             $160.50               0.3

  9/15/2017   EMAIL EXCHANGE AND ANALYSIS OF RELATED CORRESPONDENCE REGARDING SAM
              EMPLOYMENT APPLICATION

    2090208      KJM                              535.00                $53.50             0.1

  9/15/2017 ANALYSIS OF DRAFTS AND COMMUNICATIONS REGARDING EMPLOYMENT APPLICATIONS FOR
            CORPORATE COUNSEL AND INVESTMENT BANKERS

    2090322      MYK                              575.00             $345.00               0.6

  9/15/2017 PREPARATION OF EMAIL EXCHANGE RE: SAM EMPLOYMENT ISSUES AND REVIEW



    2091636      RB                               595.00                $59.50             0.1

  9/17/2017 ANALYSIS OF RICKMAN MODIFICATIONS TO APPLICATION TO EMPLOY INVESTMENT BANKER



    2090497      KJM                              535.00             $107.00               0.2

 09/17/2017 ANALYSIS OF COMMUNICATIONS AND DOCUMENTS REGARDING CH EMPLOYMENT
            APPLICATION

    2090318      MYK                              575.00             $115.00               0.2

  9/17/2017 ANALYSIS OF CRAIG HALLUM EMPLOYMENT APPLICATION AND RELATED EMAILS



    2091686      RB                               595.00             $119.00               0.2

  9/19/2017   EMAIL EXCHANGE REGARDING APPLICATION TO EMPLOY SAM



    2090942      KJM                              535.00                $53.50             0.1

  9/19/2017 ANALYSIS OF SAM EMPLOYMENT APPLICATION AND RELATED EMAILS



    2091097      MYK                              575.00             $230.00               0.4

  9/20/2017 ANALYSIS OF REVISIONS TO SAM EMPLOYMENT APPLICATION AND CORRESPONDENCE FROM
            L WHARTON RE SAME

    2091821      KJM                              535.00             $107.00               0.2

  9/20/2017 ANALYSIS OF SAM APPLICATION REVISIONS, AMOUNTS OWED



    2091752      MYK                              575.00             $172.50               0.3
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  9/20/2017 ANALYSIS OF SAM CHANGES TO SAM EMPLOYMENT APPLICATION AND RELATED EMAILS



    2092658   RB                                   595.00              $59.50                0.1

  9/21/2017 ANALYSIS OF CORRESPONDENCE REGARDING APPLICATION TO EMPLOY FINANCIAL ADVISOR



    2091836   KJM                                  535.00              $53.50                0.1

  9/21/2017 ANALYSIS OF APPLICATION TO EMPLOY CORPORATE COUNSEL, TRADEMARK PROSECUTION
            COSTS AND ALL RELATED EMAILS AND COMMUNICATIONS

    2092162   MYK                                  575.00             $345.00                0.6

  9/21/2017 ANALYSIS OF RICKMAN AND OTHERS REGARDING STATUS OF C&H EMPLOYMENT
            APPLICATION

    2092169   MYK                                  575.00             $115.00                0.2

  9/22/2017 ANALYSIS OF LNBYB EMPLOYMENT APPLICATION AND CORRESPONDENCE RE SAME



    2092167   KJM                                  535.00              $53.50                0.1

  9/22/2017 PREPARATION OF NOTICE OF LNBYB EMPLOYMENT APPLICATION



    2092339   KJM                                  535.00             $214.00                0.4

  9/22/2017 PREPARATION OF APPLICATION TO EMPLOY LNBYB AND NOTICE; REVISE AND E-FILE; PPO
            EXHIBITS AND SERVICE LISTS

    2092806   LC                                   250.00             $500.00                2.0

  9/22/2017 ANALYSIS OF NOTICE OF APPOINTMENT OF OFFICIAL EQUITY HOLDERS CREDITORS, SERVE
            SAME WITH LNBYB NOTICE OF EMPLOYMENT AND FILE SUPPLEMENTAL PROOF OF SERVICE

    2092807   LC                                   250.00              $75.00                0.3

  9/22/2017 ANALYSIS OF LNBYB EMPLOYMENT APPLICATION, NOTICE AND DECLARATION, SERVICE AND
            RELATED MATTERS

    2092458   MYK                                  575.00             $287.50                0.5

  9/22/2017 PREPARATION OF LNBYB EMPLOYMENT APPLICATION AND RB DECLARATION; ANALYSIS OF
            FILE AND CLIENT COMMENTS; PREP OF CHANGES AND RELATED EMAIL EXCHANGE

    2092706   RB                                   595.00             $892.50                1.5

  9/23/2017 ANALYSIS OF COMMUNICATIONS WITH OCC REGARDING NEED FOR FA



    2092666   MYK                                  575.00             $115.00                0.2

  9/26/2017 ANALYSIS OF PROPOSED REVISIONS TO EMPLOYMENT APPLICATION FOR CRAIG-HALLUM



    2093220   JPF                                  535.00             $374.50                0.7
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  9/26/2017 PREPARATION OF CORRESPONDENCE TO CRAIG-HALLUM RE: EXHIBITS TO EMPLOYMENT
            APPLICATION

    2093229      JPF                               535.00             $160.50               0.3

  9/26/2017 PREPARATION OF APPLICATION TO EMPLOY SAM AS SPECIAL COUNSEL



    2093347      KJM                               535.00             $321.00               0.6

  9/26/2017   EMAIL EXCHANGES WITH L WHARTON REGARDING APPLICATION TO EMPLOY SAM AS
              SPECIAL COUNSEL

    2093348      KJM                               535.00              $53.50               0.1

  9/26/2017 ANALYSIS OF CORRESPONDENCE REGARDING APPLICATION TO EMPLOY FINANCIAL ADVISOR



    2093352      KJM                               535.00              $53.50               0.1

 09/26/2017 ANALYSIS OF UPDATE AND REVISED APPLICATION TO EMPLOY SAM AS CORPORATE
            COUNSEL

    2093520      MYK                               575.00             $172.50               0.3

  9/26/2017 ANALYSIS OF UPDATE AND REVISED APPLICATION TO EMPLOY CH AS INVESTMENT BANKERS



    2093521      MYK                               575.00             $172.50               0.3

  9/26/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: ACCOUNTANT ISSUES AND REVIEW



    2094709      RB                                595.00             $119.00               0.2

  9/26/2017 ANALYSIS OF FURTHER REVISED SAM EMPLOYMENT APPLICATION AND RELATED EMAILS



    2094714      RB                                595.00              $59.50               0.1

  9/26/2017 ANALYSIS OF FURTHER REVISED CRAIG HALLUM EMPLOYMENT APPLICATION AND RELATED
            EMAILS

    2094715      RB                                595.00              $59.50               0.1

  9/27/2017 PREPARATION OF CORRESPONDENCE REGARDING APPLICATION TO EMPLOY SAM; ANALYSIS
            OF RELATED CORRESPONDENCE

    2093693      KJM                               535.00              $53.50               0.1

  9/27/2017   EMAIL EXCHANGES WITH LOUIS WHARTON REGARDING BILLING RATES



    2093711      KJM                               535.00              $53.50               0.1

  9/27/2017 PREPARATION OF APPLICATION TO EMPLOY SAM AND DECLARATION IN SUPPORT



    2093732      KJM                               535.00             $160.50               0.3
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  9/27/2017 ANALYSIS OF APPLICATION TO EMPLOY CORPORATE COUNSEL AND CHANGES THERETO



    2093936   MYK                                  575.00             $230.00                 0.4

  9/27/2017 ANALYSIS OF EMAILS RE: SAM EMPLOYMENT APP ISSUES AND REVIEW WITH CLIENT



    2094741   RB                                   595.00              $59.50                 0.1

  9/28/2017 PREPARATION OF APPLICATION OF DEBTORS AND DEBTORS IN POSSESSION TO EMPLOY
            CRAIG-HALLUM CAPITAL GROUP LLC AS FINANCIAL ADVISOR PURSUANT TO 11 U.S.C. § 327
            WITH COMPENSATION PURSUANT TO 11 U.S.C. § 328; DECLARATION OF STEVE RICKMAN IN
    2094203   JK                                   250.00             $200.00                 0.8

  9/28/2017 PREPARATION OF EMPLOYMENT APPLICATION FOR CRAIG-HALLUM AS INVESTMENT BANKER



    2094194   JPF                                  535.00              $53.50                 0.1

  9/28/2017 PREPARATION OF NOTICE OF EMPLOYMENT APPLICATION FOR CRAIG-HALLUM AS
            INVESTMENT BANKER

    2094206   JPF                                  535.00             $267.50                 0.5

  9/28/2017 ANALYSIS OF CORRESPONDENCE FROM STEVE RICKMAN REGARDING APPLICATION TO
            EMPLOY CRAIG-HALLUM

    2094190   KJM                                  535.00              $53.50                 0.1

  9/28/2017 ANALYSIS OF CH EMPLOYMENT APPLICATION, RELATED COMMUNICATIONS



    2094264   MYK                                  575.00             $172.50                 0.3

  9/29/2017 PREPARATION OF NOTICE OF APPLICATION OF DEBTORS AND DEBTORS IN POSSESSION TO
            EMPLOY CRAIG-HALLUM CAPITAL GROUP LLC AS FINANCIAL ADVISOR PURSUANT TO 11 U.S.
            C. § 327 WITH COMPENSATION PURSUANT TO 11 U.S.C. § 328
    2094352   JK                                   250.00             $100.00                 0.4

  9/29/2017 PREPARATION OF APPLICATION OF DEBTORS AND DEBTORS IN POSSESSION TO EMPLOY
            CRAIG-HALLUM CAPITAL GROUP LLC AS FINANCIAL ADVISOR PURSUANT TO 11 U.S.C. § 327
            WITH COMPENSATION PURSUANT TO 11 U.S.C. § 328; DECLARATION OF STEVE RICKMAN IN
    2094405   JK                                   250.00             $125.00                 0.5

  9/29/2017 ANALYSIS OF CORRESPONDENCE REGARDING APPLICATION TO EMPLOY CRAIG-HALLUM;
            CONFER WITH JASON RE SAME

    2094498   KJM                                  535.00              $53.50                 0.1

  9/29/2017 ANALYSIS OF COMMUNICATIONS AS TO UPDATES/STATUS OF EMPLOYMENT APPLICATIONS
            FOR FA AND CORPORATE COUNSEL

    2094620   MYK                                  575.00             $172.50                 0.3

  10/2/2017 ANALYSIS OF ALDERTON REGARDING EMPLOYMENT APPLICATION



    2095429   MYK                                  575.00              $57.50                 0.1
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  10/3/2017 PREPARATION OF APPLICATION TO EMPLOY SAM AND MULTIPLE CORRESPONDENCE RE
            SAME

    2095767     KJM                               535.00               $53.50              0.1

  10/3/2017   EMAIL EXCHANGE WITH SCOTT ALDERTON REGARDING EMPLOYMENT APPLICATION STATUS



    2097164     KJM                               535.00               $53.50              0.1

  10/3/2017 ANALYSIS OF COMMUNICATIONS WITH CLIENT REGARDING LNBYB FEES AND EXPENSES



    2096396     MYK                               575.00              $115.00              0.2

  10/3/2017 TELEPHONE CONFERENCE WITH MATT RE: PROFESSIONAL FEE ISSUES AND REVIEW;
            ANALYSIS OF FILE; PREP OF EMAIL TO MATT

    2101479     RB                                595.00              $238.00              0.4

  10/3/2017 ANALYSIS OF SAM EMPLOYMENT APP AND RELATED EMAILS



    2101483     RB                                595.00               $59.50              0.1

  10/5/2017 PREPARATION OF APPLICATION TO EMPLOY SPECIAL COUNSEL AND EMAIL EXCHANGES WITH
            COUNSEL AND GEOFF RE SAME

    2097136     KJM                               535.00               $53.50              0.1

  10/6/2017 PREPARATION OF NOTICE OF APPLICATION TO EMPLOY SAM AND RELATED PLEADINGS



    2097324     KJM                               535.00              $214.00              0.4

  10/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING RETENTION OF COUNSEL



    2097386     KJM                               535.00               $53.50              0.1

  10/6/2017 ANALYSIS OF APPLICATION TO EMPLOY DENTONS



    2097751     KJM                               535.00               $53.50              0.1

  10/6/2017 PREPARATION OF STUBBS, ALDERTON EMPLOYMENT APPLICATION AND NOTICE; E-FILE; PPO
            EXHBITS AND SERVICE LISTS

    2097534     LC                                250.00              $375.00              1.5

  10/6/2017 ANALYSIS OF APPLICATION TO EMPLOY SAM AND RELATED FILINGS AND EMAILS



    2097494     MYK                               575.00              $115.00              0.2

  10/6/2017 ANALYSIS OF EMPLOYMENT APPLICATION FILED BY DENTONS AND RELATED EMAILS AND
            DISCUSSIONS

    2097495     MYK                               575.00              $172.50              0.3
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  10/6/2017 TELEPHONE CONFERENCE WITH VAN DURRER RE: SKADDEN EMPLOYMENT AND
            COMPENSATION ISSUES; PREP OF EMAIL EXCHANGE WITH CLIENT; CONF WITH GEOFF

    2101770   RB                                  595.00             $297.50               0.5

  10/8/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN EMPLOYMENT ISSUES AND REVIEW



    2101805   RB                                  595.00                $59.50             0.1

  10/9/2017 ANALYSIS OF DECLARATION IN SUPPORT OF APPLICATION TO EMPLOY DENTONS



    2098097   KJM                                 535.00             $107.00               0.2

  10/9/2017 ANALYSIS OF EMAILS RE: SKADDEN EMPLOYMENT ISSUES; CONF WITH GEOFF AND VAN;
            PREP OF RELATED EMAIL EXCHANGE

    2101814   RB                                  595.00             $178.50               0.3

  10/9/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: SKADDEN EMPLOYMENT AND
            COMPENSATION ISSUES

    2101834   RB                                  595.00                $59.50             0.1

 10/10/2017 ANALYSIS OF DENTONS EMPLOYMENT APPLICATION; CONTINGENCY ASPECTS AND RELATED
            EMAILS

    2098145   MYK                                 575.00             $172.50               0.3

 10/10/2017 ANALYSIS OF DENTON EMPLOYMENT APP; CONF WITH TANIA



    2101861   RB                                  595.00             $178.50               0.3

 10/11/2017 ANALYSIS OF COMMUNICATIONS WITH OCE AND OCC REGARDING OBJECTION BY OCE TO
            EMPLOYMENT OF FINANCIAL ADVISORS

    2098611   MYK                                 575.00             $345.00               0.6

 10/11/2017 ANALYSIS OF STATUS OF LNBYB EMPLOYMENT APPLICATION, AND ORDER THEREON



    2098612   MYK                                 575.00             $115.00               0.2

 10/12/2017 ANALYSIS OF EMAIL FROM TANIA MOYRON RE: ISSUES ON APPLICATION FOR EMPLOYMENT
            OF FINANCIAL ADVISOR

    2098513   JPF                                 535.00                $53.50             0.1

 10/12/2017 ANALYSIS OF BROWN RUDNICK STATEMENT OF DISINTERESTEDNESS



    2098650   KJM                                 535.00                $53.50             0.1

 10/12/2017 ANALYSIS OF NOTICE OF APPLICATION TO EMPLOY BROWN RUDNICK



    2098651   KJM                                 535.00                $53.50             0.1
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 10/12/2017 ANALYSIS OF EMPLOYMENT APPLICATION FOR BROWN RUDNICK AND RELATED EMAILS



    2098733   MYK                                 575.00              $172.50               0.3

 10/12/2017 ANALYSIS OF COMMUNICATIONS REGARDING OCE OBJECTION TO FINANCIAL ADVISORS FOR
            OCC AND RELATED DISCUSSIONS

    2098734   MYK                                 575.00              $230.00               0.4

 10/12/2017 ANALYSIS OF OBJECTION BY OCC TO CRAIG HALLEM PROVISIONS, STIPULATION AND
            RELATED COMMUNICATIONS

    2098739   MYK                                 575.00              $230.00               0.4

 10/12/2017 ANALYSIS OF BROWN RUDNICK EMPLOYMENT APPLICATION AND RELATED PLEADINGS



    2101912   RB                                  595.00              $119.00               0.2

 10/12/2017 ANALYSIS OF MULTIPLE EMAILS RE: SKADDEN WORK AND FEE ISSUES; CONF WITH GEOFF



    2101916   RB                                  595.00              $119.00               0.2

 10/13/2017 ANALYSIS OF PROPOSED INDEMNIFICATION LANGUAGE FOR CRAIG-HALLUM; PREPARATION
            OF CORRESPONDENCE RE SAME

    2104177   KJM                                 535.00               $53.50               0.1

 10/13/2017 PREPARATION OF STIPULATION EXTENDING DEADLINE TO OPPOSE CRAIG HALLUM
            EMPLOYMENT APPLICATION

    2104193   KJM                                 535.00              $107.00               0.2

 10/13/2017 ANALYSIS OF APPLICATION TO EMPLOY PROVINCE



    2104194   KJM                                 535.00              $107.00               0.2

 10/13/2017 PREPARATION OF PROPOSED ORDER ON STIPULATION TO EXTEND OPPOSITION DEADLINE
            FOR CRAIG-HALLUM APPLICATION

    2104195   KJM                                 535.00               $53.50               0.1

 10/13/2017 ANALYSIS OF STIPULATION AND EMAILS REGARDING CH EMPLOYMENT APPLICATION AND
            TERMS AND RELATED MATTERS

    2098990   MYK                                 575.00              $172.50               0.3

 10/13/2017 ANALYSIS OF EMPLOYMENT APPLICATION FILED BY PROVIDENCE AND PRO HAC VICE BY
            CATHRINE

    2098991   MYK                                 575.00              $287.50               0.5

 10/13/2017 ANALYSIS OF DECLARATION AND ORDER ON LNBYB EMPLOYMENT APPLICATION



    2098994   MYK                                 575.00              $115.00               0.2
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 10/14/2017 ANALYSIS OF OBJECTION BY OCE TO PROVIDENCE APPLICATION



    2099013      MYK                              575.00              $115.00               0.2

 10/14/2017 ANALYSIS OF ISSUES RELATING TO OBJECTIONS TO PROVINCE EMPLOYMENT AND RELATED
            COMMUNICATIONS

    2099021      MYK                              575.00              $230.00               0.4

 10/16/2017   EMAIL EXCHANGE REGARDING STATUS OF EMPLOYMENT APPLICATION AND ORDER RE SAME



    2104209      KJM                              535.00               $53.50               0.1

 10/16/2017 ANALYSIS OF STATUS OF EMPLOYMENT ORDER AND RELATED EMAILS



    2099351      MYK                              575.00              $115.00               0.2

 10/16/2017 ANALYSIS OF BROWN RUDNICK EMPLOYMENT APPLICATION



    2101975      RB                               595.00              $119.00               0.2

 10/17/2017 ANALYSIS OF LIMITED OBJECTION TO SAM EMPLOYMENT APPLICATION; PREPARATION OF
            CORRESPONDENCE RE SAME

    2104350      KJM                              535.00               $53.50               0.1

 10/17/2017 ANALYSIS OF INDEMNIFICATION PROVISION FOR EMPLOYMENT OF CRAIG HALLUM, RELATED
            DOCUMENTS, EMAILS THEREON

    2099558      MYK                              575.00              $172.50               0.3

 10/17/2017 ANALYSIS OF OCC STATEMENT OF DISINTERESTEDNESS



    2099560      MYK                              575.00               $57.50               0.1

 10/17/2017 ANALYSIS OF OBJECTION FILED BY OCE TO STUBBS EMPLOYMENT APPLICATION AND
            RELATED EMAILS

    2099567      MYK                              575.00              $230.00               0.4

 10/18/2017 PREPARATION OF CORRESPONDENCE RE LNBYB EMPLOYMENT ORDER; PREPARATION OF
            ORDER

    2099668      KJM                              535.00               $53.50               0.1

 10/18/2017   EMAIL EXCHANGE WITH STEVE RICKMAN REGARDING EMPLOYMENT APPLICATION AND
              PROVISIONS OF SAME

    2100163      KJM                              535.00               $53.50               0.1

 10/18/2017 ANALYSIS OF FILINGS TO ADDRESS CH INDEMNIFICATION ISSUES AND RELATED EMAILS



    2099781      MYK                              575.00              $172.50               0.3
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 10/18/2017 PREPARATION OF LNBYB EMPLOYMENT ORDER



    2102071   RB                                 595.00                 $59.50              0.1

 10/18/2017 PREPARATION OF PLEADING FILE AND SERVE DECLARATION RE NON-OPPOSITION TO LNBYB
            EMPLOYMENT APPLICATION; LODGE ORDER GRANTING LNBYB EMPLOYMENT

    2100976   SR                                 250.00              $150.00                0.6

 10/19/2017 PREPARATION OF SUPPLEMENT TO CRAIG-HALLUM EMPLOYMENT APPLICATION



    2104450   KJM                                535.00              $267.50                0.5

 10/19/2017 ANALYSIS OF OCE OBJECTION TO PROVINCE EMPLOYMENT APPLICATION AND RELATED
            EMAILS

    2100110   MYK                                575.00              $287.50                0.5

 10/19/2017 ANALYSIS OF SUPPLEMENT TO CH APPLICATION AND RELATED EMAILS



    2100111   MYK                                575.00              $172.50                0.3

 10/19/2017 ANALYSIS OF SUPPLEMENT TO CRAIG HALLUM EMPLOYMENT APP AND RELATED EMAILS



    2102089   RB                                 595.00                 $59.50              0.1

 10/19/2017 ANALYSIS OF LNBYB EMPLOYMENT ORDER ENTERED; PREP OF EMAIL



    2102091   RB                                 595.00                 $59.50              0.1

 10/19/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN EMPLOYMENT APP ISSUES



    2102106   RB                                 595.00                 $59.50              0.1

 10/20/2017 TELEPHONE CONFERENCE WITH SAM MAIZEL AND TANYA MOYRON RE C-H EMPLOYMENT
            APPLICATION

    2100200   KJM                                535.00                 $53.50              0.1

 10/20/2017 PREPARATION OF AMENDED SUPPLEMENT TO C-H EMPLOYMENT APPLICATION



    2100201   KJM                                535.00              $107.00                0.2

 10/20/2017 ANALYSIS OF UST OBJECTION OF EMPLOYMENT APPLICATION OF DENTONS AND BROWN
            RUDNICK AND RELATED EMAILS AND DISCUSSIONS

    2100247   MYK                                575.00              $287.50                0.5

 10/20/2017 ANALYSIS OF COMMUNICATIONS REGARDING CH EMPLOYMENT, DISGORGEMENT AND
            RELATED ISSUES AND EMAILS

    2100251   MYK                                575.00              $287.50                0.5
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 10/20/2017 PREPARATION OF PLEADING FILE AND SERVE SUPPLEMENTAL TO CRAIG HALLUM
            EMPLOYMENT APPLICATION

    2100983     SR                                250.00             $100.00               0.4

 10/23/2017 ANALYSIS OF ROSS AND OTHERS REGARDING COMPENSATION MATTERS FOR FA



    2100321     MYK                               575.00             $172.50               0.3

 10/24/2017 ANALYSIS OF CORRESPONDENCE RE CRAIG-HALLUM EMPLOYMENT ISSUES



    2104605     KJM                               535.00              $53.50               0.1

 10/24/2017   CONFER WITH STEVE RICKMAN REGARDING EMPLOYMENT APPLICATION



    2104607     KJM                               535.00              $53.50               0.1

 10/24/2017 PREPARATION OF CORRESPONDENCE TO US TRUSTEE REGARDING CRAIG-HALLUM
            EMPLOYMENT ISSUES

    2104610     KJM                               535.00              $53.50               0.1

 10/24/2017 TELEPHONE CONFERENCE WITH MARGAUX ROSS RE CRAIG-HALLUM EMPLOYMENT ISSUES



    2104612     KJM                               535.00              $53.50               0.1

 10/24/2017 ANALYSIS OF COMMUNICATIONS CONCERNING INQUIRIES FOR FA EMPLOYMENT,
            COMPENSATION AND FEE APPLICATIONS

    2100617     MYK                               575.00             $172.50               0.3

 10/24/2017 PREPARATION OF PLEADING FILE AND SERVE AMENDED SUPPLEMENT TO CRAIG HALLUM
            EMPLOYMENT APPLICATION

    2100985     SR                                250.00             $125.00               0.5

 10/25/2017 ANALYSIS OF DECLARATION OF PROVINCE IN CONNECTION WITH EMPLOYMENT APPLICATION



    2100865     MYK                               575.00             $115.00               0.2

 10/25/2017 ANALYSIS OF MULTIPLE EMAILS RE: C-H EMPLOYMENT AND EXPENSES ISSUES



    2103135     RB                                595.00              $59.50               0.1

 10/26/2017 ANALYSIS OF CASTALDI DECLARATION IN SUPPORT OF BROWN RUDNICK APPLICATION



    2101223     MYK                               575.00              $57.50               0.1

 10/26/2017 ANALYSIS OF CATALDI EMPLOYMENT DECLARATION



    2103760     RB                                595.00              $59.50               0.1
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 10/26/2017 ANALYSIS OF SUPPLEMENT TO C-H EMPLOYMENT APP AND RELATED EMAILS



    2103765   RB                                     595.00              $59.50              0.1

 10/27/2017 PREPARATION OF CORRESPONDENCE REGARDING SAM EMPLOYMENT APPLICATION AND
            ISSUES RE SAME

    2104720   KJM                                    535.00             $160.50              0.3

 10/27/2017 PREPARATION OF SECOND SUPPLEMENT TO CH EMPLOYMENT APPLICATION



    2104721   KJM                                    535.00             $107.00              0.2

 10/27/2017 ANALYSIS OF PRO HAC VICE ORDER FOR OCE



    2101399   MYK                                    575.00              $57.50              0.1

 10/27/2017 TELEPHONE CONFERENCE WITH SCOTT ALDERTON RE: SAM EMPLOYMENT ISSUES AND
            ATTEMPT TO RESOLVE EQUITY COMMITTEE OBJECTION

    2104006   RB                                     595.00             $178.50              0.3

 10/27/2017 TELEPHONE CONFERENCE WITH GOLDENHERSH RE: SKADDEN EMPLOYMENT ISSUES;
            ANALYSIS OF EMAIL AND FILE

    2104036   RB                                     595.00             $119.00              0.2

 10/27/2017 PREPARATION OF PLEADING FILE AND SERVE SECOND SUPPLEMENT TO EMPLOYMENT
            APPLICATION

    2105013   SR                                     250.00              $75.00              0.3

 10/29/2017 ANALYSIS OF PROPOSED SAM EMPLOYMENT ORDER AND CORRESPONDENCE RE SAME



    2104728   KJM                                    535.00             $107.00              0.2

 10/29/2017 PREPARATION OF PROPOSED STIPULATED EMPLOYMENT ORDER FOR SAM AND MULTIPLE
            RELATED EMAIL EXCHANGE WITH SAM AND EQUITY COMMITTEE; ANALYSIS OF EQUITY
            COMMMITTEE OBJECTION TO EMPLOYMENT APP
    2104073   RB                                     595.00            $1,071.00             1.8

 10/30/2017 PREPARATION OF PLEADING FILE AND SERVE JOINDER TO OPPOSITION TO APPLICATION TO
            EMPLOY PROVINCE

    2105014   SR                                     250.00              $75.00              0.3

 10/31/2017 ANALYSIS OF CORRESPONDENCE RE SAM EMPLOYMENT APPLICATION



    2104751   KJM                                    535.00              $53.50              0.1

 10/31/2017 ANALYSIS OF UST ISSUES REGARDING FEE APPLICATION AND ALLOCATION ISSUES



    2103150   MYK                                    575.00             $115.00              0.2
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 10/31/2017 ANALYSIS OF MARGAUX ROSS EMAIL RE: TIME BILLING MATTERS AMONG CASES



    2104623   RB                                  595.00              $59.50              0.1

  11/1/2017 ANALYSIS OF CORRESPONDENCE RE SKADDEN EMPLOYMENT APPLICATION AND
            PREPARATION OF CORRESPONDENCE RE SAME

    2105300   KJM                                 535.00              $53.50              0.1

  11/1/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN EMPLOYMENT ISSUES AND REVIEW



    2105537   RB                                  595.00             $119.00              0.2

  11/2/2017 PREPARATION OF CRAIG-HALLUM EMPLOYMENT ORDER



    2105353   KJM                                 535.00             $107.00              0.2

  11/2/2017 PREPARATION OF DECLARATION RE NO OPPOSITION TO CRAIG-HALLUM EMPLOYMENT
            APPLICATION

    2105355   KJM                                 535.00              $53.50              0.1

  11/2/2017 ANALYSIS OF SUPPLEMENTAL DENTONS EMPLOYMENT DECLARATION



    2105374   KJM                                 535.00              $53.50              0.1

  11/2/2017 ANALYSIS OF PROPOSED SAM EMPLOYMENT ORDER AND MULTIPLE CORRESPONDENCE
            FROM EQUITY COMMITTEE COUNSEL RE SAME

    2105417   KJM                                 535.00              $53.50              0.1

  11/2/2017 ANALYSIS OF DECLARATION OF MOYRON REGARDING DENTONS APPLICATIONS



    2105366   MYK                                 575.00             $115.00              0.2

  11/2/2017 ANALYSIS OF C-H EMPLOYMENT ORDER AND RELATED EMAILS



    2105601   RB                                  595.00              $59.50              0.1

  11/3/2017 TELEPHONE CONFERENCE WITH SKADDEN ATTORNEYS REGARDING EMPLOYMENT
            APPLICATION

    2105475   KJM                                 535.00             $481.50              0.9

  11/3/2017 ANALYSIS OF CORRESPONDENCE TO STUBBS ATTORNEYS REGARDING STATUS OF
            EMPLOYMENT ORDER AS AGREED UPON BY EQUITY COMMITTEE AND ISSUES RE SAME

    2108129   KJM                                 535.00              $53.50              0.1

  11/3/2017 ANALYSIS OF WITHDRAWAL OF UST OBJECTIONS TO EMPLOYMENT APPLICATIONS



    2108137   KJM                                 535.00              $53.50              0.1
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  11/3/2017 PREPARATION OF APPLICATION TO EMPLOY SKADDEN AS SPECIAL COUNSEL



    2108150   KJM                                535.00             $267.50               0.5

  11/3/2017 PREPARATION OF NOTICE OF HEARING ON PROVINCE EMPLOYMENT APPLICATION



    2108152   KJM                                535.00              $53.50               0.1

  11/3/2017 ANALYSIS OF REPLY BY PROVINCE ON EMPLOYMENT



    2105678   MYK                                575.00             $172.50               0.3

  11/3/2017 CONFERENCE CALL WITH SKADDEN TEAM RE: SEC INVESTIGATIVE STATUS; SKADDEN'S
            PRIOR AND CONTINUING ROLE AND SKADDEN EMPLOYMENT ISSUES AND REVIEW OF PRIOR
            CORRESPONDENCE; PREP OF RELATED EMAIL EXCHANGE
    2105644   RB                                 595.00             $773.50               1.3

  11/3/2017 PREPARATION OF PLEADING AND FILE DECLARATION OF NON-OPPOSITION AND LODGE
            ORDER RE APPLICATION TO EMPLOY CRAIG HALLUM

    2106786   SR                                 250.00             $175.00               0.7

  11/3/2017 PREPARATION OF PLEADING AND LODGE ORDER TO EMPLOY SAM



    2106787   SR                                 250.00              $75.00               0.3

  11/3/2017 PREPARATION OF PLEADING AND FILE NOTICE OF HEARING OF PROVINCE EMPLOYMENT
            APPLICATION

    2106789   SR                                 250.00             $100.00               0.4

  11/4/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN EMPLOYMENT ISSUES



    2105664   RB                                 595.00              $59.50               0.1

  11/5/2017 ANALYSIS OF CORRESPONDENCE TO SKADDEN REGARDING EMPLOYMENT ISSUES



    2108604   KJM                                535.00              $53.50               0.1

  11/5/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE TO PROFESSIONALS REGARDING INTERIM FEE
            APPLICATIONS

    2108605   KJM                                535.00              $53.50               0.1

  11/5/2017 ANALYSIS OF CORRESPONDENCE TO UST REGARDING FEE APPLICATION ISSUES



    2108610   KJM                                535.00              $53.50               0.1

  11/5/2017 ANALYSIS OF FEE APPLICATION AND EMPLOYMENT MATTERS



    2105691   MYK                                575.00             $287.50               0.5
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  11/5/2017 PREPARATION OF EMAIL TO SKADDEN RE: EMPLOYMENT ISSUES AND CASE STATUS



    2105715     RB                                 595.00               $59.50              0.1

  11/5/2017 PREPARATION OF EMAIL TO RICKMAN RE: CASE STATUS AND FEE APP ISSUES AND REVIEW



    2105717     RB                                 595.00               $59.50              0.1

  11/5/2017 PREPARATION OF EMAIL EXCHANGE RE: SAM EMPLOYMENT AND FEE APP ISSUES AND
            REVIEW

    2105718     RB                                 595.00              $119.00              0.2

  11/5/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH ROSS RE: ALLOCATION OF LNBYB FEES
            BETWEEN CASES; ANALYSIS OF EMPLOYMENT APPLICATION AND ORDER

    2105723     RB                                 595.00              $119.00              0.2

  11/5/2017 PREPARATION OF LNBYB FEE APPLICATION; ANALYSIS OF FILE



    2105726     RB                                 595.00              $833.00              1.4

  11/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING INTERIM FEE APPLICATIONS



    2105830     KJM                                535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING RETENTION OF SPECIAL COUNSEL



    2105837     KJM                                535.00               $53.50              0.1

  11/6/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING RETENTION OF ACCOUNTANT



    2105850     KJM                                535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF CORRESPONDENCE FROM EQUITY COMMITTEE COUNSEL TO SKADDEN RE
            EMPLOYMENT TERMS AND RELATED ISSUES

    2105972     KJM                                535.00               $53.50              0.1

  11/6/2017 ANALYSIS OF ACCOUNTANT ENGAGEMENT AGREEMENT



    2105979     KJM                                535.00               $53.50              0.1

  11/6/2017 PREPARATION OF EXHIBITS TO LNBYB FEE APPLICATION (TIME ENTRIES AND COSTS)



    2106141     LC                                 250.00              $150.00              0.6

  11/6/2017 PREPARATION OF EMAIL EXCHANGE WITH PROFESSIONALS RE: FEE APP ISSUES AND NOTICE



    2108192     RB                                 595.00               $59.50              0.1
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  11/6/2017 ANALYSIS OF CASTALDI EMPLOYMENT DECL



    2108221      RB                                595.00              $59.50               0.1

  11/6/2017 PREPARATION OF EMAIL EXCHANGE WITH MATT RE: PROFESSIONAL FEES



    2108224      RB                                595.00              $59.50               0.1

  11/7/2017 ANALYSIS OF CORRESPONDENCE BETWEEN EQUITY COMMITTEE AND SKADDEN RE
            EMPLOYMENT ISSUES

    2106290      KJM                               535.00              $53.50               0.1

  11/7/2017 PREPARATION OF SKADDEN EMPLOYMENT APPLICATION



    2106292      KJM                               535.00             $267.50               0.5

  11/7/2017   EMAIL EXCHANGE WITH STUBS ALDERTON ATTORNEYS REGARDING FEE APPLICATION



    2108623      KJM                               535.00              $53.50               0.1

  11/7/2017 PREPARATION OF MULTIPLE EMALI EXCHANGE WITH MATT AND ALL OTHER PROFESSIONALS
            RE: FEE UPDATES; CONF WITH MATT

    2108242      RB                                595.00             $178.50               0.3

  11/8/2017 ANALYSIS OF CORRESPONDENCE REGARDING HEARINGS ON EMPLOYMENT APPLICATIONS



    2108630      KJM                               535.00              $53.50               0.1

  11/8/2017   EMAIL EXCHANGE WITH STEVE RICKMAN REGARDING EMPLOYMENT ORDER AND FEE
              APPLICATION

    2108634      KJM                               535.00              $53.50               0.1

  11/8/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING RETENTION OF ACCOUNTANT AND ISSUES RE
              SAME

    2108639      KJM                               535.00              $53.50               0.1

  11/8/2017 ANALYSIS OF SAM FEE STATEMENT FOR SEPTEMBER 2017



    2108642      KJM                               535.00              $53.50               0.1

  11/8/2017   EMAIL EXCHANGE WITH SAM ATTORNEYS AND RB REGARDING SAM FEE APPLICATION



    2108644      KJM                               535.00              $53.50               0.1

  11/8/2017 ANALYSIS OF COURT DOCKET AND FILE, REVIEW AND ORGANIZE MULTIPLE EMPLOYMENT
            APP FOR PROFESSIONALS AND PREPARE BINDER

    2106749      LC                                250.00             $300.00               1.2
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 11/08/2017 ANALYSIS OF APPLICATION TO EMPLOY SCHWARMANN NUNC PRO TUNC BY EQUITY
            COMMITTEE

    2106730   MYK                                  575.00              $115.00                0.2

  11/8/2017 PREPARATION OF EMAIL EXCHANGE RE: SCHWARTZMANN EMPLOYMENT APPLICATION



    2108288   RB                                   595.00               $59.50                0.1

  11/8/2017 ANALYSIS OF SAM EMPLOYMENT ORDER; PREP OF EMAIL TO CLIENT AND SAM



    2108296   RB                                   595.00               $59.50                0.1

  11/8/2017 ANALYSIS OF C-H EMPLOYMENT ORDER; PREP OF EMAIL TO CLIENT AND C-H



    2108297   RB                                   595.00               $59.50                0.1

  11/8/2017 ANALYSIS OF SCHARZMANN EMPLOYMENT APPLICATION



    2108312   RB                                   595.00              $119.00                0.2

  11/8/2017 ANALYSIS OF SAM TIME ENTRIES;PREP OF EMAIL EXCHANGE RE: FEE APP PREP ISSUES AND
            REVIEW

    2108313   RB                                   595.00              $119.00                0.2

  11/9/2017 TELEPHONE CONFERENCE WITH L WHARTON REGARDING FEE APPLICATION



    2108669   KJM                                  535.00               $53.50                0.1

 11/09/2017 ANALYSIS OF OUTCOME OF HEARING ON PROVINCE EMPLOYMENT APPLICATION



    2107090   MYK                                  575.00              $115.00                0.2

  11/9/2017 PREPARATION OF EMAIL EXCHANGE RE: SAM FEE APP ISSUES AND REVIEW



    2108331   RB                                   595.00               $59.50                0.1

  11/9/2017 ANALYSIS OF C-H FINANCIAL INFORMATION FOR FEE APP



    2108338   RB                                   595.00               $59.50                0.1

  11/9/2017 ANALYSIS OF EMAILS RE: EMPLOYMENT OF ACCOUNTING FIRM; CONF WITH MATT



    2108341   RB                                   595.00              $119.00                0.2

 11/10/2017 ANALYSIS OF CORRESPONDENCE REGARDING ISSUES OF EMPLOYMENT OF SPECIAL
            COUNSEL

    2108678   KJM                                  535.00               $53.50                0.1
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 11/12/2017 ANALYSIS OF CORRESPONDENCE AND SUPPORT FOR OCTOBER 2017 FEES OF SPECIAL
            COUNSEL

    2107412     KJM                                 535.00                 $53.50            0.1

 11/13/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING APPLICATION TO EMPLOY SPECIAL
            COUNSEL AND ISSUES RE SAME; CONFER WITH RB RE SAME

    2107732     KJM                                 535.00                 $53.50            0.1

 11/13/2017 ANALYSIS OF SKADDEN EMPLOYMENT DECLARATION; PREP OF RELATED EMAIL EXCHANGE



    2108554     RB                                  595.00             $119.00               0.2

 11/14/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE RE APPLICATION TO EMPLOY SPECIAL COUNSEL;
            PREPARATION OF CORRESPONDENCE RE SAME

    2107736     KJM                                 535.00                 $53.50            0.1

 11/14/2017 ANALYSIS OF ENTERED ORDER APPROVING APPLICATION TO EMPLOY COUNSEL TO EQUITY
            COMMITTEE

    2107738     KJM                                 535.00                 $53.50            0.1

 11/14/2017   EMAIL EXCHANGE WITH STEVE RICKMAN RE FINAL FEE APPLICATION



    2107772     KJM                                 535.00                 $53.50            0.1

 11/14/2017 ANALYSIS OF ORDER APPROVING DENTON EMPLOYMENT



    2108821     RB                                  595.00                 $59.50            0.1

 11/14/2017 ANALYSIS OF ORDER APPROVING DENTON EMPLOYMENT



    2108850     RB                                  595.00                 $59.50            0.1

 11/15/2017 PREPARATION OF FIRST INTERIM FEE APPLICATION OF SAM



    2108124     KJM                                 535.00             $160.50               0.3

 11/15/2017 ANALYSIS OF ORDERS ON VARIOUS EMPLOYMENT APPLICATIONS



    2108357     MYK                                 575.00             $115.00               0.2

 11/15/2017 ANALYSIS OF PROVINCE EMPLOYMENT ORDER



    2109015     RB                                  595.00                 $59.50            0.1

 11/16/2017 PREPARATION OF CRAIG-HALLUM FINAL FEE APPLICATION



    2108772     KJM                                 535.00             $428.00               0.8
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 11/16/2017 RESEARCH REGARDING FEE APPLICATIONS FOR FINANCIAL ADVISORS



    2108773   KJM                                  535.00              $160.50                0.3

 11/16/2017 PREPARATION OF SAM FEE APPLICATION



    2108777   KJM                                  535.00               $53.50                0.1

 11/16/2017 PREPARATION OF EMAIL EXCHANGE RE: SAM FEE APP



    2109274   RB                                   595.00               $59.50                0.1

 11/17/2017 PREPARATION OF CRAIG HALLUM FINAL FEE APPLICATION



    2109601   KJM                                  535.00              $481.50                0.9

 11/17/2017 PREPARATION OF FIRST INTERIM FEE APPLICATION OF SAM



    2109607   KJM                                  535.00              $963.00                1.8

 11/17/2017 PREPARATION OF EXHIBITS TO LNBYB FEE APP (TIME ENTRIES AND COSTS REPORTS)



    2109450   LC                                   250.00              $125.00                0.5

 11/17/2017 PREPARATION OF C-H FEE APPLICATION



    2109404   RB                                   595.00              $119.00                0.2

 11/17/2017 PREPARATION OF SAM FEE APPLICATION



    2109416   RB                                   595.00              $119.00                0.2

 11/19/2017 PREPARATION OF C-H FINAL FEE APPLICATION



    2109626   KJM                                  535.00              $107.00                0.2

 11/19/2017 PREPARATION OF LNBYB FIRST INTERIM FEE APPLICATION AND RB DECLARATION; ANALYSIS
            OF FILE AND TIME ENTRIES

    2109432   RB                                   595.00             $3,570.00               6.0

 11/19/2017 PREPARATION OF FEE NOTICE FOR ALL PROFESSIONALS AND MULTIPLE RELATED EMAIL
            EXCHANGE WITH ALL PROFESSIONALS

    2109433   RB                                   595.00              $714.00                1.2

 11/20/2017 PREPARATION OF CRAIG HALLUM FINAL FE APPLICATION



    2109631   KJM                                  535.00              $428.00                0.8
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 11/20/2017 TELEPHONE CONFERENCE WITH STEVE RICKMAN REGARDING CRAIG HALLUM FINAL FEE
            APPLICATION AND REQUESTED EXPENSES

    2109632      KJM                                535.00             $53.50              0.1

 11/20/2017 PREPARATION OF FIRST INTERIM FEE APPLICATION FOR SAM



    2109648      KJM                                535.00            $588.50              1.1

 11/20/2017 PREPARATION OF MULTPLE EMAIL EXCHANGE RE: FEES AND EXPNESES OF OTHER
            PROFESSIONALS; PREP OF UPDATED FEE NOTICE FOR ALL PROFESSIONALS

    2109773      RB                                 595.00            $178.50              0.3

 11/20/2017 PREPARATION OF C-H FEE APPLICATION



    2109778      RB                                 595.00            $119.00              0.2

                                                 Total             $44,198.00             84.7
     08   -   FEE / EMPLOYMENT OBJECTIONS

  9/30/2017 TELEPHONE CONFERENCE WITH TANIA RE: DISPUTES WITH OCC OVER EMPLOYMENT OF
            PROFESSIONALS; ANALYSIS OF BASHAS CASE

    2095012      RB                                 595.00            $238.00              0.4

  10/1/2017 PREPARATION OF EMAIL EXCHANGE RE: EQUITY COMMITTEE FINANCIAL ADVISOR ISSUES
            AND REVIEW

    2101427      RB                                 595.00             $59.50              0.1

  10/2/2017 PREPARATION OF EMAIL EXCHANGE RE: DISPUTE OVER EMPLOYMENT OF FINANCIAL
            ADVISOR

    2101438      RB                                 595.00             $59.50              0.1

 10/11/2017 ANALYSIS OF CORRESPONDENCE TO OCC FROM EC RE RETENTION OF FINANCIAL ADVISORS
            AND ISSUES RE SAME

    2098693      KJM                                535.00             $53.50              0.1

 10/11/2017 TELEPHONE CONFERENCE WITH COUNSEL TO EC REGARDING OCC RETENTION OF
            FINANCIAL ADVISOR

    2098694      KJM                                535.00             $53.50              0.1

 10/11/2017 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO EC REGARDING CRAIG-HALLUM
            EMPLOYMENT APPLICATION ISSUES

    2098695      KJM                                535.00             $53.50              0.1

 10/11/2017 ANALYSIS OF EQUITY COMMITTEE OBJECTION TO CRAIGN HALLUM EMPLOYMENT TERMS;
            CONF WITH TANIA

    2101889      RB                                 595.00            $178.50              0.3
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 10/11/2017 ANALYSIS OF EMAILS RE: EQUITY COMMITTEE OBJECTION TO CREDITOR COMMITTEE;S
            EMPLOYMENT OF FINANCIAL ADVISOR; CONF WITH TANIA

    2101890      RB                               595.00             $178.50                0.3

 10/12/2017 ANALYSIS OF EQUITY COMMITTEE'S PROPOSED MODIFICATIONS TO CH INDEMNIFICATION
            PROVISIONS

    2098536      KJM                              535.00             $160.50                0.3

 10/12/2017 PREPARATION OF CORRESPONDENCE TO STEVE RICKMAN REGARDING EQUITY COMMITTEE'S
            OBJECTIONS TO CH EMPLOYMENT APPLICATION

    2098537      KJM                              535.00              $53.50                0.1

 10/12/2017   EMAIL EXCHAGNGE WITH EQUITY COMMITTEE COUNSEL REGARDING CRAIG HALLUM
              EMPLOYMENT APPLICATION

    2098661      KJM                              535.00              $53.50                0.1

 10/12/2017 TELEPHONE CONFERENCE WITH STEVE RICKMAN REGARDING CRAIG HALLUM EMPLOYMENT
            APPLICATION ISSUES

    2098662      KJM                              535.00              $53.50                0.1

 10/12/2017 ANALYSIS OF FURTHER EMAILS RE: EQUITY COMMITTEE'S OBJECTION TO EMPLOYMENT OF
            FINANCIAL ADVISOR; CONF WITH TANIA

    2101895      RB                               595.00             $119.00                0.2

 10/13/2017 ANALYSIS OF CRAIG HALLUM EMPLOYMENT STIP WITH EQUITY COMMITTEE AND MULTIPLE
            RELATED EMAIL EXCHANGE

    2101945      RB                               595.00             $119.00                0.2

 10/13/2017 PREPARATION OF PLEADING FILE AND SERVE STIPULATION RE CRAIG HALLUM EMPLOYMENT
            OBJECTIONS AND LODGE ORDER APPROVING STIPULATION

    2100966      SR                               250.00             $125.00                0.5

 10/14/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING POTENTIAL OBJECTIONS TO
            PROVINCE EMPLOYMENT APPLICATION

    2104204      KJM                              535.00              $53.50                0.1

 10/14/2017 PREPARATION OF EMAIL EXCHANGE RE: EQUITY COMMITTEE OBJECTION TO FA
            EMPLOYMENT BY CREDITORS COMMITTEE

    2101953      RB                               595.00              $59.50                0.1

 10/14/2017 PREPARATION OF MEMO TO CLIENT RE: CREDITOR COMMITTEE APPLICATION TO EMPLOY AN
            FA; ANALYSIS OF APPLICATION

    2101959      RB                               595.00             $119.00                0.2

 10/17/2017 TELEPHONE CONFERENCE WITH PETER KRAVITZ OF PROVINCE RE: DISPUTES WITH EQUITY
            COMMITTEE OVER EMPLOYMENT OF FA AND POSSIBLE RESOLUTIONS; PREP OF RELATED
            EMAIL EXCHANGE; CONF WITH TANIA
    2102036      RB                               595.00             $476.00                0.8
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 10/17/2017 ANALYSIS OF EQUITY COMMITTEE OBJECTION TO SAM EMPLOYMENT APPLICATION; PREP OF
            EMAIL EXCHANGE WITH SAM

    2102039   RB                                  595.00             $119.00                0.2

 10/17/2017 ANALYSIS OF EMAILS AND DOCS RE: CRAIG HALLUM EMPLOYMENT ISSUES AND EQUITY
            COMMITTEE

    2102044   RB                                  595.00              $59.50                0.1

 10/18/2017 ANALYSIS OF MULTILPLE EMAILS RE: EQUITY COMMITTEE OBJECTIONS TO CRAIG HALLUM
            EMPLOYMENT

    2102056   RB                                  595.00              $59.50                0.1

 10/19/2017 ANALYSIS OF EQUITY COMMITTEE OPPOSITION TO PROVINCE EMPLOYMENT APPLICATION



    2104431   KJM                                 535.00              $53.50                0.1

 10/19/2017 ANALYSIS OF EQUITY COMMITTEE OPPOSITION TO CREDITOR COMMITTEE APPLICATION TO
            EMPLOY FINANCIAL ADVISOR

    2102088   RB                                  595.00             $119.00                0.2

 10/20/2017 ANALYSIS OF UST OMNIBUS OBJECTIONS TO PROFESSIONALS' EMPLOYMENT APPLICATIONS



    2100154   KJM                                 535.00              $53.50                0.1

 10/20/2017 ANALYSIS OF UST OBJECTION TO DENTON EMPLOYMENT APP



    2102140   RB                                  595.00              $59.50                0.1

 10/20/2017 ANALYSIS OF MULTIPLE EMAILS RE: CRAIG HALLUM EMPLOYMENT ISSUES WITH EQUITY
            COMMITTEE

    2102145   RB                                  595.00              $59.50                0.1

 10/24/2017 PREPARATION OF EMAIL EXCHANGE RE: FA EMPLOYMENT APP DISPUTES



    2103072   RB                                  595.00              $59.50                0.1

 10/24/2017 ANALYSIS OF MULTIPLE EMAILS RE: FA EMPLOYMENT DISPUTES



    2103081   RB                                  595.00              $59.50                0.1

 10/24/2017 PREPARATION OF EMAIL EXCHANGE RE: OPPOSITION TO EQUITY COMMITTEE'S APPLICATION
            TO EMPLOY FA; CONF WITH TANIA AND CLIENT

    2103084   RB                                  595.00             $178.50                0.3

 10/27/2017 PREPARATION OF JOINDER TO OPPOSITION TO PROVINCE EMPLOYMENT APPLICATION



    2104713   KJM                                 535.00              $53.50                0.1
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 10/27/2017 ANALYSIS OF MULTIPLE EMAILS RE: SAM EMPLOYMENT ISSUES AND ANALYSIS OF EQUITY
            COMMITTEE OBJECTION; CONF WITH SCOTT; PREP OF RELATED EMAIL EXCHANGE

    2104016      RB                               595.00              $178.50               0.3

 10/27/2017 ANALYSIS OF JOINDER IN EQUITY COMMITTEE OBJECTION TO FA EMPLOYMENT



    2104034      RB                               595.00               $59.50               0.1

  11/1/2017 ANALYSIS OF CORRESPONDENCE REGARDING SAM EMPLOYMENT APPLICATION AND LIMITED
            OBJECTION RE SAME

    2105285      KJM                              535.00               $53.50               0.1

  11/1/2017   CORRESPONDENCE REGARDING STATUS OF RESOLUTION OF EC LIMITED OBJECTION TO
              SAM EMPLOYMENT APPLICATION

    2105321      KJM                              535.00               $53.50               0.1

  11/1/2017 PREPARATION OF EMAIL EXCHANGE RE: EQUITY COMMITTEE OBJECTION TO SAM
            EMPLOYMENT

    2105513      RB                               595.00               $59.50               0.1

  11/2/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SAM EMPLOYMENT OBJECTIONS
            AND ISSUES RE SAME

    2105342      KJM                              535.00              $107.00               0.2

  11/2/2017 PREPARATION OF EMAIL EXCHANGE RE: SAM EMPLOYMENT ISSUES AND EQUITY COMMITTEE
            OBJECTION

    2105578      RB                               595.00              $119.00               0.2

  11/2/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: SAM EMPLOYMENT ORDER; CONF WITH
            TANIA; ANALYSIS OF FURTHER CHANGES TO ORDER FROM EQUITY COMMITTEE

    2105614      RB                               595.00              $238.00               0.4

  11/3/2017 ANALYSIS OF REPLY TO OPPOSITIONS TO APPLICATION TO EMPLOY PROVINCE



    2108142      KJM                              535.00              $107.00               0.2

  11/3/2017 PREPARATION OF MULTIPLE EMAIL ECHANGE RE: SAM EMPLOYMENT ORDER AND POSSIBLE
            RESOLUTION OF EQUITY COMMITTEE OBJECTION; CONF WITH TANIA

    2105618      RB                               595.00              $178.50               0.3

  11/3/2017 PREPARATION OF FURTHER EMAIL EXCHANGE RE: SAM EMPLOYMENT ORDER AND
            RESOLUTION OF DISPUTE WITH EQUITY COMMITTEE

    2105629      RB                               595.00              $119.00               0.2

  11/3/2017 ANALYSIS OF UST WITHDRAWL OF EMPLOYMENT OBJECTIONS



    2105632      RB                               595.00               $59.50               0.1
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  11/3/2017 ANALYSIS OF CREDITOR COMMITTEE REPLY TO OBJECTION BY EQUITY COMMITTEE AND
            DEBTOR TO PROVINCE EMPLOYMENT

    2105636   RB                                   595.00              $119.00                0.2

  11/6/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH CLIENT RE: SKADDEN FEE AND
            EMPLOYMENT ISSUES AND REVIEW

    2108196   RB                                   595.00              $178.50                0.3

  11/6/2017 TELEPHONE CONFERENCE WITH TANIA RE: SKADDEN FEE AND EMPLOYMENT ISSUES AND
            REVIEW AND EQUITY COMMITTEE OBJECTION

    2108197   RB                                   595.00              $119.00                0.2

  11/6/2017 ANALYSIS OF TANIA EMAIL TO SKADDEN RE: EMPLOYMENT AND FEES DISPUTE WITH EQUITY
            COMMITTEE; CONF WITH VAN

    2108217   RB                                   595.00              $119.00                0.2

  11/7/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SKADDEN EMPLOYMENT ISSUES; CONF
            WITH BEN

    2108237   RB                                   595.00              $178.50                0.3

  11/7/2017 ANALYSIS OF MULTIPLE FURTHER EMAILS RE: SKADDEN EMPLOYMENT ISSUES



    2108256   RB                                   595.00               $59.50                0.1

  11/7/2017 ANALYSIS OF MULTIPLE FURTHER EMAILS RE: SKADDEN EMPLOYMENT DISPUTE AND SEC
            COMMUNICATION

    2108272   RB                                   595.00              $119.00                0.2

  11/8/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN EMPLOYMENT DISPUTE; CONF WITH BEN
            AND TANIA

    2108287   RB                                   595.00              $238.00                0.4

  11/8/2017 ANALYSIS OF TANIA EMAIL RE: SKADDEN EMPLOYMENT ISSUES AND EQUITY COMMITTEE;
            CONF WITH TANIA

    2108300   RB                                   595.00              $119.00                0.2

  11/8/2017 CONFERENCE CALL WITH SAM AND TANI RE: SKADDEN EMPLOYMENT ISSUES AND CASE
            REVIEW

    2108304   RB                                   595.00              $178.50                0.3

  11/9/2017 APPEARANCE AT HEARING ON OBJECTION TO PROVINCE EMPLOYMENT APPLICATION;
            ANALYSIS OF FILE IN PREP FOR HEARING; CONF WITH TANIA IN ADVANCE OF HEARING TO
            PREPARE
    2108343   RB                                   595.00             $2,261.00               3.8

  11/9/2017 PREPARATION OF EMAIL TO CLIENT RE: OUTCOME OF HEARING ON PROVINCE EMPLOYMENT
            APPLICATION

    2108373   RB                                   595.00               $59.50                0.1
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  11/9/2017 TELEPHONE CONFERENCE WITH TANIA RE: OUTCOME OF HEARING ON PROVINCE
            EMPLOYMENT DISPUTE

    2108374      RB                                595.00               $59.50               0.1

 11/10/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SKADDEN EMPLOYMENT DISPUTE; CONF
            WITH CLIENT

    2108392      RB                                595.00              $178.50               0.3

 11/14/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDE3N EMPLOYMENT DISPUTE; CONF WITH VAN



    2108867      RB                                595.00              $178.50               0.3

 11/15/2017 TELEPHONE CONFERENCE WITH BEN RE: SKADDEN FEE DISPUTE; PREP OF RELATED EMAIL
            EXCHANGE; ANALYSIS OF BANKRUPTCY SCHEDULES

    2109026      RB                                595.00              $238.00               0.4

 11/16/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN FEE DISPUTE; CONF WITH MATT



    2109277      RB                                595.00              $119.00               0.2

 11/17/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN FEE DISPUTE; ANALSYSI OF SKADDEN
            PROOF OF CLAIM

    2109413      RB                                595.00              $119.00               0.2

 11/18/2017 PREPARATION OF EMAIL EXCHANGE WITH BEN RE: SKADDEN FEE DISPUTE



    2109421      RB                                595.00               $59.50               0.1

 11/19/2017 TELEPHONE CONFERENCE WITH BEN RE: SKADDEN FEE DISPUTE AND POSSIBLE
            RESOLUTIONS

    2109428      RB                                595.00              $119.00               0.2

 11/20/2017 TELEPHONE CONFERENCE WITH BEN RE: SKADDEN FEE DISPUTE AND POSSIBLE
            RESOLUTION

    2109790      RB                                595.00              $119.00               0.2

                                                Total                $9,471.50              16.4
     09   -   FINANCING

   9/8/2017 ANALYSIS OF FINAL DIP AGREEMENT



    2088866      KJM                               535.00              $107.00               0.2

   9/8/2017 ANALYSIS OF POST-PETITION NOTE AND BORROWING NOTICE WITH RADIANS



    2091258      RB                                595.00              $119.00               0.2
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   9/8/2017 PREPARATION OF EMAIL EXCHANGE RE: CASH COLLATERAL ISSUES AND REVIEW; CONF WITH
            MATT

    2091259   RB                                   595.00              $119.00               0.2

   9/8/2017 ANALYSIS OF CASH COLLATERAL ISSUES AND REVIEW; PREP OF RELATED EMAIL EXCHANGE;
            CONF WITH GEOFF, MATT AND FRANK

    2091272   RB                                   595.00              $238.00               0.4

   9/8/2017 PREPARATION OF EMAIL EXCHANGE RE: DIP FINANCING AND CASH COLLATERAL ORDER



    2091279   RB                                   595.00              $119.00               0.2

   9/8/2017 PREPARATION OF EMAIL EXCHANGE RE: RADIANS CASH SWEEP ISSUES; CONF WITH FRANK,
            GEOFF AND MATT

    2091282   RB                                   595.00              $238.00               0.4

   9/8/2017 ANALYSIS OF DIP FINANCING AND CASH COLLATERAL ORDER AND RELATED EMAILS



    2091284   RB                                   595.00              $119.00               0.2

   9/9/2017 ANALYSIS OF LOAN DOCUMENTS, SEC FILINGS, UCC, OTHER MATERIALS FOR FILING, AND
            CC/DIP FINANCING MOTION AND DRAFT EMERGENCY MOTION

    2084034   MYK                                  575.00            $2,185.00               3.8

   9/9/2017 ANALYSIS OF UCCS, FIRST DAY MOTIONS, PETITIONS, INFORMATION THEREFOR,
            FORBEARANCE AND LOI AND RELATED DOCUMENTS, EMAILS

    2084520   MYK                                  575.00            $1,035.00               1.8

   9/9/2017 PREPARATION OF EMERGENCY MOTION FOR CASH COLLATERAL AND DIP FINANCING



    2084522   MYK                                  575.00              $690.00               1.2

   9/9/2017 PREPARATION OF EMERGENCY CASH COLLATERAL AND DIP FINANCING MOTION



    2085113   MYK                                  575.00            $1,092.50               1.9

   9/9/2017 PREPARATION OF INTERIM CASH COLLATERAL AND DIP FINANCING ORDER AND RELATED
            EMAIL EXCHANGE

    2091386   RB                                   595.00              $178.50               0.3

   9/9/2017 PREPARATION OF EMERGENCY DIP FINANCING CASH COLLATERAL MOTION; ANALYSIS OF
            LOAN DOCS

    2091387   RB                                   595.00            $1,487.50               2.5

  9/10/2017 ANALYSIS OF UCC SEARCHES AND FINANCING STATEMENTS



    2084167   KJM                                  535.00              $107.00               0.2
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  9/10/2017 ANALYSIS OF PRIMARY LOAN DOCUMENTS



    2084170    KJM                                    535.00               $214.00                  0.4

  9/10/2017 ANALYSIS OF DIP FINANCING AGREEMENT



    2084811    KJM                                    535.00               $321.00                  0.6

  9/10/2017 PREPARATION OF EMERGENCY MOTION FOR CASH COLLATERAL, DIP FINANCING, REVIEW DIP
            AGREEMENT

    2084710    MYK                                    575.00             $2,760.00                  4.8

  9/10/2017 PREPARATION OF EMERGENCY MOTION FOR APPROVAL OF DIP FINANCING AND CASH
            COLLATERAL AGREEMENT AND RELATED EMAIL EXCHANGE

    2091414    RB                                     595.00               $297.50                  0.5

  9/11/2017 PREPARATION OF DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN INTERIM ORDER: (I)
            AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETITION FINANCING PURSUANT TO 11 U.S.
            C. §§ 105, 361, 362 AND 364, AND (B) UTILIZE CASH COLLATERAL PURSUANT TO 11 U.S.C. §§
    2088426    JK                                     250.00               $200.00                  0.8

  9/11/2017 PREPARATION OF STATEMENT REGARDING
            CASH COLLATERAL OR
            DEBTOR IN POSSESSION FINANCING
    2088539    JK                                     250.00               $125.00                  0.5

  9/11/2017 PREPARATION OF CASH COLLATERAL/DIP FINANCING MOTION AND DECLARATION IN
            SUPPORT

    2088901    KJM                                    535.00               $535.00                  1.0

  9/11/2017 ANALYSIS OF DIP CREDITOR AND AGREEMENT TO USE CASH COLLATERAL AND RELATED
            EMAILS AND DISCUSSIONS THEREON

    2085111    MYK                                    575.00             $2,760.00                  4.8

  9/11/2017 ANALYSIS OF LA PIANA EMAIL RE: POSSIBLE FUND RAISING



    2091430    RB                                     595.00                $59.50                  0.1

  9/11/2017 PREPARATION OF DIP FINANCING AND CASH COLLATERAL MOTION AND RELATED EMAIL
            EXCHANGE; CONF WITH CLIENT AND FRANK

    2091431    RB                                     595.00               $297.50                  0.5

  9/11/2017 PREPARATION OF PLEADING AND FILE AND SERVE CASH COLLATERAL AND DIP FINANCING
            MOTION, KIM DECLARATION IN SUPPORT OF MOTION, AND STATEMENT REGARDING CASH
            COLLATERAL
    2088969    SR                                     250.00               $375.00                  1.5

  9/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING SUBMISSION OF PROPOSED CASH
            COLLATERAL/FINANCING ORDER

    2089100    KJM                                    535.00                $53.50                  0.1
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  9/13/2017 ANALYSIS OF CORRESPONDENCE REGARDING DIP LOAN DOCUMENTS AND APA



    2090141   KJM                                 535.00              $53.50                0.1

  9/13/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING DIP PROMISSORY NOTE AND
            EXECUTION OF SAME

    2090154   KJM                                 535.00              $53.50                0.1

 09/13/2017 TELEPHONE CONFERENCE WITH CHILDRESS, CLIENT REGADING POST-PETITION NOTE AND
            RELATED EMAILS R

    2089510   MYK                                 575.00             $345.00                0.6

  9/13/2017 APPEARANCE AT HEARINGS ON FIRST DAY MOTIONS, PRE AND POST MEETINGS WITH
            VARIOUS INTERESTED PARTIES

    2089520   MYK                                 575.00            $3,622.50               6.3

  9/13/2017 ANALYSIS OF NOTICE OF CASH COLLATERAL FINAL HEARING AND SUMMARY OF TERMS



    2089521   MYK                                 575.00             $345.00                0.6

  9/13/2017 ANALYSIS OF POST-PETITION PROMISSORY NOTE AND RELATED EMAILS; CONF WITH FRANK



    2091572   RB                                  595.00             $178.50                0.3

  9/13/2017 CONFERENCE WITH FRANK RE: DIP FINANCING AND CASH COLLATERAL ISSUES AND REVIEW



    2091575   RB                                  595.00             $297.50                0.5

  9/13/2017 APPEARANCE AT HEARING ON EMERGENCY DIP FINANCING AND CASH COLLATERAL MOTION;
            ANALYSIS OF FILE IN PREP FOR HEARING

    2091578   RB                                  595.00             $892.50                1.5

  9/13/2017 TELEPHONE CONFERENCE W/ CLIENT MATT RE: REVIEW OF OUTCOME OF FIRST DAY
            HEARINGS AND REVIEW OF COMPANY'S FUNDING NEEDS

    2091580   RB                                  595.00             $297.50                0.5

  9/13/2017 CONFERENCE WITH FRANK AFTER HEARING TO REVIEW DIP FINANCING AND COMPANY'S
            CASH NEEDS AND FUNDING PROTOCOL

    2091582   RB                                  595.00             $297.50                0.5

  9/13/2017 ANALYSIS OF MULTIPLE EMAILS AND DOCS RE: FUNDING REQUEST AND NOTE ISSUES AND
            REVIEW

    2091598   RB                                  595.00             $119.00                0.2

  9/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF DIP FUNDING



    2090160   KJM                                 535.00              $53.50                0.1
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  9/14/2017 ANALYSIS OF CORRESPONDENCE AND DOCUMENT REGARDING BORROWING NOTICE



    2090163   KJM                                  535.00              $53.50               0.1

  9/14/2017 PREPARATION OF EMAIL EXCHANGE RE: RADIANS FUNDING ISSUES; CONF WITH MATT AND
            FRANK

    2091603   RB                                   595.00             $178.50               0.3

  9/14/2017 ANALYSIS OF FRANK CHANGES TO FINAL DIP FINANCING AND CASH COLLATERAL NOTICE;
            PREP OF RELATED EMAIL EXCHANGE

    2091634   RB                                   595.00             $119.00               0.2

  9/15/2017 PREPARATION OF GLOBAL NOTICE OF FINAL DIP FINANCING AND CASH COLLATERAL
             HEARING TO INCORPORATE FRANK'S CHANGES AND RELATED EMAIL EXCHANGE; CONF WITH
             FRANK
     2091637    RB                                 595.00              $416.50           0.7

  9/18/2017 ANALYSIS OF UPDATED CASH FLOW ANALYSIS AND RELATED EMAILS; CONF WITH RICKMAN
            AND MATT

    2091719   RB                                   595.00             $238.00               0.4

  9/20/2017 ANALYSIS OF CORRESPONDENCE REGARDING INVENTORY PURCHASES AND FINANCING



    2091201   KJM                                  535.00              $53.50               0.1

  9/20/2017 TELEPHONE CONFERENCE WITH CLIENT REGARDING CASH COLLATERAL AND DIP FINANCING
            NEEDS

    2091743   MYK                                  575.00             $172.50               0.3

  9/20/2017 ANALYSIS OF EMAILS RE: DIP FUNDING ISSUES AND REVIEW



    2092630   RB                                   595.00              $59.50               0.1

  9/22/2017 ANALYSIS OF CORRESPONDENCE REGARDING ADDITIONAL INVENTORY PURCHASES AND
            USE OF CASH COLLATERAL

    2092186   KJM                                  535.00              $53.50               0.1

  9/22/2017 TELEPHONE CONFERENCE WITH CLIENT AND OTHERS REGARDING CASH NEEDS FOR NEXT
            INTERIM HEARING

    2092459   MYK                                  575.00             $115.00               0.2

  9/23/2017 PREPARATION OF EMAIL EXCHANGE RE: RADIANS FINANCING ISSUES AND REVIEW



    2092733   RB                                   595.00              $59.50               0.1

  9/24/2017 ANALYSIS OF EMAIL EXCHANGE REGARDING FINANCING NEEDS GOING FORWARD



    2092961   KJM                                  535.00              $53.50               0.1
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  9/24/2017 TELEPHONE CONFERENCE WITH CLIENT REGARDING FUNDING NEEDS, AMEX, AND ALL
            RELATED EMAILS AND DISCUSSIONS

    2092751   MYK                                 575.00             $460.00                 0.8

  9/24/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: RADIANS DIP FINANCING AND ADVANCES;
            ANALYSIS OF FILE

    2094635   RB                                  595.00             $119.00                 0.2

  9/25/2017 ANALYSIS OF SECOND INTERIM CASH COLLATERAL/DIP FINANCING ORDER



    2093334   KJM                                 535.00              $53.50                 0.1

  9/25/2017 APPEARANCE AT CONTINUED HEARING ON CASH COLLATERAL/DIP FINANCING, BIDDING
            PROCEDURES AND FOLLOW UP DISCUSSIONS REGARDING HEARING

    2093121   MYK                                 575.00            $3,335.00                5.8

  9/25/2017 CONFERENCE CALL WITH CLIENT REGARDING BUDGET, CASH COLLATERAL/DIP FINANCING,
            PREPARATION FOR HEARING

    2093130   MYK                                 575.00             $402.50                 0.7

  9/25/2017 PREPARATION OF SECOND INTERIM ORDER APPROVING FINANCING AND CASH COLLATERAL
            USE

    2093131   MYK                                 575.00             $632.50                 1.1

  9/25/2017 TELEPHONE CONFERENCE W/ CLIENT MATT RE: RADIANS DIP FINANCING AND COMPANY'S
            CASH AND BORROWING NEEDS

    2094663   RB                                  595.00             $178.50                 0.3

  9/25/2017 TELEPHONE CONFERENCE W/ CLIENT MATT RE: L/C ISSUES AND REVIEW



    2094664   RB                                  595.00             $119.00                 0.2

  9/25/2017 PREPARATION OF SECOND INTERIM DIP FINANCING AND CASH COLLATERAL ORDER;
            ANALYSIS OF FILE

    2094682   RB                                  595.00             $476.00                 0.8

  9/25/2017 APPEARANCE AT HEARING ON DIP FINANCING/CASH COLLATERAL MOTION; ANALYSIS OF FILE
            IN PREP FOR HEARING

    2094687   RB                                  595.00             $892.50                 1.5

  9/26/2017 ANALYSIS OF REVISIONS TO SECOND INTERIM CASH COLLATERAL ORDER



    2093341   KJM                                 535.00              $53.50                 0.1

  9/26/2017 ANALYSIS OF CORRESPONDENCE FROM FRANK CHILDRESS REGARDING SECOND INTERIM
            CASH COLLATERAL ORDER AND PROPOSED REVISIONS RE SAME

    2093342   KJM                                 535.00              $53.50                 0.1
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  9/26/2017 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO OCC REGARDING SECOND INTERIM
            CASH COLLATERAL ORDER

    2093345   KJM                                 535.00               $53.50               0.1

  9/26/2017 ANALYSIS OF CORRESPONDENCE REGARDING BUDGETING AND INVENTORY EXPENSES



    2093359   KJM                                 535.00               $53.50               0.1

  9/26/2017 PREPARATION OF SECOND INTERIM CASH COLLATERAL AND DIP FINANCING ORDER,
            RELATED DISCUSSIONS WITH CLIENT, COUNSEL AND MAKE REVISIONS

    2093522   MYK                                 575.00              $805.00               1.4

  9/26/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: DIP FINANCING AND CASH COLLATERAL
            ORDER; CONF WITH FRANK

    2094703   RB                                  595.00              $178.50               0.3

  9/26/2017 PREPARATION OF EMAIL EXCHANGE RE: COMPANY BORROWING NEEDS; CONF WITH MATT



    2094706   RB                                  595.00              $119.00               0.2

  9/26/2017 ANALYSIS OF MULTIPLE FURTHER EMAILS AND CHANGES TO DIP FINANCING AND CASH
            COLLATERAL ORDER

    2094719   RB                                  595.00              $119.00               0.2

  9/27/2017 ANALYSIS OF CORRESPONDENCE REGARDING SECOND INTERIM CASH COLLATERAL ORDER



    2093686   KJM                                 535.00               $53.50               0.1

  9/27/2017 ANALYSIS OF ENTERED SECOND INTERIM CASH COLLATERAL AND DIP FINANCING ORDER;
            PREPARATION OF CORRESPONDENCE RE SAME

    2093849   KJM                                 535.00               $53.50               0.1

  9/27/2017 ANALYSIS OF SECOND INTERIM FINANCING ORDER, ATTACHMENTS, ENTRY THEREOF



    2093927   MYK                                 575.00              $287.50               0.5

  9/27/2017 PREPARATION OF EMAIL EXCHANGE RE: L/C ISSUES AND REVIEW



    2094742   RB                                  595.00               $59.50               0.1

  9/28/2017 ANALYSIS OF CORRESPONDENCE WITH LENDER REGARDING FINAL CASH COLLATERAL/DIP
            FINANCING ORDER

    2094136   KJM                                 535.00               $53.50               0.1

  9/28/2017 PREPARATION OF PROPOSED ORDER ON STIPULATION WITH OCC AND EC REGARDING
            DEADLINE TO OPPOSE CASH COLLATERAL MOTION; ANALYSIS OF STIPULATION AND
            MULTIPLE CORRESPONDENCE RE SAME
    2094180   KJM                                 535.00              $107.00               0.2
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  9/28/2017 TELEPHONE CONFERENCE WITH RADIANS REGARDING FORM OF FINAL CASH COLLATERAL
            AND FINANCING ORDER, COMMITTEES REGARDING EXTENSION OF DEADLINE TO OBJECT,
            PREPARE STIPULATION AND ORDER THEREON
    2094266   MYK                                 575.00             $632.50                1.1

  9/29/2017 ANALYSIS OF ORDER APPROVING STIP TO EXTEND COMMITTEE'S DEADLINE TO OBJECT TO
            FINAL DIP FINANCING ORDER

    2095001   RB                                  595.00              $59.50                0.1

  10/2/2017 ANALYSIS OF CORRESPONDENCE RE RECEIPT OF LOAN PROCEEDS



    2104048   KJM                                 535.00              $53.50                0.1

  10/2/2017 ANALYSIS OF COMMUNICATIONS AS TO ADDITIONAL FUNDING BY RADIANS



    2095428   MYK                                 575.00             $115.00                0.2

  10/2/2017 TELEPHONE CONFERENCE WITH COUNSEL FOR COMMITTEES AND RADIANS REGARDING
            FINAL HEARING ON CASH COLLATERAL AND DIP FINANCING, RELATED EMAILS AND
            OBJECTIONS
    2095431   MYK                                 575.00             $920.00                1.6

  10/2/2017 ANALYSIS OF DIP AGREEMENT AND INTERIM ORDERS REGARDING DEFAULT PROVISIONS,
            INTEREST RATE, AUTOMATIC STAY PROVISIONS

    2095435   MYK                                 575.00             $575.00                1.0

  10/2/2017 PREPARATION OF EMAIL EXCHANGE RE: RADIANS DIP LENDING; CONF WITH MATT



    2101437   RB                                  595.00              $59.50                0.1

  10/2/2017 PREPARATION OF EMAIL EXCHANGE RE: CASH COLLATERAL AND DIP FINANCING ISSUES AND
            REVIEW

    2101446   RB                                  595.00              $59.50                0.1

  10/3/2017 ANALYSIS OF EMAIL EXCHANGE WITH OCC REGARDING CASH COLLATERAL AND DIP
            FINANCING ORDER AND ISSUES RE SAME

    2095706   KJM                                 535.00              $53.50                0.1

  10/3/2017 ANALYSIS OF OBJECTIONS TO CASH COLLATERAL AND DIP FINANCING MOTIONS



    2096492   KJM                                 535.00             $160.50                0.3

  10/3/2017 ANALYSIS OF OBJECTIONS FILED BY TWO COMMITTEES FOR FINAL APPROVAL OF FINANCING
            AND RELATED DISCUSSIONS WITH RADIANS

    2096416   MYK                                 575.00             $632.50                1.1

  10/3/2017 PREPARATION OF EMAIL EXCHANGE RE: DIP FINANCING AND CASH COLLATERAL ISSUES AND
            REVIEW

    2101472   RB                                  595.00              $59.50                0.1
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  10/3/2017 ANALYSIS OF CREDITOR COMMITTEE OPPOSITION TO DIP FINANCING AND CASH COLLATERAL
            MOTION

    2101486   RB                                  595.00              $59.50                0.1

  10/3/2017 ANALYSIS OF EQUITY COMMITTEE OPPOSITION TO DIP FINANCING AND CASH COLLATERAL
            MOTION

    2101489   RB                                  595.00              $59.50                0.1

  10/4/2017 ANALYSIS OF CORRESPONDENCE TO COUNSEL TO RADIANS RE FINAL DIP ORDER



    2104106   KJM                                 535.00              $53.50                0.1

  10/4/2017 ANALYSIS OF CORRESPONDENCE FROM EC COUNSEL REGARDING DIP ORDER



    2104132   KJM                                 535.00              $53.50                0.1

  10/4/2017 ANALYSIS OF EMAIL EXCHANGE WITH M PLISKIN REGARDING BUDGET AND CASH FLOW
            ISSUES

    2104134   KJM                                 535.00              $53.50                0.1

  10/4/2017 CONFERENCE CALL WITH RADIANS, COMMITTEES REGARDING OBJECTIONS TO CASH
            COLLATERAL, FINAL APPROVAL FOR HEARING ON FRIDAY

    2096836   MYK                                 575.00            $1,150.00               2.0

  10/4/2017 ANALYSIS OF OMNIBUS REPLY TO FINANCING OBJECTIONS IF NEEDED



    2096838   MYK                                 575.00             $287.50                0.5

  10/4/2017 PREPARATION OF FORM OF FINAL CASH COLLATERAL AND DIP FINANCING ORDER FOR
            HEARING ON OCTOBER 6

    2096842   MYK                                 575.00             $862.50                1.5

  10/4/2017 PREPARATION OF EMAIL EXCHANGE RE: DIP FINANCING AND CASH COLLATERAL
            NEGOTIATIONS; ANALYSIS OF REVISED ORDER

    2101704   RB                                  595.00             $119.00                0.2

  10/5/2017 ANALYSIS OF PROPOSED LANGUAGE FOR FINANCING ORDER



    2096995   KJM                                 535.00              $53.50                0.1

  10/5/2017 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO RADIANS REGARDING CASH
            COLLATERAL/FINANCING ORDER ISSUES

    2096997   KJM                                 535.00              $53.50                0.1

  10/5/2017 ANALYSIS OF OCC PROPOSED EDITS TO FINAL CASH COLLATERAL/DIP FINANCING ORDER



    2097017   KJM                                 535.00              $53.50                0.1
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            OTHERS REGARDING ORDER, CLOSING UP OPEN ISSUES AND RELATED EMAILS AND
            DISCUSSIONS
    2097220   MYK                                  575.00             $1,322.50               2.3

 10/05/2017 PREPARATION OF PROPOSED FINAL ORDER ON FINANCING AND CASH COLLATERAL, ALL
            RELATED EMAILS

    2097346   MYK                                  575.00             $1,380.00               2.4

  10/5/2017 ANALYSIS OF DIP FINANCING ISSUES; PREP OF RELATED EMAIL EXCHANGE; CONF WITH MATT



    2101739   RB                                   595.00               $119.00               0.2

  10/5/2017 ANALYSIS OF DIP FINANCING AND CASH COLLATERAL ORDER AND MULTIPLE RELATED
            EMAILS

    2101746   RB                                   595.00               $119.00               0.2

  10/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF DIP FINANCING AND DRAW
            REQUESTS

    2097300   KJM                                  535.00                $53.50               0.1

  10/6/2017 ANALYSIS OF ENTERED FINAL CASH COLLATERAL AND DIP FINANCING ORDER; PREPARATION
            OF CORRESPONDENCE RE SAME

    2097325   KJM                                  535.00                $53.50               0.1

 10/06/2017 APPEARANCE AT FINAL HEARING ON CASH COLLATERAL AND DIP FINANCING AND FOLLOW UP
            COMMUNICATIONS THEREON

    2097492   MYK                                  575.00             $1,610.00               2.8

  10/6/2017 ANALYSIS OF ENTERED FINAL ORDER ON CASH COLLATERAL AND DIP FINANCING AND
            DISCUSS LOANS WITH CLIENT

    2097497   MYK                                  575.00               $172.50               0.3

  10/6/2017 ANALYSIS OF MULTIPLE EMAILS RE: DIP FINANCING AND CASH COLLATERAL ISSUES AND
            REVIEW

    2101767   RB                                   595.00                $59.50               0.1

 10/17/2017 TELEPHONE CONFERENCE WITH GEOFF GREULICH AND FRANK CHILDRESS REGARDING
            NOTE

    2099564   MYK                                  575.00               $115.00               0.2

 10/24/2017 ANALYSIS OF LOC ISSUES AND RELATED EMAILS; CONF WITH MATT



    2103080   RB                                   595.00               $119.00               0.2

 10/24/2017 ANALYSIS OF EMAILS AND DOCS FROM KREIGER RE: IP LIENS ISSUES; CONF WITH CLIENT



    2103095   RB                                   595.00               $238.00               0.4
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 10/28/2017 PREPARATION OF EMAIL EXCHANGE RE: LIEN ISSUES WITH BBI; ANALYSIS OF FILE



    2104059    RB                                   595.00              $119.00             0.2

 10/30/2017 PREPARATION OF EMAIL EXCHANGE RE: LIEN OBLIGATIONS AND TERMINATION; CONF WITH
            KREIGER

    2104570    RB                                   595.00              $119.00             0.2

 10/31/2017 ANALYSIS OF REVISIONS TO SALE ORDER FROM RADIANS AND RADIANS PAY OFF SUMMARY;
            PREP OF FURTHER REVISED ORDER

    2104675    RB                                   595.00              $297.50             0.5

  11/1/2017 ANALYSIS OF RADIANS PAY OFF AMOUNT AND PREP OF RELATED EMAIL EXCHANGE; CONF
            WITH MATT

    2105512    RB                                   595.00              $178.50             0.3

  11/5/2017 TELEPHONE CONFERENCE WITH FRANK RE: RADIANS PAY OFF AND CASE STATUS



    2105725    RB                                   595.00               $59.50             0.1

  11/6/2017 TELEPHONE CONFERENCE WITH PLISKIN REGARDING COMPLIANCE WITH DIP ORDER



    2106081    MYK                                  575.00               $57.50             0.1

  11/6/2017 PREPARATION OF EMAIL EXCHANGE RE: RADIANS DEBT AMOUNT AND COMPUTATION



    2108202    RB                                   595.00              $119.00             0.2

  11/6/2017 PREPARATION OF EMAIL EXCHANGE RE: RETURN OF RADIANS DEPOSIT; CONF WITH FRANK



    2108216    RB                                   595.00               $59.50             0.1

  11/6/2017 ANALYSIS OF DOCUMENTS AND EMAILS RE: COMPUTATION AOF RADIANS DEBT



    2108219    RB                                   595.00              $119.00             0.2

  11/7/2017 PREPARATION OF EMAIL EXCHANGE WITH MICHAEL RE: RADIANS CLAIM ISSUES



    2108258    RB                                   595.00               $59.50             0.1

 11/14/2017 PREPARATION OF EMAIL EXCHANGE WITH FRANK RE: RADIANS PAY OFF AMOUNT; CONF WITH
            FRANK

    2108901    RB                                   595.00              $119.00             0.2

 11/14/2017 ANALYSIS OF DOCS AND SALE ORDER TO COMPUTE RADIANS PAY OFF AMOUNT; CONF WITH
            MATT

    2108912    RB                                   595.00              $178.50             0.3
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 11/15/2017 ANALYSIS OF RADIANS PAY OFF DEMAND; CONPUTE SAME; PREP OF MULTIPLE RELATED
            EMAIL EXCHANGE; CONF WITH MATT

    2108978      RB                                595.00              $297.50              0.5

 11/15/2017 ANALYSIS OF FURTHER EMAILS AND DOCS RE: RADIANS FINAL PAY OFF DEMAND; COMPUTE
            SAME; CONF WITH MATT

    2109003      RB                                595.00              $178.50              0.3

                                                Total               $46,241.50            81.7
     10   -   RELIEF FROM STAY

  9/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING STAY OF LITIGATION



    2089786      KJM                               535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF STAY LETTER TO GARDERE AND RELATED EMAILS



    2089282      MYK                               575.00               $57.50              0.1

  9/13/2017 PREPARATION OF 3 LETTERS RE RELIEF FROM STAY; ATTACHED 2 EXHIBITS



    2089449      JK                                250.00              $175.00              0.7

  9/13/2017 ANALYSIS OF STAY LETTER RE GARDERE



    2089517      MYK                               575.00               $57.50              0.1

  9/13/2017 ANALYSIS OF AUTOMATIC STAY LETTER



    2091595      RB                                595.00               $59.50              0.1

  9/20/2017 ANALYSIS OF FILES RE LETTER TO GARDERE WYNNE RE AUTO STAY; CHECK FILES RE CC TO
            JAMS

    2091110      JK                                250.00               $50.00              0.2

 10/01/2017 ANALYSIS OF STAY LETTER TO CREDITOR DEMANDING PAYMENT



    2095048      MYK                               575.00              $115.00              0.2

 10/20/2017 ANALYSIS OF AISENBERG AND CORDES RELIEF FROM STAY MOTIONS AND RELATED
            PLEADINGS

    2102147      RB                                595.00              $297.50              0.5

 10/21/2017 PREPARATION OF EMAIL EXCHANGE RE: CORDES AND AISENBERG RFS MOTIONS



    2102154      RB                                595.00               $59.50              0.1
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 10/24/2017 ANALYSIS OF AISENBERG AND CORDES RELIEF FROM STAY MOTIONS AND RELATED
            PLEADINGS

    2103096     RB                                 595.00              $297.50              0.5

 10/31/2017 PREPARATION OF OPPOSITION TO MOTION FOR RELIEF FROM STAY



    2104741     KJM                                535.00             $1,979.50             3.7

 10/31/2017 ANALYSIS OF OPPOSITION TO RELIEF FROM STAY FILED BY CORDES/AISENBERG



    2103156     MYK                                575.00              $172.50              0.3

 10/31/2017 ANALYSIS OF OPPOSITION TO AISENBERG AND CORDES RFS MOTIONS AND RELATED EMAILS



    2104658     RB                                 595.00              $119.00              0.2

  11/1/2017 PREPARATION OF OPPOSITION TO CORDES AND AISENBERG RELIEF FROM STAY MOTION



    2105296     KJM                                535.00             $1,016.50             1.9

  11/1/2017 ANALYSIS OF EQUITY COMMITTEE JOINDER TO OPPOSITION TO CORDES/AISENBERG RFS
            MOTION

    2105320     KJM                                535.00               $53.50              0.1

  11/1/2017 ANALYSIS OF AISENBERG AND CORDES RFS OPPOSITIONS AND RELATED EMAILS



    2105524     RB                                 595.00              $119.00              0.2

  11/1/2017 ANALYSIS OF EQUITY COMMITTEE JOINDER TO RFS OPPOSITION OF CORDES AND
            AISENBERG

    2105551     RB                                 595.00               $59.50              0.1

  11/1/2017 PREPARATION OF PLEADING AND FILE OPPOSITION TO AISENBERG AND CORDES RELIEF
            FROM STAY MOTION

    2106784     SR                                 250.00              $125.00              0.5

  11/8/2017 ANALYSIS OF BECK REPLY ON RELIEF FROM STAY



    2106734     MYK                                575.00              $115.00              0.2

  11/8/2017 ANALYSIS OF CORDES AND AISENBERG REPLAY TO OPPOSITION TO RFS MOTION



    2108307     RB                                 595.00              $178.50              0.3

 11/12/2017   PREPARATION FOR HEARING ON STAY RELIEF MOTION



    2107409     KJM                                535.00              $267.50              0.5
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 11/14/2017    PREPARATION FOR HEARING ON CORDES AND AISENBERG RELIEF FROM STAY MOTION



    2107755      KJM                               535.00             $1,070.00              2.0

 11/14/2017 TELEPHONE CONFERENCE WITH TANIA MEMO RE: CORDES AND AISENBERG RELIEF FROM
            STAY ISSUES; CONF WITH TANIA IN PREP FOR HEARING

    2108911      RB                                595.00              $178.50               0.3

 11/15/2017    PREPARATION FOR AND APPEARANCE AT CORDES/AISENBERG RELIEF FROM STAY HEARING



    2108100      KJM                               535.00             $1,498.00              2.8

 11/15/2017 APPEARANCE AT HEARING ON CORDES AND AISENBERG RFS MOTION; ANALYSIS OF FILE IN
            PREP FOR HEARING

    2108994      RB                                595.00             $1,190.00              2.0

 11/17/2017 ANALYSIS OF PROPOSED ORDER ON CORDES/AISENBERG RELIEF FROM STAY MOTION



    2109615      KJM                               535.00               $53.50               0.1

 11/17/2017 ANALYSIS OF ORDER DENYING CORDES AND AISENBERG RFS MOTION; CONF WITH TANIA



    2109417      RB                                595.00              $119.00               0.2

 11/19/2017 ANALYSIS OF CORDES AND AISENBERG RFS ORDER; PREP OF EMAIL EXCHANGE WITH TANIA



    2109435      RB                                595.00               $59.50               0.1

 11/20/2017 ANALYSIS OF SHIVA BECK'S COMMENTS TO PROPOSED STAY RELIEF SCHEDULING ORDER



    2109718      KJM                               535.00               $53.50               0.1

 11/20/2017 ANALYSIS OF CHANGES TO CORDES AND AISENBERG RFS ORDER AND MULTIPLLE RELATED
            EMAILS

    2109777      RB                                595.00               $59.50               0.1

                                               Total                 $9,709.50              18.3
     11   -   MEETINGS OF CREDITORS

  9/11/2017 PREPARATION OF EMAIL EXCHANGE WITH VAN DURRER RE: CASE REVIEW AND COMMITTEE
            ISSUES; CONF WITH VAN

    2091463      RB                                595.00              $119.00               0.2

  9/12/2017 ANALYSIS OF VILIPLANA EMAIL RE: COMMITTEE ISSUES



    2091544      RB                                595.00               $59.50               0.1
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  9/13/2017 ANALYSIS OF NOTICE OF 341(A) MEETING OF CREDITORS



    2091571     RB                                  595.00                $59.50              0.1

  9/14/2017 TELEPHONE CONFERENCE WITH KHARASCH RE: COMMITTEE ISSUES AND CASE REVIEW



    2091606     RB                                  595.00               $178.50              0.3

  9/14/2017 TELEPHONE CONFERENCE WITH ROSS OF UST RE: COMMITTEE FORMATION ISSUES AND
            REVIEW

    2091607     RB                                  595.00               $119.00              0.2

  9/15/2017 TELEPHONE CONFERENCE WITH ROSS OF UST RE: COMMITTEE ISSUES AND CASE REVIEW



    2091640     RB                                  595.00               $119.00              0.2

  9/18/2017 PREPARATION OF CORRESPONDENCE TO DEBTOR REPRESENTATIVES REGARDING 341A
            MEETINGS OF CREDITORS

    2090531     KJM                                 535.00                $53.50              0.1

  9/18/2017 TELEPHONE CONFERENCE WITH MARGAUX ROSS OF UST RE: COMMITTEE FORMATION
             ISSUES AND REVIEW; PREP OF EMAIL MEMO TO CLIENT; CONF WITH CLIENT; ANALYSIS OF 20
             LARGEST LIST
     2091726    RB                                  595.00              $535.50               0.9

  9/19/2017   EMAIL EXCHANGE WITH M ROSS RE 341A MEETING SCHEDULE



    2090833     KJM                                 535.00                $53.50              0.1

  9/19/2017 PREPARATION OF EMAIL EXCHANGE RE: EQUITY COMMITTEE ISSUES AND REVIEW; CONF
            WITH ROSS OF UST - MULTIPLE CALLS; CONF WITH CLIENT

    2092586     RB                                  595.00               $297.50              0.5

  9/19/2017 PREPARATION OF EMAIL EXCHANGE WITH ROSS OF UST RE: 510(B) CLAIMS BY
            SHAREHOLDERS; CONF WITH ROSS; ANALYSIS OF SECTION 510(B) AND CASES PROVIDED

    2092587     RB                                  595.00               $416.50              0.7

  9/19/2017 ANALYSIS OF COMMITTEE SOLICITATION FORMS FROM UST: PREP OF EMAIL MEMO TO
            CLIENT; CONF WITH CLIENT; CONF WITH ROSS OF UST

    2092607     RB                                  595.00               $238.00              0.4

  9/19/2017 ANALYSIS OF EQUITY COMMITTEE UPDATE; CONF WITH ROSS OF UST



    2092612     RB                                  595.00               $119.00              0.2

  9/20/2017 ANALYSIS OF EMAIL FROM ROSS OF UST RE: CREDITOR SOLICITATION FORM; CONF WITH
            ROSS

    2092639     RB                                  595.00               $119.00              0.2
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  9/20/2017 ANALYSIS OF EMAIL FROM ROSS RE: RON CHEZ EQUITY; CONF WITH ROSS RE: EQUITY
            COMMITTEE FORMATION AND PROFESSIONAL COMPENSATION ISSUES AND REVIEW

    2092651     RB                                 595.00              $178.50              0.3

  9/20/2017 ANALYSIS OF EQUITY COMMITTEE APPOINTMENT



    2092657     RB                                 595.00               $59.50              0.1

  9/20/2017 PREPARATION OF EMAIL EXCHANGE WITH ROSS RE: HER EMAIL TO EQUITY COMMITTEE;
            CONF WITH ROSS

    2092659     RB                                 595.00              $178.50              0.3

  9/21/2017 PREPARATION OF EMAIL EXCHANGE WITH MCDOW RE: COMMITTEE ISSUES AND CASE
            REVIEW

    2092684     RB                                 595.00               $59.50              0.1

  9/21/2017 PREPARATION OF EMAIL EXCHANGE RE: 341A MEETING ISSUES AND REVIEW



    2092691     RB                                 595.00               $59.50              0.1

  9/22/2017 ANALYSIS OF OCC FORMATION NOTICE; CONF WITH ROSS



    2092722     RB                                 595.00              $119.00              0.2

  9/22/2017 ANALYSIS OF EMAIL EXCHANGE WITH CASTALDI RE: OCC ISSUES AND REVIEW



    2092723     RB                                 595.00               $59.50              0.1

  9/23/2017 PREPARATION OF NDA FOR CREDITORS COMMITTEE AND RELATED EMAIL EXCHANGE



    2092730     RB                                 595.00              $238.00              0.4

  9/23/2017 PREPARATION OF EMAIL EXCHANGE RE: OCC ISSUES AND REQUEST TO KEEP PROFESSIONAL
            FEES DOWN

    2092732     RB                                 595.00              $119.00              0.2

  9/28/2017 PREPARATION OF EMAIL EXCHANGE RE: COMMITTE REQUEST TO MEET WITH RICKMAN; CONF
            WITH TANIA

    2094761     RB                                 595.00              $119.00              0.2

  9/29/2017 ANALYSIS OF OCC DUE DILIGENCE REQUEST; PREP OF RELATED EMAIL EXCHANGE; CONF
            WITH SAM AND TANIA

    2095006     RB                                 595.00              $297.50              0.5

  10/2/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING 341A MEETING OF CREDITORS



    2104074     KJM                                535.00               $53.50              0.1
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  10/2/2017 PREPARATION OF EMAIL EXCHANGE RE: INFORMATIONAL ISSUES WITH CRAIGN HALLUM AND
            COMMITTEES; CONF WITH STEVE RICKMAN AND TANIA

    2101442      RB                                 595.00             $297.50               0.5

  10/2/2017 PREPARATION OF DRAFTS OF NDA'S FOR CREDITORS COMMITTEE AND EQUITY COMMITTEE
            AND RELATED EMAIL EXCHANGE

    2101448      RB                                 595.00             $416.50               0.7

  10/3/2017   EMAIL EXCHANGES REGARDING MEETINGS OF CREDITORS



    2095769      KJM                                535.00              $53.50               0.1

  10/3/2017 CONFERENCE CALL WITH MATT AND GEOFF RE: 341A MEETING ISSUES AND REVIEW; PREP OF
            RELATED EMAIL EXCHANGE

    2101487      RB                                 595.00             $178.50               0.3

  10/5/2017 ANALYSIS OF TANIA EMAIL RE: REQUEST INFORMATION; CONF WITH TANIA; PREP OF
            RELATED EMAIL EXCHANGE

    2101747      RB                                 595.00             $178.50               0.3

  10/5/2017 TELEPHONE CONFERENCE WITH RICKMAN RE: COMMITTEE DISCOVERY REQUESTS; PREP OF
            RELATED EMAIL EXCHANGE

    2101754      RB                                 595.00             $178.50               0.3

  10/5/2017 CONFERENCE CALL WITH GEOFF AND MATT RE: PREP FOR 341A MEETING OF CREDITORS



    2101756      RB                                 595.00             $119.00               0.2

  10/5/2017 ANALYSIS OF PROPOSED EQUITY COMMITTEE NDA FROM TANIA; CONF WITH TANIA



    2101758      RB                                 595.00             $119.00               0.2

  10/6/2017 ANALYSIS OF MULTIPLE EMAILS AND DOCS RE: NDA ISSUES AND REVIEW



    2101774      RB                                 595.00             $119.00               0.2

  10/8/2017 PREPARATION OF MULTIPLE EMAIL RE: DISSEMINATION OF CONFIDENTIAL INFORMATION TO
            COMMITTEE

    2101800      RB                                 595.00             $119.00               0.2

  10/9/2017 PREPARATION OF EMAIL EXCHANGE RE: COMMITTEE INFORMATIONAL REQUESTS AND
            RESPONSES TO SAME

    2101832      RB                                 595.00             $119.00               0.2

 10/10/2017   REVIEW SCHEDULES, SOFA'S, ADMINISTRATIVE COMPLIANCE, AND OTHER DOCUMENTS, IN
              PREPARATION FOR 341A MEETINGS

    2098055      KJM                                535.00             $374.50               0.7
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 10/10/2017   EMAIL EXCHANGE WITH GEOFF REGARDING PREPARATION FOR 341A MEETINGS



    2098056      KJM                                535.00              $53.50                0.1

 10/10/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: OVERALL CASE REVIEW AND PREP FOR
            341A MEETING

    2101851      RB                                 595.00             $119.00                0.2

 10/10/2017 ANALYSIS OF MULTLPLE EMAILS AND DOCS RE: NDA AND INFORMATION DISTRIBUTION TO
            COMMITTEES

    2101854      RB                                 595.00             $119.00                0.2

 10/11/2017   PREPARE FOR AND APPEAR AT 341A MEETING (CANCELLED BY UST); CONFER WITH GEOFF
              GREULICH RE CASE ISSUES

    2098530      KJM                                535.00            $1,070.00               2.0

 10/11/2017 APPEARANCE AT SCHEDULED 341A MEETING SET BY UST; ANALYSIS OF FILE IN PREP FOR
            MEETING; CONF WITH UST ATTY ROSS

    2101894      RB                                 595.00            $1,190.00               2.0

 10/12/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE AND ANALYSIS OF DOCS RE: COMMITTEE
            DISCOVERY ISSUES AND REVIEW

    2101917      RB                                 595.00             $178.50                0.3

 10/16/2017 ANALYSIS OF CORRESPONDENCE REGARDING SCHEDULE FOR 341A MEETING



    2104216      KJM                                535.00              $53.50                0.1

 10/18/2017 ANALYSIS OF CORRESPONDENCE FROM UST RE RESCHEDULED 341A MEETING



    2100165      KJM                                535.00              $53.50                0.1

 10/18/2017 ANALYSIS OF JOINT PRIVILEGE AGREEMENT FROM EQUITY COMMITTEE; PREP OF RELATED
            EMAIL EXCHANGE

    2102069      RB                                 595.00             $119.00                0.2

 10/19/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF 341A MEETING



    2104475      KJM                                535.00              $53.50                0.1

 10/19/2017 PREPARATION OF EMAIL EXCHANGE RE: 341A MEETING



    2102104      RB                                 595.00              $59.50                0.1

 10/20/2017 ANALYSIS OF TANIA EMAIL RE: EQUITY COMMITTEE RETENTION OF FINANCIAL ADVISOR AND
            REQUEST FOR INFORMATION

    2102150      RB                                 595.00              $59.50                0.1
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 10/25/2017    PREPARATION FOR AND ATTENDANCE AT MEETING OF CREDITORS



    2104649      KJM                               535.00            $1,070.00              2.0

 10/25/2017 ANALYSIS OF PROVINCE REQUEST FOR FINANCIAL INFORMATION; CONF WITH CLIENT



    2103118      RB                                595.00               $119.00             0.2

 10/25/2017 APPEARANCE AT 3412A MEETING OF CREDITORS



    2103124      RB                                595.00            $1,190.00              2.0

 11/20/2017 CONFERENCE CALL WITH TANIA, SAM AND SCOTT JARUS RE: OVERALL CASE REVIEW,
            ANALYSIS AND PLANNING

    2109761      RB                                595.00               $595.00             1.0

                                               Total               $12,403.00              21.4
     12   -   PLAN AND DISCLOSURE STATEMENT

 10/27/2017 PREPARATION OF MEMO TO BOARD RE: PLAN STRUCTURES AND OVERALL CASE REVIEW AND
            PLANNING AND RELATED EMAIL EXCHANGE

    2104008      RB                                595.00               $892.50             1.5

 10/29/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH BOARD RE: PLAN ISSUES AND REVIEW;
            ANALYSIS OF FILE

    2104443      RB                                595.00               $238.00             0.4

 10/30/2017 PREPARATION OF EMAIL EXCHANGE RE: SALE OF CORPORATE SHELL UNDER THE PLAN



    2104494      RB                                595.00                $59.50             0.1

  11/5/2017 PREPARATION OF JOINT DISCLOSURE STATEMENT FOR DEBTORS AND EQUITY COMMITTEE;
            ANALYSIS OF FILE

    2109363      RB                                595.00            $1,487.50              2.5

  11/6/2017 TELEPHONE CONFERENCE WITH TANIA RE: PLAN AND DISCLOSURE STATEMENT ISSUES AND
            CASE REVIEW

    2108198      RB                                595.00               $119.00             0.2

 11/20/2017 PREPARATION OF JOINT DISCLOSURE STATEMENT WITH OCEH; ANALYSIS OF FILE



    2109791      RB                                595.00            $2,082.50              3.5

                                               Total                $4,879.00               8.2
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     20   -   OTHER LITIGATION

   9/8/2017 ANALYSIS OF LITIGATION MATTERS; PREP OF RELATED EMAIL EXCHANGE



    2091285       RB                              595.00              $119.00              0.2

  9/12/2017 TELEPHONE CONFERENCE WITH SCOTT ALDERTON RE: STAY LETTERS FOR THREATENED
            LAWSUITS

    2089001       JPF                             535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF PAYMENT DEMAND LETTER FROM AISENBERG



    2089229       JPF                             535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF PAYMENT DEMAND LETTER FROM CORDES



    2089240       JPF                             535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF ARBITRATION DEMAND LETTER FROM AISENBERG AND CORDES



    2089241       JPF                             535.00              $374.50              0.7

  9/12/2017 PREPARATION OF STAY LETTER TO AISENBERG AND CORDES



    2089242       JPF                             535.00              $214.00              0.4

  9/12/2017 PREPARATION OF CORRESPONDENCE TO SCOTT ALDERTON RE: STAY LETTER TO
            AISENBERG AND CORDES

    2089243       JPF                             535.00               $53.50              0.1

  9/12/2017 ANALYSIS OF MULTIPLE LITIGATION MATTERS AND REVIEW



    2091559       RB                              595.00              $178.50              0.3

  9/13/2017 PREPARATION OF CORRESPONDENCE TO GARDERE LAW FIRM RE: AUTOMATIC STAY



    2089508       JPF                             535.00               $53.50              0.1

  9/13/2017 ANALYSIS OF CORRESPONDENCE TO FORMER EMPLOYEES' COUNSEL REGARDING
            ARBITRATION PROCEEDINGS

    2090150       KJM                             535.00               $53.50              0.1

  9/19/2017 ANALYSIS OF FROM SCOTT ALDERTON RE: STAY OF JAMS ARBITRATION



    2091067       JPF                             535.00               $53.50              0.1
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  9/19/2017 PREPARATION OF CORRESPONDENCE TO SCOTT ALDERTON RE: STAY OF JAMS ARBITRATION



    2091068      JPF                              535.00                $53.50               0.1

  10/1/2017 ANALYSIS OF CORRESPONDENCE REGARDING CREDITOR COLLECTION EFFORTS;
            PREPARATION OF RESPONSE THERETO

    2095779      KJM                              535.00                $53.50               0.1

  10/2/2017 ANALYSIS OF PROPOSED NONDISCLOSURE AGREEMENT



    2104060      KJM                              535.00               $214.00               0.4

  10/5/2017 PREPARATION OF NON-DISCLSOURE AGREEMENT



    2097189      KJM                              535.00               $642.00               1.2

  10/6/2017 PREPARATION OF NDA WITH CREDITORS' COMMITTEE



    2097718      KJM                              535.00               $160.50               0.3

  10/7/2017    ANALYSIS OF CORRESPONDENCE REGARDING CONFIDENTIAL INFORMATION AND RELATED
              ISSUES

    2104156      KJM                              535.00                $53.50               0.1

  10/8/2017 PREPARATION OF CORRESPONDENCE REGARDING CONFIDENTIAL INFORMATION



    2104159      KJM                              535.00                $53.50               0.1

  10/8/2017 PREPARATION OF CORRESPONDENCE REGARDING TERMS OF NDA; CONFER WITH RB RE
            SAME

    2104162      KJM                              535.00                $53.50               0.1

  10/9/2017 ANALYSIS OF TRANSCRIPT OF MISSION MEDICAL HEARING



    2098090      KJM                              535.00                $53.50               0.1

 10/11/2017 CONFERENCE CALL WITH SCOTT ALDERTON AND MICHAEL SHERMAN RE: VARIOUS
            LITIGATION ISSUES AND CASE REVIEW; PREP OF RELATED EMAIL EXCHANGE

    2101867      RB                               595.00               $357.00               0.6

 10/18/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING PRIVILEGED REPORTS AND
            COMMON INTEREST ISSUES

    2100158      KJM                              535.00                $53.50               0.1

 10/18/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: PRIVILEGE ISSUES AND SKADDEN
            REPORTS; CONF WITH CLIENT

    2102057      RB                               595.00               $178.50               0.3
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 10/23/2017 PREPARATION OF COMMON INTEREST PRIVILEGE AGREEMENT



    2104584   KJM                                  535.00              $321.00               0.6

 10/23/2017 ANALYSIS OF JOINT PRIVILEGE AGREEMENT WITH EQUITY COMMITTEE AND RELATED EMAILS



    2103065   RB                                   595.00              $119.00               0.2

 10/24/2017 PREPARATION OF COMMON INTEREST PRIVILEGE AGREEMENT



    2104602   KJM                                  535.00              $535.00               1.0

 10/24/2017 ANALYSIS OF MULTIPLE EMAILS AND DOCUMENTS RE: JOINT PRIVILEGE AGREEMENT WITH
            EQUITY COMMITTEE

    2103094   RB                                   595.00              $119.00               0.2

 10/31/2017 ANALYSIS OF JOINT PRIVILEGE AGREEMENT AND RELATED EMAILS



    2104613   RB                                   595.00               $59.50               0.1

  11/1/2017 ANALYSIS OF EQUITY COMMITTEE 2004 MOTION OF RADIANS AND RELATED EMAILS; CONF
            WITH FRANK AND TANIA

    2105542   RB                                   595.00              $297.50               0.5

  11/2/2017 ANALYSIS OF CORRESPONDENCE RE INFORMATION FROM C-H RE PRE-PETITION ACTIVITY
            WITH RADIANS

    2105347   KJM                                  535.00               $53.50               0.1

  11/2/2017 ANALYSIS OF MEMORANDUM RE BDO ISSUES



    2105359   KJM                                  535.00              $267.50               0.5

  11/2/2017 ANALYSIS OF CORRESPONDENCE RE COMMON INTEREST PRIVILEGE AND ISSUES RE SAME



    2105378   KJM                                  535.00               $53.50               0.1

  11/2/2017 PREPARATION OF EMAIL EXCHANGE WITH RUEGGER RE: EQUITY COMMITTEE 2004 EXAM OF
            CRAIGN HALLUM

    2105582   RB                                   595.00              $119.00               0.2

  11/7/2017 ANALYSIS OF PRE-PETITION TIMELINE OF EVENTS



    2106338   KJM                                  535.00               $53.50               0.1

  11/8/2017 ANALYSIS OF ORDER APPROVING 2004 STIP FOR RADIANS



    2108299   RB                                   595.00               $59.50               0.1
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 11/14/2017 ANALYSIS OF RULE 2004 SUBPOENAS ISSUED TO RADIANS



    2107756   KJM                                 535.00                $53.50               0.1

 11/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING REJECTION OF GRAINGER CONTRACT AND
            ISSUES RE SAME

    2108099   KJM                                 535.00                $53.50               0.1

 11/14/2017 ANALYSIS OF EQUITY COMMITTEE SUBPOENAS ON RADIANS AND RELATED EMAILS; CONF
            WITH TANIA

    2108892   RB                                  595.00               $238.00               0.4

 11/15/2017 ANALYSIS OF CASELAW REGARDING TRANSFER OF STANDING TO PURSUE CLAIMS TO EQUITY
            COMMITTEE

    2108123   KJM                                 535.00               $321.00               0.6

 11/16/2017 TELEPHONE CONFERENCE WITH ASSIGNMENT OF CLAIMS TO EQUITY COMMITTEE AND
            ISSUES RE SAME; ANALYSIS OF CORRESPONDENCE RE SAME

    2108787   KJM                                 535.00               $107.00               0.2

 11/16/2017 ANALYSIS OF PROPOSED COMMON INTEREST AGREEMENT



    2109204   KJM                                 535.00                $53.50               0.1

 11/17/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING STATUS OF INSURANCE POLICIES
            AND ISSUES RE SAME

    2109599   KJM                                 535.00                $53.50               0.1

 11/17/2017 PREPARATION OF MOTION FOR AN ORDER CONFERRING STANDING ON EQUITY COMMITTEE



    2109605   KJM                                 535.00               $267.50               0.5

 11/17/2017 ANALYSIS OF CORRESPONDENCE REGARDING COMMON INTEREST AGREEMENT



    2109608   KJM                                 535.00                $53.50               0.1

 11/19/2017 ANALYSIS OF CORRESPONDENCE FROM EQUITY COMMITTEE COUNSEL REGARDING
            COMPANY INSURANCE POLICIES AND ANALYSIS OF RESPONSIVE EMAILS RE SAME

    2109624   KJM                                 535.00                $53.50               0.1

 11/19/2017 ANALYSIS OF COMMON INTEREST AGREEMENT FROM SKADDEN; PREP OF RELATED EMAIL
            EXCHANGE

    2109436   RB                                  595.00               $238.00               0.4

 11/20/2017 PREPARATION OF MOTION TO CONFER STANDING ON EQUITY COMMITTEE



    2109629   KJM                                 535.00              $1,551.50              2.9
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 11/20/2017 PREPARATION OF STIPULATION TO CONFER STANDING ON EQUITY COMMITTEE



    2109630      KJM                               535.00              $214.00              0.4

 11/20/2017 PREPARATION OF CORRESPONDENCE TO EQUITY COMMITTEE REGARDING MOTION TO
            CONFER STANDING; PREPARATION OF CORRESPONDENCE TO DEBTOR REPRESENTATIVES
            REGARDING MOTION TO CONFER STANDING
    2109647      KJM                               535.00               $53.50              0.1

 11/20/2017 ANALYSIS OF CORRESPONDENCE FROM S. BECK REGARDING D&O PROCEEDS



    2109719      KJM                               535.00               $53.50              0.1

 11/20/2017 ANALYSIS OF CORRESPONDENCE REGARDING BOYD RESPONSES TO DISCOVERY AND
            ISSUES RE SAME

    2109720      KJM                               535.00               $53.50              0.1

                                               Total                $8,663.00              15.8
     99   -   MISCELLANEOUS

   9/8/2017 PREPARATION OF EMAIL EXCHANGE RE: PRESS RELEASE AND ANALYSIS OF PRESS RELEASE



    2091260      RB                                595.00              $119.00              0.2

   9/9/2017 ANALYSIS OF MULTIPLE PUBLIC FILINGS RE: OVERALL CASE REVIEW AND ANALYSIS



    2091392      RB                                595.00            $1,666.00              2.8

  9/13/2017 CONFERENCE WITH SHAREHOLDER JARUS AND ROSS OF UST AFTER HEARING TO REVIEW
            POSSIBLE FORMATION OF SHAREHOLDERS COMMITTEE

    2091583      RB                                595.00              $238.00              0.4

  9/14/2017 PREPARATION OF EMAIL EXCHANGE RE: SHAREHOLDER LISTS; ANALYSIS OF LISTS; CONF
            WITH ROSS OF UST

    2091610      RB                                595.00              $238.00              0.4

  9/15/2017 ANALYSIS OF JONES EMAIL RE: MEDIANT AND SHAREHOLDERS



    2091646      RB                                595.00               $59.50              0.1

  9/18/2017 ANALYSIS OF SHAREHOLDER DISPUTE CORRESPONDENCE AND RELATED EMAILS; CONF
            WITH CLIENT

    2091733      RB                                595.00              $238.00              0.4

  9/24/2017 PREPARATION OF NDA FOR EQUITY COMMITTEE FOR SIDE LETTER AND RELATED EMAIL
            EXCHANGE; CONF WITH TANIA

    2094624      RB                                595.00              $238.00              0.4
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 10/16/2017 PREPARATION OF SUPPLEMENT TO SALE MOTION; E-FILE; PPO SERVICE LISTS



    2099303   LC                                   250.00                $100.00            0.4

 10/16/2017 ANALYSIS OF EMAILS RE: SEC INVESTIGATION; CONF WITH GEOFF



    2101995   RB                                   595.00                $119.00            0.2

 10/19/2017 ANALYSIS OF LOUSI EMAIL RE: SEC ISSUES; PREP OF RESPONSE



    2102110   RB                                   595.00                 $59.50            0.1

 10/23/2017 PREPARATION OF EMAIL EXCHANGE RE: STOCK TRADING ISSUES AND REVIEW



    2103044   RB                                   595.00                 $59.50            0.1

 10/24/2017 PREPARATION OF EMAIL EXCHANGE RE: PIP FINANCING QUALIFICATIONS; CONF WITH STEVE



    2103075   RB                                   595.00                $178.50            0.3

 11/16/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN FEE DISPUTE



    2109268   RB                                   595.00                 $59.50            0.1

 11/18/2017 TELEPHONE CONFERENCE WITH TANIA RE: NEED FOR PREPARING MOTION WITH COURT TO
            UPSTREAM FUNDS TO NEVADA ENTITY TO PAY FEES

    2109438   RB                                   595.00                $119.00            0.2

                                               Total                   $3,491.50            6.1
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         01 - ASSET ANALYSIS AND RECOVERY

KJM                                  0.8      535.00                 $428.00

RB                                  22.1      595.00               $13,149.50

      Total Hours                   22.9      Total Fees           $13,577.50
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         02 - ASSET DISPOSITION

JK                                   0.2      250.00                     $50.00

JPF                                  0.3      535.00                 $160.50

KJM                                 85.0      535.00               $45,475.00

MYK                                 90.6      575.00               $52,095.00

RB                                 189.4      595.00              $112,693.00

      Total Hours                  365.5      Total Fees          $210,473.50
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         03 - BUSINESS OPERATIONS

KJM                                 18.7      535.00               $10,004.50

MYK                                  6.2      575.00                $3,565.00

RB                                  68.2      595.00               $40,579.00

      Total Hours                   93.1      Total Fees           $54,148.50
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         04 - CASE ADMINISTRATION

JK                                   3.4      250.00                 $850.00

KJM                                 76.1      535.00               $40,713.50

LC                                  14.6      250.00                $3,650.00

MYK                                 52.0      575.00               $29,900.00

RB                                  18.7      595.00               $11,126.50

SR                                  29.5      250.00                $7,375.00

      Total Hours                  194.3      Total Fees           $93,615.00
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         05 - CLAIMS ADMIN. AND OBJECTIONS

JK                                   5.4      250.00                $1,350.00

KJM                                  8.3      535.00                $4,440.50

LC                                   0.8      250.00                 $200.00

MYK                                  2.3      575.00                $1,322.50

RB                                  18.0      595.00               $10,710.00

SR                                  12.2      250.00                $3,050.00

      Total Hours                   47.0      Total Fees           $21,073.00
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         07 - FEE / EMPLOYMENT APPLICATIONS

JK                                   1.7      250.00                 $425.00

JPF                                 10.3      535.00                $5,510.50

KJM                                 22.5      535.00               $12,037.50

LC                                   6.1      250.00                $1,525.00

MYK                                 16.6      575.00                $9,545.00

RB                                  24.0      595.00               $14,280.00

SR                                   3.5      250.00                 $875.00

      Total Hours                   84.7      Total Fees           $44,198.00
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         08 - FEE / EMPLOYMENT OBJECTIONS

KJM                                  1.9      535.00                $1,016.50

RB                                  14.0      595.00                $8,330.00

SR                                   0.5      250.00                 $125.00

      Total Hours                   16.4      Total Fees            $9,471.50
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         09 - FINANCING

JK                                   1.3      250.00                 $325.00

KJM                                  5.5      535.00                $2,942.50

MYK                                 53.7      575.00               $30,877.50

RB                                  19.7      595.00               $11,721.50

SR                                   1.5      250.00                 $375.00

      Total Hours                   81.7      Total Fees           $46,241.50
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         10 - RELIEF FROM STAY

JK                                   0.9      250.00                 $225.00

KJM                                 11.3      535.00                $6,045.50

MYK                                  0.9      575.00                 $517.50

RB                                   4.7      595.00                $2,796.50

SR                                   0.5      250.00                 $125.00

      Total Hours                   18.3      Total Fees            $9,709.50
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         11 - MEETINGS OF CREDITORS

KJM                                  5.5      535.00                $2,942.50

RB                                  15.9      595.00                $9,460.50

      Total Hours                   21.4      Total Fees           $12,403.00
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        12 - PLAN AND DISCLOSURE STATEMENT

RB                                  8.2      595.00                $4,879.00

     Total Hours                    8.2      Total Fees            $4,879.00
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         20 - OTHER LITIGATION

JPF                                  1.8      535.00                 $963.00

KJM                                 10.5      535.00                $5,617.50

RB                                   3.5      595.00                $2,082.50

      Total Hours                   15.8      Total Fees            $8,663.00
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        99 - MISCELLANEOUS

LC                                  0.4      250.00                 $100.00

RB                                  5.7      595.00                $3,391.50

     Total Hours                    6.1      Total Fees            $3,491.50
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JK                             12.9   Hours @       250.00                   $3,225.00
JPF                            12.4   Hours @       535.00                   $6,634.00
KJM                           246.1   Hours @       535.00                 $131,663.50
LC                             21.9   Hours @       250.00                   $5,475.00
MYK                           222.3   Hours @       575.00                 $127,822.50
RB                            412.1   Hours @       595.00                 $245,199.50
SR                             47.7   Hours @       250.00                  $11,925.00

      Total Hours             975.4                        Total Fees      $531,944.50
                     ACTIVITY
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         DESCRIPTION                                                  FEES

        ASSET ANALYSIS AND RECOVERY                              $13,577.50

        ASSET DISPOSITION                                       $210,473.50

        BUSINESS OPERATIONS                                      $54,148.50

        CASE ADMINISTRATION                                      $93,615.00

        CLAIMS ADMIN. AND OBJECTIONS                             $21,073.00

        FEE / EMPLOYMENT                                         $44,198.00

        FEE / EMPLOYMENT OBJECTIONS                                $9,471.50

        FINANCING                                                $46,241.50

        RELIEF FROM STAY                                           $9,709.50

        MEETINGS OF CREDITORS                                    $12,403.00

        PLAN AND DISCLOSURE                                        $4,879.00

        OTHER LITIGATION                                           $8,663.00

        MISCELLANEOUS                                              $3,491.50

                            TOTAL FEES                          $531,944.50
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                    EXHIBIT "2"
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 9/11/2017          ATTORNEY SERVICE COSTS                               97.50
 9/11/2017          ATTORNEY SERVICE COSTS                               82.50
 9/12/2017          ATTORNEY SERVICE COSTS                              117.50
 9/12/2017          ATTORNEY SERVICE COSTS                               97.50
 9/13/2017          ATTORNEY SERVICE COSTS                               97.50
 9/15/2017          ATTORNEY SERVICE COSTS                               97.50
 9/18/2017          TELEPHONIC COURT APPEARANCE                         132.50
 9/18/2017          TELEPHONIC COURT APPEARANCE                         132.50
 9/18/2017          TELEPHONIC COURT APPEARANCE                         132.50
 9/18/2017          TELEPHONIC COURT APPEARANCE                         132.50
 9/18/2017          TELEPHONIC COURT APPEARANCE                         132.50
 9/18/2017          TELEPHONIC COURT APPEARANCE                          35.00
 9/18/2017          TELEPHONIC COURT APPEARANCE                         125.00
 9/11/2017          FEDERAL EXPRESS                                      25.79
 9/11/2017          FEDERAL EXPRESS                                      64.19
 9/11/2017          FEDERAL EXPRESS                                      25.79
 9/11/2017          FEDERAL EXPRESS                                      64.19
 9/11/2017          FEDERAL EXPRESS                                      56.61
 9/11/2017          FEDERAL EXPRESS                                      18.44
 9/11/2017          FEDERAL EXPRESS                                      59.92
 9/11/2017          FEDERAL EXPRESS                                      25.79
 9/11/2017          FEDERAL EXPRESS                                      64.19
 9/11/2017          FEDERAL EXPRESS                                      25.79
 9/11/2017          FEDERAL EXPRESS                                     116.83
 9/11/2017          FEDERAL EXPRESS                                     116.83
 9/11/2017          FEDERAL EXPRESS                                     104.65
 9/11/2017          FEDERAL EXPRESS                                     112.92
 9/11/2017          FEDERAL EXPRESS                                     112.92
 9/11/2017          FEDERAL EXPRESS                                     112.92
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 9/11/2017          FEDERAL EXPRESS                                     126.28
 9/15/2017          FEDERAL EXPRESS                                      73.89
 9/30/2017          REPRODUCTION COSTS                                 7,937.00
 9/30/2017          POSTAGE                                            1,377.21
 9/30/2017          FEDERAL EXPRESS                                    4,428.32
 9/15/2017          FEDERAL EXPRESS                                      63.03
 9/15/2017          FEDERAL EXPRESS                                      63.03
 9/15/2017          FEDERAL EXPRESS                                      63.03
 9/15/2017          FEDERAL EXPRESS                                      51.20
 9/15/2017          FEDERAL EXPRESS                                      59.89
 9/15/2017          FEDERAL EXPRESS                                      94.72
 9/15/2017          FEDERAL EXPRESS                                      92.85
 9/15/2017          FEDERAL EXPRESS                                      94.72
 9/19/2017          FEDERAL EXPRESS                                     109.24
 9/28/2017          TELEPHONIC COURT APPEARANCE                         102.50
 9/15/2017          FEDERAL EXPRESS                                      31.29
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      31.29
 9/15/2017          FEDERAL EXPRESS                                      32.73
 9/15/2017          FEDERAL EXPRESS                                      31.29
 9/15/2017          FEDERAL EXPRESS                                      29.10
 9/15/2017          FEDERAL EXPRESS                                      32.73
 9/15/2017          FEDERAL EXPRESS                                      31.29
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      22.00
 9/15/2017          FEDERAL EXPRESS                                      28.92
 9/15/2017          FEDERAL EXPRESS                                      32.73
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 9/15/2017          FEDERAL EXPRESS                                      29.10
 9/15/2017          FEDERAL EXPRESS                                      31.29
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      29.10
 9/15/2017          FEDERAL EXPRESS                                      33.14
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      27.33
 9/15/2017          FEDERAL EXPRESS                                      31.29
 9/15/2017          FEDERAL EXPRESS                                      29.10
 9/15/2017          FEDERAL EXPRESS                                      29.10
 9/15/2017          FEDERAL EXPRESS                                      32.73
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      33.14
 9/15/2017          FEDERAL EXPRESS                                      33.14
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      32.96
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 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      29.10
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      31.37
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      33.14
 9/15/2017          FEDERAL EXPRESS                                      31.37
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      26.04
 9/15/2017          FEDERAL EXPRESS                                      39.43
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      33.14
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      35.47
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      35.33
 9/15/2017          FEDERAL EXPRESS                                      35.33
 9/15/2017          FEDERAL EXPRESS                                      32.44
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      31.37
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
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 9/15/2017          FEDERAL EXPRESS                                      32.73
 9/15/2017          FEDERAL EXPRESS                                      33.14
 9/30/2017          FEDERAL EXPRESS                                      36.77
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      37.55
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      32.73
 9/15/2017          FEDERAL EXPRESS                                      26.58
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      33.14
 9/15/2017          FEDERAL EXPRESS                                      28.92
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      35.33
 9/15/2017          FEDERAL EXPRESS                                      36.77
 9/15/2017          FEDERAL EXPRESS                                      33.14
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      33.14
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      32.96
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 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      26.58
 9/15/2017          FEDERAL EXPRESS                                      32.44
 9/15/2017          FEDERAL EXPRESS                                      36.77
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      32.73
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      31.37
 9/15/2017          FEDERAL EXPRESS                                      35.33
 9/15/2017          FEDERAL EXPRESS                                      39.43
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      35.33
 9/15/2017          FEDERAL EXPRESS                                      31.37
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      35.33
 9/15/2017          FEDERAL EXPRESS                                      36.77
 9/15/2017          FEDERAL EXPRESS                                      32.44
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      22.48
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 9/15/2017          FEDERAL EXPRESS                                      31.37
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      46.96
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      31.37
 9/15/2017          FEDERAL EXPRESS                                      26.58
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      31.37
 9/15/2017          FEDERAL EXPRESS                                      36.77
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      26.58
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      32.96
 9/15/2017          FEDERAL EXPRESS                                      31.37
 9/15/2017          FEDERAL EXPRESS                                      18.44
 9/15/2017          FEDERAL EXPRESS                                      22.48
 9/15/2017          FEDERAL EXPRESS                                      37.05
 9/18/2017          FEDERAL EXPRESS                                      13.71
 9/18/2017          FEDERAL EXPRESS                                      13.71
 9/18/2017          FEDERAL EXPRESS                                      14.91
 9/19/2017          ATTORNEY SERVICE COSTS                               97.50
 9/25/2017          MESSENGER SERVICE                                    75.00
 9/29/2017          ATTORNEY SERVICE COSTS                               65.00
 9/29/2017          ATTORNEY SERVICE COSTS                               65.00
 9/26/2017          FILING FEE                                           31.00
 9/22/2017          FEDERAL EXPRESS                                      14.91
 9/23/2017          FEDERAL EXPRESS                                      14.91
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 9/25/2017          FEDERAL EXPRESS                                      19.29
 9/11/2017          FEDERAL EXPRESS                                     104.65
 9/15/2017          FEDERAL EXPRESS                                      91.89
 9/15/2017          FEDERAL EXPRESS                                     114.45
 9/23/2017          FEDERAL EXPRESS                                     118.14
 10/13/2017         CONFERENCE CALL CHARGES                             203.12
 10/2/2017          ATTORNEY SERVICE COSTS                               97.50
 10/10/2017         ATTORNEY SERVICE COSTS                               97.50
 10/10/2017         ATTORNEY SERVICE COSTS                               65.00
 10/20/2017         FILING FEE                                           31.00
 10/6/2017          FEDERAL EXPRESS                                      14.73
 10/6/2017          FEDERAL EXPRESS                                      14.73
 10/6/2017          FEDERAL EXPRESS                                      18.44
 10/6/2017          FEDERAL EXPRESS                                      19.29
 10/9/2017          FEDERAL EXPRESS                                      92.85
 10/9/2017          FEDERAL EXPRESS                                      52.30
 10/9/2017          FEDERAL EXPRESS                                      74.05
 10/9/2017          FEDERAL EXPRESS                                      91.23
 10/6/2017          FEDERAL EXPRESS                                      83.89
 10/31/2017         WESTLAW RESEARCH                                    733.85
 10/31/2017         REPRODUCTION COSTS                                 4,901.40
 10/31/2017         POSTAGE                                             791.56
 10/31/2017         FEDERAL EXPRESS                                    1,725.42
 10/20/2017         FEDERAL EXPRESS                                      62.58
 10/20/2017         FEDERAL EXPRESS                                      40.52
 10/20/2017         FEDERAL EXPRESS                                      44.54
 10/20/2017         FEDERAL EXPRESS                                      43.58
 10/20/2017         FEDERAL EXPRESS                                      43.58
 10/20/2017         FEDERAL EXPRESS                                      62.58
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 10/20/2017         FEDERAL EXPRESS                                      98.03
 10/20/2017         FEDERAL EXPRESS                                      62.58
 10/23/2017         FEDERAL EXPRESS                                      62.58
 10/23/2017         FEDERAL EXPRESS                                      40.52
 10/23/2017         FEDERAL EXPRESS                                      44.54
 10/23/2017         FEDERAL EXPRESS                                      43.58
 10/23/2017         FEDERAL EXPRESS                                      43.58
 10/20/2017         FEDERAL EXPRESS                                      18.31
 10/20/2017         FEDERAL EXPRESS                                      18.31
 10/20/2017         FEDERAL EXPRESS                                      18.31
 10/20/2017         FEDERAL EXPRESS                                      35.08
 10/20/2017         FEDERAL EXPRESS                                      22.32
 10/20/2017         FEDERAL EXPRESS                                      35.08
 10/20/2017         FEDERAL EXPRESS                                      36.51
 10/20/2017         FEDERAL EXPRESS                                      28.89
 10/20/2017         FEDERAL EXPRESS                                      28.89
 10/20/2017         FEDERAL EXPRESS                                      32.49
 10/20/2017         FEDERAL EXPRESS                                      32.49
 10/20/2017         FEDERAL EXPRESS                                      18.31
 10/20/2017         FEDERAL EXPRESS                                      31.07
 10/20/2017         FEDERAL EXPRESS                                      28.71
 10/20/2017         FEDERAL EXPRESS                                      18.31
 10/20/2017         FEDERAL EXPRESS                                      35.21
 10/20/2017         FEDERAL EXPRESS                                      31.07
 10/20/2017         FEDERAL EXPRESS                                      28.89
 10/20/2017         FEDERAL EXPRESS                                      28.89
 10/20/2017         FEDERAL EXPRESS                                      31.42
 10/20/2017         FEDERAL EXPRESS                                      27.14
 10/20/2017         FEDERAL EXPRESS                                      28.89
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 10/20/2017         FEDERAL EXPRESS                                      32.49
 10/20/2017         FEDERAL EXPRESS                                      32.49
 10/20/2017         FEDERAL EXPRESS                                      31.07
 10/23/2017         FEDERAL EXPRESS                                      18.31
 10/23/2017         FEDERAL EXPRESS                                      18.31
 10/23/2017         FEDERAL EXPRESS                                      18.31
 10/23/2017         FEDERAL EXPRESS                                      18.31
 10/23/2017         FEDERAL EXPRESS                                      35.08
 10/23/2017         FEDERAL EXPRESS                                      18.31
 10/23/2017         FEDERAL EXPRESS                                      35.08
 10/23/2017         FEDERAL EXPRESS                                      22.32
 10/23/2017         FEDERAL EXPRESS                                      36.51
 10/23/2017         FEDERAL EXPRESS                                      28.89
 10/23/2017         FEDERAL EXPRESS                                      28.89
 10/23/2017         FEDERAL EXPRESS                                      32.49
 10/23/2017         FEDERAL EXPRESS                                      32.49
 10/23/2017         FEDERAL EXPRESS                                      31.07
 10/23/2017         FEDERAL EXPRESS                                      18.31
 10/23/2017         FEDERAL EXPRESS                                      28.71
 10/23/2017         FEDERAL EXPRESS                                      18.31
 10/23/2017         FEDERAL EXPRESS                                      35.21
 10/23/2017         FEDERAL EXPRESS                                      31.07
 10/20/2017         FEDERAL EXPRESS                                      28.89
 10/23/2017         FEDERAL EXPRESS                                      28.89
 10/23/2017         FEDERAL EXPRESS                                      31.42
 10/23/2017         FEDERAL EXPRESS                                      27.14
 10/23/2017         FEDERAL EXPRESS                                      28.89
 10/23/2017         FEDERAL EXPRESS                                      32.49
 10/23/2017         FEDERAL EXPRESS                                      32.49
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 10/23/2017         FEDERAL EXPRESS                                      31.07
 10/24/2017         FEDERAL EXPRESS                                      22.30
 10/24/2017         FEDERAL EXPRESS                                      22.30
 10/24/2017         FEDERAL EXPRESS                                      28.89
 10/17/2017         ATTORNEY SERVICE COSTS                               65.00
 10/20/2017         ATTORNEY SERVICE COSTS                               97.50
 10/24/2017         ATTORNEY SERVICE COSTS                               65.00
 10/24/2017         ATTORNEY SERVICE COSTS                               65.00
 10/20/2017         ATTORNEY SERVICE COSTS                               97.50
 10/20/2017         ATTORNEY SERVICE COSTS                               97.50
 10/27/2017         ATTORNEY SERVICE COSTS                               97.50
 10/27/2017         ATTORNEY SERVICE COSTS                              100.00
 10/27/2017         ATTORNEY SERVICE COSTS                              100.00
 10/27/2017         ATTORNEY SERVICE COSTS                              100.00
 10/30/2017         ATTORNEY SERVICE COSTS                               97.50
 10/31/2017         FILING FEE                                         1,717.00
 10/31/2017         FILING FEE                                         1,717.00
 11/9/2017          Overnight Delivery                                   17.78
 11/6/2017          FEDERAL EXPRESS                                      62.58
 11/6/2017          FEDERAL EXPRESS                                      43.58
 11/6/2017          FEDERAL EXPRESS                                      44.54
 11/6/2017          FEDERAL EXPRESS                                      51.31
 11/6/2017          FEDERAL EXPRESS                                      83.49
 11/3/2017          FEDERAL EXPRESS                                      16.72
 11/3/2017          FEDERAL EXPRESS                                      13.70
 11/1/2017          ATTORNEY SERVICE COSTS                               97.50
 11/6/2017          ATTORNEY SERVICE COSTS                               65.00
 11/6/2017          ATTORNEY SERVICE COSTS                               75.00
 11/8/2017          ATTORNEY SERVICE COSTS                              151.63
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 11/8/2017          MESSENGER SERVICE                                    75.00
 11/9/2017          MESSENGER SERVICE                                    97.50
 11/9/2017          MESSENGER SERVICE                                    65.00
 11/14/2017         ATTORNEY SERVICE COSTS                               97.50
 11/14/2017         ATTORNEY SERVICE COSTS                               65.00
 11/7/2017          TELEPHONIC COURT APPEARANCE                         230.00
 11/13/2017         TELEPHONIC COURT APPEARANCE                          30.00
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          CONFERENCE CALL CHARGES                                      203.12

          REPRODUCTION COSTS                                        12,838.40
          FEDERAL EXPRESS                                           15,809.94
          FILING FEE                                                 3,496.00
          MESSENGER SERVICE                                            312.50
          Overnight Delivery                                            17.78
          POSTAGE                                                    2,168.77
          ATTORNEY SERVICE COSTS                                     2,611.63
          TELEPHONIC COURT APPEARANCE                                1,185.00
          WESTLAW RESEARCH                                             733.85

                               TOTAL COSTS                         $39,376.99
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                    EXHIBIT "3"
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                                                   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
                                                                                              LAW OFFICES




Professional Resume

DAVID W. LEVENE, born March 24, 1945, New York, New York. A
founding partner of Levene, Neale, Bender, Yoo & Brill L.L.P.. Business
and Professional Experience: July, 1974 to Present, attorney specializing in
matters of bankruptcy, insolvency, business reorganization and commercial
financing. Education and Honors: University of Southern California, B.S.,
Business Administration, 1967; University of Southern California, M.B.A.,
finance and marketing, 1968; Loyola University of Los Angeles, J.D. magna
cum laude, 1974. Bar Admissions: California, United States District Court
for the Southern, Central, Eastern and Northern Districts of California;
and U.S. Court of Appeals, Ninth Circuit. Professional Memberships and
Associations: Los Angeles County (past member: Executive Committee,
Commercial Law and Bankruptcy Section; Bankruptcy Subcommittee);
Past chair of Bankruptcy Section of Beverly Hills Bar Association; Federal
and American Bar Associations; The State Bar of California; Financial                 David W. Levene
Lawyers Conference; American Bankruptcy Institute; Commercial Law                     dwl@lnbyb.com
League of America; and Turnaround Management Association. Guest
Lecturer: Frost & Sullivan, Inc., “Loan Workouts, LBOs and Bankruptcy”;
The Banking Law Institute, “Loan Workout, Restructure and Bankruptcy”;
Drexel Burnham Lambert, “Chapter 11”; Financial Lawyers Conference,
“Fraudulent Conveyances”; Los Angeles Bankruptcy Forum, “Out of Court
Reorganizations”; Orange County Bankruptcy Forum, “Restructuring
Financially Troubled Businesses”; Jewelers Board of Trade, “Consignment
Issues in Bankruptcy”; Turnaround Management Association, “Case Study
on Representation of Debtor in Out of Court Workouts and Chapter 11”;
National Conference of the Turnaround Management Association, “Gaining
Confidence of Lenders and Creditors in Workouts and Restructurings”;
Young Presidents’ Organization National Conference, “Acquisition and
Investment Opportunities in Bankruptcy Reorganization Cases”; The
Counselors of Real Estate Convention, “Chapter 11 and the Role of the
Real Estate Advisor”; Association of Insolvency Accountants: Valuation
Conference, “Valuation Issues in Chapter 11 Cases”, Moderator of seminar
on “Workouts” sponsored by Orange Country Bankruptcy Forum, “Role of
Appraisers in Bankruptcy & Reorganization Cases” presented at convention
of American Society of Appraisers, and guest lecturer on “Workouts and
Restructuring” presented nationally by Fulcrum Information Services. Twice
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                                                                                               LAW OFFICES



David W. Levene
Professional Resume
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included in annual list of “100 most prominent business attorneys practicing
in Los Angeles County” in Los Angeles Business Journal’s annual list of
“Who’s Who in Law and Accounting.” Repeatedly listed as a “Southern
California Super Lawyer” in annual polls of his peers.




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                                                                                                LAW OFFICES




Professional Resume

DAVID L. NEALE began his legal career in New York, with the law firm of
Kramer, Levin, Nessen, Kamin & Frankel, where he represented creditors
and creditors’ committees in large, complex cases such as Texaco Inc.,
LTV Steel and Charter Co. When Mr. Neale relocated to California in
1989, to join the law firm of Levene & Eisenberg, he brought with him an
understanding of creditors’ rights and remedies that he was able to apply
to the representation of debtors and other constituencies in bankruptcy and
workout situations.

His broad experience includes handling cases in a variety of areas
including: Manufacturing (successful Chapter 11 reorganization for
companies such as Future Media Productions, a manufacturer of blank
CDs and DVDs; California Aircraft & Engines, Inc., a manufacturer of
aircraft engine parts with claimants from around the world; DCC Compact
Classics, Inc., a manufacturer of specialty CDs and recordings; Fernandes               David L. Neale
Guitars, a manufacturer of electric and acoustic guitars for distribution               dln@lnbyb.com
around the world); the food and beverage industry (Chinois Restaurant,
successful Chapter 11 reorganization for a Las Vegas restaurant; Café-
Melisse Valencia, successful out-of court workout and orderly liquidation;
Galletti Brothers Foods, successful Chapter 11 reorganization for one of
the nation’s largest fresh seafood wholesalers); Construction (successful
Chapter 11 reorganization for Rock & Waterscape, Inc., builder of water-
themed features in Las Vegas and around the world); Real estate
(successful Chapter 11 cases for North Silver Lake Lodge, LLC, involving
one of the last undeveloped parcels of real property in the Deer Valley, Utah
ski resort area; IDM Corporation and its affiliates requiring the restructuring
of over $1 billion in debt; and Galletti Brothers Investments, a real estate
partnership with multiple properties. He has also represented Ritter Ranch
Development, the owner of an 11,000 acre development property in
Palmdale; and National Enterprises, Inc. and San Diego Investments, real
estate management and development companies with properties across the
United States); Energy (representing the California Independent System
Operator Corporation in connection with the bankruptcy cases of California
Power Exchange, Pacific Gas & Electric Co., Enron Inc. and Mirant and its
affiliates); Banking and finance (Imperial Credit Industries, Inc.); Trucking
(Consolidated Freightways and its affiliates, in which Mr. Neale
represented multi-employer pension funds that were the largest creditors

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David L. Neale
Professional Resume
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and went on to represent the post-confirmation Plan Oversight Committee
and serve as special counsel to the Liquidating Trust in certain litigation and
appellate matters, and The Penn Traffic Co. and its affiliates, in which Mr.
Neale represented certain multi-employer retirement, health and welfare
funds); Technology and communication (WCI Cable, Inc., a fiber optic
cable network located in Oregon and Alaska); and Retail (successful
Chapter 11 cases for Ortho Mattress, Inc., a manufacturer and retailer
of bedding products; Britches of Georgetowne, Inc., a clothing retailer
with outlets in several states). Mr. Neale has a particular expertise in the
entertainment industry. He has represented clients involved in publishing
(New Millennium Entertainment, Buzz Magazine); film exhibition (Resort
Theaters of America); film production (Franchise Pictures, LLC and its
affiliates); The Samuel Goldwyn Company in connection with its acquisition
of Heritage Entertainment); and artists (Gladys Knight, Mick Fleetwood,
Lynn Redgrave, among others).

Mr. Neale is both an experienced and aggressive litigator whose cases
have resulted in several notable published opinions, and a seasoned
negotiator who brings his skills to bear as a member of the Mediation
Panel for the Bankruptcy Court for the Central District of California. He
is a Member of the American Bar Association, Association of the Bar of
the City of New York, New York County Bar Association, Century City Bar
Association, Beverly Hills Bar Association, Financial Lawyers’ Conference,
Association of Trial Lawyers of America, Turnaround Management
Association, and the Commercial Law League of America. Mr. Neale serves
on the Board of Directors of the Financial Lawyers Conference and AIDS
Project Los Angeles.

Mr. Neale received his B.A., Summa Cum Laude from Princeton University
in 1984 and his J.D. from Columbia University School of Law in 1987.
He was admitted to the New York Bar in 1988 and the California Bar in
1989. He was admitted to the Ninth Circuit Court of Appeals in 1989, and
was admitted to the United States District Court for the Southern and
Eastern Districts of New York in 1988. In 1989, he was admitted to the
Central, Eastern, Northern and Southern Districts of California. He has also
practiced extensively in courts around the country, in venues as diverse
as Oregon, Arizona, Nevada, Texas, Arkansas, Utah, Florida, New York,
Deleware and Tennessee.
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David L. Neale
Professional Resume
continued from page 2




Mr. Neale is the author of “Bankruptcy and Contractual Relations in the
Entertainment Industry – An Overview, “1990 Entertainment, Publishing
and the Arts Handbook;“ A Survey of Recent Bankruptcy Decisions
Impacting upon the Entertainment Industry,“ 1992 - 1993 Entertainment,
Publishing and the Arts Handbook;“ SEC Actions and Stays,” National
Law Journal, 2002; and “The Scope and Application of 11 U.S.C. § 1145,”
American Bankruptcy Institute Bankruptcy Battleground West, 2003. He
was featured as a “Mover & Shaker” by The Deal magazine in 2006, and
has been interviewed several times by, among others, KNX news radio in
Los Angeles, Variety magazine and the California Real Estate Journal on
bankruptcy topics.

Mr. Neale has appeared as a speaker on the following topics before
the following organizations: “Making the Best Better: Lessons From the
Battlefield,” Turnaround Management Association 6th Annual Spring
Meeting, 1998; “Litigation Issues in Bankruptcy,” Business Torts - An
Introduction and Primer, Consumer Attorneys Association of Los Angeles,
1998; “There Must Be Fifty Ways to Leave Your Troubles,” Turnaround
Management Association, 1998; “The Impact of State Court Decisions in
Bankruptcy Court,” Beverly Hills Bar Association, 2001. He has appeared as
a panelist, addressing issues relating to “Bankruptcy in the Dot-Com
Economy” and “Licensing Agreements: How to Draft and Enforce Them” for
Law.Com Seminars; “Public Company Debtors and the SEC,” American
Bankruptcy Institute Bankruptcy Battleground West, 2003; “The 2005
Amendments to Bankruptcy Code Sections 546(c) and 547 – The Early
Returns,” Financial Lawyers Conference, 2008; and “Transfers of
Intellectual Property,” Southwestern Law School, Bankruptcy in the New
Millennium, 2010.

Mr. Neale has consistently been named by Los Angeles magazine as one of
its 100 “Super Lawyers” in the bankruptcy field.




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Professional Resume

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Martin J. Brill
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Professional Resume

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Professional Resume

EDUCATION
University of Maryland (B.A., 1971)
University of Maryland School of Law (J.D., 1974)

BAR ADMISSIONS
Maryland, 1974
California, 1976

Gary E. Klausner joined LNBYB as a senior partner in May 2014, from a
senior shareholder position at Stutman, Treister & Glatt P.C. Mr. Klausner
has exclusively practiced in the field of corporate restructuring and bank-
ruptcy since 1976.

Mr. Klausner represents Chapter 11 debtors, secured and unsecured
creditors, creditors' committees, trustees and receivers, licensors and
franchisors, purchasers of assets out of bankruptcy cases and parties                  Gary E. Klausner
involved in litigation and appeals in connection with bankruptcy cases. He             gek@lnbyb.com
has handled cases involving a broad range of businesses and industries
including manufacturing, retail, real estate development, hospitality and
restaurants, aerospace, entertainment, health care, financial institutions,            Honors and Recognitions
and transportation.
                                                                                       Selected, Super Lawyers (Bankruptcy
Mr. Klausner also has expertise in Chapter 9 of the Bankruptcy Code, which             & Creditor/Debtor Rights) 2004-12
is designed for the reorganization of municipalities. He currently chairs the          Selected, Southern California's Best
American Bar Association's Chapter 9 Subcommittee.                                     Lawyers in America, 2011-12

Mr. Klausner's significant engagements as debtor's counsel include:
                                                                                       Publications/Press
Meruelo Maddux Properties, Inc. (Special Reorganization Counsel); Impe-
rial Capital Bancorp, Inc.; Colorep, Inc., International Union of Operating            "Section 1111(b) '" Look Before You
Engineers, Local 501, Mr. Gasket Co.; Prism Entertainment Corporation;                 Leap," 2 Bankruptcy Study Group
Packaging Corporation of America; Super Shops, Inc.; Cannon Pictures;                  Journal 15 (1986)
Maguire Thomas Partners, Fifth & Grand, Ltd.; ABC International Traders,               "Chapter 11 'The Bank of Last
Inc.; Maxicare and Watts Health Foundation, Inc., dba UHP Healthcare.                  Resort,'" The Business Lawyer,
                                                                                       November, 1989; Vol. 45, No. 1
Mr. Klausner was the lead lawyer in the Chapter 9 case of Valley Health                "The New Bankruptcy Rules," 4
System, in which he successfully confirmed a Chapter 9 Plan of Adjustment.             Bankruptcy Study Group Journal 64
                                                                                       (1987).
Mr. Klausner has represented creditors’ committees in cases such as
Consolidated Freightways, New Meatco, Westward Ho Markets, Naki
                                                                                       Speaking Engagements
Electronics, Prime Matrix, The Movie Group, American Restaurant Group
("Black Angus"), and Solidus Networks, Inc. Mr. Klausner has also repre-               Panelist, "Bank Holding Company
sented principals involved in significant chapter 11 cases, such as EZ Lube;           Bankruptcies," ABI Battleground West,
Rachel Ashwell Design, Inc. ("Shabby Chic"); and Comic Book Movies LLC.                2012
                                                                                       Panelist, "Municipal Bankruptcies,"
In addition to client matters, Mr. Klausner has been actively involved and             ABI Battleground West, 2011
has held prominent positions in local and national professional organiza-              Panelist, "Municipal Bankruptcies,"
tions and bar associations. Mr. Klausner is a member of the Board of                   ABA Fall Meeting Business Law
Governors of the Financial Lawyers Conference and served as its President              Section, 2010

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Professional Resume, cont...

from 1993 through1994. He is a Board member of the Los Angeles Bankruptcy               KEY REPRESENTATIONS
Forum (serving as its President in 2003-2004), a member of the American Bar             Debtor Representations
Association, Section on Business Law, where he chaired a task force on The              Colorep, Inc.
Economics of Chapter 11 Practice, chaired the Subcommittee on Bankruptcy                International Union of Operating
Fraud, Crimes and Abuse of the Bankruptcy Process and currently chairs the              Engineers, Local 501
Chapter 9 Subcommittee. He is a member of the Los Angeles County Bar                    St. Tropez Capital, Inc.
Association, where he has served as a member of the Executive Committee of              Mr. Gasket Co.
the Commercial Law and Bankruptcy Section as well as being Vice-Chair of the            Prism Entertainment Corporation
Section's Bankruptcy Committee.                                                         Packaging Corporation of America
                                                                                        Super Shops, Inc.
In 2010, Mr. Klausner was elected as a Fellow of the American College of                Maguire Thomas Partners, Fifth &
Bankruptcy, and in 2012, Mr. Klausner was recognized as "Bankruptcy Lawyer              Grand, Ltd.
Of The Year" by the Century City Bar Association.                                       ABC International Traders, Inc.
                                                                                        Maxicare, HMO
Mr. Klausner has also served as a Lawyer Representative to The Ninth Circuit            Watts Health Foundation, Inc., dba UHP
                                                                                        Healthcare, HMO
Judicial Conference and currently chairs the United States District Court Stand-
                                                                                        Valley Health System, Healthcare
ing Committee On Attorney Discipline.                                                   District
                                                                                        Imperial Capital Bancorp, Inc.
Mr. Klausner speaks frequently on subjects involving bankruptcy and commercial          Mereulo Maddux Properties, Inc
law and has published numerous articles on bankruptcy-related topics.
                                                                                        Committee Representations
He is a member of the bar of the states of California and Maryland, and is
                                                                                        New Meatco
admitted to practice before the United States Supreme Court, the United States
                                                                                        Consolidated Freightway
Courts of Appeals for the Ninth Circuit, and the United States District and Bank-
                                                                                        Westward Ho Markets
ruptcy Courts for the Central District of California.
                                                                                        Naki Electronics
                                                                                        Prime Matrix
Mr. Klausner received his J.D., with honors, from the University of Maryland
                                                                                        Stan Lee Media
School of Law in 1974, where he served on the editorial staff of the University of
                                                                                        American Restaurant Group, Inc
Maryland Law Review from 1972-3. He received his B.A. from the University of
Maryland in 1971.
                                                                                        Significant Creditor/Party In Interest
                                                                                        Representations
PROFESSIONAL AFFILIATIONS
                                                                                        Cannon Pictures, Inc.
Financial Lawyers Conference (President, 1993 -1994; Member of the Board of
                                                                                        Georgia Pacific Corporation
Governors)
                                                                                        Cal Worthington
Los Angeles Bankruptcy Forum (President in 2003-2004)
                                                                                        Columbia Tristar
American Bar Association (Section on Business Law, Chair of the Subcommittee
                                                                                        Fox Family Worldwide
on Bankruptcy Crimes, Fraud and Abuse, 2005)
                                                                                        MCI Telecommunications Corporation
Ninth Circuit Judicial Conference (2007-2009)
                                                                                        Paramount Pictures
United States District Court, Central District, Standing Committee on Attorney
                                                                                        Saban Entertainment
Discipline, Chair 2011-Present
                                                                                        Sony Pictures, Inc.
American Bar Association Section on Business Law, Chair of the Subcommittee
                                                                                        The Walt Disney Company
on Chapter 9, 2011-Present
                                                                                        Victor Valley Community Hospital
Honors and Recognitions
                                                                                        Rachel Ashwell Design, Inc
Selected, Super Lawyers (Bankruptcy & Creditor/Debtor Rights) 2004-12
                                                                                        EZ Lube, Inc
Selected, Southern California's Best Lawyers in America, 2011-12
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Professional Resume

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Edward M. Wolkowitz
Professional Resume
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Professional Resume

MONICA YOUNG KIM was admitted to the California Bar in 1995, after
graduating from the University of California at Berkeley (B.A., 1991) and
Hastings College of the Law (J.D., 1995). She was a Law Clerk to the
Honorable Jane Dickson McKeag, U.S. Bankruptcy Judge, Eastern District
of California, 1995-96. Ms. Kim has worked solely in the areas of bankruptcy,
insolvency and business reorganization, and commercial and real estate
transactions, representing debtors, creditors’ committees, creditors, sellers,
and purchasers. She joined Levene, Neale, Bender, Yoo & Brill L.L.P. in 1996,
and became a partner in 2004.


Ms. Kim is also involved in out-of-court restructuring transactions, including
assignments for creditors, representing sellers/assignors, assignees and
                                                                                        Monica
buyers. Her experience has included representation in retail, healthcare,
                                                                                        Young Kim
                                                                                        myk@lnbyb.com
entertainment, manufacturing, real estate, service and technology. She has
been named to the “Rising Star” listing of Southern California attorneys each
year since 2005, in annual surveys of her peers. Ms. Kim is a member of the
American Bar Association, Los Angeles County Bar Association, Century
City Bar Association, Women Lawyers Association of Los Angeles, and the
Korean American Bar Association, and is admitted to the Central, Eastern,
Northern and Southern Districts of California.




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Professional Resume

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Philip A. Gasteier
Professional Resume
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Daniel H. Reiss
Professional Resume
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Professional Resume

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Professional Resume

IRV M. GROSS has practiced law in California for over 30 years. After
graduating from the University of California at Los Angeles in 1968 (B.A.,
Cum Laude), Mr. Gross attended law school at Boalt Hall, University of
California at Berkeley (J.D., 1972). After graduation from law school, Mr.
Gross served as the law clerk for the Hon. Robert Firth, Judge of the United
States District Court for the Central District of California. Following his
clerkship, Mr. Gross joined the Los Angeles law firm of Simon & Sheridan, a
firm prominent for its expertise in federal litigation. After becoming a partner
at Simon & Sheridan, Mr. Gross joined Robinson, Wolas & Diamant, a highly
regarded Los Angeles law firm specializing in insolvency and creditors’
rights, and eventually became the head of the firm’s litigation department.
Mr. Gross’ litigation practice has always been broad-based: he has
represented individuals and major corporate clients, including McKesson
Corp., Chicago Title Insurance Company, 20th Century Fox Corp., Interstate
Bakeries Corp., Nutro Products, Inc. and Allstate Financial, in business,                Irv M. Gross
commercial, real estate and employment litigation, including jury and                    img@lnbyb.com
non-jury trials. These include a successful eight-week jury trial in the Los
Angeles Superior Court representing former bank directors sued for breach
of fiduciary duty, and a successful two-week jury trial in the United States
District Court defending a Fortune 100 company in a wrongful termination
case. A significant part of Mr. Gross’ practice involves the representation
of bankruptcy trustees, chapter 11 debtors, and creditor committees and
individual creditors in insolvency litigation, such as Mr. Gasket (public
company in the automotive parts industry), Qintex Entertainment, Inc.
(public company in the entertainment industry) and Condor Systems, Inc.
(public company in the defense industry). Mr. Gross has also represented
the prevailing parties in appeals in both state and federal courts. His
published decisions include In re Rossi, 86 B.R. 220 (9th Cir. BAP 1988);
First Pacific Bancorp, Inc. v. Bro, 847 F.2d 542 (9th Cir. 1988); In re Qintex
Entertainment, Inc., 950 F.2d 1492 (9th Cir. 1991); Bergman v. Rifkind &
Sterling, Inc., (1991) 227 Cal.App.3d 1380; In re Qintex Entertainment, Inc.,
8 F.3d 1353 (9th Cir. 1993); In re Advent Management Corp., 178 B.R. 480
(9th Cir. BAP 1995); American Sports Radio Network, Inc., et al. v. Krause,
546 F.3d 1070 (9th Cir. 2008). Mr. Gross is a member of the Litigation and
Prejudgment Remedies sections of the Los Angeles County Bar Association,
and the Litigation section of the American Bar Association. Mr. Gross has
also served as a judge pro tem of the Los Angeles Superior Court.

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Professional Resume

JACQUELINE L. RODRIGUEZ-JAMES is a partner at Levene, Neale,
Bender, Yoo & Brill L.L.P., where she specializes in representing debtors
and creditors in Chapter 11 bankruptcy cases and out-of-court restructurings
as well as plaintiffs and defendants in business and bankruptcy litigation.
A graduate of Loyola Marymount University, with an undergraduate degree
in International Business, and the University of Southern California School
of Law, Ms. James was an extern to the Honorable John Ryan of the
United States Bankruptcy Court and the Bankruptcy Appellate Panel in
1997. She was admitted to the California Bar in 1998, and joined the firm
in 2001. Her experience includes a wide range of industries, including but
not limited to, entertainment, restaurants, retail, general manufacturing,
construction, equipment rental, security, banking and health care. Her
casework includes FAO Schwarz, the Walking Company, Britches of
Georgetown, Inc., Stan Lee Media, Franchise Pictures, Les Deux Cafes,                 Jacqueline L.
LLC, Fatburger Restaurants, Alliant Protection Services, Inc., Pleasant               Rodriguez-James
Care Corporation, and Westcliff Medical Laboratories, Inc. She has also               jlj@lnbyb.com
represented several high profile clients in individual bankruptcy cases and
out-of-court restructurings. The published author of several legal articles,
Ms. James is a member of the American Bankruptcy Institute, the Financial
Lawyers Conference, the National Association of Trial Attorneys and several
bar associations. She has been voted a “Rising Star” in a poll of her peers
in Southern California each year since 2006. She is fluent in Spanish and
conversational in French.




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Professional Resume

JULIET Y. OH is a partner at Levene, Neale, Bender, Yoo & Brill L.L.P.
representing individuals and corporations in Chapter 11 bankruptcy
cases, out-of-court restructuring proceedings and bankruptcy litigation
proceedings. She has been voted a “Rising Star” in a poll of her peers in
Southern California each year since 2006. Ms. Oh has recently represented
Chapter 11 debtors Franchise Pictures LLC, et al., Fatburger Restaurants,
Shoe Pavilion, Central Metal, Inc., Bodies In Motion, Inc., and the Official
Committee of Unsecured Creditors of Halcyon Holding Group. Prior
to joining the firm in 2003, Ms. Oh specialized in the representation of
individuals in Chapter 7 and Chapter 13 cases and worked as an extern
with the Office of the U.S. Trustee, Central District of California. Ms. Oh is a
graduate of Stanford University and obtained her law degree from University
of California Los Angeles. She was admitted to the California Bar in 2000,
is a member of the Korean American Bar Association, California Bankruptcy                Juliet Y. Oh
Forum and Los Angeles Bankruptcy Forum.                                                  jyo@lnbyb.com




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Professional Resume

KURT RAMLO, a Los Angeles native, provides restructuring advice to business
organizations facing financial distress. His practice includes guiding organizations
through out-of-court and chapter 11 reorganizations, as well as related transac-
tions and litigation. He routinely provides advice on structuring cutting-edge
transactions on behalf of public and private debtors, foreign representatives,
receivers, shareholders, plan sponsors, third-party acquirers, secured and unse-
cured creditors, creditors' committees and post-petition lenders, as well as other
restructuring professionals. A former Assistant United States Attorney, Mr. Ramlo
also has extensive trial and commercial litigation experience in bankruptcy and
federal district courts. His representative chapter 11 matters include advising the
debtors in NexPrise, Inc.; Hingham Campus; Minor Family Hotels; Delphi Corpora-
tion; Refco; Blue Bird Body Company (prepackaged plan); Friedman's Jewelers;             Kurt Ramlo
First Virtual Communications; Kmart Corporation; ZiLOG, Inc. (prepackaged plan);         kr@lnbyb.com
Stone & Webster; Wilshire Center Marketplace (Ambassador Hotel); Washington
Group; and Furr's Supermarkets; the foreign representatives in Flightlease Hold-
ings and SunCal; the receiver in private equity management group; equity stock-
holders or plan sponsors in Charter Communications; Crescent Jewelers; Oregon
Arena Corporation; Old UGC; and Clift Holdings (The Clift Hotel); asset purchas-
ers and bidders in Medical Capital Holdings; Variety Arts Theatre; Chef Solutions
Holdings; People’s Choice Financial Corporation; Sun World; The Walking Com-
pany; Centis; and iSyndicate; estate professionals in General Growth Properties
and Leap Wireless; and creditors in Cocopah Nurseries; One Pelican Hill North,
L.P.; McMonigle Residential Group; Contessa Premium Foods; LBREP/L-Lehman
SunCal Master I, LLC; Phoenix Coyotes; GTS 900 F (Concerto); Cupertino
Square; American Home Mortgage; Trump Casinos; Consolidated Freightways;
Loral Space & Communications; Leap Wireless; DirecTV Latin American; North-
western Corporation; Airwalk; Centis; Regal Cinemas; eToys; Excite/At Home
Corporation; Paracelsus Healthcare; and the creditors’ committee in Hamakua
Sugar Company. Litigation matters include CanAm Capital Holdings (Ponzi
scheme fraudulent transfer action); Lyondell Chemical (New York LBO fraudulent
transfer action); Linens N Things (preference); patent holder (obtaining stay
pending appeal of $112 million judgment); S&W Bach (New York fraudulent
transfer action); One Pelican Hill North (California lender liability); Lost Lakes
(Washington lender liability); satellite dish provider (piracy and dischargeability);
Prium (lender liability); Spansion, Inc. (transfer pricing dispute); Delphi (Michigan
state tax litigation; vendor litigation); Refco (Swiss securities litigation); Old UGC
($3.7 billion breach of merger action); Airwalk (debt recharacterization trial);

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Professional Resume                continued...


various action representing the United States (Medicare fraud and dischargeability;
surety bond enforcement; loan and guaranty enforcement; wrongful foreclosure
litigation; enforcement of criminal fines and restitution orders). Published decisions
issued in matters litigated by Mr. Ramlo include United States Pac. Ins. Co. v.
United States Dep’t of Interior, 70 F. Supp. 2d 1089 (C.D. Cal. 1999); Secretary of
HUD v. Sky Meadow Assoc., 117 F. Supp. 2d 970 (C.D. Cal. 2000); Yunis v.
United States, 118 F. Supp. 2d 1024 (C.D. Cal. 2000); and United States Dep’t of
Educ. v. Wallace (In re Wallace), 259 B.R. 170 (C.D. Cal. 2000).

He is a co-author of "American Bankruptcy Reform and Creativity Prompt the In re
Blue Bird Body Company One-Day Prepackaged Plan of Reorganization," Interna-
tional Corporate Rescue, Kluwer Law International (London) (December 2006),              Kurt Ramlo
included in Expedited Debt Restructuring: An International Comparative Analysis,         kr@lnbyb.com
Rodrigo Olivares-Caminal ed., Kluwer Law International (The Netherlands) (2007).
In 1993, Mr. Ramlo obtained his law degree from the University of California, Davis
and in 1990 a Bachelor of Music degree, with a concentration on music perfor-
mance on bassoon, from California State University, Northridge.




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Professional Resume

EVE H. KARASIK is a business restructuring and bankruptcy attorney who
focuses her practice on the representation of business entities in a variety of
industries. In addition to representing corporate debtors, Ms. Karasik has
represented creditors’ committees, equity committees, post-confirmation
liquidating trusts and Bankruptcy Code section 524(g) trusts, and significant
creditors and litigation parties in cases pending around the country. She
began her legal career at Stutman, Treister & Glatt P.C., a nationally-
recognized bankruptcy boutique where she practiced until May 1, 2014
when the firm had to close its doors. She spent one year thereafter manag-
ing the Los Angeles office of Gordon Silver, a multi-practice firm with
primary offices in Nevada.

Ms. Karasik has a breadth of experience representing entities in wide
variety of industries, with significant expertise in gaming, retail, and the food
and beverage industry, among others. Some of her Debtor representations
of note include: Imperial Capital Bancorp, Inc. (San Diego, CA, Bank                       Eve H. Karasik
Holding Company), Utah 7000, LLC, et al (Salt Lake City, UT, Luxury Real                   ehk@lnbyb.com
Estate Development), Resort at Summerlin, et al (Las Vegas Nevada,
Gaming); Gold River Hotel & Casino, et al (Las Vegas, Nevada, Gaming),
Falcon Products, Inc., et al (St. Louis, MO, Furniture Manufacturer), Clark                Ms. Karasik is active in various
Retail Group, et al (Chicago, IL, Gas Station and Convenience Stores), MJ                  organizations, including:
Research, Inc. (Reno, NV, Bio Tech), Cell Pro, (Seattle, Washington, Bio
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Tech); and U.S. Aggregates, Inc., et al (Reno, NV, Mining). Her creditor                   of Directors (2015); Bankruptcy Battle-
and equity committee representations include Circus and Eldorado Joint                     ground West Conference, Co-Chair,
Venture, et al. (Reno, NV, Gaming), Riviera Holdings Corporation, et al.                   2012-2015; Ethics and Compensation
(Las Vegas, NV. Gaming), Eurofresh, Inc., et al (Phoenix, AZ, Food                         Subcommittee, Education Director,
Producer and Distributer), USA Capital First Trust Deed Fund (Las Vegas,                   2014-15, Newsletter Editor, 2012-2014
NV, Real Estate Investment Fund), Aladdin Gaming, Inc. (Las Vegas, NV,                            
Gaming), New Meatco Provisions, LLC. (Los Angeles, CA, Protein Distribu-                   Member 2014-2015, Membership
tion) and Amerco (Reno, NV, Retail/Trucking).                                              Committee
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Ms. Karasik has also served as counsel to the Trustee in the Securities                    Section, Member
Investor Protection Corporation liquidation proceeding of W.S. Clearing, Inc.                     !    
(Los Angeles, CA, Securities Clearinghouse), counsel to the Examiner in                    Committee, Member, 2005-2006
the Fontainebleau Las Vegas Holdings, LLC., et al. (Miami, FL, Gaming),                          -
and counsel to the J.T. Thorpe Settlement Trust, the Thorpe Insulation                     cial Law and Bankruptcy Section,
Company Settlement Trust, Plant Insulation Settlement Trust, and the                       Member
Western Asbestos Settlement Trust (Reno, NV, Section 524(g) Bankruptcy                         " # !  
Trusts).                                                                                   Restructuring Confederation (IWIRC),
                                                                                           Member
Ms. Karasik has received several awards in her field, including the Century                 "     
City Bar Association Bankruptcy Attorney of the Year for 2015, and the                     Angeles, Former Executive Committee
Turnaround Managers Association “2007 Large Company Transaction of                         Member
the Year” award for her work on the U.S.A. Commercial Mortgage Company                      $  %      
Chapter 11 Cases. She is also been named as a Southern California States                   (“TMA”) Awards Committee, Member,
Super Lawyers®, 2012-2015 for Bankruptcy & Creditor/Debtor Rights; Best                    2009-2011
Lawyers in America®, Bankruptcy and Creditor-Debtor Rights Law – 2007-                      $%' !   
2015; and AV/Preeminent Attorney® as rated by Martindale-Hubbell®, 5.0                     Planning Committee, Member, 2013-
out of 5.0.                                                                                2014
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Professional Resume, cont...

Ms. Karasik has appeared as a speaker on the following topics before the
following organizations:
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Great Debates – Administration of Administratively Insolvent Estate for the
Benefit of a Secured Creditor
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of Assets Free and Clear of Liens Over the Objection of the Secured Creditor
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Claims Trading, Fiduciary Duties and Other Pesky Committee Issues
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– New Duties and Beyond – Ethical Problems of Committee Membership and
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Revisited – Recent Developments and Trends

Ms. Karasik received her B.A., with High Honors in History, from the University of
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nia Law School (Gould School of Law), Order of the Coif, 1991. She was admit-
ted to the California Bar in 1991. She was admitted to the Ninth Circuit Court of
Appeals in 1991, the United States District Court for the Central and Northern
Districts of California in 1991 and 1992, and the Southern and Eastern Districts
of California in 1994. She has also practiced extensively in Federal Courts
throughout the country including in Nevada, Arizona, Utah, Delaware, Washing-
ton, Illinois, Missouri, Arizona and Florida.




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Professional Resume

CARMELA T. PAGAY, a partner at LNBY&B, specializes in
representation of debtors in reorganizations and liquidations, creditor
committees, and Chapter 7 and Chapter 11 trustees, and bankruptcy
litigation. Ms. Pagay received her Bachelor of Arts Degree in Political
Science from the University of California, Los Angeles in 1994, and her
Juris Doctor from Loyola Law School, Los Angeles in 1997, where she
was Senior Production Editor of the Loyola of Los Angeles International
and Comparative Law Journal. Ms. Pagay is admitted to practice before
the United States District Court, Central, Eastern, Northern, and Southern
Districts, the Ninth Circuit Court of Appeals, and the United States Supreme
Court. She is currently a member of the Beverly Hills Bar Association,
Bankruptcy Section Executive Committee, the Los Angeles County Bar
Association, and the Women Lawyers Association of Los Angeles, and is
also an editorial board member of the Los Angeles Lawyer magazine.                    Carmela T.
                                                                                      Pagay
                                                                                      ctp@lnbyb.com




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Professional Resume

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Professional Resume

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Professional Resume

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Professional Resume

JEFFREY S. KWONG joined LNBYB as an associate in 2014. Prior to
joining the firm, Mr. Kwong served for two years as law clerk to the
Honorable Deborah J. Saltzman, United States Bankruptcy Judge for the
Central District of California. Mr. Kwong obtained his J.D. in 2012 from
the University of California, Berkeley, Boalt Hall School of Law, where he
served as an editor for the Berkeley Journal of International Law and a
Senior Articles Editor for the Asian American Law Journal. He received
his undergraduate degree, summa cum laude, from the University of
California, San Diego. He is a member of the Beverly Hills Bar Associa-
tion, the Financial Lawyers Conference, and the Los Angeles Bank-
ruptcy Forum.




                                                                                      Jeffrey S. Kwong
                                                                                      jsk@lnbyb.com




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                                  PARAPROFESSIONALS


   JASON KLASSI (JK) received his Bachelors of Arts degree from the University of
   California at Los Angeles graduating Magna Cum Laude in 1979. He has over 20 years
   of paralegal experience within the State of California currently working at the law firm of
   Levene, Neale, Bender, Yoo & Brill L.L.P. since its inception in 1995. Mr. Klassi
   maintains compliance for paralegal qualification under Business & Professions Code
   6450(c)(3) and (d). He also is an active member of the Los Angeles Paralegal
   Association.


   JOHN A. BERWICK (JAB) received his bachelor’s degree in Fine Arts and English
   from the University of Texas at Austin in 1973. In 1981, Mr. Berwick joined the
   American College of Trial Lawyers, a nationwide association, wherein he worked for
   such luminaries as Supreme Court Justices Lewis F. Powell, John Paul Stevens and
   Sandra Day O’Connor, former Attorney General Griffin Bell, Cabinet Members,
   Senators, Members of Congress, United States Ambassadors, heads of state, and a
   significant array of top trial attorneys from across the country. Mr. Berwick’s 23 years of
   paralegal experience in bankruptcy began in 1989 when he joined the firm of Coskey,
   Coskey & Boxer, followed by Haight, Brown & Bonesteel in 2000. In 2002, Mr.
   Berwick joined the firm of Levene, Neale, Bender, Yoo & Brill L.L.P. Mr. Berwick
   maintains his paralegal qualification under Business & Professions Code 6450(c)(3) and
   (d).


   LOURDES CRUZ (LC) is a bankruptcy paralegal/legal assistant who received her
   Associate of Arts degree in computer science from the Institute of Computer Technology
   College graduating with honors in 1996. Ms. Cruz has been working with law firms
   specializing in bankruptcy for over 15 years. From 1999 to 2003 she worked for
   Weinstein, Eisen & Weiss LLP. From 2003 to 2005 she worked for Jeffer, Mangels,
   Butler & Marmaro LLP. Since August 2005 she has been working with Levene, Neale,
   Bender, Yoo & Brill L.L.P. Ms. Cruz continues her paralegal education by staying in
   compliance with MCLE requirements under Business and Professions Code 6450(c)(3)
   and (d).


   STEPHANIE REICHERT (SR) Stephanie Reichert is a bankruptcy paralegal/legal
   assistant who received her bachelor’s degree in Communications from the University of
   Pennsylvania in 2007. From 2008 through 2010 she worked for Togut, Segal & Segal,
   LLP, a bankruptcy firm in New York City. Since October 2010 she has been working
   with Levene, Neale, Bender, Yoo & Brill L.L.P.
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   LISA MASSE (LM) received her Associates of Arts Degree in Liberal Arts from Santa
   Monica College, graduating with honors in 2012, and is currently attending California
   State University, Northridge, majoring in Communication Studies. Ms. Masse has been
   working with law firms specializing in bankruptcy for the past 20 years. She was
   employed by the law firm of Stutman, Treister & Glatt, Professional Corporation from
   January 2001 until April 2014. In May 2014, she joined the firm of Levene, Neale,
   Bender, Yoo & Brill, L.L.P. Ms. Masse continues her paralegal education by staying in
   compliance with MCLE requirements under Business and Professions Code 6450(c)(3)
   and (d).

   MEGAN WERTZ (MW) has over 7 years of paralegal experience within the State of
   California. Ms. Wertz has been working with law firms specializing in bankruptcy and
   real estate for over 15 years. From 1999 to 2007 she worked for Blanco Tackabery
   Combs & Matamoros P.A. in Winston-Salem, North Carolina. From 2007 to 2015 she
   worked for Pachulski Stang Ziehl & Jones LLP. Since September 2015 she has been
   working with the firm of Levene, Neale, Bender, Yoo & Brill L.L.P. Ms. Wertz
   continues her paralegal education by staying in compliance with MCLE requirements
   under Business and Professions Code 6450(c)(3) and (d).

   CONNIE RAY (CONNIE) is a Trustee Administrator/Paralegal who received her
   Paralegal Certificate from the UCR Extension Paralegal Training Program. She received
   her bachelor’s degree from the University of California, Santa Barbara in 1997. Prior to
   joining the Firm, she worked for the U.S. Bankruptcy Court, Central District of
   California, for 12 years, including working as Judicial Assistant to the Honorable Peter
   H. Carroll from 2002 to 2010.
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                        EXHIBIT "4"
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                                    LAW OFFICES
                     LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
                        10250 Constellation Boulevard, Suite 1700
                             Los Angeles, California 90067
                             Telephone No. (310) 229-1234
                             Telecopier No. (310) 229-1244

                        SCHEDULE OF HOURLY BILLING RATES
                             (Effective January 1, 2017)


ATTORNEYS                                               2017 Rates

DAVID W. LEVENE                                            595

DAVID L. NEALE                                             595

RON BENDER                                                 595

MARTIN J. BRILL                                            595

TIMOTHY J. YOO                                             595

GARY E. KLAUSNER                                           595

EDWARD M. WOLKOWITZ                                        595

DAVID B. GOLUBCHIK                                         595

BETH ANN R. YOUNG                                          575

MONICA Y. KIM                                              575

DANIEL H. REISS                                            575

IRVING M. GROSS                                            575

PHILIP A. GASTEIER                                         575

EVE H. KARASIK                                             575

TODD A. FREALY                                             575

KURT RAMLO                                                 575

JACQUELINE L. RODRIGUEZ                                    555

JULIET Y. OH                                               555

TODD M. ARNOLD                                             555
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CARMELA T. PAGAY                                      555

ANTHONY A. FRIEDMAN                                   535

KRIKOR J. MESHEFEJIAN                                 535

JOHN-PATRICK M. FRITZ                                 535

LINDSEY L. SMITH                                      475

JEFFREY KWONG                                         375

PARAPROFESSIONALS                                     250
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  1
                                    PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
  3
      A true and correct copy of the foregoing document entitled FIRST INTERIM APPLICATION OF
  4   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P. FOR APPROVAL OF FEES AND
      REIMBURSEMENT OF EXPENSES; DECLARATION OF RON BENDER, ESQ. will be served or was
  5   served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
      manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On November 21, 2017, I checked the CM/ECF docket for this bankruptcy
  8   case or adversary proceeding and determined that the following persons are on the Electronic Mail
      Notice List to receive NEF transmission at the email addresses stated below:
  9
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
 10            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 11            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 12            Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 13            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.c
 14             om
               Samuel R Maizel samuel.maizel@dentons.com,
 15             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;k
                athryn.howard@dentons.com
 16            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 17            S Margaux Ross margaux.ross@usdoj.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 18            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

 19   2. SERVED BY UNITED STATES MAIL: On November 21, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 20   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 21   completed no later than 24 hours after the document is filed.

 22                                                                           Service information continued on attached page

 23   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 24   on November 21, 2017, I served the following persons and/or entities by personal delivery, overnight
      mail service, or (for those who consented in writing to such service method), by facsimile transmission
 25   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
      overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
 26   SERVED BY PERSONAL DELIVERY
      Hon. Martin R. Barash
 27   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
 28   Woodland Hills, CA 91367

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  2
       November 21, 2017                        Lourdes Cruz                             /s/ Lourdes Cruz
  3    Date                                  Type Name                                   Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
        Case 1:17-bk-12408-MB           Doc 230 Filed 11/21/17 Entered 11/21/17 11:24:34       Desc
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Ironclad Performance Wear (8300)           Debtor
Creditors Committee                        ICPW Liquidation Corporation
Service by U.S. Mail or NEF if marked      15260 Ventura Blvd., 20th Floor
with an *                                  Sherman Oaks, CA 91403


Committee Counsel                          Resources Global Professionals    Winspeed Sports (Shanghai) Co., LTD
Brown Rudnick LLP                          c/o Brent Waters                  c/o Brian Mitteldorf
Attn: Cathrine M Castaldi NEF*             17101 Armstrong Ave               Creditors Adjustment Bureau
2211 Michelson Dr 7th Fl                   Irvine, CA 92614                  14226 Ventura Blvd.
Irvine, CA 92612                                                             Sherman Oaks, CA 91423

PT Sport Glove Indonesia
c/o Mark C. Robba
Kranoon Desa Pandowoharjo
Sleman Yogyakarta 55512
Indonesia
